                            No. 23-1972

           UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                    ________________

                PENINSULA PATHOLOGY ASSOCIATES,

                                             Petitioner-Appellee,
                                 v.

              AMERICAN INTERNATIONAL INDUSTRIES,

                                             Respondent-Appellant.

                          ________________

      On Appeal from the United States District Court for the
     Eastern District of Virginia, No. 4:22-mc-00001-AWA-DEM
      Hon. Arenda L. Wright Allen, U.S. District Court Judge
                          ________________

                    JOINT APPENDIX
               VOLUME II OF III: JA589 – JA953
                     ________________

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  Sylvia M. Kastens                   ALI & LOCKWOOD LLP
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  Counsel for Appellant               Counsel for Appellee

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FRAP 10(e)(2)(A) Supplement1

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   1 The parties stipulated to supplementing the record with this
corrected exhibit pursuant to FRAP 10(e)(2)(A) as one page was
inadvertently omitted from the exhibit below.


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                EXHIBIT N




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               Case 1:20-cv-05589-GBD-DCF Document 107 Filed 06/10/21 Page 1 of 2




         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK


          BRIAN JOSEPH GREF,
                                                                     20cv05589 (GBD) (DF)
                                         Plaintiff,
                                                                     SCHEDULING ORDER
                         -against-

          AMERICAN INTERNATIONAL
          INDUSTRIES, et al.,

                                         Defendants.

         DEBRA FREEMAN, United States Magistrate Judge:

                This Court having held a telephonic initial pretrial conference on June 9, 2021, with

         counsel for all parties; and counsel having infonned this Court that the parties had already

         commenced discovery, and had, inter alia, completed their initial disclosures under

         Rule 26(a)(l) of the Federal Rules of Civil Procedure; it is hereby ORDERED, as stated at the

         conference, that:

                 1.     To the extent they have not already done so, the parties shall serve their initial

         document requests and interrogatories no later than June 25, 2021. In their initial interrogatories,

        the parties may, as reasonable, seek infonnation outside the scope of Local Civil Rule 33.3(a).

                2.      Any motions to amend the pleadings or to join any additional parties shall be filed

        no later than August 28, 2021.

                3.      All fact discovery shall be completed no later than September 30, 2021.

                4.      Expert discovery shall be conducted on the following schedule:

                        a.      Plaintiffs medical expert report(s) shall be produced no later than

                September 17, 2021;




                                                JA590
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                  b.       Plaintiffs non-medical expert report(s), as well as Defendants' medical

          expert report(s ), shall be produced no later than October 15, 2021 ;

                  c.       Defendants' non-medical expert report(s) shall be produced no later than

          November 12, 2021;

                  d.       Any rebuttal reports shall be produced no later than December 17, 202 I;

          and

                  e.       Expert depositions shall be completed no later than February 4, 2022.

          5.      All discovery shall be completed no later than February 18, 2022.

          6.      The parties may stipulate to modify interim deadlines in this Scheduling Order,

   without seeking prior leave of Court.

          7.     No later than August 9, 2021, the parties shall submit a joint status letter to the

   Court regarding the progress of discovery and settlement discussions.

   Dated: New York, New York
          June 10, 2021
                                                         SO ORDERED



                                                        DEBRA FREEMAN
                                                        United States Magistrate Judge
   Copies to:

   All counsel (via ECF)




                                                    2




                                                  JA591
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               EXHIBIT 0




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                   Case 1:20-cv-05589-GBD-DCF Document 16:I! Filed 10/13/21 Page 1 of 2
               SIMMONS HANLY CONROY                                                                                                              SIMMONS FIRM.COM
               A !iATIONAl LAW FIRM                                                                                                              (800) 479·9533




         From the desk of:
         James M. Kramer, Esq.

                                                                                                     October 12, 2021
                                                                                                      The proposed modified schedule is adopted.
         VIAECF                                                                                           S0ORDERED
         Hon. Debra C. Freeman
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl Street                                                                                 .DEBRA FREEMAN
         New York, NY 10007-1312                                                                          United States Magistrate Judge
                                                                                 Dated: 10/13/2021
                      Re:         Gref v. Am. Int'/ Indus., et al., 20-cv-05589-----------------~

         Dear Judge Freeman,

                 Plaintiff in the above-captioned case writes to apprise the Court of the parties' progress in
         negotiating a mutually agreeable discovery schedule. Pursuant to the Court's directive at our most
         recent conference, the parties have reached an agreement that discovery should proceed according
         to the following modified schedule:

               •      All fact discovery must be completed by November 30, 2021;
               •      Plaintiffs medical expert reports must be served upon Defendants by December 15, 2021;
               •      Plaintiffs non-expert reports must be served upon Defendants by January 15, 2022;
               •      Defendants' medical expert reports must be served upon Plaintiff by January 15, 2022;
               •      Defendants' non-expert reports must be served upon Plaintiff by February 15, 2022;
               •      Any rebuttal reports must be served by March 15, 2022;
               •      Expert depositions must be completed by April 29, 2022; and
               •      All discovery must be completed by May 13, 2022.

               Plaintiff and the remaining Defendants request that the Case Management Order and
        Scheduling Order be amended to reflect the aforementioned schedule. Plaintiffs counsel stands
        ready should the Court have any questions.




          We ,t11ndfor our c/ie,,t,.

          Hf.AOQUAR'!'tll:5        tHW VC=tK              CHICAGO                  !.AN F~ANCtSCO            LOS ANG HES             ST. i.OUtS
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          Alton, IL 62002          New York, NY lO0Hl     Suite 2221               Suite 1150                ~µitc 1350 .            Suite: 525
          TEL: (018) 2!,9·'2222    TE~ (212) 784-6400     Chicago~ IL 60606        San Fra»cin:o, CA 94105   El Segundo, CA 90245    St. Louis, MO 69105
          FAX: ((h8) 259-2251      FAX: (212) 213-594g    TEL: (31.2) 759-7500     TEL: (415) 1136-.1g86.    m,(3,o)s••-:isi;!i      TEL (800) 479-95.13
                                                          FAX: (312) 7?i9-7i'jl6   FAX: .(4~,) 5S7·4l00      FA)<; (310) 302-3655




                                                                  JA593
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             Case 1:20-cv-05589-GBD-DCF Document 16:B Filed 10/13/21 Page 2 of 2
         SIMMONS HANLY CONRQY                                                                                                                  S!M MO NSFIRM ,COM
         A NAHONAl LAW FIRM                                                                                                                    (800) ·179·9533




   cc:          All Counsel of Record (via ECF and electronic mail)




    We stand form,r clie11ts.

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                                                                             JA594
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                EXHIBIT P




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               SIMMONS HANLY CONROY                                                                                                                  51 MMON 5 FIRM.COM
              A NATWNAl L.AW rutM                                                                                                                    (Sou) 479-9533



         From the desk <~{:
         James M. J(ramer, Esq.
                                                                                                                The proposed modification of the
                                                                  January 26, 2022                              discovery schedule is approved.
         VIA CM/ECF                                                                                             SO ORDERED
         Hon. Debra C. Freeman
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl Street                                                                                       DEBRA FREEMAN
         New York, NY 10007-1312                                                                                United States Magistrate Judge
                                                                                                                                          Dated: 1/27/2022
                      Re:          Gref v. Am. Int'! Indus., et al., 20-cv-05589

         Dear Judge Freeman,

               The parties have conferred and are in agreement that the following discovery deadlines be
         amended as follows:
                      (i)          Plaintiffs non-medical expert reports are to be provided by March 31, 2022;
                      (ii)         Defendants' medical and non-medical expert reports are to be provided by April
                                   29, 2022;
                      (iii)        Rebuttal reports are to be provided by May 31, 2022;
                      (iv)         Expert depositions are to be completed by July 15, 2022; and
                      (v)          All discovery is to be completed by July 29, 2022.

                If this joint request meets with Your Honor's approval, the parties respectfully request that
         the Court so-order the Scheduling Order amended as set forth above.
                 As always, we are available at the Court's convenience if you have any questions or would
         like additional information.


                                                                                                     Respectfully,




         cc: All Counsel of Record via CM/ECF
          We stand far our clients.

          Hf.ADQUAR:fERS             rH'll 'I0AK            CHICAGO                SAN fRANCISCO                 LOS ANGEl.t.S             H t.Otl!S.
          One Court Stred;           112 Madison Avenue     2S0 W. Monroo          455Market                     100 N. S<pulvcda Blvd.    2:31 S. Bcmlltun
          Alton, IL 62002            New York, NY 10016     Suit<2221              Suitc:11-50                   Suitc.11350               Suite 525
          TEL: (61S) 259~22.2        TE~ (21>) 784-6400     Chica.go~ IL 60606     San )'ra,ncisca, CA 9410!7    El Segundo, CA 9024.S.    St. Louis, MO fi3105
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                                                                  JA596
Case 4:22-mc-00001-AWA-DEM Document 4-17 Filed 12/02/22 Page 1 of 2 PageID# 702




               EXHIBIT Q




                                  JA597
Case 4:22-mc-00001-AWA-DEM Document 4-17 Filed 12/02/22 Page 2 of 2 PageID# 703


                        Case 1:20-cv-05589- GBD-VF Document 232                                                                   Filed 05/24/22                          Page 1 of 1
                   SIM MONS HANLY CONROY                                                                                                                                                        S!MMOHSt"IRM.tO!\'
                   A NAT10NAl LAW r1KM
                                                                                                                                                                                                {Soo) 4 79-!)5'.18



         From the desk of:
         James J1. Kramer, Esq.


                                                                                                                                    May 23, 2022
         VIAECF
         Hon. Valerie Figueredo
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl Street
         New York, NY 10007-1312                                                                                                             "''U'f'U:~t
                                                                                                                                                Valene 'i=lgueredo, ~ . J .
                                                                                                                                                                              DATED;       5-24-2022
                                                                                                                                                                                                            •
                        Re.             Gref v. Am. lnt'l lndus., et al., 20-cv-05589

         Dear Judge Figueredo,

               Plaintiff writes in accord \\ ith Your Honor's request for a JOint status update in the
        referenced matter. The case remains on schedule and the parties are moving forward diligently
        according to the current deadlines. The one exception to this is completion of expert depositions,
        the deadline for which currently falls on July 15, 2022. P!Jintiff and Defendants have conferred
        and believe that extending this deadline to July 29, 2022 will allow the parties to better coordinate
        coverage and logistics. Along these lines, it is respectfully requested that the parties be afforded
        through July 29, 2022 to complete expert depositions.

               As always, we stand ready to provide additional infonnation or answer any questions the
        Court may have.

                                                                                                                                    Respectfully yours,




                                                                                                                                James M. Kramer




        cc:           All Counsel of Record (via l::CF)


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Case 4:22-mc-00001-AWA-DEM Document 4-18 Filed 12/02/22 Page 1 of 2 PageID# 704




                EXHIBIT R




                                  JA599
Case 4:22-mc-00001-AWA-DEM Document 4-18 Filed 12/02/22 Page 2 of 2 PageID# 705


                         Case 1:2O-cv-O5589-GBD-VF Document 250l Filed O!i!/091/22 Page 1 of 1
                   SIMMONS HANLY CONROY                                                                                                                                       SIMMONSFIRM.COM
                   A ~ATIONAl LAW FIRM                                                                                                                                       {Soo) 479-953:i



         From tlte desk of:
        James M. Kramer, Esq.


                                                                                                                      July 29, 2022
        VIA ECF
        Hon. Valerie Figueredo
        Daniel Patrick Moynihan
        United States Courthouse
        500 Pearl Street
        New York, NY 10007-1312
                                                                                                                                                            DATED:
                          Re.             Gref v. Am. Int'l Indus., et al., 20-cv-05589
                                                                                                                                                                          8-1-2022

        Dear Judge Figueredo,

               I write on behalf of both Plaintiff and Defendants with a joint request for an extension by
        which to complete expert depositions.

                The parties continue to move forward diligently according to the current deadlines but are
        in need of additional time to coordinate coverage and the logistics presented by the multitude of
        expert depositions that are proceeding in this case. Along these lines, it is respectfully requested
        that the parties be afforded through October 7, 2022 to complete expert depositions.

               As always, we stand ready to provide additional information or answer any questions the
        Court may have.




        cc:              All Counsel of Record (via ECF)




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Case 4:22-mc-00001-AWA-DEM Document 4-19 Filed 12/02/22 Page 1 of 2 PageID# 706




                 EXHIBITS




                                  JA601
Case 4:22-mc-00001-AWA-DEM Document 4-19 Filed 12/02/22 Page 2 of 2 PageID# 707


               Case 1:20-cv-05589-GBD-VF Document 252 Filed 09/06/22 Page 1 of 1




         UNITED STATES DISTRICT COURT
         SOUTH.ERN DISTRICT OF NEW YORK
         ------------------------------------x
         BRIAN JOSEPH GREF,

                                       Plaintiff,

                        -against-                                                 ORDER
                                                                           20 Civ. 5589 (GBD)
         AMERICAN INTERNATIONAL INDUSTRIES,
         et al.

                                       Defendants.




         ------------------------------------x
         GEORGE B. DANIELS, United States District Judge:

                The September 7, 2022 pretrial conference is adjourned until discovery is complete in

         this case. Once discovery is complete, the parties arc to notify the Court.



         Dated: s6E~bft 2~n12· 6
                New York NevV"'tork
                           '
                                                                   SO ORDERED.




                                                                             ANIELS
                                                                            TES DISTRICT JUDGE




                                               JA602
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 1 of 21 PageID# 708




                 EXHIBIT T




                                   JA603
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 2 of 21 PageID# 709


                 Case 1:20-cv-05589-GBD-VF Document 2til8 Filed 11/0i/22 Page 1 of 19
         Lathrop
         GPM.J►

         2101 Cedar Springs Road
                                                                                       MEMO ENDORSED
         Suite 1400
         Dallas, TX 75201
         Main: 469.983.6100
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                                                                                         HON. VALEIUFIGUSIEDO
                                                                                         UNJIEDSTA1E8MAG18111AlEJUDGE
                                                                                                                Dated:      11-7-2022
                                                                            Plaiiitiff is directed to file 1ti; rcspclnsc by N1.rvcmb:...•r.:: l
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                                                    November 4, 2022        December l:?., 2022 at ::!:(JO p.rn. Counsel for th,~ par!H~:;
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                                                                            line at the scheduled time. Please dial !S&~J sog-69~q.
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         Hon. Valerie Figueredo
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl Street
         New York, New York 10007-1312

                   RE:       Brian Joseph Gref v. American International Industries, et al.
                             Case No.: J:20-cv-05589-GBD-DCF

         Dear Justice Figueredo:

                 Defendant American International Industries (sued individually and erroneously as
         "successor-in-interest for the CLUBMAN BRAND, to THE NESLEMUR COMPANY and
         PINAUD COMPANY") (hereinafter "A-I-I"); Colgate-Palmolive Company, as a successor-in-interest
         to The Mennen Company (hereinafter "Mennen"): Shulton, Inc.; and Whittaker Clark & Daniels, Inc.;
         (hereinafter "Defendants") by counsel and pursuant to Fed. R. Civ. P. 26(b)(l) and (2), 30(d), and
         37, collectively move to Compel the Continuation of the deposition of Plaintiff's Expert Jacqueline
         Moline.

         I.        INTRODUCTION

                 Defendants bring this motion to compel the continuation of the deposition of Plaintiffs
         expe1t Jacqueline Moline to complete her deposition. The parties have met and conferred prior to
         seeking relief. Plaintiff has unilaterally attempted to limit the deposition to one additional hour.
         As more fully set forth below, there are compelling reasons, that are not the fault of the defendants,
         that additional time is needed to complete Dr. Moline's deposition. Specifically:

                 (I) Dr. Moline authored an article that serves as a basis for her opinions in this case
         "Mesothelioma Associated With the Use of Cosmetic Talc," Journal of Occupational and
         Environmental Medicine, Vol. 62, No. I, Jan. 2020, ("Exhibit A") ("Moline Article") which relies
         on false premises;

                (2) Dr. Moline's Article states she examined 33 mesothelioma litigation cases-which she
         refuses to identify-that she claims the only possible exposure to asbestos was through
         contaminated cosmetic talc despite likely alternative exposures;




                                                   JA604
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 3 of 21 PageID# 710


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            (3) although Dr. Moline refuses to identify the cases, A-I-I proved one of these 33 cases
    was the Betty Bell case in North Carolina where the plaintiffs filed two workers' compensation
    claims for allegcd occupational exposures to asbestos, with Dr. Moline being aware of both claims:

            (4) Dr. Moline relies on her Article in reports and testifies about it on direct examination,
    but then claims various privileges to refuse to answer questions on cross examination;

           (5) when A-1-1 discovered the Bell case contradicted the foundations of her Atticle, Dr.
    Moline claimed, with no factual basis, that the workers' compensation claims ,verc determined to
    be without merit;

              (6) counsel for Plaintiff in this case has elicited this same false testimony from Dr. Moline
    at trial in the last nionth (the I-folly F'isher trial in Philadelphia);

            (7) initially, Dr. Moline provided a rdiance list with 492 articles for her opinion in this
   case, though reliance and reference materials changed between the issuance of her case report, her
   first volume of her deposition, and her second day of deposition, so Defendants require additional
   time to determine the actual bases of her opinions;

            (8) during her deposition, Dr. Moline brought more than half dozen additional expert
    reports with her that she now relies on that were not mentioned in her report;

           (9) during her deposition, Dr. Moline reached new opinions based on a 17-page "Exposure
   Testimony Summary" sent to her by Plaintiff's counsel nine months after her initial report was
   produced to Defendants, these new opinions based on that summary were not disclosed until her
   deposition, and Plaintiffs counsel only produced this "Exposure Testimony Summary" to defense
   counsel the day before her deposition;

            (10) throughout her deposition thus far in this case, Dr. Moline has consumed undue time
    with filibustering and insulting counsel; and

          (11) technical issues inherent in remote depositions. plus Dr Moline finding fault with
   every document displayed, contributed to the time consumed thus far.

   II.     DEFENDANTS REQUIRE ADDITIONAL TIME TO EXAMINE DR. MOLINE ON
           HER METHODOLOGIES THAT FORM~~D THE BASIS FOR HER OPINIONS IN
           THIS MATTER

           A. There is no epidemiological link between peritoneal mesothelioma and cosmetic
              talc, so Defendants need additional time to examine Di-. Moline on he1·
              methodologies and reliance materials used to reach her conclusions.

         Plaintiff Brian Gref is 40 years old and was diagnosed with a cancer of the lining of the
   abdominal cavity known as peritoneal mesothelioma. (Expert Report of Jacqueline Moline, MD,




                                                    JA605
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 4 of 21 PageID# 711


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         dated October 28, 2021, "Exhibit B" at pp. 6-7). This type of cancer has a weak link to asbestos
         (only 8% of individuals with peritoneal mesothelioma reported asbestos exposures) and, when
         there is a link to asbestos, the link is only associated with heavy occupational exposures. (Carbone,
         Michele, et al., "Mesothelioma: Scientific Clues for Prevention, Diagnosis, and Therapy" 2019;
         69:402-429. "Exhibit C" at 421). Plaintiff has no such known exposures to asbestos. (Ex. B).

                 Due to this lack of known asbestos exposures, Plaintiff alleges his cancer was causes by
         asbestos from trace contaminants in cosmetic talcs used on him and by him. (Id.; Doc. 37-1 ).
         Plaintiffs mother testified she used various men's shaving powders equally to change Plaintiff's
         diapers. (Relevant Portions of Deposition Testimony of Karen Nappi, dated June 16, 2021,
         "Exhibit D" at 55:20-57:15, 62:23-63:2; Ex. B at 7). 1 These men's shaving powders included
         English Leather, Mennen, Old Spice, and Clubman. (Id.). They continued using these shave talcs
         to change Plaintiffs diaper, in equal amounts, until he was out of diapers, even having these shave
         talcs shipped to their home in Guantanamo Bay specifically for Plaintiff's diaper changes. (Ex. B
         at 7; Ex. D at 92:21-94:4). Plaintiff alleges he also personally used these same shave talcs on his
         groin, arms, knees, and neck. (Ex. B at p. 7).

                 There is no epidemiology study supporting the claim that cosmetic talc increases the risk
         of any kind of mesothelioma, not the kind that occurs around the lungs (pleural), and certainly not
         the type that occurs in abdominal cavity (peritoneal) like Plaintiff's. (Rep01t of Dr. Tim D. Oury,
         PhD (Grej), dated May 11, 2022, "Exhibit E" at p. 4-5).

                             "In contrast to pleural mesothelioma, MpeM [malignant peritoneal
                             mesothelioma] is rarely associated with asbestos exposure; in a large series,
                             only 8% of patients reported exposure, and MpeM afflicts men and women
                             equally-as anticipated when mesothelioma is not caused by occupational
                             exposure. However, when MpeM occurs in individuals exposed to asbestos,
                             they usually have a higher lung fiber burden than those with pleural
                             mesotheliomas, possibly because a higher burden is required for asbestos
                             fibers to bypass the lung filter and reach the peritoneum in sufficient
                             amounts to cause mesothelioma."

         (Ex.Cat p. 421).

                 Dr. Moline was deposed in this matter for one and a half days on July 6, 2022, and
         September 23, 2022. (Relevant Portions from Transcripts of Virtual Videotaped Deposition of
         Jacqueline Moline, MD, volumes I and 2, "Exhibit F" and "Exhibit G"). Despite the unique
         qualities of peritoneal mesothelioma compared to pleural mesothelioma described above, Dr.
         Moline testified she did not separate peritoneal and pleural mesotheliomas when utilizing her
         methodology in formulating her opinions. (Ex. G at p. 234: 16-235 :2; Ex. B at p. 21 ). She has not
         published any work on the percentage of peritoneal mesotheliomas that are related to asbestos. (Ex.

         1 Depositions of Plaintiff, his father, and his mother took place after Plaintiff settled with and dismissed Johnson & Johnson and
         Johnson & Johnson Consumer Inc. (Doc. 44).




                                                            JA606
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 5 of 21 PageID# 712


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    Page4



    G at p. 224: I 0-14). Dr. Moline's report in this case does not have any sections specific to peritoneal
    mesothelioma. (Ex. B; Ex. G at p. 225:9-21). She has never evaluated scientific literature
    supporting the conclusion that contaminated cosmetic talc can be linked to peritoneal
    mesothelioma. (Ex. G at pp. 239:23-240:9).

            Because of the lack of epidemiology between cosmetic talc and mesothelioma (including
    peritoneal mesothelioma), Dr. Moline wrote an article to rely on for her testimony (and other's)
    that purpo11s to find a link between talcum powder and mesothelioma. As discussed below, the
    claims in the article appear to be false and she refuses to answer questions about them. (e.g., Ex.
    H, Ex. I, and Ex. V). Due to its importance to Plaintiffs case (as well as in other litigation), and
    because of the false basis for its conclusions, Dr. Moline must be compelled to answer questions
    about the litigation cases she claims to have studied which form the basis of her options in this
    case.

            Because her opinions are unsupported by scientific literature and the lack of epidemiology,
    Dr. Moline developed and subsequently relied on her own article to develop a causation opinion
    that Plaintiffs use of cosmetic talcum powder caused his peritoneal mesothelioma. (Ex. B; Ex. C).

           B. Because there is no epidemiology linking cosmetic talc to mesothelioma Dr. Moline
              wrote an article while serving as an expert witness purporting to find such a link.

            Dr. Moline is a prolific expert for plaintiffs, first in asbestos litigation and now in the effort
   to make talcum powder the "next asbestos." Her opinion in this case relies on her Article where
   Dr. Moline assumes the mesotheliomas found the 33 individuals referenced were caused by
   asbestos. (Ex. B, p. 20-21; Ex. A at 11). In her article, Dr. Moline claims they had no possible
   source of exposure other than presumed asbestos contamination of cosmetic talc. (Ex. A at 11)
   Each of the 33 individual came to Dr. Moline as part of her consultation work in asbestos litigation.
   (Ex. A; see also Deposition of Jacqueline Moline, M.D. (Lashley), taken .January 15, 2020,
   "Exhibit H", at pp. 30:24-32:6). She was not a treating physician in any of the 33 cases. (Ex. 1 at
   p. 31 :8-11 ). All 33 individuals publicly put their medical condition at issue by filing lawsuits for
   mesothelioma. (see, e.g., Ex. A; Memorandum Opinion and Order dated September 13, 2022, Bell
   et al. v. American International Industries, et al., 1: 17-cv-00111-WO-JEP, US District Court,
   Middle District of North Carolina "Exhibit I" at p. 36 ("Bell Order")). These individuals
   presumably signed releases pertaining to their medical records for use in their respective lawsuits.
   (Ex. 1 at 168:21-172:22 (Dr. Moline assumed the information used to write her article was in
   possession of defense lawyers involved in the underlying cases of the 33 individuals)). Also, Dr.
   Moline provided detailed medical histories of these individuals in her reports produced for
   purposes of litigation without claiming confidentiality or HIPAA rights were at-issue. (see, e.g.,
   Report from Dr. Moline dated May 5, 2016 (Bell), attached hereto as "Exhibit J"). Dr. Moline
   also provided details of individual plaintiffs' medical history (albeit without explicitly naming
   them) to Congress when she provided testimony at a hearing on "Examining Carcinogens in Talc
   and the Best Methods for Asbestos Detection." (Hearing before the Subcommittee on Economic
   and Consumer Policy of the committee on Oversight and Reform (Dec. 10, 2019), "Exhibit K").




                                                     JA607
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 6 of 21 PageID# 713


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                  Dr. Moline relies heavily on her article for her causation testimony in cosmetic talc cases.
         Yet, she refuses to answer fil1Y questions about the underlying litigation files on which her article
         is allegedly based. She claims all such information is confidential based on a variety of privileges.
         Dr. Moline is of course free to keep all such information private if she does not choose to serve as
         an expert witness or rely on her Article and testify about the cases on direct. This creates a tangled
         web where Dr. Moline funnels litigation files into a research article, then relies on her own Article
         to develop new litigation opinions, but refuses to answer questions about her article because she
         claims the information if privileged. (see, e.g., Ex. H and Ex. I). Her positions have been fully
         litigated and rejected by another federal court.

                C. Dr. Moline's Claims of Privilege Have been Adjudicated and Rejected.

                  Dr. Moline's refusal to answer questions about these underlying cases is the sole subject
         of a 40 page opinion in Bell v. A-1-1 from the United States District Court for the Middle District
         of North Carolina. (Ex. I). After a momentous effort, it was discovered that the Bell case was one
         of the litigation files Dr. Moline used in her study. Based on the known details of Mrs. Bell's case,
         A-I-I determined Dr. Moline's Article was based on a faulty premise: namely, that Mrs. Bell had
         alleged occupational exposures to asbestos from her lengthy employment at textile mills. (Ex. I).
         Mrs. Bell's allegations were obviously contrary to Dr. Moline's asse11ion in her article that "[n]o
         individual identified any asbestos exposure apart from contaminated talcum powder from
         workplace or household exposures." (Ex. A).

                 Plaintiff moved to seal all pleadings mentioning the facts of Mrs. Bell's identity, again
         claiming various privileges. Extensive time and effort went into plaintiff, Moline and her employer,
         Northwell Health, trying to keep sealed the fact that Bell was part of the study. After A-I-I won
         the case on summary judgment, it moved to unseal the Bell pleadings. Judge Osteen United States
         District Court extensively analyzed the facts and balanced privilege claims against the need for
         discovery of expert opinions, holding:

                        Mrs. Bell nonetheless made statements to the Industrial Commission, while
                        represented by counsel, that she had sustained an occupational disease
                        caused by exposure to asbestos during employment with Hoechst Celanese
                        Corporation and Pillowtex Corporation. The alleged occupational disease
                        was mesothelioma. As Mrs. Bell's counsel explained, "[s]he made a
                        [workers' compensation] claim because she thought she might have been
                        exposed." Mrs. Bell's employment history, as well as her belief that she
                        may have been exposed to asbestos during her textile employment,
                        undermines the weight of Dr. Moline's finding that each of the "33
                        cases ... had no known exposure to asbestos other than prolonged use
                        of talcum powder." The fact is that at least one study participant
                        reported to a state agency that she did have another known asbestos
                        exposure, at least one known to the study participant. Given the
                        groundbreaking nature of the article and its express premise that all
                        individuals studied had no known alternative asbestos exposures, the




                                                JA608
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 7 of 21 PageID# 714


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                fact that one of the individuals claimed otherwise has direct bearing on
                the study's credibility. This court expressed concern about this seeming
                contradiction before, and does so again.

                This court's concern is magnified considering the influence the article has
                had on cosmetic talc litigation nationwide. For example, Dr. Moline gave
                testimony discussing her article in a California state court cosmetic talc trial.
                The plaintiffs counsel relied on Dr. Moline's article in his closing argument
                to connect cosmetic talc exposure to asbestos: "Gosh, does cosmetic talc
                really cause mesothelioma? Well, Dr. Moline, she published a paper on this."
                Dr. Moline has given testimony in many other cosmetic talc cases.
                Moreover, other expert witnesses have begun relying on the article for
                the basis of theii opinions. [Oj11e [expertJ describe[erlj it ns "the only
                peer-reviewed paper that [he) know[s)" to support the conclusion that
                cosmetic talc use by hairdressers releases material amounts of asbestos
                into the air. When entering bankruptcy because of cosmetic talc liabilities,
                one prominent cosmetic talc seller specifically discussed the article's
                integral role in supporting the plaintiffs' claims.

                This court finds that with the protective order in place defense counsel in
                cosmetic talc cases across the country are stymied from effectively cross-
                examining plaintiff expert witnesses on the article's foundation. The
                following exchange from Dr. Moline's cross-examination in the California
                state trial is illustrative:

                       Q ... Other than cosmetic talc, you eliminated anybody from your
                       study who might have had other asbestos exposures; is that correct?

                        A To the best ofmy knowledge, yes.

                       Q Okay. And after you published the paper and testified in Congress
                       about the paper, did you come to learn that some of the information
                       regarding one or more of the people in your study was incorrect as
                       published?

                       A There was a question about one particular individual that I was
                       presented with information about, but l -- based on the information
                       that I had, there was -- it wasn't determined that they had the -- any
                       additional exposure. I'm not sure of any others.
                       [****]
                       Q Did you publish an errata with regard to your paper after you
                       found out that this one plaintiff that was provided to you had other
                       alleged exposures?




                                                 JA609
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                            A As I said just a minute ago, there was an allegation or there was a
                            -- a comment, but it was shown to be without evidence, so I did not
                            publish an errata based on that one individual.

                     Dr. Moline offered no basis for her statement that an errata was unnecessary
                     because the allegation of alternative exposure "was shown to be without
                     evidence." Indeed, she did not have to because the protective order
                     effectively shielded the assertion from cross-examination. If the order was
                     not in place, then defense counsel in that case-and defense counsel in
                     similar cosmetic talc cases-would be able to establish that Mrs. Bell was
                     one of the individuals the article studied and then challenge Dr. Moline with
                     Mrs. Bell and Plaintiffs workers' compensation claims asserting, under
                     criminal penalty for false statements, that Mrs. Bell was exposed to asbestos
                     at textile job sites. Defense counsel could show that those workers'
                     compensation claims were not adjudicated on the merits, rather they were
                     dismissed without prejudice, weakening the credibility of Dr. Moline's
                     statement that the allegation of alternative exposure "was shown to be
                     without evidence."

                     Perhaps more significant than this example of a hamstrung cross-
                     examination is the Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579
                     (1993) issue created by concealment of Mrs. Bell's possible exposure.
                     Dr. Moline testified that "based on the information ... it wasn't determined
                     that [the research subjects] had ... any additional exposure." Federal Rule
                     of Evidence 702 requires that expert testimony be "based on sufficient facts
                     or data" and be "the product ofreliable principles and methods." Relatedly,
                     Daubert imposes a list of factors a court should consider in assessing the
                     reliability of expert testimony, including "the known or potential rate of
                     error and the existence and maintenance of standards controlling the
                     technique's operation." 509 U.S. at 594 (internal citations omitted). Mrs.
                     Bell's assertion that she may have been exposed to asbestos through the
                     textile industry and Dr. Moline's possible rejection of that potential fact
                     are important pieces of information to aid in the assessment of the
                     potential rate of error of the study's assertion that the thirty-three
                     participants had no asbestos exposure other than talcum powder.
                     Similarly, Dr. Moline's possible rejection of evidence of additional
                     exposure goes directly to the issue of standards controlling her study's
                     operation.

                     From this court's perspective, inquiry into the accuracy of facts and
                     assumptions underlying scientific merit is not only an appropriate inquiry,
                     but also necessary and required. "The inquiry envisioned by [Federal] Rule
                     [of Evidence] 702 is ... a flexible one. Its overarching subject is the
                     scientific validity and thus the evidentiary relevance and reliability-of the




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                   principles that underlie a proposed submission." Daubert, 509 U.S. at 594-
                   95. Even if reliability is examined by a court and deemed sufficient to
                   support admissibility. relevant cross-examination of an expert includes
                   ·'factual underpinning~ [which l ... affect the weight and credibility of the
                   witness' assessment.·' Bresler v. Wilmington Tr. Co., 855 F.3d 178, 195
                   (4th Cir. 2017) (internal quotation mark omitted) (quoting Structural
                   Polymer Grp. v. Zoltek Corp., 543 F.3d 987. 997 (8th Cir. 2008)).
                   l... l
                   In this case, a principal factual underpinning of the article is that in all thirty-
                   three cases studied "no identified source apart from the talcum powder" was
                   identified. (Doc. 274-1 at 2.) The absence of any specific information on
                   the identities of the individuals studied precludes inquiry into the basis
                   of the factual underpiniiing of no hJio,vn exposure to asbestos othe1~
                   than talcum powder.

    (Ex. I at p. 16-22) (emphasis added) (internal citations omitted).

            The Bell order was dated September 13, 2022. (Id.). Northwell was a party to the case at
    that point and given notice of the order. (Id.). Northwell was also given seven clays to appeal but
    did not. (Id. at 39).

            In a deposition two weeks after the Bell order was entered, Dr. Moline continued refusing
    to answer questions about the study. (Relevant portions of Deposition of Jacqueline Moline, M.D.
    (Daigle), taken Sept. 30, 2021, attached hereto as "Exhibit L". at 129: 17-148:25). Dr. Moline also
    repeated the false claim that Mrs. Bell's workers compensation cases were "dismissed for lack of
    information or lack ot evidence." (Id. at 133 :9-1 :=; ). She claimed to be unaware of the Bell order
    in which Judge Osteen specifically spelled out that the Bell workers compensation claims were
    not adjudicated as she has been testifying. (Id. at 137:7-138:8, 139:13-140:17). The pertinent
    portion of the Bell order was even read to Dr. Moline on the record:

                       MR. THACKSTON:[ ... ]
                       Page 19 of Judge Osteen's order, which we're attaching as Exhibit No.
                       15, says, quote Dr. Moline offered no basis for her statement that an
                       errata was unnecessary because the allegation of alternative exposure
                       was, quote, shown to be without evidence, end of quote. Indeed, she did
                       not have to because the protective order effoctively shielded the
                       assertion from cross-examination. If the order was not in place, then
                       defense counsel in that case and defense counsel in similar cosmetic talc
                       cases would be able to establish that Mrs. Bell was one of the individuals
                       the article studied and then challenge Dr. Moline with Ms. Bell and
                       plaintiffs workers' compensation claims asserting under criminal
                       penalty for false statements that Mrs. Bell was exposed to asbestos at
                       textile jobsites. Defense counsel could show that those workers'
                       compensation claims were not adjudicated on the merits Rather,        0




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                                   they were dismissed without prejudice weakening the credibility of the
                                   Dr. Moline's statements that the allegation of alternative exposure was,
                                   quote, shown to be without evidence, end of quote.

          Ex.Lat 137:10-138:8 2 (emphasis added).

          2 The full context of Dr. Moline's deposition testimony in the Daigle matter are illuminating as to her evasiveness when being
          examined about the bases of her study's findings:

              Q.   And it was brought to your attention that in the Betty Bell case, she had filed not one, but two workers' compensation
                   claims for occupational exposure to asbestos having nothing to do with cosmetic talc; right?
              A.   That were dismissed by the court as having no evidence, yes, I was aware of that.
              Q.   And so you're giving kind of a legal opinion now about the mechanism by which it was dismissed. Do you know whether
                   Judge Osteen specifically addressed that argument?
              A.   I was speaking about the other within the worker's comp claims that she made. My understanding is that they were
                   dismissed for lack of information or lack of evidence. I don't know what Osteen said. I haven't read the report. And I'm
                   not going to answer questions related to this without counsel present from Northwell Health. So I will not be answering
                   any questions that have to do with this order without counsel present.
              Q.   Let me turn the page.
              A.   I'm not answering questions related to this document without my counsel present.
              Q.   Where did you get the understanding that the Bell workers' comp claim was dismissed or how it was dismissed?
              A.    I believe I was provided with documents years ago with respect to that particular case and ... I mean, I'm not going to
                   discuss another case without their counsel present and my counsel present.
              Q.   Let's look at page 19. You're saying here today that the Bell workers' compensation claim was found to be without
                   evidence; right?
              A.    I'm not discussing this case any further without Mrs. Bell's counsel present and without Northwell Health's counsel
                   present.
              Q.   But you already had discussed it. You made the statement -
              A.   I'm not making any further comments.
              [ ... ]
              MR. THACKSTON: I'm going to read into the record the question I would ask by way of a bill.
                      Page 19 of Judge Osteen's order, which we're attaching as Exhibit No. 15, says, quote Dr. Moline offered no basis for her
                      statement that an errata was unnecessary because the allegation of alternative exposure was, quote, shown to be without
                      evidence, end of quote. Indeed, she did not have to because the protective order effectively shielded the assertion from
                      cross-examination. If the order was not in place, then defense counsel in that case and defense counsel in similar cosmetic
                      talc cases would be able to establish that Mrs. Bell was one of the individuals the article studied and then challenge Dr.
                      Moline with Ms. Bell and plaintiff's workers' compensation claims asserting under criminal penalty for false statements
                      that Mrs. Bell was exposed to asbestos at textile jobsites. Defense counsel could show that those workers' compensation
                      claims were not adjudicated on the merits. Rather, they were dismissed without prejudice weakening the credibility of
                      the Dr. Moline's statements that the allegation of alternative exposure was, quote, shown to be without evidence, end of
                      quote.
              [ ... ]
              Q. I'm going to back to your statement that the Bell workers' compensation case was dismissed and I'm asking you about
                      what your training -
              A. I told you I'm not discussing this case without counsel present and I am not -- or Bell's counsel present. So I'm not
                      discussing it.
              Q. Let's go back to your report. Your report in the Daigle case at page 19 states, quote, I have recently published a paper
                      along with co-authors that describes 33 cases ofmesotheliorna among individuals whose only known exposure to asbestos
                      was through their use of cosmetic talc, end of quote. Correct?
              A. That's what I wrote.
              Q. And I would like to ask you about those cases because there were allegations in those cases of exposure to asbestos other
                      than from cosmetic talc, weren't there?
              MS. RATCLIFFE: Objection. This is just borderline harassment at this point.
              THE WITNESS: I don't hear a question pending. You told me what you'd like to do, but that's not a question.
              BY MR. THACKSTON:
              Q. In those 33 cases, there were allegations of exposure to asbestos other than from cosmetic talc, weren't there?
              A. I'm not discussing the cases in the paper. I'm not discussing the specifics or the names of the individuals in the paper.




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             Approximately two weeks after being specifically apprised that a federal court had rejected
    her testimony about dispositions of the Bell workers compensation claims, Dr. Moline repeated
    the same false claim in testimony to a jury in Philadelphia on October 13, 2022, this time even
    purporting to be an authority on the workers' compensation process. (Relevant Portions of Fisher
    v. A-1-1, Trial Tr. Morning Session, October 13, 2022, "Exhibit M"; Fisher v. A-1-1, Trial Tr. P.M.
    Session, October 13, 2022, "Exhibit N"). On direct examination, the same counsel who represents
    Mr. Gref asked Dr. Moline the following:

                       Q Are you familiar with the process of workers' compensation?

                       A I am. I've been dealing with workers' compensation patients since I
                         started at Mount Sinai.

                       Q Could you explain in what way you're involved with that process?

                       A Sure. It's a process where a patient may feel that they have an exposure
                         at a workplace that's making them sick. They have to do some
                         paperwork, then they have to provide medical evidence that their
                         exposures are related - that their workplace exposures have caused the
                         disease, and then the workplace has to provide information saying
                         whether there is exposure at the workplace that could cause the disease
                         and it's -- part of it is an insurance process, but it also can involve if
                         there's a dispute that there may not be such an exposure or the exposure
                         didn't cause the disease, and then you have hearings, and there's workers'
                         comp judges that make decisions.

                       Q What significance is there, if any, to a workers' compensation judge
                         denying a worker's application or claim?

                       [objection omitted]

                       THE WITNESS: That a worker's compensation is going to look at the
                       information provided to them by the employer and by the claimant or
                       the patient, as well as if there's medical information, look to see if
                       there's a connection, look to see if there's an exposure in the workplace
                       and make a decision if there's sufficient evidence for there to be a claim
                       to go forward.

    (Ex. Mat 27:23-29: I 0). And again, only last month in October 2022 Dr. Moline claimed to a
    jury that she could not testify about the cases on which she relied on in her 2019 article due to
    "standard medical practice":



    id. at 133:9-134:24, 137:7-138:8, 139:13-140:17.




                                                       JA613
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                         Q. After you testified about your article to juries, if somebody who's cross-
                             examining you wants to make sure that that's right, that in those 33 cases
                             there was no other exposure - alleged exposure to asbestos, you take the
                             position that you won't disclose the names of any of those cases, right?

                         A. I take that position regardless of what situation I'm in. I do not disclose
                            the names of individuals. That is standard medical practice. That is
                            standard research practice ...

          (Ex.Nat 30:17-40:4).

                  It is false and misleading for her to suggest that she had any medical relationship with the
          33 litigation cases discussed in her article where she was not any of their treating physicians and
          the cases came to her through the course of litigation. Dr. Moline's continuing reliance on her
          Article, misrepresentations in the article and about events that came to light after it was published
          provide a compelling basis for a complete deposition in this case.

                 D. Although Dr. Moline Refuses to Identify the Underlying Cases, Facts Described
                    in the Article Resemble Other Cases That Also Had Allegations of Asbestos
                    Exposure

                  In addition to the Bell case, described above, there are at least four other cases that appear
          to be ones Dr. Moline used that also involved additional exposures to asbestos, contrary to her
          claims. Defendants have determined at least four of the plaintiff-cases in Dr. Moline's 2019 study
          match plaintiffs in other cases involving the Defendants for whom there is significant evidence of
          exposure to asbestos that is not alleged to be in talc.

                  What Dr. Moline refers to as "Case 3" in her 2019 a1iicle aligns with the facts of the Doris
          Jackson case, a school teacher. (Ex. A; Dr. Moline's Expert Report (Jackson), attached hereto as
          "Exhibit O" at 3; Ronald Gordon, Ph.D. 's Tissue Digestion (Jackson), attached hereto as "Exhibit
          P" at 2) The United States District Court for the District of Columbia granted a talcum powder
          defendant's Daubert motion to exclude the testimony of Ms. Jackson's expe1i, Dr. Ronald Gordon
          because he failed to follow the Helsinki Criteria in disregarding Ms. Jackson's exposure to "ceiling
          pipes with degrading insulation" during her more than 30 year career as a public school teacher.
          (Jackson Daubert Decision, "Exhibit Q" at 18 (emphasis added)). The Court excluded the opinion
          finding "Dr. Gordon's specific causation opinion is unreliable under Daubert." Id. Like Dr.
          Gordon, Dr. Moline reviewed and noted evidence of alternative exposure in her expert report, yet
          represented that Plaintiff3/Doris Jackson had no asbestos exposure other than talcum powder. (Ex.
          0 at 5)

                  Case 4 aligns with Valerie Jo Dalis, who filed a $450,000 bankruptcy trust claim based on
          her husband's automotive work, receiving $28,000 from the Manville Personal Injury Settlement
          Trust related to known commercial asbestos exposure separate and apart from her alleged talcum
          powder exposure. (Ex. A; Dr. Moline's Expert Report (Dalis), attached hereto as "Exhibit R" at




                                                 JA614
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    4; see also Ronald Gordon, Ph.D. 's Tissue Digestion Analysis (Dalis), attached hereto as "Exhibit
    S" at 2; Bankruptcy Trust claim, Claim Detail Report and claim Information Report ( Valerie Dalis),
    attached hereto as "Exhibit T"). Dr. Moline was aware of the bankruptcy trust claim, having
    received the transcripts of the depositions of both Mr. and Mrs. Dalis in preparation of or drafting
    her expert report in 2016. (Ex. R). Despite this review, Dr. Moline again misrepresented "Case
    4"/Mrs. Dalis as having no exposures to asbestos other than talcum powder in her 2019 article.
    (Ex. A).

            Case I 7's facts align with Helene Kohr. (Ex. A; Dr. Moline's Expert Report (Kohr),
    attached hereto as "Exhibit U" at 3). In her case specific report for Ms. Kohr, Dr. Moline
    acknowledged Ms. Kohr's 50-60 pack year smoking history, which included smoking Kent
    cigarettes with crocidolite asbestos-containing filters. (Ex. U). However, Dr. Moline did not
    include this fact in hei 2019 article. (Ex. A). Thus, based on Dr. Moline's own causation opinion,
    Plaintiff 17/Helene Kohr had alternative exposures and should have been excluded from the study
    based on Dr. Moline's description of the scope of the study. (Id.).

            Despite having served as an expert to plaintiff-participants in their cases, when asked
    recently about her 2016 expert reports from the Betty Bell and Doris Jackson cases, Dr. Moline
    refused to answer questions before any questions were even asked. (Relevant Portions of
    Deposition of Jacqueline Moline, M.D. (Chenet)(Mar. 25, 2021), "ExhibitV" at pp. 151 :5-153: 19;
    154: 12-155: 19; see also Ex. 1).

           E. Dr Moline Cannot use her study offensively as reliance material then refuse to
              answer questions about it based on alleged privileges

             Dr. Moline's claims that the litigation information on which she based her article is
    confidential in the context of her work as an expert witness has been exhaustively litigated and
    resolved against her and her employer. (Ex. I). In Bell, Plaintiff's counsel and Northwell made
    confidentiality and privilege arguments, including concerns about HIPAA and human research
    confidentiality, to shield Dr Moline's 2019 article from examination. The Bell court rejected those
    arguments and ordered unsealed all information relating to the Bell case being a subject of the
    study. The Bell court unsealed 36 pleadings initially protected .based on claims of confidentiality
    and privilege. (Ex. I). The fact that there were 36 pleadings on that topic indicate how thoroughly
    this issue has been litigated.

            In Bell, counsel for the plaintiff even conceded that HIPAA does not apply to the
    information Moline received as an expert witness and used in her study. As to HIPPA claims, the
    court found:

                  Moreover, All and Plaintiff agree that none of the information in the
                  Northwell Document is HIPAA protected. (Compare All's Br. (Doc. 369)
                  at 21, with Pl.'s Resp. (Doc. 377) at 19.) Plaintiff's concession that no
                  HIP AA-protected information is at risk of disclosure nullifies No1ihwell's
                  argument that 'vacation the protective order would violate the purpose of




                                                   JA615
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                         HIPAA." (Northwell's Resp. (Doc. 392) at 17 (capitalization removed).)
                         As North well acknowledges, the relevant purpose of HIP AA is to benefit
                         patients by providing privacy protections for certain types of health
                         information. (See id. at 17 (citing 45 C.F.R. §§ 160.103, 164.502, 164.508
                         (2020)).) Here, the patient's representatives, Plaintiff, concedes no HIPAA-
                         protected is at risk of disclosure. In light of this concession-not to mention
                         the HIPAA waiver Plaintiff executed, (Doc. 179-6) - HIPAA does not
                         seem to apply nor is its purpose violated.

          (Ex. I at 36 (emphasis added)).

                 The Court also noted that many of the 33 cases do not qualify for privacy protections
          granted to "human test subjects" given the cases involved deceased individuals at the time the
          study began. (Id. at 29-34).

                 As noted, N011hwell intervened in the Bell case to make these same arguments. The Court
         subsequently rejected them. Northwell was then given the opportunity to appeal the Court's
         decision and did not. In this case, pursuant to a subpoena, Northwell is producing documents
         related to the Moline article. Other Courts have also rejected arguments related to "privacy" in
         relation to questioning the individuals involved in Dr. Moline's study. (No. 2019-7989 Div. "E",
         SEC. 7, Civil District Court Parish of Orleans, State of Louisiana, Judgment dated July 16, 2021,
         attached hereto as "Exhibit W").

                 F. Additional Time is Needed to Fairly Examine Dr. Moline Due given the Nature
                    of her Opinions and the History of Obstruction.

                 Although a party may terminate or limit a deposition that is "being conducted in bad faith
         or in a manner that unreasonably annoys, embarrasses, or oppresses" their expert, the Rules
         provide that "[t]he court must allow additional time consistent with Rule 26(b)(l) and (2) if
         needed to fairly examine the deponent .... " Fed. R. Civ. P. 30(d)(3)(A) and 30(d)(I). "[T]here
         may often be a need for additional time[ ... ] for full exploration of the theories upon which
         the [expert] witness relies." Fed. R. Civ. P. 30(d), 2000 Advisory Committee Notes. The Rules
         also demonstrate a preference for "broadening of discovery against experts in the cases [] where
         expe11 testimony [is] central to the case," as this will make for more efficient and better cross-
         examination and rebuttal at trial. Fed. R. Civ. P. 26(b )( 4), 1970 Advisory Committee Notes.

                 The Rules of Evidence state an "expert may be required to disclose [the underlying] facts
         or data [of her opinion] on cross-examination. Fed. R. Evid. 705. Rule 26(b)(4) governing
         protections of expert discovery is not meant to impede any discovery efforts about an expert's
         opinion or the "development, foundation, or basis of those opinions." Fed. R. Civ. P. 26(b)(4),
         2010 Advisory Committee Notes.

                        For example, the expert's testing of material involved in litigation, and
                        notes of any such testing, would not be exempted from discovery by this




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                   rule. Counsel are also free to question expert witnesses about
                   alternative analyses, testing methods, or approaches to the issues on
                   which they are testifying, whether or not the expert considered them
                   in forming the opinions expressed. These discovery changes therefore do
                   not affect the gatekeeping functions called for by Daubert v. Merrell Dow
                   Pharmaceuticals, Inc., 509 U.S. 579 ( 1993), and related cases.

    Id. (emphasis added).

            Defendants are allowed to examine Plaintiff's expert about any source whose information
    pertained to her opinions for this case. Cnty. of Suffolk v. Long Island Lighting Co., 122 F.R.D.
    120, 124 (E.D.N.Y. 1988). Examination of Dr. Moline's methodology used in her 2019 article is
    required to determine whether her opinion in this case is base<l on reliable analysis. See, e.g.,
    Amorgianos v. Nat'/ R.R. Passenger Corp., 303 F.3d 256, 267 (2d Cir. 2002). "Vigorous cross-
    exarnination, presentation of contrary evidence, and careful instruction on the burden of proof are
    the traditional and appropriate means of attacking shaky but admissible evidence." Daubert, 509
    U.S. at 596. Finally, "lt]he need to provide the parties with an adequate opportunity to
    develop the record and present their strongest arguments" trumps any interest the Court may
    have in expediency. In re Gen. Motors LLC Ignition Switch Litig., No. 14-MD-2543 (JMF), 2017
    WL 9771806, at *2 n.1 (S.D.N.Y. May 4, 2017).

           Here, Defendants must be allowed additional time to explore the theories on which Dr.
    Moline's opinion is based, including on her article she explicitly cited in her Report as a basis for
    her opinions in this case. (Ex. A). Questioning how Dr. Moline developed her methodologies
    cannot be considered "bad faith," let alone unreasonably annoying, harassing, or oppressive.
    Indeed, Defendants are permitted to fully exposure "the theories upon which [Dr. Moline] relies."
    The Defendants cannot develop a complete record Dr. Moline without the adequate opportunity to
    "vigorous[ly] cross-exam in[ e]" on the development, foundation, or basis of her opinions found in
    her 2019 article, as Dr. Moline's opinion in this case relies on the thesis of her 2019 article.

            Federal Rule of Evidence 705 is clear: Plaintiff's expert is required to disclose the facts or
    data underlying her opinion. Each of the 33 plaintiff-participants who were hand-picked by Dr.
    Moline for her study were those who had already filed his or her own personal injury action and
    for whom Dr. Moline had been designated as an expert witness to testify regarding their disease
    and the alleged cause(s) of the plaintiffs' disease. The Defendants would be unduly prejudiced if
    they are prevented from having a full and complete opportunity to cross-examine Dr. Moline about
    her unsound methodologies to properly challenge, and exclude, the testing results and her expert
    opinions under Daubert.

             Notably, Daubert imposes multiple factors for courts to consider in assessing the reliability
    of an expert. Daubert v. Merrell Dow Phrarns., Inc., 409 U.S. 579, 594 (1993). This includes
    determining "the known or potential rate of error and existence and maintenance of standards
    controlling the technique's operation." (Id.). Given at least one of the individuals listed in her 2019
    article is known to not meet the alleged premises of her study, and there are likely at least three




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          more, full cross-examination on the basis of her study, including the full backgrounds of the
          individuals in the 2019 article is required to determine the reliability of or "potential rate of error"
          in her study given its false claim that all 33 individuals had "no identified source [of asbestos
          exposures] apart from the talcum powder." (see Ex. I at pp. 20-21, 23).

                  Finally, public policy supports allowing Defendants to fully question Dr. Moline. Dr.
          Moline's misleading 2 article has had influence "on cosmetic talc litigation nationwide." (Id. at p.
           17). Not only does Dr. Moline rely on and cite her article, other expert witnesses in this litigation
          have relied on it for their opinions. (Id. at pp. 17-18). Dr. Moline gave testimony to Congress about
          the "findings" in her 2019 article, which has the potential to influence policy nationwide. (Ex. K).
          Given its reach and influence, Defendants must have the ability to challenge the basis of her
          testimony given its reliability is in question based on the information Dr. Moline omitted about the
          individual's known asbestos exposures.

                  Following informal requests to continue Dr. Moline's deposition based on the foregoing,
          Plaintiff only offered one hour of additional time to depose Dr. Moline. Given she not only wrote
          the article on which this litigation is built, but she also managed to avoid answering fil1Y
          substantive questions about it using various dilatory tactics for two years, Dr. Moline must be
          examined fully on her a11icle or withdraw as an expert.

                 As the Bell Com1 found, the potential issue created by concealment of the individuals in
          her 20 I 9 article "goes directly to the issue of standards controlling her study's operation."
          Respectfully, this Court should find the same. Therefore, Defendants need additional time to
          depose Dr. Moline to examine her on her flawed methodologies, and Dr. Moline should be
          compelled to answer questions on the names and backgrounds of the individuals in her 2019 article
          pursuant to Federal Rules 26, 30, and 37.

         Ill.    DEFENDANTS NEED ADDITIONAL TIME TO DEPOSE DR. MOLINE DUE TO
                 UNDUE DELAYS AND EXCESSIVE AND UNTIMELY DISCLOSURES OF
                 OPINIONS.

                 A. Defendants need additional time to question Dr. Moline to determine which
                    materials she actually relies on to determine her opinion.

                 Defendants cannot be expected to fully examine a witness on the basis of her opinions
         when they have no way of ascertaining where her opinions came from. Dr. Moline's purposefully
         obfuscates which materials she relies on to develop her case-specific opinions, prolonging her
         examination. She purports to rely on a "reference" list of articles or documents containing 492
         references to develop her opinions. (Ex. B). However, throughout her report she make asse11ions
         without citations to specific articles or studies, pointing to the 492 references as the basis for her
         assertion. (e.g., Ex. G at p. 241:10-21). Likewise, during her second day of deposition she claimed
         her reference list actually contained "about 505" items as the basis for her assertions. (Id. at pp.
         241 :22-242:2).




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            Beyond the 492 reference materials listed, Dr. Moline presented at the deposition with
    multiple expert reports and additional testimony and opinions not disclosed in her original report.
    (Ex. F at pp. 14: 18-17: l ! ). This included a ! 7-page "Exposure Testimony Summary''; which she
    did not draft, which was not provided to Defendants until the day prior the deposition and which
    she relied on for her opinions in the deposition. (Id. at pp. 13:9-25, 135:16-136:2, 170:15-21).
    Despite receiving this "Exposure Testimony Summary" nine months after her report was produced,
    she relied on this for new opinions in this case.

             Another example of Dr. Moline's obfuscation came during defense examination related to
    her alleged methodology in formulating her opinion. She alleged there was an "analogous exposure
    scenario" referenced by the Center for Disease Control ("CDC"), although she offered no citation
    to any specific article .. (Ex. B at 21 ). Dr. Moline testified that someone would have to "go and
    find" the CDC articie from her list of 505 articles in her report's reference list. (Ex. G at pp. 241: 10-
    242:9). She also testified that the article did involve linking peritoneal mesothelioma to asbestos
    exposures, and she claimed it stated "that cosmetic talc may be a cause." (Ex. G at pp. 242:25-
    243: l 6).

           Likewise, after the first day of deposition, Dr. Moline made dose estimates/dose
    applications for various products allegedly at-issue in this matter. (Ex. G at pp. 273:17-274:17).
    She did not provide these estimates to counsel, but she relied on these estimates for her opinions
    expressed for the first time on direct at the end of her deposition. (Id.).

            Similarly, she reviewed a rep011 from Dr. William Longo produced after her October 28,
    2021, report which she reviewed and considered for her opinions in this case. (Ex. G at pp. 275 :20-
    277: 14). Despite considering this report for her opinions in this case, she never supplemented her
    report to reflect her updated opinions. (Id.)

           During examination by plaintiffs counsel near the very end of the second day of deposition,
    Dr. Moline again developed new dose estimates and "cumulative exposure" estimates, including
    dose estimates for individual defendant's products. (Ex. G at 295 :2-296: 14). Again, these estimates
    were not provided by Dr. Moline prior to her deposition. (Id.).

           When given the opportunity to briefly examine Dr. Moline on these estimates, she was
    asked whether she knew of any studies, whether in her over 500 listed references or not, that
    examined individuals within the range she alleged Plaintiff Gref was exposed to from cosmetic
    powders contracted mesothelioma and she was unable. (Id. at pp. 307:7-311 :25). She mentioned
    one study related to workers at a Chinese factory hand-spinning raw chrysotile asbestos, and the
    examination was terminated before Defendants were finished examining her on this study or her
    new dose estimate opinions. (Id.).

            In addition and specific to Mennen, Mennen's counsel asked Dr. Moline about the bases
    for her opinions on Day 1, and Dr. Moline testified she did not rely on the late-produced reports
    from Dr. Longo on purported asbestos content of Mennen products. Indeed, Dr. Moline confirmed




                                                      JA619
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 18 of 21 PageID# 725


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         she reviewed three reports from MAS/ Dr. Longo on Mennen products after her 8/28/21 report and
         never supplemented her report or opinions. Ex. Fat 14: 18-15 :4, I 6:8-16, 166: 12-169:3.

                  With regard to the 17-page "Exposure Testimony Summary" that was not provided to
         Defendants until the day before the deposition, Dr. Moline testified she ·'didn't have anything to
         do with the preparation of it." Ex. F at pp. 170:7-21. She further testified that she did not perform
         a dose estimate or "any quantification" in terms of fiber release for Mennen products. (Id. at pp.
          171 :7- 172:9). Neve1iheless, after the second day of her deposition when her own counsel did his
         direct examination, Dr. Moline offered new opinions beyond her report for the first time and after
         more than 6 hours of deposition. Specifically, Dr. Moline testified she developed new dose
         estimates and "cumulative exposure" estimates, including a fiber release and dose estimate specific
         to Mennen. (Ex. G at 295:2-296:14). Counsel for Mennen was unable to ask follow up questions
         as to the basis for this brand new opinion before Plaintiffs counsel called time on the deposition.

                 As shown, Dr. Moline essentially aims to "hide the ball" from examining counsel as to the
         foundations for her opinions. Not only does her reference list change mid-deposition without
         notice to defendants, but she does not cite to specific articles to make her assertions and she
         modifies her opinions without notice to defendants or supplementing her opinion repo1i. As noted
         in Section II, studies demonstrate that only 8% of peritoneal mesotheliomas like Plaintiff Grefs
         have known relation to asbestos. If Dr. Moline's is allowed to point to "about 505" references for
         the "foundation" of her opinion, detennining the actual grounds for her opinion is impossible.

                  Questioning how Dr. Moline developed her methodologies cannot be considered "bad
         faith," let alone unreasonably annoying, harassing, or oppressive. Indeed, Dr. Moline cannot claim
         to be oppressed while charging $750 per hour to give her testimony. (Ex. F at p. 20:23-25).

                 Defendants are permitted to fully expose "the theories upon which [Dr. Moline] relies."
         Likewise, simply reviewing this "Reference List" does not satisfy Defendants' right to examine
         and depose Dr. Moline. (Harris v. United States, 132 F. App'x 183, I 85 (9th Cir. 2005) ("The
         opportunity to review the opposing party's expert witness's report does not satisfy a party's right to
         depose that expert.")). This is even more relevant here, where, as noted, Dr. Moline brought
         additional reports she relied on to her deposition that Defendants had minimal or no opportunity
         to review prior to the deposition.

                 Here, there is no basis for terminating Dr. Moline's deposition before defense has adequate
         time to examine her, and there is no basis for limiting its continuation to one hour. Given
         Defendants did not have adequate oppo1iunity to fairly examine Dr. Moline on the materials she
         relied on for her opinions - both those disclosed in her initial report as well as those disclosed the
         day of her deposition.




                                                 JA620
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 19 of 21 PageID# 726


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            B. Undue Delays Caused by Dr. Moline's Unresponsive Answers And Technical
               Issues .Justify Additional Time For Examination.

            During her deposition, Dr. Moline consumed undue time to insult the questioning attorneys
    or make snide remarks, which unduly wasted time on at least seventeen occasions. (Id. at 50:9-13,
    59:15-22, 80:9-24, 80:25-81:11, 81:12-25, 89:3-13, 95:3-19, 102:2-3, 106:17-24, 116:11-18,
    118:10-119:7, 131:14-2L 132:24-133:10, 297:12-16, 196:14-197:22, 281:2-16, 297:24-298:5).
    These unprofessional remarks causing delays occurred while counsel questioned Dr. Moline's
    about her reliance materials (outside of her 2019 article) forming the bases for her opinion,
    including questions about dose levels, methodologies she claimed to follow, Mr. Gref's non-talc,
    alternative exposures to asbestos, and testing done on cosmetic talc, among other topics. (Id.)

            In addition to delays caused by Dr. }v1olinc, technical issues caused by virtual nature of the
    deposition also caused delays in the deposition while on the record. These issues included hearing
    issues, screen sharing issues (for exhibits), and camera positioning, none of which were the sole
    fault of any one party present at the deposition. (e.g., id. at 10: 14-20, 26: 11-15, 29:2-3, 85: 13-24,
    117:5-19, 121 :20-25, 193:2-7, 214:20-23, 240:16-17, 244:9-18, 267:13-25, 297:12-19).

            Despite these delays, and despite defendants stating they had additional questions on the
    reliance materials through which Dr. Moline formed her opinion, Plaintiff's counsel ended the
    deposition. (Ex. G at p. 291 :25-292:24, 297:5-9, 311 :21-312:16).

            As noted supra, the Rules provide that "[t]he court must allow additional time consistent
    with Rule 26(b )(l) and (2) if needed to fairly examine the deponent or if the deponent [... ] or
    any other circumstance impedes or delays the examination." Fed. R. Civ. P. 30(d)(3)(A) and
    30(d)(l). "Other circumstances" allowing for additional examination time include circumstances
    outside the control of the parties, including "a power outage, a health emergency, or other event."
    Fed. R. Civ. P. 30(d), 2000 Advisory Committee Notes.

            Dr. Moline's deposition was repeatedly delayed by her personal insults on examining
    attorneys and mocking non-responsive remarks aimed at the questioning attorneys. Similarly, the
    deposition experienced multiple technical issues while on the record which further delayed her
    examination. These are exactly the situations covered under Rule 30(d)(l) - not only did Dr.
    Moline delay her own examination through her remarks, but "other circumstances" caused by
    technical failures impeded her deposition. As such, this Court "must allow additional time" to
    allow Defendants "to fairly examine" Or. Moline.

            Given the combative, nonresponsive nature of Dr. Moline's testimony, time limits are
    unfair to the defendant. They allow the witness, and counsel with long improper objections, to
    "run out the clock" without actually providing answers during Defendant's examination. Therefore,
    pursuant to Federal Rules 26, 30, and 37, A-I-I moves this Court to grant additional time to fairly
    examine Dr. Moline on all bases of her opinion.

    Ill




                                                     JA621
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 20 of 21 PageID# 727


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          IV.    CONCLUSION & PRAYER

                 For the foregoing reasons, Defendants seek an order compelling the continuation of Dr.
          Moline's deposition until Defendants are given reasonable opportunity to explore fully the bases
          for Dr. Moline's opinions, and Defendants seek an order compelling Dr. Moline to answer
          questions regarding her article. The Defendants also seek such other relief the Court may consider
          appropriate.

                                                               Respectfully Submitted,

                                                               Lathrop GPM LLP


                                                               Robert E. Thackston
                                                               Partner

          cc:    All parties ofrecords (via ECF)




                                               JA622
Case 4:22-mc-00001-AWA-DEM Document 4-20 Filed 12/02/22 Page 21 of 21 PageID# 728




                                   JA623
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                EXHIBIT U




                                  JA624
Case 4:22-mc-00001-AWA-DEM Document 4-21 Filed 12/02/22 Page 2 of 5 PageID# 730




                                        UNITED ST ATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF NEW YORK
         ------------------------------------------------------------------------X

         BRIAN JOSEPH GREF,                                                          Docket No.: 1:20-cv-05589

                                                     Plaintiff,                      THIRD AMENDED NOTICE
                          -against-                                                  OF VIDEO DEPOSITION OF
                                                                                     DR. GREGORY DIETTE

         AMERICAN INTERNATIONAL INDUSTRIES,
          individually and as successor-in-interest for the
          CLUBMAN BRAND, and to THE NESLEMUR
          COMPANY and PINAUD COMPANY, et. al.,

                                                      Defendants.
         ------------------------------------------------------------------------X

                      THIRD AMENDED NOTICE OF VIDEOTAPED DEPOSITION OF
                                    DR. GREGORY DIETTE

         TO/DEPONENT:                                         Dr. Gregory Diette

         FROM:                                                Plaintiff, Brian Joseph Gref

         DA TE AND TIME:                                      December 22, 2022 at 11 :00 a.m. ET

         PLACE DEPOSITION TO BE TAKEN:                        Via Zoom Conferencing accessible at VeritextLink:

                   https://proceedings.veritext.com/?token=76 l 5a I b99f064a898d22b4c9fl e7845 I

                    PLEASE TAKE NOTICE that Plaintiff BRIAN JOSEPH GREF, by and through his

           undersigned counsel, and pursuant to Fed. R. Civ. P. 26(b )( 4) and Fed. R. Civ. P. 30, the Local

           Rules of this Court and other applicable rules and statutes, will take the videotaped deposition

           upon oral examination of Dr. Gregory Diette. before a certified court reporter and notary

           public who is not an attorney, or employee of an attorney, for any party or prospective party

           herein and is not a person who would be disqualified to act as a jury because of interest or

           because of consanguinity or affinity to any party herein. The deposition will be recorded by




                                                     JA625
Case 4:22-mc-00001-AWA-DEM Document 4-21 Filed 12/02/22 Page 3 of 5 PageID# 731




     stenograph by a certified court reporter that is authorized to administer oaths, and also

     videotaped.

          PLEASE TAKE FURTHER NOTICE that the Deponent is also required to produce any

   and all documents s/he relies upon for his/her opinions in the above-captioned matter, including

   those items enumerated in the attached "Schedule A," and it is requested that such production take

   place at least three days in advance of the deposition.

          Ail Defendants wishing to attend the deposition are invited to participate.




                                                         Respectfully submitted,

   Dated: November 22, 2022, 2022                                SIMMON~;HANLY CONROY



                                                             ()-1~----
                                                         J~?s'i<.rame;: Esq .
                                                         .fr2 Madison A venue, 7111 Floor
                                                       .,.v·New York, New York 10016-7416
                                                           Attorneys for Plaintiff


                                    CERTIFICATE OF SERVICE

          I do hereby certify that on this 22 November 2022, I served a copy of the foregoing on all

   counsel ofrecord via electronic mail per the parties' agreement.




                                                         James Kramer, Esq.




                                                   JA626
Case 4:22-mc-00001-AWA-DEM Document 4-21 Filed 12/02/22 Page 4 of 5 PageID# 732




                                                   SCHEDULE A

                                             DOCUMENTS TO BE
                                                PRODUCED

          1.      Deponent's complete file(s) concerning this case;

          2.     All documents or other materials deponent has reviewed, prepared, discussed,
          considered, relied upon or referred to in preparation of his/her expert repo1t and/or in
          preparation for his/her deposition in this case;

          3.    All articles, publications, reports, tests, or studies that form the basis for
          deponent's opinions in this case;

          4.      All summaries, impressions, reports and evaluations relating to this case, including
          but not limited to, any testing deponent performed or any tests conducted at deponent 's
          request and/or upon request;

          5.       All documents that constitute deponent reliance materials, including all documents
          which deponent will rely upon to support each and every opinion to which s/he will testify
          in this case;

          6.     All documents or other materials that deponent considered and rejected in forming
          and providing his/her opinions in this case;

          7.      All correspondence, reports, and documents deponent has ever shared or exchanged
          with or received from, any other witness testifying for Plaintiffs in this case;

          8.      Any and all materials prepared by deponent, or at his/her direction, pertaining to
          this case;

          9.       All documents constituting or evidencing a communication between deponent and
          any law firm representing any defendant in this action, or anyone assisting any of those firms
          in this case in relation to deponent 's services as a witness in this case, including, without
          limitation, any communication of factual, expert or legal information about the litigation, any
          retention letter, contract, fee schedule, billing from deponent, payment to deponent, and all
          materials provided to deponent by any law firm representing any defendant in this action, or
          anyone assisting any of those firms in this case.

          10.     All documents constituting or evidencing a communication between deponent and
          any Defendant in this case that has retained deponent concerning 's services as an expert,
          including, without limitation all billing from deponent, payment to deponent, and all
          materials provided to deponent or received from deponent.

          11.    All invoices for any fees billed to date in this case.

          12.     All notes, drawings, chaits, exhibits, photographs, videotapes, and power points or
          other presentations made by deponent or on his/her behalf, or considered by deponent with
          regard to this case;




                                               JA627
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     13.     Any and all written reports rendered by deponent, reviewed by deponent or prepared
     at deponent direction setting forth any findings and/or factual observations, including drafts
     of such reports, and any notes, computations and/or calculations and/or writings of any
     description concerning this case, or the facts underlying this case;
     111      A 11   ..J~-···---·-"--   --·---'-='-··'-=·-- -·· __ ,!.J_. __ : ___ -  --·--·--·---=--_._: ___ 1__ ..._ __ , ____ ..J _________ .,__
     I '-t.   J-\ II UUvUlllC:lll~ \.,UllMllUllll)c; UI c:v IUC:IIUll)c;           a. \.,UJIIIIIUIIICa.LIUII  UCL wee1 I ueµu11e1 ll,

     or anyone acting on deponent's behalf, concerning Plaintiffs and/or this case;

     15.    All exhibits to be used by deponent as a summary of or in support of his/her
     opinions or conclusions in this case;

     16.     Any and all presentation materials, including but not limited to PowerPoint slides,
     lecture handouts, or lecture notes, related to al! presentations deponent has given or intends to
     give on asbestos-related cases; and

     17.      Deponent's most current curriculum vitae.




                                                                          JA628
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                EXHIBIT V




                                  JA629
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         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
         ----------- --- ----- ------ ----- ---- ---- --------- ---- --- ---- --X
         BRIAN JOSEPH GREF,                                                       Docket No.: l:20-cv-05589-GBD-DCF

                                           Plaintiff,                              DEFENDANT AMERICAN
                                                                                   INTERNATIONAL INDUSTRIES'
                           -against-                                               SECOND AMENDED NOTICE
                                                                                   FOR VIDEOTAPED DISCOVERY
        AMERICAN INTERNATIONAL INDUSTRIES, DEPOSITION OF DR. SUPRITH
            individually and as successor-in-interest for the BADARINATH, M.D.
            CLUBMAN BRAND, and to THE NESLEMUR
            COMPANY and PINAUD COMPANY, et al.,
                                                                                        CHANGE OF TIME
                                                    Defendants.
        ------------------ --- --- ---- -- -- -- -- -------- ------ ---- ---- -- X

        TO:      Dr. Suprith Badarinath, M.D.
                 Cancer Specialists of North Florida - Riverside
                 2 Shircliff Way, Suite 800
                 Jacksonville, Florida 32204

                 PLEASE        TAKE       NOTICE         that   Defendant      AMERICAN           INTERNATIONAL

        INDUSTRIES, by and through their undersigned counsel and pursuant to Fed. R. Civ. P.

        30(b )(3)(A) and Local Rules of this Court, will take the videotaped and stenographic discovery

        deposition upon oral examination of DR. SUPRITH BADARINATH, M.D., before a Notary

        Public who is not an attorney, or employee of an attorney, for any pmiy or prospective pmty herein

        and is not a person who would be disqualified to act as a jury because of interest or because of

        consanguinity or affinity to any party herein, on Tuesday, January 11, 2022 beginning at 3:30

        P.M. (EST) via Veritext Virtual Zoom Conferencing or telephone. The videographer will also

        be provided by Veritext. The deposition will continue day-to-day until completed.

                PLEASE TAKE FURTHER NOTICE that the deponent is required to produce at the

        deposition, all documents within his possession, custody or control, by also those reasonably

        available to him, including those in the possession, custody or control of Plaintiffs attorneys,




                                                    JA630
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   agents or any other person or entity acting on the behalf which are responsive to the requests,

   below:

      1) A copy of your current CV;

      2) A copy of your complete file pertaining to Plaintiff, Brian Joseph Gref (i.e., medical

            records, test reports, intake forms, patient questionnaires, etc.);

      3) A copy of all communications between Plaintiff, Brian Joseph Grefand yourself, including

            by not limited to, call notes, emails, or any and all communications via any "patient portal",

            etc.; and

      4) A copy of all communications between Simmons Hanly Conroy LLC and Plaintiff, Brian

            Joseph Gref or anyone authorized to discuss Plaintiff, Brian Joseph Gref's medical

            condition in deponent's file.

   DATED: New York, New York
          January 7, 2022

                                                            Respectfully Submitted,

                                                    HAWKINS PARNELL & YOUNG, LLP


                                                             By:-----------
                                                              Alfred J. Sargente, Esq. (AS-3094)
                                                              275 Madison Avenue, 10 th Floor
                                                              New York, New York 10016
                                                              Tel: (646) 589-8714
                                                              Fax: (646) 589-8700
                                                              Attorneys for Defendant
                                                              American International Industries




                                                     JA631
Case 4:22-mc-00001-AWA-DEM Document 4-22 Filed 12/02/22 Page 4 of 5 PageID# 737




         TO:   James M. Kramer, Esq.
               SIMMONS HANLY CONROY LLC
               112 Madison Avenue, 7 th Floor
               New York, New York 10016
               Tel: (212) 257-8482
               Attorneysfc>r Plaintiff (via e-mail)

               All Defense Counsel of Record (via e-mail)

         cc:   Priority One/Veritext (via email)




                                             JA632
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                                   CERTIFICATE OF SERVICE

          I, Alfred J. Sargente, Esq., do hereby certify that on January 7, 2022, the foregoing

   Defendant American International Industries' Second Amended Notice for Videotaped

   Discovery Deposition of Dr. Suprith Badarinath, M.D. was e-mailed to all counsel of record.

   Dated: New York, New York
          January 7, 2022

                                                HAWKINS PARNELL & YOUNG, LLP



                                                        By:----------
                                                         Alfred J. Sargente, Esq. (AS-3094)
                                                         275 Madison Avenue, 10th Floor
                                                         New York, New York 10016
                                                         Tel: (646) 589-8714
                                                         Fax: (646) 589-8700
                                                         Email: asargente@hpvlaw.com
                                                         Attorneys for Defendant
                                                         American International Industries




                                                  JA633
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              EXHIBIT W




                                  JA634
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        UNITED ST ATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
        ----- ------- -- ------- --- -------- ------------------- ------- --X
         BRIAN JOSEPH GREF,                                                     Docket No.: l:20-cv-05589-GBD-DCF

                                                Plaintiff,                      DEFENDANT AMERICAN
                                                                                INTERNATIONAL INDUSTRIES'
                           -against-                                            AMENDED NOTICE FOR
                                                                                VIDEOTAPED DISCOVERY OF
        AMERICAN INTERNATIONAL INDUSTRIES,                                      DR. EHSAN SHIRAZ!, M.D.
          individually and as successor-in-interest for the
          CLUB MAN BRAND, and to THE NESLEMUR
          COMPANY and PINAUD COMPANY, et al.,

                                                Defendants.
        ---- -------- ------- ----- ------------ -- ----------------------X

        TO:      Dr. Ehsan Shirazi, M.D.
                 Mayo Clinic - Jacksonville
                 4500 San Pablo Rd. South
                 Jacksonville, Florida 32224

                 PLEASE           TAKE         NOTICE           that    Defendant      AMERICAN     INTERNATIONAL

        INDUSTRIES, by and through their undersigned counsel and pursuant to Fed. R. Civ. P.

        30(b )(3)(A) and Local Rules of this Court, will take the videotaped and stenographic discovery

        deposition upon oral examination of DR. EHSAN SHIRAZ!, M.D., before a Notary Public who

        is not an attorney, or employee of an attorney, for any party or prospective party herein and is not

        a person who would be disqualified to act as a jury because of interest or because of consanguinity

        or affinity to any party herein, on Wednesday, January 12, 2022 beginning at 10:00 A.M. (EST)

        via Veritext Virtual Zoom Conferencing or telephone. The videographer will also be provided

        by Veritext. The deposition will continue day-to-day until completed.

                 PLEASE TAKE FURTHER NOTICE that the deponent is required to produce at the

        deposition, all documents within his possession, custody or control, but also those reasonably

        available to him, including those in the possession, custody or control of Plaintiffs attorneys,




                                                           JA635
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   agents or any other person or entity acting on his behalf which are responsive to the requests,

   below:

      1) A copy of your current CV;

      2) A copy of your complete file pe1iaining to Plaintiff, Brian Joseph Gref (i.e., medical

            records, test repo1is, intake forms, patient questionnaires, etc.);

      3) A copy of all communications between Plaintiff, Brian Joseph Gref and yourself, including

            but not limited to, call notes, c1nails, or any and all Cv1l1111u11;vat;v11;:, \t ;a auj ''i-Jat;eut

            portal", etc.; and

      4) A copy of all communications between Simmons Hanly Conroy LLC and Plaintiff, Brian

            Joseph Gref or anyone authorized to discuss Plaintiff: Brian Joseph Grefs medical

            condition in deponent's file.

   DATED: New York, New York
          January 7, 2022
                                                              Respectfully Submitted,

                                                     HAWKINS PARNELL & YOUNG, LLP



                                                             Alfred J. Sargente, Esq. (AS-3094)
                                                             275 Madison Avenue, 10 th Floor
                                                             New York, New York 10016
                                                             Tel: (646) 589-8714
                                                             Fax: (646) 589-8700
                                                             Attorneys for Defendant
                                                             American International Industries




                                                       JA636
Case 4:22-mc-00001-AWA-DEM Document 4-23 Filed 12/02/22 Page 4 of 5 PageID# 742




        TO:   James M. Kramer, Esq.
              SIMMONS HANLY CONROY LLC
              112 Madison Avenue, 7 th Floor
              New York, New York 10016
              Tel: (2 !2) 257-8482
              Attorneys for Plaintiff (via e-mail)

              All Defense Counsel of Record (via e-mail)

        cc:   Priority One/Veritext




                                           JA637
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                                   CERTIFICATE OF SERVICE

          I, Alfred J. Sargente, Esq., do hereby certify that on January 7, 2022, the foregoing

   Defendant American International Industries' Amended Notice for Videotaped Discovery

   Deposition of Dr. Ehsan Shirazi, M.D. was e-mailed to all counsel of record.

   Dated: New York, New York
          January 7, 2022

                                                HAWKINS PARNELL & YOUNG, LLP


                                                        By:-----------
                                                            Alfred J. Sargente, Esq. (AS-3094)
                                                            275 Madison Avenue, 10 th Floor
                                                            New York, New York 10016
                                                            Tel: (646) 589-8714
                                                            Fax: (646) 589-8700
                                                            Email: asargente@hpylaw.com
                                                            Attorneys for Defendant
                                                            American International Industries




                                                  JA638
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                EXHIBIT X




                                  JA639
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                                                UNITED ST ATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF NEW YORK
         ------------ ----- -- ------ --- ---- ---- --------------- ------- ------ ------- -X

         BRIAN JOSEPH GREF,                                                             Docket No.: I :20-cv-05589

                                                     Plaintiff,
                          -against-


         AMERICAN INTERNATIONAL INDUSTRIES,
          individually and as successor-in-interest for the
          CLUBMAN BRAND, and to THE NESLEMUR
          COMPANY and PINAUD COMPANY, et. al.,

                                                     Defendants.
         ------------------------------------------------------------------------X
                        PLAINTIFF'S SUPPLEMENTAL INTERROGATORY TO DEFENDANT
                   AMERICAN INTERNATIONAL INDUSTRIES INDIVIDUALLY AND AS
                 SUCCESSOR-IN-INTEREST FOR THE CLUBMAN BRAND, AND TO THE
                                 NESLEMUR COMPANY AND PINAUD COMPANY

                  Pursuant to Fed. R. Civ. P. 33, Plaintiff, by his undersigned attorneys, propounds this

         Interrogatory, which Defendant American International Industries individually and as successor-

         in-interest for the Clubman Brand, and to The Neslemur Company and Pinaud Company shall

         respond fully to within the time prescribed by the Federal Rules of Civil Procedure, in accordance

         with the Instructions and Definitions set forth hereinafter.

                                                       INSTRUCTIONS

                  I.      These instructions and definitions should be construed to require responses based

         upon the knowledge of, and information available to, the responding party as well as its agents,

         representatives, and, unless privileged, attorneys.             If, when responding, any information is

         withheld on the basis of privilege or other claimed protection, a privilege log is to be provided.

        Such log shall provide information sufficient for the propounding party (and the court) to discern




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   the propriety of any claimed protection for disclosure.        See below at paragraph 6 for further

   instructions.

           2.      These requests are continuing in character, so as to require that supplemental

   responses be filed seasonably if further or different information is obtained with respect to any

   request.

           3.      No part of an interrogatory should be left unanswered merely because an objection

   is interposed to another part of the interrogatory. If a partial or incomplete answer is provided, the

   responding party shall state that the answer is partial or incomplete. A 11 nhji,r·tinn, m11,t hP ,l~tPd

   with specificity.

          4.       Likewise, pursuant to Rule 34(b)(2)(B), if you object to a request, the grounds for

   each objection must be stated with specificity. Also pursuant to that Rule, if you intended to

   produce copies of documents or of ESI instead of permitting inspection, you must so state.

          5.       Pursuant to Rule 34(b )(2)(C), an objection must state whether any responsive

   materials are being withheld on the basis of that objection.

          6.       In accordance with Fed. R. Civ. P. 26(b)(5), where a claim of privilege is asserted

   in objecting to any response to a discovery request or part thereof, and information is not provided

   on the basis of such assertion:

          A.       In asserting the privilege, the responding party shall, in the objection to the

                   interrogatory, or part thereof, identify with specificity the nature of the privilege

                   (including work product) that is being claimed.

          B.       The following information should be provided in the objection, if known or

                   reasonably available, unless divulging such information would cause disclosure of

                   the allegedly privileged information:




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                        (1)     For oral communications:

                                a.      the name of the person making the communication and the names of

                                        persons present while the communication was made, and, where not

                                        apparent, the relationship of the persons present to the person

                                        making the communication;

                                b.      the date and place of the communication; and

                                c.      the general subject matter of the communication.

                 (2)    For documents:

                        a.      the type of document,

                        b.      the general subject matter of the document,

                        c.      the date of the document, and

                        d.      such other information as is sufficient to identify the document, including,

                                where appropriate, the author, addressee, custodian, and any other recipient

                                of the document and, where not apparent, the relationship of the author,

                                addressee, custodian, and any other recipient to each other.

                7.      If the responding party elects to specify and produce business records in answer to

         any interrogatory, the specification shall be in sufficient detail to permit the interrogating party to

         locate and identify, as readily as the responding paiiy can, the business records from which the

         answer may be ascertained or, if produced electronically, produced in a manner consistent with

         Guideline 2.04 of the ESI Principles.

                8.      Further, whenever you are asked to identify or produce a document which is

         deemed by you to be properly withheld from production for inspection or copying:




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          A.      If you are withholding information under claim of privilege (including, but not

   limited to, the work product doctrine), please provide the information set forth in Fed. R. Civ. P.

   26(b )(5). For electronically stored information, a privilege log (in searchable and sortable form,

   such as a spreadsheet, matrix, or table) generated by litigation review software, containing

   metadata fields that generally correspond to the above paragraph is permissible, provided that it

   also discloses whether transmitting, attached or subsidiary ('"parent-child") documents exist and

   whether those documents have been produced or withheld.*

          R.      Tfyou are withholding information for any reason other than an objection that it is

   beyond the scope of discovery, identify in addition to the information requested in paragraph 8.A,

   above, the reason for withholding the information. lfyou are withholding information on the basis

   that electronically stored information ("ESI") is not reasonably accessible because of undue burden

   or cost, you must so state with specificity.

          9.      When information requested contains both privileged and non-privileged material,

   the non-privileged material must be disclosed to the fullest extent possible without thereby

   disclosing the privileged material. If a privilege is asserted with regard to part of the information

   sought, the party claiming the privilege must clearly indicate the portions as to which the privilege

   is claimed.

          11.     If, in answering these requests, the responding party encounters any ambiguities

   when construing a question, instruction, or definition, the responding party's answer shall set forth

   the matter deemed ambiguous and the construction used in answering.




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                                                  DEFINITIONS

                Notwithstanding any definition below, each word, term, or phrase used in these

         Interrogatories is intended to have the broadest meaning permitted under the Federal Rules of Civil

        Procedure.

                1.     Concerning: The term ·'concerning" means relating to, referring to, pertaining to,
        describing, evidencing, or constituting.

               2.     Communication: The term ··communication" means the transmittal of information
        by any means.

               3.      Document: The terms "document" and "documents" are defined to be synonymous
        in meaning and equal in scope to the term "items" in Fed. R. Civ. P. 34(a)(l) and include(s), but
        is not limited to, electronically stored information. The terms "writings," "recordings," and
        "photographs" are defined to be synonymous in meaning and equal in scope to the usage of those
        terms in Fed. R. Evid. 1001. A draft or non-identical copy is a separate document within the
        meaning of the term "document."

                4.      Identify (with respect to persom): When referring to a person, to "identify" means
        to state the person's full name, present or last known address, and, when referring to a natural
        person, the present or last known place of employment and said person's title/job description. If
        the business and home telephone numbers are known to the answering party, and if the person is
        not a party or present employee of a party, said telephone numbers shall be provided. Once a
        person has been identified in accordance with this subparagraph, only the name of the person need
        be listed in response to subsequent discovery requesting the identification of that person.

               5.      Identify (with respect to documents, records or other materials): When referring to
        documents, to "identify" means to state the: (i) type of document; (ii) general subject matter; (iii)
        date of the document (iv) author(s), addressee(s), and recipient(s) and the date the document,
        record or other material was located by you (defined below).

                6.       Occurrence/Transaction: The terms "occurrence" and "transaction" mean the
        events described in the Complaint and other pleadings, as the word "pleadings" is defined in Fed.
        R. Civ. P. 7(a).

                7.      Parties: The terms "plaintiff' and "defendant" (including, without limitation, third-
        party plaintiff, third-party defendant, counter claimant, cross-claimant, counter-defendant, and
        cross-defendant), as well as a party's full or abbreviated name or a pronoun referring to a party,
        mean that party and, where applicable, its officers, directors, and employees. This definition is
        not intended to impose a discovery obligation on any person who is not a party to the litigation or
        to limit the Court's jurisdiction to enter any appropriate order.




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          8.    Person: The term "person" is defined as any natural person or any business, legal
   or governmental entity or association.

          9.      You/Your: The terms "you" or "your" include the Defendant to which these
   requests are addressed and its agents, representatives and attorney, as well as all of Defendant's
   predecessors.

           10.    Representative: The term "representative" shall be liberally construed and shall
   include all agents, employees, officials, officers, executives, directors, consultants, and any others
   who directly or indirectly represent in any manner the Defendant.

            11. Professional capacity: The term ''professional capacity" means duties, work and/or
   activities undertaken or performed for a fee or other valuable consideration.

          12.     Role: The term "role" includes job title. job description and/or position and the
   responsibilities, tasks, and duties of each particular job title, job description and/or position.

   11. Describing with particularity: The term '·describing with particularity" means identifying
   with specificity each source of information, whether it be a document, individual or other source,
   including but not limited to the documents/sources reviewed and/or information obtained from
   persons by All and/or its counsel when it represented to Plaintiff and the Court the bulleted
   statements provided on page two of All's January 3, 2022 correspondence to the Hon. Debra
   Freeman, attached here as Exhibit 1.

            12.    The present tense includes the past and future tenses. The singular includes the
   plural, and the plural includes the singular. "All" means "any and all;" "any" means "any and all."
   "Including" means "including but not limited to." "And" and "or" encompass both "and" and
   "or." Words in the masculine, feminine, or neuter form shall include each of the other genders.

                                  SUPPLEMENTAL INTERROGATORY

   Interrogatory No. 1: Set forth the dates David Woolf was associated with AIi in a professional
   capacity, to include specifying within those dates of association David Woolf's precise role,
   including providing information for any personal injury case involving All's talcum powder
   products, and describing with particularity all sources from which the information provided in
   response to this interrogatory was derived.

          ANSWER:


   Dated: New York, New York                              SIMMONS HANLY CONROY
          January 19, 2022




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                                                             James Kramer, Esq.
                                                             112 Madison A venue, 7 th Floor
                                                             New York, New York 10016-7416
                                                             Attorneys for Plaintiff




                                         CERTIFICATE OF SERVICE

                I do hereby certify that on this 19 January 2022, I served a copy of the foregoing on all

         counsel ofrecord via electronic mail per the parties' agreement.




                                                             James Kramer, Esq.




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                 EXHIBIT V




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                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF NEW YORK

          BRIAN JOSEPH GREF,

                           Plaintiff,
                                                       Case No. 1:20-CV-05589-GBD
          V.


          AMERICAN INTERNATIONAL
          INDUSTRIES, et al.

                          Defendants.

               DEFENDANT AMERICAN INTERNATIONAL INDUSTRIES' RESPONSE TO PLAINTIFF'S
                                        SUPPLEMENTAL INTERROGATORY


                  Pursuant to Fed. R. Civ. P. 26 and 33, Defendant AMERICAN INTERNATIONAL

         INDUSTRIES, sued individually and erroneously as "successor-in-interest for the Clubman

         Brand, and to The Neslemur Company and Pinaud Company" (hereinafter "responding

         party" or "All"), responds to Plaintiff's Supplemental Interrogatory ("Request") as follows:

                                        I.   PRELIMINARY STATEMENT

                 This response, while based on diligent inquiry and investigation by responding

         party, reflects only the current state of responding party's knowledge, understanding, and

         belief, based upon the information reasonably available to it at this time. As this action

         proceeds, and further investigation and discovery is conducted, additional or different

         facts and information could be revealed to responding party. Moreover, responding party

         anticipates that propounding party may make legal or factual contentions presently

         unknown to and unforeseen by responding party that may require responding party to

         adduce further facts in rebuttal to such contentions. Consequently, responding party may

         not yet have knowledge and may not fully understand the significance of information

         potentially pertinent to this response. Accordingly, this response is provided without

         prejudice to responding party's right to rely upon and use any information that it



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   subsequently discovers, or that was omitted from these responses as a result of mistake,

   inadvertence, surprise, or excusable neglect. Without in any way obligating itself to do so,

   responding party reserves the right to supplement or amend this response in light of the

   information that responding party may subsequently obtain or discover.

                                       GENERAL OBJECTIONS

            All incorporates the following General Objections in its response as set forth

   below:

            1.    All objects that this Request is inapplicable, irrelevant and not reasonable

   calculated to lead to the discovery of admissible evidence, and unduly burdensome and

   oppressive as no formulation of any All product used or uses asbestos as an ingredient.

            2.    All objects to this Request that the extent it relates to periods of time,

   geographical areas, or activities outside the scope of the allegations of the cornplaint as

   overbroad, irrelevant, unduly burdensome, and not reasonably calculated to lead to the

   discovery of adrnissible evidence. Any Request that is not limited in time and scope to the

   particular facts of this case, by definition, calls for irrelevant information and is not

   reasonably caicuiated to iead to the discovery of admissible evidence. It would also

   impose an unreasonable burden on All to search out, review, organize and produce

   information and docurnents not related to any issue in this case. Further, requiring All to

   produce information without limitation to the particular facts of this case improperly

   shifts Plaintiff's burden of proof to All.

            3.    All objects to this Request to the extent it seeks information from All about

   any entity other than All. All objects to Plaintiff's attempt to enlarge the scope of this

   litigation beyond this Defendant by requesting information concerning purported

   "predecessors" or the like, or by seeking any information from any entity other than this

   Defendant. All shall respond solely on its behalf.

            4.    All objects to this Request to the extent it purports to create and/or impose

   obligations upon it beyond those contemplated by the Federal Rules of Civil Procedure,



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        the Federal Rules of Evidence, the Southern District Local Rules, common law, and any

        other applicable statutes, rules, or orders.

               5.     All objects to this Request to the extent it calls for information and

        documents     individually   or   collectively constituting   a trade   secret,   proprietary

        information, customer information, confidential financial data, confidential research,

        development, or commercial business information, and personal privacy information of a

        person not party to this litigation without the protection of an appropriate protective

        order and/or for which proper authorizations have not been obtained.

               6.     All objects to any Request that seeks confidential or privileged health

        information without the proper HIPAA-compliant authorization forms or protection of an

        appropriate protective order.

               7.     All objects to any Request that calls for information that is protected by the

        attorney-client privilege, work product doctrine, joint defense privilege, common interest

        doctrine, consulting expert privilege, or any other available privileges or protections.

               8.     All objects to any Request that seeks information that does not exist or no

        longer exists, whether due to the passage of time, document retention policies, or

        otherwise, and/or is not currently in the possession, custody, and/or control of All. All

        was recently the victim of a ransomware attack.

               9.     All objects to each Request to the extent it is so broad, uncertain, and

        unintelligible that All cannot determine the nature of the information sought, and to

        which All is, therefore, unable to respond.

               10.    All objects to any Request that is vague, unintelligible, or fails to set forth

        with reasonable particularity the precise information sought.

               11.    All objects to any Request to the extent Plaintiff has failed to identify a

        particular All product at issue as irrelevant, unfair, unreasonable, and as an improper

        attempt to shift Plaintiff's burden of proof to All.

               12.    All objects to each Request to the extent the required good cause or



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   substantial need, as dictated by applicable statutes, court rules and case law, has not been

   shown for the information requested.

           13.        All objects to the extent the Request seeks information that is duplicative

   or cumulative of earlier discovery to All.

           14.        All objects to any Request that calls for the premature disclosure of experts

   or expert opinions, which is outside the scope of discovery.

           15.        Disclosure of information pursuant to this Request does not constitute an

   admission by All that such information is admissible at trial. All reserves all such

   objections to the time of trial.

           16.        Plaintiff's Request has been interpreted and answered in accordance with

   all applicable statutes and rules of court, plain English usage, and, to the extent not

   specifically challenged by objection, the definitions and instructions, if the same were

   included. To the extent Plaintiff intended a meaning other than those set out above, All

   objects because such Requests are vague and ambiguous and cannot be understood in

   context.

           17.        Further, aithough All has made a good faith effort to respond to this Request, in

   making such response, All does not purport to have adopted or applied any definitions

   set forth at the outset of, or at places in, Plaintiff's Request. Nor has All assumed the

   improper, unproved, and hypothetical facts proffered by Plaintiff. Additionally, All has not

   accepted the terminology or substance of Plaintiff's claims incorporated in, implied in,

   or alluded to within Plaintiff's Request.

           18.        All objects to this Request to the extent it contain sub-parts, is compound,

   conjunctive or disjunctive, are not full and complete in and of itself, contains unauthorized

   definitions and instructions, or otherwise violate the Federal Rules of Civil Procedure.

           19.        All's response is subject to continuing investigation and discovery, and All

   reserves the right to supplement or amend its response at any time during the course of

   this litigation.



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                Without waiving any of its objections, and subject thereto, All responds to

         Plaintiff's Request as follows:



                              RESPONSE TO SUPPLEMENTAL INTERROGATORY

         INTERROGATORY NO. 1: Set forth the dates David Woolf was associated with All in a

         professional capacity, to include specifying within those dates of association David

         Woolf's precise role, including providing information for any personal injury case involving

         All's talcum powder products, and describing with particularity all sources from which the

         information provided in response to this interrogatory was derived.

         ANSWER:
                All incorporates its Preliminary Statement and General Objections herein. All objects
        to this Interrogatory as vague, compound, and overly broad in time and scope. All
        specifically objects that "including providing information for any personal injury case
        involving All's talcum powder products" is vague, ambiguous, and unintelligible. All
        further objects to the extent this Interrogatory assumes facts, calls for speculation, and
        seeks information that, due to the passage of time, document retention policies,
        ransomware attack, or otherwise, is not currently in the possession, custody, and/or
        control of All. All also objects to the extent this Interrogatory seeks information that is
        neither relevant nor proportional to the needs of the case. All further objects to the extent
        this Interrogatory seeks privileged, confidential, and/or proprietary information, including
        information protected from disclosure by the attorney-client privilege, work product
        doctrine, right to privacy, and any other applicable privileges and protections. Subject to
        and without waiver of the foregoing objections, All states that, to the best of its
        knowledge, Mr. David Woolf began working for All in or around November of 1984. His
        employment with All ceased in or around June of 2015. During the time he was employed
        by All, Mr. Woolf held the titles of "Executive Vice President - Sales" at least until January
        of 2002, "Manager" at least until March of 2012, and "Consultant - Sales/Marketing" at
        least until December of 2014. Mr. Woolf performed tasks including due diligence for
        product/brand acquisitions, approval of certain employee timecards, and handling of
        certain employee vacation requests. The sources reviewed for this information and the
        information in All's January 3, 2022, correspondence were Mr. Woolf's confidential HR
        file (personnel and medical records) and the depositions of Mr. Zvi Ryzman in this matter
        and Colpitts v. American International Industries, Inc., et al. (Superior Court of the State
        of California, County of Los Angeles, Case No. BC600850}. Mr. Loveless, the verifying
        party, was also consulted. All reserves the right to supplement or amend this response at
        any time during the course of this litigation.



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   Dated: February 18, 2022                        HAWKINS PARNELL & YOUNG LLP

                                                   /s/ Alfred J. Sarqente
                                                   Alfred J. Sargente, Esq. (AS-3094)
                                                   New York Bar No. 2651750
                                                   600 Lexington Avenue, 8th Floor
                                                   New York, NY 10022-7678
                                                   Telephone: (646) 589-8714
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                                                   Email: asargente@hpylaw.com
                                                   Attorneys for Defendant American



   TO: James M. Kramer, Esq.
       SIMMONS HANLY CONROY LLC
       112 Madison Avenue, 7th Floor
       New York, New York 10016
       Tel: (212) 257-8482
       Attorneys for Plaintiff

   CC: All Defense Counsel of Record (via email)




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                                   VERIFICATION OF CHARLES LOVELESS


              l, Charles Loveless, hereb y declare:
                                                                        representative of Defendant
               I am the Executive Vice President and autho rized
                                                                 the agent of American Intern ationa l
        American Intern ationa l Industries in this case. I am
                                                                  SUPPLEMENTAL INTERROGATORY.
        Industries for the purpose of answe ring PLAINTIFF'S
                                                                 assembled by authorized employees,
        The facts stated in the attach ed response have been
                                                             ationa l Industries, and l am inform ed
        representatives, and counsel for American Intern
                                                                 stated in the attached response are
        and believe, after reasonable inquir y, that the facts

        true and correct.
                                                                         is true and correct.
               I declare under penal ty of perjur y that the foregoing



        Executed this       }·1:    day of February, 2022, in Los An




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                 EXHIBIT Z




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         I Iv
   275 Madison Avenue, 10th Floor
                                 HAWKINS PARNELL
                                 Hawkins Parnell & Young, LLP


   New York, NY, 10016

   Direct 646-589-8714
   Email: asargente@hpylaw.com




                                                                     April 7, 2022


            VIA ELECTRONIC MAIL

            James M. Kramer, Esq.
            Simmons Hanly Conroy LLC
            112 Madison A venue, 7th Floor
            New York, NY 10016

                     RE:      Brian Joseph Grefv. American International Industries, et al.
                              Case No.: 1:20-cv-05589-GBD-DCF

            Dear Mr. Kramer:

                     Attached please find Defendant American International Industries'(hereinafter "All")
            Supplemental Request for Admissions to Plaintiff Brian Joseph Gref in the above-referenced
            matter. Plaintiffs responses to All's Request for Admission are due within thirty (30) days from
            the date of service.

                     Thank you for your assistance in this matter.

                                                                            Very truly yours,




                                                                            Alfred .J. Sargente

            AJS/tl

            Attachment

            cc: All co-defendants (via e-mail)




   hpylaw.com




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         or individuals acting on his or their behalf.

                c.      The terms "Exposure" or "Exposed" shall mean Your (or others in Your presence)

         use, application, installation, removal, disturbance, or manipulation in any way of asbestos-

         containing materials, which released asbestos fibers that became airborne, traveled to Your

         breathing zone, which You breathed, which escaped Your body's defense mechanisms, and after

         a reasonable latency period, caused Your alleged injury.

                d.      "Asbestos-Containing Material(s)" means a material or product which consists of

         or contains the mineral Asbestos.

                                          REQUEST FOR ADMISSIONS

                64.     Admit that You saw health care providers prior to 2019 for routine health care that

         was unrelated to your current diagnosis on which this lawsuit is based.

        ANSWER:

                65.     Admit that from Your birth until 1988 Your father was on active duty in the United

         States Navy.

        ANSWER:

                66.     Admit that from Your birth until approximately 1999 Your mother was on active

        duty in the United States Navy.

        ANSWER:

                67.     Admit that You have received medical care from military health care providers

        during Your lifetime.

        ANSWER:

                68.     Admit that You have no medical records evidencing that You have ever reported a

        skin condition to any health care provider.




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         ANSWER:

                77.    Admit that You have never reported having a heat- related rash to any healthcare

         provider?

         ANSWER:

                78.    Admit that Old Spice Talcum Powder was a fragranced talcum powder.

         ANSWER:

                79.    Admit that Clubman Talcum Powder was a fragranced talcum powder.

         ANSWER:

               80.     Admit that English Leather Talcum Powder was a fragranced talcum powder.

        ANSWER:

               81.     Admit that Johnson & Johnson Baby Powder was a fragranced talcum powder.

        ANSWER:

               82.    Admit that Johnson & Johnson Shower to Shower was a fragranced talcum powder.

        ANSWER:

               83.    Admit that Mennen Powder was a fragranced talcum powder.

        ANSWER:

               84.    Admit that you produced to All the medical records from Mayo Clinic attached

        hereto as Bates Nos. MR-MayoClinicHospitalin(2924 8)-Gref.Brian-00000 1-00004 7.

        ANSWER:

               85.    Admit that you saw Dr. Ehsan Shirazi at the Mayo Clinic on January 21, 2020.

        ANSWER:

               86.    Admit     that   Dr.    Shirazi's   medical    records      (Bates   Nos.   MR-

        MayoClinicHospitalin(29248)-G ref.Brian-00000 1-00004 7) are authentic.




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                94.    Admit that the medial records from Cancer Specialists of North Florida (Bates Nos.

         MR-CancerSpecialistsofN(62382)-Gref.Brian-OOOOO 1-000087) are authentic.

         ANSWER:

                95.    Admit that you saw Dr. Suprith Badarinath on March 31, 2020.

         ANSWER:

                96.   Admit that you saw Dr. Suprith Badarinath on April 28, 2020.

         ANSWER:

               97.    Admit that Dr. Suprith Badarinath's medical record of March 31, 2020 (Bates No.

         MR-CancerSpecialistsofN(62382)-Gref.Brian-000008) contains the following statement: "father

        was a navy mechanic, so may have had asbestos exposure that he brought home".

        ANSWER:

               98.    Admit that Dr. Suprith Badarinath's medical record of April 28, 2020 (Bates No.

        MR-CancerSpecialistsofN(62382)-Gref.Brian-000002) says "father was a navy mechanic, so may

        have had asbestos exposure that he brought home".

               ANSWER:

               99.    Admit that you never used talcum powder products from 2011 until August of 2015.

               ANSWER:

        Dated: April 7, 2022
                                                       HAWKINS PARNELL & YOUNG LLP




                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                        Alfred J. Sargente, Esq. (AS-3094)
                                                         275 Madison Avenue, 10th Floor
                                                         New York, NY, 10016
                                                           212.897.9655
                                                           Attorneys for Defendant
                                                           American International Industries


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                                             JA661
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             EXHIBIT AA




                                  JA662
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                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF NEW YORK

          BRIAN JOSEPH GREF,

                                    Plaintiff,
                                                                       Case No. 1:20-CV-05589-GBD
          V.

          AMERICAN INTERNATIONAL INDUSTRIES, et
          al.

                               Defendants.

                 DEFENDANT AMERICAN INTERNATIONAL INDUSTRIES' SECOND
               REQUEST FOR PRODUCTION OF DOCUMENTS DIRECTED TO PLAINTIFF


                   Pursuant to Rule 34 of the Federal Rules of Civil Procedure and Local Rule 26.1, Defendant

         American International Industries requests that Plaintiff responds to this Request within the time

         prescribed by the Federal Rules of Civil Procedure, and produce or make available for inspection

         and copying the following documents and electronically stored information at such time and place

         as may be agreed upon by all counsel.

                                                     DEFINITIONS

                Notwithstanding any definition set forth below, each word, term, or phrase used in this
         Request is intended to have the broadest meaning permitted under the Federal Rules of Civil
         Procedure. As used in this Request, the following terms are to be interpreted in accordance with
         these definitions:

               a) "All" means and includes any, each and every one.

               b) "And" means and includes "or."

               c) "Asbestos" is a collective mineralogic term that describes a variety of certain silicates
                  belonging to the serpentine and amphibole mineral groups, which have naturally
                  crystallized in the fibrous habit causing them to be easily separated into long, thin, flexible,
                  strong fibers when crushed or processed. Included in the definition are chrysotile,
                  crocidolite, fibrous grunerite (amosite), fibrous anthophyllite, fibrous tremolite, and
                  fibrous actinolite.



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     d) "Asbestos-containing" or "asbestos containing" means a product, material, or substance
        that consists or consisted of, in whole or in part, or contains or contained, one or more of
        the following: chrysotile, amosite, crocidolite, fibrous tremolite, fibrous anthophyllite,
        and/or fibrous actinolite. "Asbestos-containing" or '·asbestos containing" also means a
        product, material, or substance that Plaintiff alleges and/or contends consists or consisted
        of, in whole or in part, or contains or contained, one or more of the following: chrysotile,
        amosite, crocidolite, fibrous tremolite, fibrous anthophyllite, and/or fibrous actinolite.

     e) "AIi" or "Defendant" means Defendant American International Industries.

     f) "Asbestos Bankruptcy Trust" means any trust, qualified settlement fund or similar entity
        administering the assets of a manufacturer, distributor or supplier of asbestos or asbestos-
        containing products, including but not limited to: A.P. Green, A-Best, Amatex
        Corporation, American Shipbuilding, API Industries, Armstrong Contracting & Supply,
        Armstrong World Industries (including Nitram and Desseaux), ARTRA (Synkoloid),
        ASARCO (including Lake Asbestos of Quebec, CAPCO Pipe Company and Cement
        Asbestos Products Company), Asbestec, Atlas Corporation, Babcock & Wilcox,
        Bethlehem Steel, Brunswick Fabrications, Burns & Roe Enterprises, Carey-Canada,
        Cassiar Mines, CE Thurston, Celotex, Chemetron, Combustion Engineering, Congoleum,
        Delaware Insulations, E.J. Bartells, Eagle Piche Industries, Eastco Industrial Safety
        Corporation, Federal Mogul (including Gasket Holdings and T&N), Flintkote, Forty-Eight
        Insulations, Fuller-Austin Insulation, Gatke Corp., G-1 Holdings (successor to GAF), H &
        A Construction, H.K. Porter Co., Harbison Walker, Harnischfeger Industries, Hillsborough
        Holdings (successor to Jim Walters and Celotex), Johns-Mansville, JT Thorpe, Kaiser
        Aluminum and Chemical, Keene Corp. (successor to Baldwin Ehret-Hill), Kellogg Brown
        &Root/DII, Kentile Floors, Lone Star Steel, Lykes Brothers Steamship, M.H. Detrick,
        Muralo, National Gypsum, Nicolet, North American Asbestos Corporation, North
        American Refractories (NARCO)/RHI, Owens Corning Fiberglas (including Fibreboard
        and CDC Corp.), Pacor, Pfizer/Quigley, Pittsburgh Corning, Plibrico, Porter Hayden,
        Prudential Lines, Raytech Corporation (successor to Raymark), Rock Wool
        Manufacturing, Rutland Fie & Clay, Shook & Fletcher, Skinner Engine Company,
        Standard Insulations Inc., Stone and Webster, Swan Transportation, Todd Shipyards, U.S.
        Gypsum (including L&W Supply), U.S. Mineral, United States Lines, UNR Industries,
        Utex Industries, W.R. Grace, Wallace & Gale, Washington Group International, Waterman
        Steamship Corp., and Western MacArthur.

     g) "Communication" means the transmittal of information by any means.

     h) "Complaint" means the complaint filed in the United States District Court for the Southern
        District of New York bearing case number 1:20-cv-05589 and any amendments thereto.

     i) "Document" or "Documents" are defined to be synonymous in meaning and equal in scope
        to the usage of the term "items" in Fed. R. Civ. P. 34(a)(l) and include(s), but is not limited
        to electronically stored information.         The terms "writings," "recordings," and
        "photographs" are defined to be synonymous in meaning and equal in scope to the usage
        of those terms in Fed. R. Evid. 1001. A draft or non-identical copy is a separate document


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                                                 JA664
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                  within the meaning of the term "document.'' ·'Document" or "Documents" also means
                  anything in writing or electronic form, and includes the original or identical copy of such
                  in handwriting, printing, photostating, photographing, computer printout, computer copy,
                  and every other means of recording upon any tangible thing or form of communication or
                  representation including letters, words, pictures, sounds, or symbols or combinations of
                  them.

             j)   "Fiber" means the smallest elongated crystalline unit that can be separated from a bundle
                  or appears to have grown individually in that shape, and that exhibits a resemblance to
                  organic fibers.

             k) "Fibrous" means a mineral habit where crystals form naturally as long thin hair-like
                crystals.

             1) "Identify" with respect to a "Document" means that you shall provide the full title of the
                Document, the date the Document was generated, the author/authors of the Document, and
                a description of the Document (e.g., letter, memorandum, report, book, photograph, etc.).

             m) "Occurrence" and "transaction" mean the events described in the Complaint and other
                pleadings, as the word "pleadings" is defined in Fed. R. Civ. P. 7(a).

             n) "Or" means and includes "and."

             o) "Plaintiff," "You," or "Your" means Plaintiff Brian Gref and/or any agents, attorneys, or
                individuals acting on his or their behalf.

             p) "Relate to" or "relates to" means constituting, defining, concerning, embodying, reflecting,
                identifying, stating, referring to, dealing with or in any way pertaining to.

             q) "Regarding" shall mean regarding, evidencing, establishing, concerning, reflecting,
                referencing, referring to, pertaining to, relating to, and about.

             r)    "Talc" is a powdered, selected, natural, hydrated magnesium silicate. Pure talc has the
                  formula Mg3Si4O10(OH)2. It may contain variable amounts of associated minerals
                  among which chlorites (hydrated aluminum and magnesium silicates), magnesite
                  (magnesium carbonate), calcite (calcium carbonate), and dolomite ( calcium and
                  magnesium carbonate) are predominant. 1

             s) "Talc-containing product" as used herein refers to any product, matter, substance, or
                material containing the mineral talc, including all grades and morphologic forms (e.g.
                platy, fibrous, cosmetic, industrial, food grade). This includes talcum powder. It also
                includes components and/or ingredients designed, manufactured, and/or supplied by a third
                party.

             t)   A "testifying expert'" is an expert who may be called by Plaintiff to testify as an expert

         1 U.S. Pharmacopeia Talc, Revision Bulletin

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           witness at trial, either live or by deposition.

        u) A "consulting expert" is an expert who has been consulted, retained, or specially employed
           by Plaintiff in anticipation of litigation or in preparation for trial, but who is not a
           "testifying expert" and whose mental impressions or opinions have been reviewed by a
           "testifying expert."


                                      GENERAL INSTRUCTIONS:

   1.      You are to produce all responsive documents within your possession, custody or control,
           and also all documents within the possession, custody or control of your attorneys, agents,
           servants, or employees or otherwise available to you, wherever the documents may be
           located.

   2.      If the original of any document responsive to these demands was in your possession or
           control in the past, but is no longer in your possession or control, then (1) state whether it
           is missing, lost, destroyed, transferred voluntarily or involuntarily to others, or was
           otherwise disposed of and (2) describe in detail the date and circumstances under which it
           left your possession or control and (3) state the current location of the original and identify
           each person having possession or control of the original.

   3.      For each document, you are to indicate each request to which it is responsive.

   4.      Pursuant to Rule 34(b)(2)(B), if you object to a request, the grounds for each objection
           must be stated with specificity. Also pursuant to that Rule, if you intend to produce copies
           of documents or of electronically saved information instead of permitting inspection, you
           must so state.

   5.      If you object to any request on any basis, then designate the documents you are withholding
           and describe in detail the basis for your objection, both with sufficient specificity to allow
           an application to the Court to determine the propriety of your objection. You shall produce
           responsive documents to the extent not objected to.

   6.      If, in responding to this Request for Production, the responding party encounters any
           ambiguities when construing a request or definition, the response shall set forth the matter
           deemed ambiguous and the construction used in responding.

   7.      Pursuant to Rule 34(b)(2)(C), an objection must state whether any responsive materials are
           being withheld on the basis of that objection.

   8.      When a document contains both privileged and non-privileged material, the non-privileged
           material must be disclosed to the fullest extent possible without thereby disclosing the
           privileged material. If a privilege is asserted with regard to part of the material contained
           in a document, the party claiming the privilege must clearly indicate the portions as to
           which the privilege is claimed. When a document has been redacted or altered in any
           fashion, identify as to each document the reason for the redaction or alteration, the date of

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                  the redaction or alteration, and the person performing the redaction or alteration. Any
                  redaction must be clearly visible on the redacted document.

         10.      It is intended that this Request will not solicit any material protected either by the
                  attorney/client privilege or by the work product doctrine which was created by, or
                  developed by, counsel for the responding party after the date on which this litigation was
                  commenced. If any Request is susceptible of a construction which calls for the production
                  of such material, that material need not be provided and no privilege log pursuant to Fed.
                  R. Civ. P. 26(b )(5) or Discovery Guideline 9(a) will be required as to such material.

         11.      If the requested documents are maintained in a file, the file folder is included in the request
                  for production of those documents.


                                                      REQUESTS

               1. All medical records relating to any skin condition You may have reported to any health
                  care provider.

               2. All medical records relating to any rash You may have reported to any health care
                  provider.

               3. All medical records relating to any heat-related rash You may have reported to any health
                  care provider.

               4. All medical records relating to any skin condition that either of Your parents may have
                  reported to any health care provider.

               5. All medical records relating to any rash that either of Your parents may have reported to
                  any health care provider.

               6. All medical records relating to any heat-related rash that either of Your parents may have
                  reported to any health care provider.
        Dated: May 6, 2022
                                                            HAWKINS PARNELL & YOUNG LLP


                                                          By: _ _ _ _ _ _ _ _ _ _ _ __
                                                              Alfred J. Sargente, Esq. (AS-3094)
                                                              275 Madison Avenue, 10th Floor
                                                              New York, NY, 10016
                                                              212.897.9655
                                                              Attorneys for Defendant
                                                              American International Industries


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                                   CERTIFICATE OF SERVICE
          I, Tanya L. Logan, do hereby certify that l served a true and correct copy of the foregoing:

   DEFENDANT AMERICAN INTERNATIONAL INDUSTRIES' SECOND REQUEST

   FOR PRODCUTION OF DOCUMENTS                        DIRECTED TO           PLAINTIFF upon         all

   counsel/parties by e-mail on May 6, 2022.




                                                               TANYA L. LOGAN




                                                 JA668
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             EXHIBIT BB




                                  JA669
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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
        ---------------------------------------------------------------------X

         BRIAN JOSEPH GREF,                                                      Docket No.: 1:20-cv-05589

                                  Plaintiff,                                     PLAINTIFF'S RESPONSES
                                                                                 TO AMERICAN
                                                                                 INTERNATIONAL
                                                                                 INDUSTRIES
                                  -against-                                      SUPPLEMENTAL
                                                                                 REQUESTS FOR
                                                                                 ADMISSIONS



         AMERICAN INTERNATIONAL INDUSTRIES,
         individually and as successor-in-interest for the
          CLUBMAN BRAND, et al.,

                                           Defendants.

         ----------------------------------------------------------------X

            PLAINTIFF'S RESPONSES TO DEFENDANT AMERICAN INTERNATIONAL
           INDUSTRIES' SUPPLEMENTAL REQUEST FOR ADMISSIONS TO PLAINTIFF
                                 BRIAN JOSEPH GREF

                 NOW COMES Plaintiff herein, by and through their counsel ofrecord, respectfully submit

         the following responses to Defendant American International Industries' ("Defendant")

         Supplemental Request for Admissions Directed to Plaintiff.

                                               PRELIMINARY STATEMENT

                 Plaintiff expressly reserves the right to amend, add to, delete from, or otherwise modify or

         supplement each and every response to this and any other discovery requests propounded upon him

         throughout the discovery process and to make such claims and contentions as may be appropriate

         when Plaintiff has concluded all discovery and has ascertained all relevant facts. To the extent that

         these Requests calls for information prepared in anticipation of litigation or for trial, or which is




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   otherwise protected from disclosure by the work product doctrine, the attorney client privilege, or

   any other privilege, Plaintiff will not supply or render infonnation protected from discovery by

   virtue of such doctrine or privileges. No response herein is, or should be construed to be, a waiver

   of the protection by such doctrine or privilege.

                                     REQUEST FOR ADMISSIONS

          64.     Admit that You saw health care providers prior to 2019 for routine health care that

   was unrelated to your current diagnosis on which this lawsuit is based.

   AN:SW.M{: Admitted.

          65.     Admit that from Your birth until 1988 Your father was on active duty in the United

   States Navy.

   ANSWER: This request has been withdrawn by Defendant.

          66.     Admit that from Your birth until approximately 1999 Your mother was on active

   duty in the United States Navy.

   ANSWER: This request has been withdrawn by Defendant.

          67.     Admit that You have received medical care from military health care providers

   during Your lifetime.

   ANSWER: Admitted.

          68.     Admit that You have no medical records evidencing that You have ever reported a

   skin condition to any health care provider.

   ANSWER: This request has been withdrawn by Defendant.

          69.     Admit that You have no medical records evidencing that You have ever reported

   having a rash to any health care provider.

   ANSWER: This request has been withdrawn by Defendant.




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               70.     Admit that You have no medical records evidencing that You have ever reported

        having a heat-related rash to any health care provider

        ANSWER: This request has been withdrawn by Defendant.

               71.     Admit that You have no medical records evidencing that either of Your parents

        reported your having a skin condition to any health care provider

        ANSWER: This request has been withdrawn by Defendant.

               72.     Admit that You have no medical records evidencing that either of Your parents

        reported your having a rash to any health care provider

        ANSWER: This request has been withdrawn by Defendant.

               73.     Admit that You have no medical records evidencing that either of your parents

        reported your having a heat- related rash to any health care provider.

        ANSWER: This request has been withdrawn by Defendant.

               74.     Admit that You have never sought medical treatment from any health care provider

        for any skin related conditions.

        ANSWER: Plaintiff objects to this request as vague, ambiguous, overbroad and incapable of
        being admitted/denied as drafted in view of its use of undefined tenn(s).

               75.     Admit that You have never reported having a skin condition to any healthcare

        provider.

        ANSWER: Plaintiff objects to this request as vague, ambiguous, overbroad and incapable of
        being admitted/denied as drafted in view of its use of undefined tenn(s).

               76.     Admit that You have never reported having a rash to any healthcare provider.

        ANSWER: Plaintiff objects to this request as vague, ambiguous, overbroad and incapable of
        being admitted/denied as drafted in view of its use of undefined tenn(s).




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                                              JA672
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          77.    Admit that You have never reported having a heat- related rash to any healthcare

   provider?

   ANSWER: Plaintiff objects to this request as vague, ambiguous, overbroad and incapable of being
   admitted/denied as drafted in view of its use of undefined term(s).

          78.    Admit that Old Spice Talcum Powder was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague, ambiguous and incapable of being
   admitted/denied as drafted in view of its use of undefined term(s).

          79.    Admit that Clubman Talcum Powder was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague, ambiguous and incapable of being
   admitted/denied as drafted in view of its use of undefined tenn(s).

          80.    Admit that English Leather Talcum Powder was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague, ambiguous and incapable of being
   admitted/denied as drafted in view of its use of undefined tenn(s).

          81.    Admit that Johnson & Johnson Baby Powder was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague, ambiguous and incapable of being
   admitted/denied as drafted in view of its use of undefined tenn(s).

          82.    Admit that Johnson & Johnson Shower to Shower was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague, ambiguous and incapable of being
   admitted/denied as drafted in view of its use of undefined tc1111(s).

                 83.    Admit that Mennen Powder was a fragranced talcum powder.

   ANSWER: Plaintiff objects to this request as vague and incapable of being admitted/denied as
   drafted in view of its use of undefined term(s).

          84.    Admit that you produced to AIi the medical records from Mayo Clinic attached

   hereto as Bates Nos. MR-MayoClinicHospitalin(29248)-Gref.Brian-00000 1-00004 7.

   ANSWER:       Admitted.

          85.    Admit that you saw Dr. Ehsan Shirazi at the Mayo Clinic on January 21, 2020.




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                                               JA673
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        ANSWER: Plaintiff does not at this time specifically recall whether he saw Dr. Shirazi on January
        21, 2020 and therefore is unable to admit or deny this request at this time.

               86.     Admit that     Dr.    Shirazi's       medical        records        (Bates Nos.

        MR- MayoClinicHospitalin(29248)-Gref.Brian-00000 1-00004 7) are authentic.


        ANSWER: This request has been withdrawn by Defendant.


               87.     Admit that a male family member attended your visit with Dr. Shirazi on January

        21, 2020.

        ANSWER: Plaintiff does not at this time specifically recall whether he saw Dr. Shirazi on January
        21, 2020, or who, if anyone, may have been with him at any such appointment, and therefore is
        unable to admit or deny this request at this time.

               88.     Admit that the male family that attended your visit with Dr. Shirazi on January 21,

        2020, was Your father, Roger Gref.

        ANSWER: Plaintiff does not at this time specifically recall whether he saw Dr. Shirazi on January
        21, 2020, or who, if anyone, may have been with him at any such appointment, and therefore is
        unable to admit or deny this request at this time.

               89.     Admit that Dr. Shirazi's medical record of January 21, 2020 (Bates No.

        MRMayoC!inicHospitalin(29248)-Gref.Brian-000013 ), contains the following statement: "He

        states he believes his mesothelioma was due to asbestos exposure from his biological father who

        worked in the Navy in a shipyard with aerosolized asbestos".

        ANSWER:        This request has been withdrawn by Defendant.

               90.     Admit that the "he" in the statement in Request No. 80 was You, Brian Gref.

        ANSWER: Objection. This request is unintelligible and Plaintiff is unable to admit or deny this
        request.

               91.     Admit that the "he" in the statement in Request No. 80 was your father, Roger Gref.




                                                         5   Ji).----------




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   ANSWER: Objection. This request is unintelligible and Plaintiff is unable to admit or deny this
   request.

          92.    Admit that you have seen Dr. Suprith Badarinath of Cancer Specialist of North

   Florida.

   ANSWER: Admitted.

          93.    Admit that you produced to AII the medical records from Cancer Specialists of

   North Florida attached hereto as Bates Nos. MR-CancerSpecialistsofN(62382)-Gref.Brian-

   000001-00008 7.

   ANSWER: Admitted.

          94.    Admit that the medial records from Cancer Specialists of North Florida (Bates Nos.

   MR-CancerSpecialistsofN( 62382)-Gref.Brian-000001-00008 7) are authentic.

   ANSWER: This request has been withdrawn by Defendant.

          95.    Admit that you saw Dr. Suprith Badarinath on March 31, 2020.

   ANSWER: Plaintiff does not at this time specifically recall whether he saw Dr. Badarinath on
   March 31, 2020 and therefore is unable to admit or deny this request at this time.

          96.    Admit that you saw Dr. Suprith Badarinath on April 28, 2020.

   ANSWER: Plaintiff does not at this time specifically recall whether he saw Dr. Badarinath on
   April 28, 2020 and therefore is unable to admit or deny this request at this time.

          97.    Admit that Dr. Suprith Badarinath's medical record of March 31, 2020 (Bates No.

   MR-CancerSpecialistsofN(62382)-Gref.Brian-000008) contains the following statement: "father

   was a navy mechanic, so may have had asbestos exposure that he brought home".

   ANSWER: This request has been withdrawn by Defendant.




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                                                JA675
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                 98.    Admit that Dr. Suprith Badarinath's medical record of April 28, 2020 (Bates No.

         MR-CancerSpecialistsofN(62382)-Gref.Brian-000002) says '·father was a navy mechanic, so may

         have had asbestos exposure that he brought home".

                 ANSWER: This request has been withdrawn by Defendant.

                 99.    Admit that you never used talcum powder products from 2011 until August of 2015.

         ANSWER: Plaintiff objects to this Request as improperly seeking infonnation as to a fundamental
         disagreement at the heart of the lawsuit. Without waiving this objection, denied.



         Date:   May 9, 2022                                            Respectfully Submitted,


                                                                       Isl Brett Fuller
                                                                      Brett F. Fuller, pro hac vice
                                                                      Simmons Hanly Conroy
                                                                      112 Madison Avenue
                                                                      New York, NY 10016
                                                                      Phone: (212) 784-6400
                                                                      Email: bf'ul Icr(<Dsi mm ons!'irrn .corn




                                               Certificate of Service

                 I hereby certify that on this 9th day of May, 2022, I served a copy of the foregoing on all

         counsel of record via electronic mail per the paiiies' agreement.


                                                                  Isl Brett Fuller
                                                                  Brett F. Fuller




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                                               JA676
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                                  JA677
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             EXHIBIT CC




                                  JA678
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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
        ---------------------------------------------------------------------X

         BRIAN JOSEPH GREF,                                                          Docket No.: 1:20-cv-05589

                                                    Plaintiff,                       PLAINTIFF'S RESPONSES
                                   -against-                                         TO AMERICAN
                                                                                     INTERNATIONAL
                                                                                     INDUSTRIES' SECOND
                                                                                     REQUEST FOR
                                                                                     PRODUCTION OF
                                                                                     DOCUMENTS DIRECTED
                                                                                     TO PLAINTIFF


         AMERICAN INTERNATIONAL INDUSTRIES,
         individually and as successor-in-interest for the
          CLUBMAN BRAND, et al.

         ------------------------------------------------------------------------X

             PLAINTU~F'S RESPONSES TO AMERICAN INTERNATIONAL INDUSTRIES'
              SECOND REQUEST FOR PRODUCTION OF DOCUMENTS DIRECTED TO
                                       PLAINTIFF

                 NOW COMES Plaintiff herein, by and through his counsel of record, and respectfully

         submits the following responses to Defendant American International Industries' ("Defendant")

         Second Request for Production of Documents Directed to Plaintiff.

                                               PRELIMINARY STATEMENT

                 Plaintiff expressly reserves the right to amend, add to, delete from, or otherwise modify or

         supplement each and every response to this and any other discovery requests propounded upon

         him throughout the discovery process and to make such claims and contentions as may be

         appropriate when Plaintiff has concluded all discovery and has ascertained all relevant facts. To

         the extent that these Requests calls for infonnation prepared in anticipation oflitigation or for trial,

         or which is otherwise protected from disclosure by the work product doctrine, the attorney client




                                                     JA679
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   privilege, or any other privilege, Plaintiff will not supply or render infonnation protected from

   discovery by virtue of such doctrine or privileges. No response herein is, or should be construed

   to be, a waiver of the protection by such doctrine or privilege.

                                               RESPONSES

   1.      All medical records relating to any skin condition You may have reported to any health
   care provider.

          RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through
   the use of undefined tenns. Plaintiff further objects on the basis that the request, as drafted,
   necessarily seeks irrelevant infonnation and also exceeds the pennissible scope of discovery,
   which is confined to relevant matters proportional to the needs of the case. Plaintiff maintains
   these objections and states, subject to and without waiver of them, that Plaintiffs counsel has
   produced, and will continue to produce by way of supplementation, medical records that are
   received in response to Plaintiffs HIPAA requests.

          Investigation continues and Plaintiff reserves to supplement and/or amend this response.

   2.     All medical records relating to any rash You may have reported to any health care provider.

          RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through
   the use of undefined terms. Plaintiff further objects on the basis that the request, as drafted,
   necessarily seeks irrelevant information and also exceeds the pennissible scope of discovery,
   which is confined to relevant matters proportional to the needs of the case. Plaintiff maintains
   these objections and states, subject to and without waiver of them, that Plaintiffs counsel has
   produced, and will continue to produce by way of supplementation, medical records that are
   received in response to Plaintiffs HIP AA requests.

          Investigation continues and Plaintiff reserves to supplement and/or amend this response.

   3.      All medical records relating to any heat-related rash You may have reported to any health
   care provider.

          RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through
   the use of undefined terms. Plaintiff further objects on the basis that the request, as drafted,
   necessarily seeks irrelevant information and also exceeds the permissible scope of discovery,
   which is confined to relevant matters proportional to the needs of the case. Plaintiff maintains
   these objections and states, subject to and without waiver of them, that Plaintiffs counsel has
   produced, and will continue to produce by way of supplementation, medical records that are
   received in response to Plaintiffs HIP AA requests.

          Investigation continues and Plaintiff reserves to supplement and/or amend this response.




                                                   JA680
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         4.     All medical records relating to any skin condition that either of Your parents may have
         reported to any health care provider.

                 RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through,
         by example, the use of undefined tenns, seeking irrelevant infomrntion, and exceeding the
         pennissible scope of discovery, which is confined to relevant matters proportional to the needs of
         the case. The request as drafted also seeks to violate Plaintiffs parents' federal and state rights to
         privacy and confidentiality protecting from disclosure their medical/health-related infonnation,
         which further renders the request objectionable.

                Investigation continues and Plaintiff reserves to supplement and/or amend this response.

         5.     All medical records relating to any rash that either of Your parents may have reported to
         any health care provider.

                 RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through,
         by example, the use of undefined tenns, seeking irrelevant infonnation, and exceeding the
         pennissible scope of discovery, which is confined to relevant matters proportional to the needs of
         the case. The request as drafted also seeks to violate Plaintiffs parents' federal and state rights to
         privacy and confidentiality protecting from disclosure their medical/health-related information,
         which further renders the request objectionable.

                Investigation continues and Plaintiff reserves to supplement and/or amend this response.

         6.     All medical records relating to any heat-related rash that either of Your parents may have
         reported to any health care provider.
                RESPONSE: Plaintiff objects to this request as vague, ambiguous and overbroad through,
        by example, the use of undefined tenns, seeking irrelevant infonnation, and exceeding the
        permissible scope of discovery, which is confined to relevant matters proportional to the needs of
        the case. The request as drafted also seeks to violate Plaintiffs parents' federal and state rights to
        privacy and confidentiality protecting from disclosure their medical/health-related infonnation,
        which further renders the request objectionable.

                Investigation continues and Plaintiff reserves to supplement and/or amend this response.



         Date: June 6, 2022                                            Respectfully submitted,


                                                                        Isl Brett Fuller
                                                                       Brett F. Fuller, pro hac vice
                                                                       Simmons Hanly Conroy
                                                                       112 Madison A venue




                                                JA681
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                                                                New York, NY 10016
                                                                Phone: (212) 784-6400
                                                                Email: bfuller@ilsirnmonsfirm.com




                                             Certificate of Service

                  I hereby certify that on this 6th day of June, 2022, I served a copy of the foregoing

   on all counsel of record via electronic mail per the paiiies' agreement.



                                                            Isl Brett Fuller
                                                            Brett F. Fuller




                                                  JA682
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            EXHIBIT DD




                                  JA683
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                    Case 1:20-cv-05589-GBD-VF Document 259                                       Filed 10/31/22 Page 1 of 4
 AO 88B (Rev. 02/14) Subpoena lo Produce Documents, Information. or Objects or lo Pen11il Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Southern District of New York

                        Brian Joseph Gref,
                                Plaintiff
                                    V.                                                   Civil Action No.         1 :20-cv-05589-GBD-VF
          American International Industries, et al.,

                               Defendant

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:         NAVY PERSONNEL COMMAND, PERS 312D1, 5720 INTEGRITY DRIVE, MILLINGTON, TN 38055-3120

                                                        (Name ofperson to whom this subpoena is directed)

    "6" Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Refer to Schedule A



  Place: Hawkins Parnell & Young, LLP                                                     Date and Time:
         275 Madison Avenue, 10th Floor                                                                       11/21/2022 12:00 am
         New York, NY 10016

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting paiiy
may inspect, measure, survey, photograph, test, or sample the prope1iy or any designated object or operation on it.

                                                                                        IDate and Thne:

        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45( d), relating to your protection as a person subject to a subpoena; and Rule 45( e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: Qc:tg_g~r 31, 2022




                                                                                                                        Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                        Defendant
American International Industries                    - - - - - ~ - - - - - - - - , who issues or requests this subpoena, are:
Alfred J. Sargente, Esq., 275 Madison Avenue, 10th Fl, New York, NY 1001, (646) 589-8714, asargente@hpylaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                       JA684
 Case 4:22-mc-00001-AWA-DEM Document 4-30 Filed 12/02/22 Page 3 of 5 PageID# 790
                   Case 1:20-cv-05589-GBD-VF Document 259 Filed 10/31/22 Page 2 of 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-05589-GBD-DCF

                                                     PROOF OF SERVICE
                     (This section should not be.filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and ritle, if any) Defendant American International Industries
on (date)


            g{ I served the subpoena by delivering a copy to the named person as follows:                            Director, National Personnel
            NAVY PERSONNEL COMMAND, PERS 31201, 5720 INTEGRITY DRIVE, MILLINGTON, TN 38055-3120
                                                                                           on (date)                                   ; or

            0 1 returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                       for travel and $                             for services, for a total of$                 0.00



            I declare under penalty of pe1:jury that this information is true.


Date:
                                                                                                   Server's signarure


                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:




                                                                      JA685
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                    Case 1:20-cv-05589-GBD-VF Document 259                                        Filed 10/31/22 Page 3 of 4
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Pagc 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that docs
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial. Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specijj,ing Conditions as cm Altemative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3J(B), the court may, instead of quashing or
regularly transacts business in person: or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
trnnsacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party· s officer; or                                    otherwise met without undue hardship; and
      (ii) is commanded to allend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (c) Duties in Responding to a Subpoena.
 (2) For Other Discoi,ery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (I) Producing Documents or Electro11ical(v Stored h1for111atio11. These
tangible things at a place within I 00 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person: and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     ( B) Form for Producing Electronicallv Stored /Jiformalion .11/ot Specified.
  (1) Avoiding U11d11e Burden or Expense; Sa11ctio11s. A party or attorney        !fa subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored h1formatio11 Produced in Onlv One Form. The
enforce this duty and impose an appropriate sanction--which may include           person responding need not produce the same electronically stored
lost earnings and reasonable aHorney's fees~on a party or attorney who            information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit fl1spectio11.                        from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or allorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises~or to            (A) 1!1/ormation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 clays after the subpoena is served. ]fan objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications. or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) h1for111atio11 Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modif.viug a Subpoena.                                           information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or rnodiiY a subpoena that:                     information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Ruic 45(c):                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modi!)' the subpoena ifit requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information: or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Commitlec Note (2013 ).




                                                                        JA686
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                                         SCHEDULE A
   Any and all Military Personnel Records in the possession of the Navy Personnel Command, ERS
   31201, 5720 Integrity Drive, Millington, TN 38055-3120, from 07 /25/1982-07/25/2000 relating
   to Karen Linda Nappi, f;k/a Gref (Maiden Name: Conna), DOB: 12/21/1951; USN, UIC 04639,
   which relate to: (I) Ms. Nappi's duty stations and assignments; (2) Ms. Nappi's son, Brian Gref
   (DOB: (07/25/1982; SSN XX-XX-3163) ; and/or (3) Ms. Nappi's potential exposure to asbestos,
   or use of asbestos or asbestos-containing products, at locations which she served.




                                            JA687
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              EXHIBIT EE




                                   JA688
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                                       I
                                      LEGAL SOLUTIONS




                                  Deposition of:
                    Theresa Swain Emory , M.D.
                                 October 1, 2020


                                 In the Matter of:

                     Bell, Lloyd et al v. American
                     International Industries et al




                             Veritext Legal Solutions
                      800-734-5292 I calendar-dmv@veritext.com I




                                   JA689
Case 4:22-mc-00001-AWA-DEM Document 4-31 Filed 12/02/22 Page 3 of 11 PageID# 795

                               Theresa Swain Emory, M.D.           October 1, 2020

                                                                 Page 153

    1                 So -- and that's true.             Again, with a

    2      rare disease, to prove a negative is -- you've got

    3      to have statistical power.

    4          Q      Okay.    Exhibit 15, we marked,          is the

    5      paper published this year that you authored with

    6      Dr. Maddox and Dr. Kradin.            Let me know when

    7      you're able to pull up that document.

    8          A      I'm there.

    9                 MR. SCHROLL:       And it's loaded for

   10      everybody?    Okay.

   11      BY MR. SCHROLL:

   12           Q     Now, this case series that you published,

   13      it has information about the 75 cases --

   14          A      I'm sorry?

   15           Q     I had a phone interruption here.             I'm

   16      sorry, hold on.       My phone was ringing.          Okay.

   17                 Can you hear me now?

   18           A     I can.

   19           Q     And table 1 of your paper contains

   20      information about the 75 cases, correct?

   21           A     Yes.

   22           Q     Okay.    And if I understand from a prior




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                                    JA690
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                               Theresa Swain Emory , M.D.         October 1, 2020

                                                                Page 154

    1      deposition,    that if I asked you for the names of

    2      the 75 individuals, you will not provide that

    3      information,     correct?

    4           A      That is correct.         And that is what's

    5      called ethics.      Right?       So there's a lot of

    6      reasons why, but one of them is I am a doctor of

    7      medicine.     I am ethical.         And in ethics, you

    8      don't       once you anonymize a patient in a

    9      study       for example,      the study of the over a

   10      thousand that I did for gastrointestinal GI

   11      tumors -- you anonymize them -- that's an ethical

   12      standard that has been forever about how you do

   13      that.    You don't de-anonymize people or subjects,

   14      human subjects.       That is the basis.

   15                  And so this paper has nothing in it that

   16      is       identifies any patient.            They're anonymous.

   17      And there is no company listed or any supplier or

   18      anything else in this paper.

   19                  So the paper stands for what it is.              And

   20      the only thing I'm going to talk to you about is

   21      what is in that paper, because I don't know -- I

   22      think the bar association probably has ethical




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                                   JA691
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                                                              Page 155

    1      standards, and your state bar that you have to

    2      live by and that you could be sanctioned and that

    3      you could lose your law license -- and the same

    4      thing with medicine.        I have an ethical obligation

    5      to keep human subjects that are anonymized

    6      anonymized.     And I would think that, as an

    7      attorney, that you also have ethical standards

    8      that you have to live by.

    9                 So in addition to HIPAA and all of that,

   10      anonymization of human subjects for medical

   11      research is a standard that has been practiced

   12      forever,   at least, you know,         a hundred years.     All

   13      the studies we look at.          And to ask for that type

   14      of information is, at the least, unethical, it's

   15      illegal from -- to get that kind of information,

   16      and would jeopardize, I think, anyone that was

   17      pressuring that to occur.

   18                 So, yes,   I am not going to define who

   19      these people are, what human subjects they are.

   20      The paper stands as it is.           Whether someone

   21      accepts the paper, doesn't think that it does

   22      anything to add to the literature or it does add




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                                   JA692
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                                Theresa Swain Emory, M.D.              October 1, 2020

                                                                     Page 156

     1     to the literature, that's fine.                This paper was

     2     peer reviewed and, therefore,             I will not disclose.

     3                And I would be remiss to say that I'm not

     4     certain that even the state bar would have a

     5     problem with somebody breaching that ethics

     6     standard of human subjects for medical research.

     7                MR. TOMLIN:       Objection.            Non-responsive.

     8     BY MR. SCHROLL:

     9          Q     Okay.     Thank you for that, Doctor.              And

   10      with that understanding,          the way this works is

   11      that -- I understand what your position is and the

   12      answer you're going to give me, but I have to make

   13      a record for the judge to review.                  So I'm going to

   14      ask you some questions about the identifying

   15      information.       And I understand your position and

   16      you can simply say -- you know~              reiterize your

   17      point that you will not tell me the information,

   18      and that is sufficient for my purposes here today.

   19      Okay?

   20           A     Yes.

   21           Q     Okay.     In the data provided in the

   22      article,   it does not note the brand of talcum




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                                    JA693
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                               Theresa Swain Emory, M.D.           October 1, 2020

                                                                Page 158

    1      one issue.     The other one is there's no basis for

    2      anyone in a particular litigation to be asking for

    3      information that is anonymized and doesn't claim

    4      any particular product or anything here.              So there

    5      is no basis for it and, no,           I won't.

    6           Q      Okay.   And will you tell me the

    7      identities of the individual law firms that

    8      referred the 75 cases?

    9           A      The paper does not implicate or talk

   10      about any law firm,       any specific product.         And the

   11      human subjects have been anonymized.               So I will

   12      not do any more than what is in this paper.               This

   13      paper stands as this paper.             And it was peer

   14      reviewed.     And it is -- that's all the information

   15      I will provide is what's published in the

   16      literature.

   17           Q      And I understand that, Doctor.            It sounds

   18      like, again, the answer is no.               So I'll accept

   19      that.     But I just need to have an answer on the

   20      record.

   21                  So when it comes to the identities of the

   22      law firms that referred these 75 cases, will you




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                                    JA694
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                                                                Page 159

     1     tell me those law firm names for the individual 75

     2     cases, yes or no?

     3          A      No.

     4                 MS. KAGAN:      Asked and answered.

     5                 THE REPORTER:        I'm sorry?

     6                 MS. KAGAN:      The objection was asked and

     7     answered.

     8                 THE WITNESS:       I answered the question.

     9     BY MR. SCHROLL:

   10           Q      Would you reveal any information about

   11      the manner on how the individual 75 used the

   12      talcum powder products?

   13           A      The paper stands for itself.           So no

   14      additional information will be provided.

   15           Q      Will you tell me the age that any of the

   16      75 individuals first started using talcum powder

   17      products?

   18           A      I will not add anything that's in the

   19      that isn't in the paper.           And you can look for

   20      yourself the estimated years of use and estimated

   21      years of latency and you can look at the age and

   22      you could figure that out.




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                               202-803-8830 -- 410-494-8300


                                    JA695
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                                   JA696
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                                Theresa Swain Emory, M.D.         October 1, 2020

                                                               Page 180

     1     case, correct?

     2          A      I think so.

     3          Q      Okay.    Would you tell the brand of talcum

     4     powder that any of the individuals used to

     5     Dr. Moline?

     6          A      I think I've made it very clear that I

     7     won't tell any additional information with regard

     8     to these 75 human subjects than what was published

     9     in the peer-reviewed literature.

    10          Q      Okay.    Hold on.       I'm trying to load the

    11     next exhibit.       Okay.    Let's pull up Exhibit 17.

    12                 (Deposition Exhibit Number 17 was marked

    13     for identification.)

    14     BY MR. SCHROLL:

    15          Q     Let me know when you can view it.

    16                Are you able to see it, Doctor?

    17          A     Yes.

    18          Q     And this is an e-mail exchange that you

    19     had with Dr. David Egilman, correct?

    20          A     Yes.

    21          Q     And he's asking you a question about case

    22     number 75, correct?




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                               202-803-8830 -- 410-494-8300

                                    JA697
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                                  Theresa Swain Emory, M.D.       October 1, 2020

                                                                Page 181

     1          A       Yes.

     2          Q       And you reply to him and you give

     3     information about case number 75, correct?

     4          A       Number 75 -- yes.

     5          Q       Okay.    And you tell Dr. Egilman that she

     6     used one product, Cashmere Bouquet, correct?

     7          A       Yes.

     8          Q       Okay.    And you would not tell me today

     9     the brand of talcum powder used by any of these 75

    10      individuals in your case series, correct?

    11          A       That's correct.

    12          Q       And why is it that you're able to tell

    13     Dr. Egilman the brand of talcum powder?

    14          A       Because he wasn't trying to de-anonymize

    15     anyone.      He asked a question for his medical

    16      research,    I'm sure, but there was no attempt of

    17     de-anonymizing anyone, which is what you're here

    18      to do today.        So information between people with

    19      regard to de-anonymization can occur, but that's

    20     not something that somebody is trying to do.

    21          Q       How do you know he's not trying to

    22     de-anonymize anyone?




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              EXHIBIT FF




                                  JA699
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                                 In The Matter Of:
                                    Archdeacon v.
                        Ameron International Corp., et al.




                               John C. Maddox, MD
                                            Vol. I
                                  August 06, 2015




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                                                                41
 1   documents that I've printed out.    And, as I said a
 2   minute ago, I estimated 25 to 30 pages perhaps.    That's
 3   an estimate, not a count.
 4                 Next I have what's called an asbestos
 5   case worksheet.   It's kind of torn, unfortunately.    But
 6   this is what my secretary has recorded as having been
 7   received by us and then returned to the law firm.
 8                 Next I have a -- a FedEx airbill that was
 9   created when the material was returned to the law firm
10   on March the 13th.
11                 Next I have what's called a Riverside
12   pathology request slip, which is an internal document
13   used by the secretaries to assign an accession number
14   and listing the materials received.
15                 So that's -- that's Exhibit Number 31.
16           Q     I did not notice any financial or billing
17   information between you or your facility and the
18   plaintiff's law firm in that summary.    Is there one in
19   there that I missed?
20           A     I don't think so.
21           Q     Where are the billing records regarding
22   this matter or how does that work?
23           A     Now, if you're referring to Peninsula
24   Pathology Associates, of which I am a member, billing
25   Simon Greenstone Panatier and Bartlett, we do not keep


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                                                                42
 1   records of that sort here.   We use a bookkeeper.   That
 2   would be J. Moore & Associates located in Roanoke,
 3   Virginia.
 4                 Now, I can estimate for you that we
 5   probably bill for about three or three and a half hours
 6   of review and photography, and so forth, for that.
 7   That's -- that's the usual amount.
 8                 Now, the billing is done by the company
 9   and the -- the payments come in to the company.     I am a
10   partner in that professional corporation and I
11   personally would receive approximately 30 percent of
12   what was billed out; 10 -- 10 percent for the cost of
13   billing and then three partners 30 percent each.
14            Q    So is your estimate for all of the work
15   involved leading to the point of preparing and issuing
16   your report for three and a half hours of labor?
17            A    Yes.   Yes, sir, that would be correct.
18            Q    And any other materials or laboratory
19   costs?
20            A    I don't think so.     I don't see -- I don't
21   see -- let me just check something.
22                 I had said that there was no unstained,
23   recuts or paraffin blocks, so no additional
24   immunostains can be prepared.
25                 Therefore, we did not have to prepare any


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 1   stains or slides in our lab.    We looked at the slides
 2   that were already available and rendered a diagnosis
 3   based on them, on those slides, as well as the medical
 4   records, the pathology reports that perhaps listed a
 5   few other stains as well.
 6             Q     For three and a half hours, what was the
 7   billing rate?
 8             A     These were billed at a rate of five
 9   hundred dollars per hour.
10             Q     And is that a standard rate for all of
11   the activities that you engage in in dealing with
12   asbestos litigation or do you have different rates for
13   different things?
14             A     The -- the rate was four hundred dollars
15   an hour until very early in 2014 and then it was
16   increased to five hundred dollars an hour.
17                   There's some discussion about a special
18   increase for depositions that go longer than four
19   hours; we're thinking about doubling the rate for
20   those.    But, other than that, I think it will stay at
21   the five hundred dollars per hour for the foreseeable
22   future.
23             Q     You understand you're under oath.
24             A     Yes, sir, I am under oath.
25             Q     Can you describe to me the -- the billing


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 1   and distribution arrangement again?
 2                 Five hundred dollars per hour goes to
 3   several partners and a portion goes to bookkeeping?
 4   Did I get that right?     Who -- who are the partners?
 5   Can you summarize that for me?
 6           A     Okay, sure.
 7                 The company in question is Peninsula
 8   Pathology Associates, Incorporated, which is a
 9   professional service corporation.     There are three
10   partners, which would be myself, I guess you'd say I'm
11   the senior partner because I'm the oldest, the managing
12   partner is Dr. David Smith, and the other partner is
13   Dr. Michael Schwartz.
14                 This corporation has been around for
15   several decades.     I can't tell you when it was first
16   incorporated, but, at any rate, we -- we bill for
17   services and the payments come back into the
18   corporation after the -- the cost of billing is
19   deducted by the company, J. Moore & Associates, the
20   accounting and bookkeeping firm, then the remaining
21   90 percent is equally split against the three partners.
22           Q     Have the other two partners, Doctors
23   Smith and Schwartz, done anything with regard to the
24   Archdeacon matter?
25           A     No, sir, they have not.


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                             Exhibit 1




                                   JA705
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                                                                 November 21, 2021

  VIA ECF
  Hon. Valerie Figueredo
  Daniel Patrick Moynihan
  United States Courthouse
  500 Pearl Street
  New York, NY 10007-1312

         Re:     Gref v. Am. Int’l Indus., et al., 20-cv-05589


  Dear Judge Figueredo:
          Plaintiff Brian Gref hereby opposes the Motion to Compel the Continuation of the
  deposition of Plaintiff’s Expert Dr. Jacqueline Moline, filed collectively by Defendant American
  International Industries (“AII”), Colgate-Palmolive Company (“Colgate”), Shulton, Inc.
  (“Shulton), and Whittaker Clark & Daniels, Inc. (“WCD”), and hereby cross-moves for a
  protective order pursuant to Federal Rule of Civil Procedure 26(c). Given the numerous procedural
  and substantive deficiencies of Defendants’ motion discussed herein, including Defendants’
  failure to adhere to Your Honor’s Part Rules in both form and substance, Defendants’ motion
  should be denied in its entirety. Additionally, because, as set forth below, Defendants’ motion
  seeks clearly confidential and protected testimony regarding human subjects of scientific studies,
  the Court should enter a protective order precluding Defendants from asking Dr. Moline questions
  regarding the same.
                                          INTRODUCTION
          Dr. Jacqueline Moline is an exceptionally qualified and experienced expert in occupational
  and environmental medicine who has been deposed and cross-examined by defendants in asbestos
  and cosmetic talcum powder litigation hundreds of times. See e.g. Dr. Moline Testimony List
  (Updated Aug. 31, 2022), attached as Exhibit 1. In all cases in which she has been retained as an
  expert, she applies essentially the same generally-accepted methodology to determine the medical
  causation of a plaintiff or decedent’s asbestos-related disease. As she has repeatedly explained in
  countless depositions – including many attended by the defendants in the instant case – this
  methodology involves reviewing the individual’s clinical history, past medical history, and
  environmental and occupational history in order to determine if he or she was exposed to asbestos,
  and whether, based on case-specific evidence and relevant peer-reviewed scientific literature, the
  exposure was at a level at which disease has occurred in others. Dr. Moline’s reliance materials,
  which firmly support the methodology she applies, are published, peer-reviewed scientific
  literature that is generally-accepted within the scientific and medical communities. Insofar as all
  Defendants in this case are entities that are frequently involved in cosmetic talc cases, they are all
  familiar with Dr. Moline, the methodology she applies and literature she relies upon.




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          Despite having deposed Dr. Moline on dozens of prior occasions and completed a seven-
  and-a-half hour deposition in this case during which the full scope of Dr. Moline’s opinion and
  reliance materials were explored, Defendants move this Court to permit an open-ended continued
  deposition of Dr. Moline claiming further questioning is needed to understand Dr. Moline’s
  methodology and opinions. In addition to numerous procedural flaws, Defendants’ motion makes
  significant misrepresentations about cited case law, the honesty and integrity of Plaintiff’s counsel,
  Dr. Moline, and the good faith that Plaintiff exercised in attempting to resolve this discovery
  dispute with Defendants prior to their seeking judicial intervention. Disturbingly, Defendants go
  so far as to accuse Dr. Moline of giving false testimony and Plaintiff’s counsel of suborning
  perjury. These false accusations, casually levied against Plaintiff and his expert without any
  evidence, should not be given any credence by the Court, and should be viewed instead as generally
  undermining the credibility of Defendants’ motion as more a vehicle for ad hominem attacks than
  a genuine request for discovery.
          As set forth in detail herein, each of the grounds on which Defendants claim additional
  time is needed to depose Dr. Moline is without merit. Significantly, almost none of these issues
  were raised with Plaintiff in meet and confer negotiations before Defendants filed the instant
  motion. Under Your Honor’s Part Rules, this alone warrants denial of Defendants’ motion.
          To the extent Defendants make “Mesothelioma Associated With the Use of Cosmetic Talc”
  (hereinafter “the Moline Study), the peer-reviewed Study that Dr. Moline co-authored in 2019, the
  primary focus of its motion, this, in all events, is an improper basis for further questioning. Indeed,
  having known about the Study for over two years, Defendants have previously examined Dr.
  Moline about the Study and the methodology she and the co-authors applied (AII as recently as
  last month in the Fisher trial), and had ample opportunity to question Dr. Moline about it at the
  two-day deposition in this case. Except for a few questions raised on the first day of Dr. Moline’s
  deposition, Defendants never returned to the topic, not even during meet-and-confer discussions
  after the deposition was completed in accordance with Federal Rule 30(d)(1). Defendants now
  seek to reopen Dr. Moline’s deposition by arguing that they are entitled to inquire as to the identity
  of the Study’s human research subjects. As argued by Northwell Health, Dr. Moline’s employer,
  who is the exclusive owner of that information and the target of a subpoena by AII and WCD for
  records regarding the subjects of Dr. Moline’s Study, this information is, as other courts have
  found, privileged and confidential. 1 Despite Defendants’ argument to the contrary, the recent
  decision by Chief Judge Osteen in Bell v. American Int’l. Indust., which focuses on a sole issue
  pertinent to that particular case and has no bearing on the instant matter, does not provide
  otherwise. Indeed, though it does not inform the Court of this, the Bell decision explicitly precluded
  AII from discovering the identities of the very human subjects Defendant now attempts to have
  this Court compel. See Opinion and Order, dated Sept. 13, 2022, attached as Exhibit 2. Plaintiff
  submits that, just as the Bell Court, among many others, recognized that the identifying information

  1
    In this case, Defendants misleadingly argue that “pursuant to a subpoena, Northwell is producing
  documents related to the Moline article.” See Defendants’ Motion at 13. What Defendants fail to mention
  is that Northwell filed objections to the subpoena served by the Defendants and further moved to limit the
  subpoenas. See Northwell’s Non-Party Objections To Subpoena, Exhibit 3. Pursuant to the briefing
  schedule ordered by the Court, Defendants’ responses to Northwell’s motions are due today.



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  which Defendants seek is clearly confidential and protected information, this Court should too
  preclude Defendants from attempting to question Dr. Moline regarding the same. As such, Plaintiff
  submits that the Court should enter a protective order, pursuant to Federal Rule of Civil Procedure
  26(c), prohibiting Defendants from attempting to depose Dr. Moline regarding the identity of the
  Study’s human research subjects.
         The remaining issues raised by Defendants’ motion are plagued by various
  misrepresentations and half-truths about the record and rely on insignificant quibbles with Dr.
  Moline to feign a need for additional time. All in all, Defendants fail to demonstrate that they used
  the time afforded by the Federal Rules to depose Dr. Moline efficiently, and they fail to
  demonstrate that good cause exists to warrant the Court granting them any additional time to
  continue deposing Dr. Moline. Without these showings, Defendants’ interest in questioning Dr.
  Moline further about any of the topics that they list in their motion is not in good faith.
  Accordingly, Defendants’ motion must be denied in its entirety.
                       FACTUAL AND PROCEDURAL BACKGROUND
     I.        Ignoring the Deeply-Rooted Scientific Foundation Supporting Dr. Moline’s
               Opinion and Extensive Testimony She Has Provided Regarding The Generally-
               Accepted Methodologies Applied to Reach a Causation Opinion in this Case,
               Defendants’ Claimed Need for Additional Time to Examine Dr. Moline on These
               Topics Is Both Procedurally Improper and Meritless

          A.      Defendants Improperly Base Their Motion to Depose Dr. Moline Far Beyond
                  the 7-Hour Limit on Areas of Inquiry That Were Not Discussed During
                  Required Meet-and-Confer Negotiations And, In All Events, Are Not
                  Discoverable And/Or Have Already Been Asked of Dr. Moline in this Case or
                  Past Depositions That Defendants Agreed to Rely Upon
           In accordance with the then-governing case scheduling order and in response to
  Defendants’ Notice of Deposition, Plaintiff produced his medical causation expert, Dr. Jacqueline
  Moline, for a deposition on July 6, 2022, and September 23, 2022. Notably, at AII’s request,
  Plaintiff agreed that Defendants could use Dr. Moline’s prior testimony from other similar cases
  (Crudge, Lashley, and Bell) so that questions already asked of Dr. Moline as to issues in common
  with this case would not have to be repeated, thereby eliminating the need to spend time on matters
  previously addressed. See Dep. of Dr. Moline, dated July 6, 2022, attached as Exhibit 4, at 6:14-
  17, 194:12-23. Notwithstanding having the benefit of these multiple transcripts, Defendants
  proceeded to question Dr. Moline over the course of two days for 7 hours and 35 minutes
  (exclusive of breaks), during which large portions of Defendants’ examination re-visited matters
  addressed in Dr. Moline’s prior testimony. Revealingly, towards the end of the second day of the
  deposition (defense was still permitted to cross Dr. Moline further), counsel for AII opposed
  ending the deposition 35 minutes after the 7-hour mark, claiming, without any support: “I’m
  entitled to cross not subject to any time limitation, which will basically [be] going back through
  all the studies that [Dr. Moline] claims to rely on, et cetera.” See Dep. of Dr. Moline, dated Sept.
  23, 2022, attached as Exhibit 5 at 297:5-9 (emphasis added).



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          As the deposition transcripts reveal, Defendants explored the full scope of Dr. Moline’s
  opinions and the studies on which she relies, the vast majority of which Defendants are already
  familiar with. Specifically, Defendants asked Dr. Moline about general, non-case-specific topics
  that defendants in the talc litigation have already exhaustively explored. Such topics include the
  scientific literature that supports Dr. Moline’s opinion that repeated exposure to asbestos-
  contaminated cosmetic talcum powder products increases the risk of developing mesothelioma
  (see e.g. Exhibit 4, at 87:2-88:3, 93:18-105:24, 150:15-25; Exhibit 5, at 239:23-241:9), that the
  causative link between exposure to asbestos and mesothelioma is supported by epidemiological
  studies (see e.g. Exhibit 4 137:2-160:19), and that there is no safe threshold to exposures above
  background that has been established by generally-accepted medical literature (see e.g. id. at 60:7-
  61:13, 74:18-77:7, 78:7-80:19).
           Regarding the article entitled “Mesothelioma Associated With the Use of Cosmetic Talc”
  (hereinafter “the Moline Study”) (attached as Exhibit 6), co-authored by Dr. Moline and published
  in a peer-reviewed journal, Defendants asked Dr. Moline (yet again) about the “cumulative doses”
  that the subjects studied in that article experienced and the data regarding their asbestos exposures
  “from all sources.” Id. at 143:12-145:3. In addition to re-hashing these topics, Defendants also
  explored Dr. Moline’s opinions regarding Plaintiff’s specific exposures in this case, her review of
  his diagnosis, medical and occupational history (see e.g. Exhibit 4 at 13:9-14:9, 116:8-119:18,
  134:24-136:25, 161:12-162:7), and the methodology she employed to assign causation of
  Plaintiff’s disease to his use and exposure to Defendants’ cosmetic talcum powder products (see
  e.g. id. at 137:2-160:19; Exhibit 5 at 212:24-213:6, 224:15-239:22, 241:10-261:2).
         Following the completion of Dr. Moline’s deposition in accordance with Federal Rule
  30(d)(1), Plaintiff met via telephone conference with counsel for Defendant Colgate-Palmolive
  Company, who was acting as liaison for all Defendants, regarding the Defendants’ request for a
  continuation of Dr. Moline’s deposition. During the meet and confer, Defendants proposed a “not-
  to-exceed” four-hour time period to further examine Dr. Moline, explaining that the focus and
  majority of the estimated four-hour timeframe was necessitated by Defendants’ lack of clarity
  regarding how Dr. Moline arrived at her exposure calculations in this case.
          In response, and despite Defendants having already received the benefit of additional time
  beyond the seven hours provided for under the Federal Rules, Plaintiff nonetheless offered
  Defendants an additional one hour of time within which to depose Dr. Moline on her dose
  estimations. From Plaintiff’s perspective, this offer was reasonable and in-line with Defendants’
  own estimation of the additional time they needed now that Plaintiff had confirmed for Defendants
  the manner and method by which Dr. Moline performed her calculations in this case. Defendants
  rejected Plaintiff’s counter proposal and advised that they would be seeking the Court’s
  intervention to resolve the dispute. This exchange encompassed the totality of the subjects
  discussed in the parties’ good-faith meet-and-confer sessions.
          On November 4, 2022, AII, on behalf of all Defendants, moved to compel the continued
  deposition of Dr. Moline. In direct violation of this Court’s Part Rules, AII (i) failed to state any
  of the specifics of the meet-and-confer negotiations that took place between Plaintiff and Colgate’s
  counsel, (ii) mischaracterized the subject and scope of those negotiations and Plaintiff’s position



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  regarding the one-hour counter proposal, and (iii) filed a brief more than six times longer than the
  Court’s three-page limit. In its improper, non-compliant brief, AII further departed from the
  proposed four-hour limitation Defendants initially proposed and argued that Dr. Moline’s
  deposition should be continued for an unspecified length of time so that Defendants could inquire
  as to various subjects that are either facially improper or have already been explored ad nauseum
  with Dr. Moline in this and/or past cases. Tellingly, in listing the subjects on which they seek to
  further question Dr. Moline, AII fails to advise the Court that the Moline Study and the identity of
  the human subjects of the study – the very topic on which AII focuses in urging the Court to grant
  its request for additional time within which to depose Dr. Moline – was neither raised nor the
  subject of any discussion during the multiple meet and confers. 2 AII’s motion also fails to
  demonstrate that Defendants used the time they had efficiently, or that their questions are not
  otherwise covered by the testimony they incorporated by reference during the deposition.
          B.      It is Well Established in the Scientific Community That Exposure to Asbestos
                  (As Found In Contaminated Cosmetic Talcum Powder) Causes All Forms of
                  Mesothelioma
           AII sets the stage for its misleading arguments regarding Dr. Moline’s Article by repeating
  the fallacy often raised by defendants in cosmetic talc litigation that there is a lack of epidemiology
  to support a causal link between Plaintiff’s mesothelioma and cosmetic talc use. This argument,
  which is routinely rejected by courts across the country in the context of decisions on summary
  judgment motions and Daubert motions, ignores that it is the asbestos in Defendants’ cosmetic
  talcum powder products that caused Plaintiff’s disease. Based on peer-reviewed scientific
  literature from a range of disciplines, including epidemiology, toxicology, medical research, and
  industrial hygiene, there is overwhelming consensus that exposure to all forms of asbestos cause
  cancer, including peritoneal mesothelioma. See e.g. Excerpts of WHO, International Agency
  Research on Cancer (“IARC”), IARC Monographs on the Evaluation of Carcinogenic Risks to
  Humans, A Review of Human Carcinogens, Part C: Arsenic, Metals, Fibres, and Dusts Vol. 100C
  (2012), attached as Exhibit 7 at 294; Joint Policy Committee of the Societies of Epidemiology,
  Position Statement on Asbestos from the Joint Policy Committee of the Societies of Epidemiology
  (JPC-SE) (June 4, 2012), attached as Exhibit 8. Similarly, it is a widely-accepted scientific fact
  that talc containing asbestos is a human carcinogen. Exhibit 7 at 38, 219, 291-294. Numerous
  experts, including Dr. Moline, have testified to the scientific literature that forms the foundation
  on which a medical expert may, based upon a case-specific review of an individuals’ medical and
  occupational history, assign causation to the individual’s exposure to asbestos-contaminated
  cosmetic talcum powder product(s) in accordance with generally-accepted methodology.
         Importantly, a cosmetic talcum powder product-specific epidemiological study is not
  required to establish (either legally or scientifically) that there is a link between asbestos-

  2
   As discussed below, AII not only improperly asks this Court to compel Dr. Moline to disclose the identity
  of human subjects of medical research and studies in violation of federal, state, and local laws, but also
  neglects to inform the Court that its attempts have been expressly rejected by multiple other courts. In
  arguing that the Middle District of North Carolina’s decision supports it request, AII misrepresents the
  scope and impact of that decision, as discussed, infra.



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  contaminated talc and disease. Indeed, “there are about 3,000 products,” but “not 3,000 separate
  studies of every product that contained asbestos.” See Dr. Moline AM Trial Testimony in Fisher,
  dated Oct. 13, 2022, attached as Exhibit 9 at 54:7-17. Epidemiologically, it is beyond dispute that
  asbestos causes disease. The issue in answering whether a product caused an asbestos-related
  disease is not “the product per se. It’s whether there was asbestos in the product.” Id. Altogether,
  as in past cases involving the same Defendants as here, Dr. Moline 3, with the support of the peer-
  reviewed literature cited in her reference list, will explain at trial that, breathing asbestos as a result
  of using cosmetic talcum powder is capable of causing disease just as it is in connection with any
  other product.
          Despite Defendants’ claims to the contrary, there is no meaningful difference between
  pleural and peritoneal mesothelioma. It is the same disease in different locations of the body – the
  lining of the pleura (in the lung) versus the peritoneum (in the abdomen). Exhibit 5 at 238:19-
  239:17. It is beyond credible scientific dispute that both locations of this disease are caused via
  exposure to asbestos fibers. See Consensus Report: Asbestos, asbestosis, and cancer: the Helsinki
  criteria for diagnosis and attribution, 23 SCAND. J. WORK ENVIRON. HEALTH 4, 311-316 (1997)
  cited infra. 4 As reflected in Dr. Moline’s report and deposition, this distinction does not change
  the scientific foundation for concluding that asbestos exposure from cosmetic talcum powder
  products causes each disease. Exhibit 4 at 84:12-85:2 (explaining that low levels of asbestos
  exposure are capable of causing peritoneal mesothelioma, undermining earlier notions that higher
  levels of exposure were required to trigger the disease); Exhibit 5 at 237:22-243:16 (reiterating
  the consensus within medical literature that asbestos causes mesothelioma in all locations).
  Mesothelioma is a “signal” tumor for asbestos exposure. See Dr. Moline’s Trial Testimony, dated
  March 9, 2020 in Lashley, attached as Exhibit 11 at 48:12-13. As relevant to this case, based on
  Plaintiff’s exposure history, he suffered an exposure to asbestos through cosmetic talc use that is
  associated with the very cancer he has and that supports Defendants’ products contributed to the
  development of his disease. Exhibit 4 at 112:18-24.
          In challenging the epidemiology of peritoneal mesothelioma in relation to asbestos and
  asbestos-contaminated cosmetic talc, Defendants generally ignore the consensus of the objective
  scientific community that all forms of mesothelioma are causally linked to asbestos exposure. See
  Consensus Report: Asbestos, asbestosis, and Cancer, the Helsinki Criteria for Diagnosis and
  Attribution 2014: Recommendations, 41 SCAND. J. WORK ENVIRON. HEALTH 1, 5-15 (2015),
  attached as Exhibit 12; Consensus Report: Asbestos, asbestosis, and cancer: the Helsinki criteria
  for diagnosis and attribution, 23 SCAND. J. WORK ENVIRON. HEALTH 4, 311-316 (1997), attached
  as Exhibit 13; Exhibit 7. Such consensus is based on the full body of scientific evidence, including

  3
    As indicated in her Curriculum Vitae, Dr. Moline has training and experience in the field of epidemiology.
  See Exhibit 10.
  4
    AII argues, incredibly, that only 8% of peritoneal mesothelioma victims “report” asbestos exposure, and
  thus there is a “weak link” between asbestos and peritoneal mesothelioma. Putting to one side that this is
  not surprising as many mesothelioma victims, including the instant Plaintiff, were unaware that products
  they were exposed to decades ago contained asbestos, whether a patient “reports” asbestos exposure or not
  is irrelevant when determining general causation. The fact remains that the credible medical literature is
  unanimous in concluding that asbestos causes all forms of mesothelioma.



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  epidemiological studies, human fiber burden testing, animal studies, in vitro studies, as well as
  case series and case-control studies showing that all types of asbestos cause cellular changes that
  lead to mesothelioma, including peritoneal. See Kanarek and Mandich, Peritoneal Mesothelioma
  and Asbestos: Clarifying the Relationship by Epidemiology, Epidemiology Open Access Journal
  (2016), attached as Exhibit 14.
          As in past cases, Dr. Moline testified at her deposition in this case about the extensive body
  of scientific literature supporting her causation opinion and the methodology she applied to reach
  her opinion. The reference list attached to the report Dr. Moline prepared for this case, which, at
  the time of disclosure, contained 492 items, is a “living document” to which she adds sources as
  they become available. See Dr. Moline’s Dep., dated July 8, 2022 in Lashley, attached as Exhibit
  15, at 83:11-18; see also Dr. Moline’s Expert Report, Exhibit 16. Curiously, Defendants attack
  Dr. Moline for purportedly lacking a scientific foundation for her opinion, but then complain that
  her reference list with hundreds of scientific articles supporting her opinion is too large.
  Ultimately, as Dr. Moline has testified repeatedly, the list demonstrates the overwhelming
  consensus that exists in the medical and scientific communities that exposure to all forms of
  asbestos fibers cause mesothelioma.
          Notably, each of the above-cited sources is included on Dr. Moline’s list. As discussed in
  further detail below, because Dr. Moline has been deposed hundreds of times in this litigation and
  the scientific foundation for her opinions is a subject universally explored by defendants, it is
  beyond disingenuous for Defendants to now claim that they cannot ascertain the bases for Dr.
  Moline’s opinions. Indeed, Defendants were already familiar with the majority of Dr. Moline’s
  reference list before her deposition. On issues that Defendants asked for more specific information
  about Dr. Moline’s reliance materials, Dr. Moline responsively summarized the available literature
  and/or pointed Defendants to specific sources on her reference list. See e.g. Exhibit 4 at 141:6-
  145:11 (narrowing sources cited for purposes of reflecting “analogous exposure scenarios” to those
  specific to peritoneal mesothelioma) Exhibit 5 at 239:23-240:9 (explaining that literature linking
  asbestos-contaminated talc and peritoneal mesothelioma are case series and case reports), 241:10-
  242:24 (clarifying the author, title, and year of Center for Disease Control article cited in report).
         C.      Dr. Moline’s Peer-Reviewed Article Provides Additional Support for
                 Connecting the Causal Link Between Exposure to Asbestos-Contaminated
                 Cosmetic Talc and Mesothelioma
           In their efforts to discredit Dr. Moline and her article, Defendants completely ignore the
  peer-review process that the article had to go through in order to be published, which gives the
  article significant indicia of reliability. See In re Fosamax Products Liability Litig., 645 F.Supp.2d
  164, 183 (S.D.N.Y. 2009) (“That the research is accepted for publication in a reputable scientific
  journal after being subjected to the usual rigors of peer review is a significant indication that it is
  taken seriously by other scientists, i.e., that it meets at least the minimal criteria of good science,”
  citing Daubert v. Merrell Dow Pharmaceuticals, Inc. (“Daubert II”), 43 F.3d 1311, 1318 (9th Cir.
  1995). Viewed appropriately in context and substance, Dr. Moline’s peer-reviewed, published
  article is a meaningful addition to the already well-developed lexicon of medical literature that




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  physicians and scientists may rely upon in treating patients and developing opinions regarding
  mesothelioma, asbestos, and cosmetic talc.
          In January 2020, the Moline Study, which Dr. Moline authored with Dr. Kristin
  Bevilacqua, Dr. Maya Alexandri, and Dr. Ronald Gordon, was published in the Journal of
  Occupational and Environmental Medicine. Exhibit 6. The Study examined data for 33 human
  subjects with malignant mesothelioma and no confirmed asbestos exposure other than cosmetic
  talcum powder. 5 Id. at 11. The cases were obtained through referrals for medico-legal evaluation,
  and tissue digestions were performed in six cases. 6 Id. The Study concludes that exposure to
  asbestos-contaminated cosmetic talc can cause mesothelioma and urges clinicians to elicit a history
  of talcum powder usage in all patients presenting with mesothelioma. Exhibit 6 at 11.
          Notably, the limitations of the Study and methodology employed are disclosed:
               The case series presented should be understood in the context of its
               limitations. Data were obtained from medical records and transcripts of
               depositions, rather than structured, in-person interviews. However, the
               information solicited during the course of the patients’ depositions were
               thorough, and included exhaustive questioning about alternative sources
               of asbestos exposure, including household exposure, exposures from
               external industrial sources, occupational exposure, and potential exposure
               from family members. While deposition testimony is by definition self-
               report, depositions were given under oath and the potential for recall bias
               noted would be presented whether patients completed a structured
               interview or were asked questions during sworn testimony. Furthermore,
               the utilization of medical records allowed the authors to corroborate
               important medical information and confirm the pathological diagnosis.

  Exhibit 6 at 16.
          Given the enormous body of scientific literature establishing that exposure to asbestos,
  regardless of the product in which it is contained, is capable of causing mesothelioma, Defendants’
  claim that Dr. Moline drafted an article because there is no epidemiology linking cosmetic talc to
  mesothelioma is an egregious misstatement. As reflected in Point II(2), supra, a scientific
  foundation to support a medical expert’s opinion that exposure to asbestos-contaminated cosmetic
  talc exists without the Moline’s Study. The Study is now merely one of numerous peer-reviewed
  scientific publications discussing the presence of asbestos in talcum powder and asbestos-related


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    As discussed fully, infra, this is includes the Bell plaintiff who, despite a full opportunity to do so by AII
  and other defendants, has never been proven to have experienced a confirmed asbestos exposure other than
  to cosmetic talc.
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    Generally speaking, tissue digestions involve removing biological material from a sample of tissue so that
  the inorganic materials contained therein can be examined on a filter under a microscope. Tissue digestions
  are significant because they allow for the examination of various fibers in the lung tissues through fiber
  burden studies, which can provide guidance as to potential prior asbestos exposure, whether from
  occupational, residential, or para-occupational exposure to asbestos. See Exhibit 6; see also Asbestos in
  commercial cosmetic talcum powder as a cause of mesothelioma in women, Gordon, et al., Exhibit 17.



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  disease that is relied upon by Plaintiff’s experts when, based on the facts of a case, causation is
  attributed to a cosmetic talcum powder product. As with any other item of scientific literature, Dr.
  Moline’s Study is not used as, nor is it intended to be, proof that, because the 33 patients were
  exposed to asbestos from cosmetic talc and diagnosed with mesothelioma, any particular Plaintiff
  contracted mesothelioma from his or her exposure to cosmetic talc. The Study is merely additional
  support in the foundation of scientific literature that experts rely on to form their medical causation
  opinions in a case involving cosmetic talcum powder products.
         Moreover, the Study was not written for any litigation purpose. It was borne out of the
  observation that, historically, there has been a “high prevalence of unexplained or, ‘idiopathic
  mesothelioma’ among women,” that, a growing body of scientific data, indicates that millions of
  men and women were unwittingly exposed to asbestos from cosmetic talc products (mostly women
  as they are the more likely users of these powders), and that these exposures were generally not
  considered by medical practitioners when examining a mesothelioma patient’s exposure history.
  Exhibit 6. Based on the data examined by Dr. Moline and her colleagues, the Study alerts the
  medical community to cosmetic talc as a potential source of asbestos exposure that should be
  considered when examining a patient’s history. Id.; See Exhibit 9 at 67:13-68:8; Dr. Moline PM
  Trial Testimony in Fisher, dated Oct. 13, 2022, attached as Exhibit 18 at 39:12-16.
          Pursuant to the Department of Health and Human Services and the Food and Drug
  Administration Regulations, the 33 human subjects of Dr. Moline’s Study were anonymized in the
  paper. Id; see 45 C.F.R. 46.111(a)(7); 21 C.F.R. 56.111(a)(7). As discussed in further detail below,
  based on these federal regulations as well as the terms of the directive which granted Dr. Moline
  and her colleagues permission to conduct the Study, the identities of the subjects and their personal
  medical data are privileged and confidential. Accordingly, requests for disclosure of this
  information have been repeatedly denied. Nevertheless, as discussed below, even without this
  information, Defendants have conducted meaningful cross-examinations of Dr. Moline regarding
  the Study, the methodology applied, the potential alternative exposures that the subjects
  experienced, and the ultimate conclusions drawn.
         D.      The Identity of the Subjects of Peer-Reviewed Medical Literature is
                 Confidential, Protected Information, That is Not Subject to Discovery
          For more than two years in litigation across the country, Defendants, led by AII, have been
  improperly (and unsuccessfully) attempting to discover the protected identities of the human
  subjects involved in Dr. Moline’s Study, either through cross-examining Dr. Moline or filing
  discovery requests directed at plaintiffs. Because this information is owned exclusively by
  Northwell Health, Dr. Moline’s employer, who gave approval to Dr. Moline and her co-authors to
  conduct the Study and prepare the peer-reviewed article, but nothing more, neither Plaintiff nor
  Dr. Moline are in a position to provide Defendants with the information they seek. In any event,
  as Courts have repeatedly found, this information is protected and confidential and, thus, not
  discoverable. Contrary to Defendants’ contention, the recent decision issued by the Middle District
  of North Carolina in Bell v. American Int’l. Indus., does not provide otherwise. As discussed
  below, although Chief Judge Osteen decided to lift a protective order maintaining the anonymity
  of the decedent in that case as a subject of Dr. Moline’s Study, this decision is clearly limited to



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  the facts and circumstances of that case and does not apply to any of the other 32 subjects, whose
  identities Judge Osteen explicitly recognized remain protected. See Exhibit 2 at 35.
          As confirmed by the motions to quash filed by Northwell in response to defense subpoenas
  seeking, inter alia, “information relating to any publication authored or co-authored by Dr. Moline
  while employed by Northwell, including her article entitled, ‘Mesothelioma Associated With the
  Use of Cosmetic Talc,’” “all Reports written by Dr. Moline on Northwell letterhead/stationary
  with respect to each of the 33 individuals included in the study,” and “the subjects’ first and last
  names, brand(s) of talc they used, law firm representation, occupation(s), and date of diagnosis
  and/or date of birth,” (see Dkt. Nos. 264-269), the personal information and medical data of the
  subjects involved in Dr. Moline’s Study is privileged and confidential, such that Dr. Moline is not
  permitted to divulge the identities of the subjects or provide other revealing details. Dkt. Nos. 264-
  269. As explained in Northwell’s memorandum of law, the disclosure of such information would
  violate (1) The Federal Policy for the Protection of Human Subjects, 45 C.F.R. Part 46, Subpart A
  (“The Common Rule”); (2) Bedrock Institutional Review Board (“IRB”) standards of privacy and
  confidentiality covering research subjects; (3) The specific IRB approvals that Dr. Moline secured
  in advance of writing and publishing her peer-reviewed article; (4) well-established standards and
  universally accepted norms in the medical research community related to research subjects and
  anonymity; and (5) relevant case law affirming privacy and confidentiality requirements for
  research subjects. Doc. Nos. 266 and 269.
          Northwell’s position is supported by the decisions of multiple courts that have confronted
  Defendants’ requests for the disclosure of the subjects’ identities in litigation. For instance, in
  2020, at a trial in the New Jersey Superior Court, Middlesex County, Judge Ana C. Viscomi, who
  presides over all asbestos matters filed in the State, prohibited AII from attempting to elicit the
  identity of human subjects involved in Dr. Moline’s study during cross-examination, rightly
  recognizing that the information was protected and not necessary to exploring the Study’s
  methodology. See Excerpts of Dr. Moline’s Testimony in Johnson/Lashley, dated Mar. 11, 2020,
  attached as Exhibit 19 at 205:3-208:5, 217:2-221:2. The court permitted AII to question Dr.
  Moline about “all of the different reports that [AII had] or that [Dr. Moline] may have referenced
  in that paper,” but held that identifying any of the Study’s subjects would be inappropriate, even
  where AII was attempting to match the identity of a subject to a plaintiff in a case in which AII
  was a named defendant. Id. (Lashley/Johnson) at 218:24-221:2. AII went on to inquire what
  impact, if any, a worker’s compensation claim filed by a Study’s subject alleging an alternative
  asbestos exposure would have on the Study’s findings. Id. at 222:23-223:2. Dr. Moline explained
  that to be relevant, there would have to have been actual exposure and not just an allegation of
  exposure. Id. at 223:1-2. And, in any event, “an additional exposure” would not change the Study’s
  conclusion that asbestos in cosmetic talc leads to mesothelioma because it does not “negate the
  fact that all 33 [subjects] had this exposure to asbestos from the cosmetic talc.” Id. at 230:9-12.
          In 2021, Chanel, Inc., a defendant in another New Jersey cosmetic talcum powder case,
  filed a motion to compel seeking the identities of the 33 human subjects of Dr. Moline’s Study.
  The request was denied based on Judge Viscomi’s ruling in Lashley/Johnson that the identity of




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  the subjects was not discoverable. See Order Denying Request for Discovery in Harpster v.
  Chanel, Inc., dated Aug. 19, 2021, attached as Exhibit 20.
          In 2022, at the trial of Fisher v. American Int’l. Indus., Judge Sierra Thomas-Street of the
  Pennsylvania Court of Common Pleas, Philadelphia County, granted Plaintiff’s motion to preclude
  AII from improperly attempting to elicit the identity of the human subjects involved in Dr.
  Moline’s study during cross-examination. Exhibit 9 at 75:9-14. Based on the recent ruling in Bell
  v. AII, which, as discussed below, is far more limited than AII argued either at Fisher or in the
  instant motion, Judge Thomas-Street permitted AII to reference the “Bell” case in connection with
  Dr. Moline’s Study and ask Dr. Moline as to the significance, if any, of that plaintiff’s filing of a
  workers’ compensation claim in the Study’s analysis. Id. at 81:17-83:19; Exhibit 18 at 32:6-17,
  33:12-34:18, 35:20-40:4, 42:24-43:17. Nevertheless, the Court refused to compel Dr. Moline to
  disclose the identities or underlying personal data about the subjects of the Study. Exhibit 9 at
  79:6-9.
           Additionally, multiple Courts have rejected motions in limine seeking to preclude Dr.
  Moline’s Study from being used at trial based on the fact that it is based, in part, on confidential
  information obtained from human subjects. See 3/18/22 Order in Stanley v. Avon Products, Inc.,
  et al., Exhibit 21; 3/17/20 Order in Zimmerman v. Autozone, Inc., et al., Exhibit 22.
          Disregarding the rulings that have rejected their requests for the subjects’ identities,
  Defendants point to Bell v. AII, as having “litigated and rejected” Dr. Moline’s position that this
  information is privileged and confidential. See Defs. Motion at 5-8. An honest and complete
  reading of Chief Judge Osteen’s 40-page opinion and order belies Defendants’ argument and, in
  fact, confirms that, as maintained by Plaintiff, Dr. Moline, and Northwell Health, the identities of
  all subjects except for Ms. Bell are not discoverable in this case.
          In Bell, AII subpoenaed Northwell for information to discover whether Ms. Bell, the
  decedent, was a subject of Dr. Moline’s Study. Exhibit 2 at 4. According to AII, confirming Ms.
  Bell was a subject of Dr. Moline’s Study was critical because Ms. Bell filed a workers’
  compensation claim asserting that she may have been exposed to asbestos while employed by two
  textile mills and, although the claims were denied by the employers and ultimately dismissed, AII
  believes the allegation is sufficient to undermine the Study’s representation that its subjects were
  women with mesothelioma and no known source of asbestos exposure other than cosmetic talc.
  Upon receipt of the subpoena and a “HIPAA-authorization” authorizing the disclosure of certain
  protected medical information, Northwell produced a single document (the “Northwell
  Document”) containing a list of all human subjects of Dr. Moline’s Study with all information
  redacted except relating to Ms. Bell. Id. at 5. Shortly thereafter, the plaintiff filed an emergency
  motion for a protective order to preclude discovery and inquiry into the identities of the thirty-
  three individuals, and to prevent the use of the Northwell Document in that case as well as any
  other. Id.
         In September 2020, a Magistrate Judge issued a temporary order holding that the Northwell
  Document could be used in that case, but that it, and the information therein confirming that Ms.
  Bell was one of the thirty-three individuals studied, was “confidential and limited solely to this




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  case.” Exhibit 2, at 6. In reaching this decision, the Magistrate Judge Joi E. Peake was clear that
  because Ms. Bell was the decedent in the case and Dr. Moline was that plaintiff’s retained expert,
  “Ms. Bell’s information and her relationship to Dr. Moline’s Study should have been provided in
  expert discovery as to Dr. Moline,” but that disclosure of the other individuals included in the
  study presented a “very different issue.” See Transcript of Telephonic Motions Hearing, dated
  Sept. 25, 2020, attached as Exhibit 23 at 5:23-6:21. Indeed, Magistrate Judge Peake remarked that
  she “completely agree[d]” with Judge Viscomi’s ruling in Lashley/Johnson that it would be
  improper for defense to attempt to identify a subject or question Dr. Moline whether one of the
  subjects of the Study was a plaintiff in another case in which AII was involved. Id. at 59:8-14,
  82:2-21. Defendants could not utilize a HIPAA-authorization form from another case for use Bell
  case to obtain the release of that individual’s information or connection to Dr. Moline’s study. Id.
  at 6:15-17, 82:2-21. Magistrate Judge Peake recognized: “There are important confidentiality and
  privacy issues as to the other individuals in the study.” Id. at 6:17-21.
          Once the Bell case was resolved, AII filed a motion seeking to vacate the order protecting
  the identification of Ms. Bell as one of the individuals in the Study from disclosure outside of that
  case. Exhibit 2, at 6-7. In deciding to grant AII’s motion, Chief Judge Osteen considered four
  factors and the facts specific to Bell and, although the factors were mixed, that the order should be
  vacated. Id. Notably, the seven pages of Judge Osteen’s order that AII block quotes across four
  pages of its motion represents only the first part of the analysis. Although it is here that Judge
  Osteen agrees with AII that there is value in making public that Ms. Bell was a subject of Dr.
  Moline’s Study and filed worker’s compensation claims, AII fails to highlight to this Court that
  Judge Osteen “agrees with Plaintiff that the mere existence of the unsuccessful workers’
  compensation claims does not definitively establish that Mrs. Bell was in fact exposed to asbestos
  at the textile workplaces.” Id. at 16. Indeed, Judge Osteen acknowledges that other than stating
  “she thought she might have been exposed,” Ms. Bell’s claim never substantiated an alternative
  source of asbestos exposure. Id. at 16-17. Although there was not a formal adjudication on the
  merits involving an examination of competing evidence, there is no indication evidence supporting
  the claim was ever presented, nor does AII supply any such evidence for this Court to consider.
  Indeed, none exists.
          It is likewise misleading for AII to suggest that Judge Osteen’s decision to lift the protective
  order over the Northwell Document based upon a balancing of “privacy claims against the need
  for discovery of expert opinions” supports the disclosure of information regarding any other Study
  subject in any other case. It is clear that the Bell decision hinged largely on the fact that the
  Northwell Document was redacted so that “all information on other individuals,” i.e. the 32 other
  research subjects other than Ms. Bell, remained protected. Exhibit 2 at 35. Like Magistrate Judge
  Peake, Judge Osteen was less protective of Ms. Bell’s identity and connection to Dr. Moline’s
  study than of other participants because her information was disclosed in a case that was brought
  on her behalf and in which Dr. Moline was retained. Id. Judge Osteen also recognized that, even
  though Ms. Bell was not a “human subject” as defined by federal regulations because she was
  deceased at the time that Dr. Moline’s Study received IRB approval, Dr. Moline’s “article as a
  whole likely qualified as human subject research” as defined by 45 C.F.R. Part 46 and specific




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  IRB approvals. Id. at 32-33. Accordingly, Judge Osteen observed that other study subjects were
  “likely” entitled to “greater confidentiality protections than Mrs. Bell.” Id. at 35.
          Clearly, far from demonstrating that AII is entitled to depose Dr. Moline longer than the
  seven-and-a-half-hours that Defendants already had, the Bell opinion and order undermines
  Defendants’ claim that they are entitled to question Dr. Moline about the Study’s subjects (other
  than Ms. Bell) or obtain information that may help in their impermissible fishing expedition to
  match other plaintiffs to cases described therein. Even under the most liberal reading of Judge
  Osteen’s order from a separate jurisdiction involving a separate plaintiff, Defendants are only
  entitled to discover information specific to the plaintiff involved in a particular case. Insofar as
  there is no possibility that Mr. Gref was a subject of Dr. Moline’s Study, there are no valid
  questions Defendants could present to Dr. Moline other than what has already been explored.
          Given the holding of Judge Osteen’s decision, Defendants’ citation to a deposition taken
  of Dr. Moline on September 30, 2022, in Daigle v. Anco Insulations, Inc., a Louisiana state case, 7
  to suggest that Dr. Moline acted improperly two weeks after the Bell order was issued by refusing
  to discuss “the specifics” of cases in the Study “or the names of the individuals in the paper” is
  unavailing. 8 See Defs. Motion at 8-9. As the above discussion reflects, under Bell as well as federal
  regulations, the Bedrock and Northwell IRBs, and relevant state and federal law (as argued in
  Northwell’s motion to quash), the identities of the human research subjects are privileged and
  confidential, and Dr. Moline was well within her rights to maintain these protections.
           Relatedly, contrary to Defendants’ contentions, it is not “false” for Dr. Moline, in
  explaining her understanding as to how Ms. Bell’s workers’ compensation claims were resolved,
  to state that they were “dismissed for lack of information or lack of evidence.” Defs. Motion at 8.
  As Judge Osteen’s order reflects, the only “evidence” that Ms. Bell experienced an alternative
  exposure to asbestos separate from cosmetic talcum powder is the allegation she made based solely
  on personal belief in the context of workers’ compensation claims. Exhibit 2 at 16. It is well-

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    Defendants’ reliance on an unpublished decision from another Louisiana state case, Biermann v. Colgate-
  Palmolive Co., July 16, 2021, is likewise unavailing. There, the court did not order that the identities of the
  human subjects were discoverable or exclude the study; it denied the defendants’ motion to exclude Dr.
  Moline’s expert testimony with the caveat that defendants could cross-examine Dr. Moline about the
  subjects’ identities if she referenced them on direct examination. See Exhibit W to Defs. Motion; see also
  Transcript of Motion Hearing in Biermann v. Colgate-Palmolive Co., dated May 18, 2021, attached as
  Exhibit 24, at 72:7-14. In addition, the Biermann plaintiff failed to notify the court of information that
  would have necessitated a different ruling (id. at 44:16-58:3), as there was no mention of, inter alia, any
  federal statute or regulation. Insofar as Biermann stands in contradiction to other courts who have
  considered the issue, including Magistrate Judge Peake who expressed agreement with Judge Viscomi’s
  ruling, this Court should not be swayed by this outlier.
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    Defendants do not explain why they asked Dr. Moline about Study, the identities of the subjects, and other
  information they believed they were entitled to at the deposition in Daigle, but not at day two of the
  deposition in this case that took place three days before, on September 27, 2022. In fact, AII failed to
  question Dr. Moline on either day of her deposition on these topics. Other than a few questions by WCD’s
  counsel on the first day of the deposition, Defendants did not ask Dr. Moline about the Study at all,
  undermining their claim that the Study and its subjects is a basis justifying a need for any further inquiry at
  all.



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  settled that “unproven, nonadjudicated allegations are not evidence.” Bernstein v. Village of
  Wesley Hills, 95 FSupp.3d 547, 569 (S.D.N.Y. March 27, 2015). In any event, Judge Osteen found
  that claims based on the belief of possible exposure was appropriate fodder for cross-examination
  to challenge the representation in Dr. Moline’s Study that none of the 33 subjects had “known
  exposure to asbestos other than prolonged used of talcum powder.” However, Judge Osteen also
  acknowledged that the claims were dismissed without prejudice and that “the mere existence of
  the unsuccessful workers’ compensation claims does not definitively establish that Mrs. Bell was
  in fact exposed to asbestos at the textile workplaces.” Id. at 16. Altogether, Dr. Moline’s testimony
  indicating that it is her understanding the claims were dismissed because they were not
  substantiated with evidence of actual exposure is generally consistent with how Ms. Bell’s
  workers’ compensation claims were resolved. Nothing Defendants cite requires Dr. Moline to
  accept Defendants’ interpretation of the record in Bell, nor does Judge Osteen require Dr. Moline
  to somehow concede (unjustifiably) that Ms. Bell’s workers’ compensation claims compromise
  the results of the Study. All Judge Osteen’s decision permits Defendants to do is make specific
  reference to Ms. Bell as a subject of the Study, and ask Dr. Moline about the impact, if any, the
  unsuccessful workers’ compensation claims had on her interpretation of data and conclusions –
  something Dr. Moline has already done now in depositions and trial.
          For essentially the same reasons, Defendants’ claims that Dr. Moline gave “false
  testimony” about Ms. Bell’s workers’ compensation claims during trial in Fisher v. AII is incorrect.
  See Defs. Motion at 10-11. At that trial, AII’s counsel asked numerous questions about Dr.
  Moline’s knowledge of the Bell case, whether Ms. Bell’s worker’s compensation claim was ever
  adjudicated, and if Dr. Moline’s Study considered all of the subjects’ possible sources of
  alternative asbestos exposures. Despite Defendants’ claim to the contrary, Dr. Moline did not hold
  herself out as an “authority on the workers’ compensation process” (Defs. Motion at 10), but
  merely testified about her knowledge of the process based on her decades of experience working
  with workers’ compensation patients. Exhibit 9 at 27:23-29:10. She did not apply any of this
  knowledge specifically to Ms. Bell’s claim. Specifically, regarding Ms. Bell’s worker’s
  compensation claim, Dr. Moline reasonably explained, yet again:
         “My understanding was that there was a dispute and then either the case was
         withdrawn or there was a decision. I may be misremembering, but I know it did not
         go any further than that. That there was a dispute that there was any exposure. I
         thought it went and either a judge made that determination or the case was
         withdrawn at that point. And no further action was taken. So that’s my recollection.
         I don’t know.”
  Exhibit 18 at 43:8-17. Based on what was known about Ms. Bell’s exposures and that the worker’s
  compensation claim was dismissed (even if it was just because the employers denied the claim,
  there was no evidence presented to substantiate Ms. Bell’s allegation of exposure), Dr. Moline’s
  testimony is appropriate.
          Defendants take issue with Dr. Moline’s citing “standard medical practice” as a basis for
  refusing to identify the subjects of her Study, claiming that she did not have a doctor-patient
  relationship with the subjects to justify invoking these standards. This argument relies on a myopic



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  understanding of the medical practice research standards and ethics at play. As argued by
  Northwell Health in its motions to quash, the information Defendants seek is protected by federal
  regulations, the Bedrock IRB, and the Northwell IRB through which approval for the Study was
  specifically granted, as well as generally-accepted standards in the medical research community.
           Even experts retained by Defendants in this case recognize the legitimacy of Dr. Moline’s
  position. For instance, Defendant Colgate-Palmolive’s medical expert Dr. Gregory Diette has
  testified in another matter as to the importance of protecting the identity of the 33 subjects whose
  medical data is featured in the 2020 peer-reviewed article. See Excerpt of Dep. of G. Diette, M.D.,
  dated 6/19/20, Exhibit 25, at 118:10-119:16. Similarly, Dr. Victor Roggli, M.D., a well-known
  pathologist who has testified as a medical expert on behalf of asbestos defendants in hundreds of
  cases and has published numerous articles involving case studies of human subjects (including
  studies on which Defendants’ experts rely), testified as to his concerns regarding the disclosure of
  case files. See Excerpt of Dep. of V. Roggli, M.D., dated Feb. 3, 2011, Exhibit 26, at 42:9-45:21.
  He also remarked:
            “I also have objection to it because in – personally, because in the 25 years that I’ve
            been testifying as an expert in federal and state courts these requests go far beyond
            anything that have been requested of myself or my colleagues that I’m aware of,
            and I don’t think that they are appropriate investigation into scientific merit or
            arguments that are made in the scientific literature…”
  Id. at 44:25-45:7.
          Ultimately, the importance of protecting the identity of human research subjects is well
  supported by numerous sources, including legal, medical, and ethical authorities. See In re
  Fosamax Prod. Liab. Litig., No. 1:06-MD-1789, 2009 WL 2395899, at *4 (S.D.N.Y. Aug. 4, 2009)
  (granting motion to quash subpoena issued to third-party researcher, because it created a “serious
  danger” of threatening the “ardor and fearlessness of scholars,” qualities that are “indispensable
  for fruitful academic labor). Although Defendants clearly disagree with these sources, they fail to
  provide any persuasive counter-authority to justify the relief they seek. Even the case law from
  Bell, which Defendants argue champions their cause, recognizes that the identities of all human
  research subjects other than Ms. Bell constitute protected, confidential information that cannot be
  disclosed.
      II.        Ignoring Dr. Moline’s Deposition Transcript Makes Clear That Defendants Have
                 Feigned A Need To Question Her Further Based On Nonexistent “Undue Delays
                 And Excessive And Untimely Disclosures Of Opinions.”
            A.      At Every Turn, Dr. Moline Specifically Pointed Defendants To Her The
                    Materials She Relied Upon In Forming Her Opinion.
          Defendants go to great lengths to create the false impression that Dr. Moline’s deposition
  testimony left them with more questions than answers because she was evasive and ambiguous
  about her opinions and the bases thereof. To that end, Defendants argue that they had “no way of
  ascertaining where [Dr. Moline’s] opinions came from” at the deposition because she
  “purposefully obfuscate[d] the materials she relied on to develop her case-specific opinions,”




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  attempted to “hide the ball” by failing to cite to specific articles to support her assertions, and
  “modifie[d] her opinions without notice to defendants or supplementing her opinion report.” See
  Defs. Motion at 15-17. As set forth below, Defendants’ arguments rely upon unsupported
  assumptions, not facts, and completely ignore the long history they have of deposing Dr. Moline
  in previous cases in which she applied the same generally-accepted methodologies and relied on
  many of the same reliance materials. Even without the benefit of past experience with Dr. Moline,
  a full review of Dr. Moline’s pre-trial expert disclosure and deposition testimony in this case, and
  not the conveniently cherry-picked narrative presented by the Defendants, makes clear that, at
  every turn, Dr. Moline fully apprised Defendants of the opinions that she will offer at trial, such
  that Defendants have no legitimate basis for further questioning.
            As Defendants are well aware, Federal Rule of Civil Procedure 26(B) required Dr. Moline
  to produce a written report containing (i) a complete statement of all the opinions she will express
  at trial and the bases and reasons for them; (ii) the facts or data considered by Dr. Moline in forming
  her opinions; (iii) any exhibits that will be used to summarize or support Dr. Moline’s opinions;
  (iv) Dr. Moline’s qualifications, including a list of all publications authored in the previous 10
  years; (v) a list of all other cases in which, during the previous 4 years, Dr. Moline testified as an
  expert at trial or by deposition; and (vi) a statement of the compensation to be paid for her
  testimony in the case. Just a cursory review of Dr. Moline’s report reveals that she faithfully
  complied with this requirement by producing an exhaustive report – 86 pages, not including her
  reliance materials – setting forth all the requirements of Federal Rule of Civil Procedure 26(B).
  Although Defendants would have this Court believe otherwise, Dr. Moline’s report repeatedly
  cited to the published literature and studies which support the various aspects of her testimony,
  thereby allowing any litigant to prepare for her deposition by reviewing the scientific foundation
  of her causation opinion. Instead of acknowledging this fact, Defendants repeatedly bemoan the
  length of Dr. Moline’s reference list and materials, an assertion which says far more about the
  sound basis supporting her opinion than Dr. Moline’s desire to “hide the ball,” as Defendants put
  it.
          Importantly, Dr. Moline’s deposition transcript demonstrates that Defendants were
  permitted to fully explore the opinions expressed in her report for longer than the presumptive 7-
  hour limit, which suggests that their current motion is simply an attempt to make her needlessly
  sit for additional repetitive questioning. That Defendants have manufactured claims that Dr.
  Moline somehow obfuscated or shielded her opinion is best exemplified by their incomplete and
  misleading assertion that Dr. Moline testified that an “analogous exposure scenario” to Mr. Gref’s
  could be found in CDC literature, but that Dr. Moline “offered no citation to any specific article,”
  instead testifying that defense counsel would have to “go and find” the CDC article from her list
  of reliance materials. See Defs. Motion at 15.
          During Dr. Moline’s deposition, Defendant AII asked her about a reference to a CDC report
  in her own expert report, to which Dr. Moline responded that it was a morbidity and mortality
  weekly report for which she initially could not recall the specific citation. What Defendants fail to
  mention is that a mere moments later, Dr. Moline specifically identified the article as Mazurek, et
  al., Malignant Mesothelioma Mortality – United States, 1999-2015, Centers for Disease Control
  and Prevention: Morbidity and Mortality Weekly Report, 66, Volume 8, Pages 214-218, March
  3rd, 2017. See Exhibit 5, at 242:10-24. Dr. Moline’s specific citation allowed counsel for
  Defendant AII to present Dr. Moline with the article and question her extensively regarding the
  same. Id. at 242:10-243:1-16, 244:3-255:17, 258:20-260:4. Dr. Moline’s testimony regarding the



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  Mazurek article undercuts Defendants’ claims that they are in the dark as to which CDC
  publication Dr. Moline was referring to.
          Equally without merit are Defendants’ misleading suggestions that Dr. Moline somehow
  withheld new “dose estimates/dose applications” until the second day of her deposition, or that
  Plaintiff deprived Defendants of questioning Dr. Moline regarding her dose estimate. As plainly
  reflected in the transcripts, Dr. Moline did not belatedly disclose new dose estimate opinions, but
  rather, merely prepared an informal dose estimate for Mr. Gref to address repetitive questioning
  from Defendants regarding the same. Unsurprisingly, Defendants neglected to mention that, as set
  forth below, during the first day of Dr. Moline’s deposition, they squandered their time by
  repeatedly asking Dr. Moline whether she had performed a dose estimate for Mr. Gref, an answer
  which Dr. Moline consistently answered in the negative. See, e.g. Exhibit 4, at 154:4-12, 157:14-
  21. As Dr. Moline clearly explained, a formal dose estimate was scientifically and legally
  unnecessary for determining the causation of Mr. Gref’s disease because his exposures were
  significantly above a hypothetical baseline exposure a person may experience from the background
  air. See Exhibit 4, at 135:16-25, 136:1-23; Exhibit 5, at 294:7-15.
           Although Defendants would have this Court believe otherwise, Dr. Moline did not wait
  until the second day of her deposition to reveal a new dose estimate opinion that is somehow
  critical to her trial testimony. To the contrary, Dr. Moline explained that she merely “scribbled
  notes” the week of her continued deposition to arrive at what is essentially a back-of-the-envelope
  dose estimate in the event that Defendants insisted asking her about it again. See Exhibit 5, at
  273:17-24, 274:4-24. Importantly, Dr. Moline re-affirmed that a dose estimate was not necessary
  for her to render a causation opinion at trial. See Exhibit 5, at 294:7-15. To the contrary, the dose
  calculation which Defendants claim is so critical that her deposition must be re-opened was
  nothing more than an “absolute estimate” that she did not even bother providing to Plaintiff’s
  counsel. Id. at 294:7-17. Despite this, Dr. Moline proceeded to answer pages of questions on the
  subject, explaining her methodology, the calculations for each Defendants’ products, and how her
  exposure estimate relates to the published literature. See Exhibit 5, at 282:13-21, 290:5-16, 293:7-
  296:19, 297:24-311:20. Critically, Dr. Moline explained that she arrived at her calculation by
  relying on three studies – the Gordon paper, the Stefan Paper, and the Anderson paper – which
  Defendants asked Dr. Moline about during the first day of her deposition. Exhibit 4, at 86:23-
  88:3, 93:18-105:23; Exhibit 5, at 305:11-307:6. 9
          Unable to establish that Dr. Moline belatedly disclosed a new “dose estimate” opinion or
  failed to answer questions regarding her opinion, Defendants claim that “[w]hen given the
  opportunity to briefly examine Dr. Moline on these estimates, she was asked whether she knew of
  any studies, whether in her over 500 listed references or not, that examined individuals within the
  range she alleged Plaintiff Gref was exposed to from cosmetic powders contracted mesothelioma
  and she was unable.” See Defs. Motion at 16. Rather, according to Defendants, Dr. Moline vaguely
  mentioned “one study related to workers at a Chinese factory hand-spinning raw chrysotile
  asbestos.” Id. Once again, Defendants’ misleading argument demonstrates their lack of fidelity to

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    During post-deposition meet-and-confer discussions at which Defendants indicated a need to continue Dr.
  Moline’s deposition on the limited issue of her “dose” calculations, Plaintiff advised that Dr. Moline applied
  the same methodology as in Woods, a case in which Dr. Moline had prepared a detailed declaration that
  Defendants were provided copies of.




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  the record, as Dr. Moline did not merely refer Defendants to a “study related to workers at a
  Chinese factory hand-spinning raw chrysotile asbestos.” Rather, Dr. Moline specifically cited to
  Rodelsperger (incorrectly recorded as “Roethlisberger” by the stenographer in the first transcript),
  a study which Dr. Moline discussed during the first day of her deposition, as well as Jiang, et al.’s
  article “Hand-spinning chrysotile exposure and risk of malignant mesothelioma: a case-control
  study Southeastern China.” See Exhibit 4, at 150:12-24, 153:14-154:3, 157:22-160:19; Exhibit 5,
  at 307:7-308:24. That Dr. Moline sufficiently identified the Jiang study is evidenced by the fact
  that counsel for AII marked the Jiang article as an exhibit and questioned Dr. Moline regarding it.
  309:10-312:5. Despite Dr. Moline having fully answered Defendants’ questions regarding the dose
  estimate that she prepared merely to assuage their concerns, Plaintiffs, as set forth above, offered
  Defendants an additional hour – nearly 15% the length of the original deposition – to address any
  outstanding questions regarding this estimate. 10 Defendants’ failure to fully disclose this fact in
  their motion underscores that they have no real specific need for the carte blanche extension of
  time that they now seek.
          Next, Defendants take issue with the fact that Dr. Moline presented at the deposition with
  an “Exposure Testimony Summary” which she herself did not prepare. Defendants’ arguments on
  this point require little of the Court’s attention, as the Exposure Testimony Summary is not an
  undisclosed report or reliance material. As its title suggests, it is merely a summary of the exposure
  testimony as reflected in the depositions of Plaintiff and his parents, which are the exact same
  sources of the exposure summary provided by Dr. Moline in her disclosed expert report. The
  summary and notes that Dr. Moline writes during a deposition regarding Mr. Gref’s exposures are
  simply calculations based on the information already set forth in the reports, which were timely
  produced to Defendants. Thus, Defendants’ argument is meritless.
          Lastly, consistent with its practice of relying upon half-truths, Defendants argue that Dr.
  Moline presented at the deposition with “multiple expert reports” that were not disclosed in her
  original report or the subject of a supplemental report. See Defs. Motion at 16. In this regard,
  Defendants refer to certain expert reports prepared by Plaintiff’s expert in materials science and
  industrial hygiene, Dr. William Longo. What Defendants’ motion fails to mention is that, based
  on when she received them, Dr. Moline could not have included these reports as her reliance
  material, nor could they have been the subject of a supplemental report. Dr. Moline wrote her
  report in 2021, but Dr. Longo’s testing was not done until 2022, and the results were not provided
  to her until August 2022 – after her deposition had already started. See Exhibit 5, at 275:20-
  276:17. Similarly, Defendants argue that Dr. Moline reviewed three reports from Dr. Longo
  pertaining to testing of Mennen products, yet “never supplemented her report or opinions.” See
  Defs. Motion at 17. Defendants similarly fail to mention that Dr. Moline did not even receive the
  Mennen reports until the week of her deposition after returning from being out of the office, thus
  leaving her no real time to issue a supplemental report. See Exhibit 4, at 14:17-16:16. Ultimately,
  as set forth below, Dr. Moline is free to rely on these reports and was not required to supplement
  her report to include any of Dr. Longo’s test results as “reliance materials” to comply with the
  discovery rules.




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    As indicated supra, Defendants’ claimed need to depose Dr. Moline regarding her dose estimate was the
  only reason proffered by Defendants during the meet-and-confer process.



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          B.      Dr. Moline’s Deposition Was Prolonged By Counsel’s Needlessly Repetitive
                  Questioning And Interruptions
          In an obvious attempt to malign Dr. Moline’s character, Defendants self-servingly cite
  portions of the deposition transcript to create the impression that Dr. Moline obstructed the
  deposition with a series of unwarranted snide or insulting remarks. Putting aside that the
  “seventeen occasions” Defendants cite as constituting “undue” consumption of time aggregates to,
  at most, a mere handful of minutes of deposition testimony, and therefore, could not reasonably
  be construed as a justification for an indefinitely-continued deposition, Defendants’ strategy is
  clearly an attempt to distract the Court from the fact that it was their counsel’s repetitive and
  interruptive questioning, and not Dr. Moline’s testimony, which wasted large swaths of the seven
  hours afforded under the Federal Rules. This conclusion is best exemplified by a citation to a
  portion of the transcript which Defendants incredibly – and incorrectly – argue supports the notion
  that Dr. Moline’s conduct wasted time during her deposition. Midway through the first day of Dr.
  Moline’s testimony, Dr. Moline expressed frustration with a question posed by Defendant for
  WCD and responded:
          You know, I’ve been asked these questions so many times. I’m really at a loss why
          I’m being asked the same questions that I’ve been asked for the past ten years. And
          it’s just that there’s volumes of transcripts that you could be referring to rather than
          wasting all of our time. But I just, I just don’t understand this.
  See Exhibit 4, at 80:2-18.
          Without a doubt, Dr. Moline’s frustration with Defendants’ questioning is entirely justified
  and exemplifies the complete lack of need for a continued deposition. Dating back to 2004, Dr.
  Moline has testified in hundreds of cases involving asbestos exposure, often regarding the exact
  same or substantially similar questions of diagnosis, medical causation, and disease attribution. 11
  Importantly, a significant portion of these prior occasions involves questioning from the exact
  same Defendants and defense counsel. Case in point is Defendants’ request that they be permitted
  to rely on Dr. Moline’s past testimony in the Crudge, Lashley, and Bell cases in order to avoid
  asking her the same questions. Exhibit 4 at 6:14-17, 194:12-23. It does not appear that Defendants
  have ever followed through with their intent to rely on Dr. Moline’s past testimony, despite
  instigating an agreement with Plaintiff to allow them to do so. This would have been the most
  efficient and considerate use of time for all involved with Dr. Moline’s deposition, including the
  Court, which now has to consider these lengthy motion papers. Dr. Moline has already thoroughly
  explained, under oath, her methodology and reliance materials to the same litigants and attorneys
  for hours on end. Defendants are well aware that instead of asking Dr. Moline to step away from
  her medical practice and sit for yet another deposition to answer the same questions that have
  already been answered ad nauseum, they could simply refer to Dr. Moline’s past transcripts to
  review her sworn testimony.



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    By way of example, talc defendants have already questioned Dr. Moline regarding her Study, and further
  attempted to question her regarding the identities of the human subjects of her Study, on multiple occasions.
  See, e.g. Relevant Excerpts of Dr. Moline’s Testimony in Harpster, Exhibit 27; Relevant Excerpts of Dr.
  Moline’s Testimony in Zimmerman, Exhibit 28; Relevant Excerpts of Dr. Moline’s Testimony in Dolan,
  Exhibit 29.



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           Despite this, Defendants – whether intentionally or unintentionally – act as though Dr.
  Moline has never testified before, and instead, attempt to rehash the same questions, often within
  the same deposition. For example, WCD, a party which has appeared at Dr. Moline’s depositions
  numerous times, asked Dr. Moline iterations of essentially the same question within a matter of
  minutes pertaining to a well-trodden subject: the well-accepted notion in the peer-reviewed
  Helsinki Criteria that very low doses of asbestos exposure, without a minimum threshold, have
  been associated with the development of mesothelioma. See Exhibit 4, at 60:7-61:13, 77:8-19,
  80:2-24, 81:11-19, 81:20-82:6. In light of this questioning, Dr. Moline understandably expressed
  her frustration, as anyone would. Unfortunately, this was not the only instance in which Defendants
  squandered their time by subjecting Dr. Moline to repetitive questioning. WCD asked Dr. Moline
  more than once whether she performed a dose estimate or comparison for Mr. Gref, even though
  she clearly and unequivocally answered the first time that she did not (see Exhibit 4, at 135:16-
  25, 136:14-23, 154:4-12, 155:2-16, 157:14-21), and asked Dr. Moline more than once whether it
  was possible to calculate an individual’s lifetime dose to asbestos. See Exhibit 4 at 63:23-25, 64:1-
  66:2. 12 WCD compounded this error by repeatedly interrupting Dr. Moline’s testimony and not
  allowing her to finish her answer. Exhibit 4, at 77:8-24, 80:25-81:10, 89:6-12. Simply stated,
  Defendants’ argument that Dr. Moline “insulted” the questioning attorneys or made “snide
  remarks” overlooks that Defendants have clearly made it their mission to either goad Dr. Moline
  or obtain a different answer to the same types of questions by asking them persistently. In either
  case, Defendants should not be rewarded for their conduct, which is at best, an inefficient and
  improper use of time or, at worst, deliberate harassment of Plaintiff’s expert which on its own
  qualifies as a valid cause to halt the deposition under F.R.C.P. 30.
          Defendants’ argument that “technical issues caused by the virtual nature of the deposition
  also caused delays in the deposition” extends beyond absurdity and into frivolity. Defendants did
  not cite to a single portion of the transcript where they encountered any real technical difficulty
  based on the virtual nature of the deposition, nor can any Defendants point to a real time request
  that the deposition be extended based upon technical difficulties – a request that Plaintiff would
  have entertained had it been made at the deposition. Instead, Defendants string cite to a handful of
  lines of the deposition which cannot be reasonably characterized as “technical issues” even under
  the most charitable interpretation. For example, Defendants cite to several portions, totaling mere
  seconds, in which Dr. Moline asked that displayed documents be enlarged so as to make the easier
  to read. Exhibit 4, at 29:2-3, 121:20-25, 193:1-5, 214:17-23. Additionally, Defendants cite to
  quick requests from Dr. Moline that the questioner adjust his seating so that his face could be seen,
  a simple courtesy which is not a “technical issue,” and is no different than asking a questioner to
  speak up or move their hand away from their face during a live deposition. Exhibit 4, at 10:10-20,
  85:13-15. That Defendants seek to re-open Dr. Moline’s deposition for an indefinite period of time
  by mischaracterizing routine, promptly-addressed issues that can arise during any deposition as
  “technical issues” underscores that Defendants’ have no real need for the relief they seek, and are
  unnecessarily burdening the Court with excessive and inappropriate motion practice.




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    As Plaintiff did dozens of times throughout the deposition, Plaintiff’s counsel objected to repetitive
  questioning as asked and answered.



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                                             ARGUMENT
      I.     Defendants’ Motion Should Be Summarily Denied Due to Defendants’ Violation
             of Your Honor’s Part Rules
          As a threshold matter, Defendants’ motion should be denied because, in violation of Part
  Rules II(c)(2), Defendants filed a letter motion 16 pages over the limit and failed to certify with
  the requisite specificity that the parties met and conferred regarding this discovery dispute prior to
  Defendants filing the motion. As per Your Honor’s rules, it is not enough for Defendants to merely
  mention that the “parties have met and conferred prior to seeking relief,” as they did here. See Def.
  Motion at 1. The moving party must state: (1) the date and time of such conference; (2) the
  approximate duration of the conference; (3) the names of the attorneys who participated in the
  conference; (4) the adversary’s position as to each issue being raised (as stated by the adversary
  during the in-person or telephone conference); and (5) that the moving party informed the
  adversary during the conference that the moving party believed the parties to be at an impasse and
  that the moving party would be requesting a conference with the Court. Other than stating that
  “Plaintiff has unilaterally attempted to limit the deposition to one additional hour,” which grossly
  understates the Plaintiff’s position and the scope of discussions with which Plaintiff’s counsel
  engaged with Defendant Colgate-Palmolive Company’s counsel, Defendants fail to make any
  showing with respect to the pre-requisites for seeking discovery relief from the Court as per Your
  Honor’s Part Rules. Defendants likely made no attempt to make this showing because the
  substantial majority of issues they now raise in their motion were never mentioned during the meet
  and confer process. Had any of these issues actually been raised by Defendants, the parties would
  have, at the very least, been given the opportunity to resolve some of the issues without requiring
  the Court’s intervention. In short, because Defendants plainly failed to comply with this
  requirement, their motion should be summarily denied in its entirety.
      II.    Defendants’ Motion Should Be Denied Because They Fail to Demonstrate Good
             Cause Justifying a Continued Deposition of Dr. Moline Beyond the Seven Hours
             Afforded by the Federal Rules
           “Rule 30 of the Federal Rules of Civil Procedure governs the conduct of parties, deponents,
  and attorneys at depositions. Rule 30(d)(2) governs that, ‘[u]nless otherwise authorized by the
  court or stipulated by the parties, a deposition is limited to one day or seven hours.” Pierre v. City
  of New York, 2022 WL 2384150, *1 (S.D.N.Y. July 1, 2022), quoting Fed. R. Civ. P. 30(d)(2).
  “Nevertheless, a Court ‘must allow additional time, consistent with Rule 26(b)(1) and (2) if needed
  to fairly examine the deponent.” Id. “A party seeking a court order to extend the time for
  examination or otherwise alter the limitations is expected to show good cause to justify an order.”
  Id., citing Robinson v. De Niro, 2022 WL 274677, *2 (S.D.N.Y. Jan. 26, 2022). “Whether good
  cause exists to extend a deposition beyond the presumptive time limit of seven hours is a fact-
  specific determination.” Pierre, 2022 WL 2384150 at *1. “A district court has broad discretion to
  set the length of depositions appropriate to the circumstances of the case.” Arista Records LLC v.
  Lime Group LLC, 2008 WL 1752254 (S.D.N.Y. Apr. 16, 2008).




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          As demonstrated in detail above, there is no question that Defendants failed to establish
  good cause justifying the Court to compel Dr. Moline to sit for an indefinite continued deposition.
  Rather than make the requisite procedural or substantive showing with respect to any requested
  area of inquiry, Defendants use their motion to misrepresent the scientific foundation underlying
  Plaintiff’s claims and assert ad hominem attacks against the character and integrity of Plaintiff’s
  counsel and Dr. Moline rather than seek genuinely-needed discovery.
          Indeed, without even mentioning that they initially sought to conduct a limited four-hour
  deposition of Dr. Moline about her exposure calculations for Mr. Gref, Defendants request an
  open-ended deposition to explore a broad range of other topics, including the identities of the
  human research subjects involved with Dr. Moline’s Study, which courts, including Magistrate
  Judge Peake and Chief Judge Osteen in Bell, have consistently recognized are protected from
  disclosure. Putting aside that Defendants inexplicably changed the position they took during the
  meet-and-confer process, Defendants fail to demonstrate good cause for any individual topic. In
  fact, Defendants failed to make even the threshold showing that, in the seven-and-a-half hours that
  they already exhausted, their time was used efficiently. See Margel v. E.G.L. Gem Lab Ltd., 2008
  WL 2224288, at *7-8 (S.D.N.Y. May 29, 2008) (defendants failed to make appropriate showing
  that they used the time previously afforded efficiently and that there are additional relevant areas
  of inquiry); Bender v. Del Volle, 2007 WL 1827839, at *3 (S.D.N.Y. June 25, 2007) (“While it is
  understandable that the Bivens defendants may wish to inquire as to a variety of other topics, such
  thorough questioning on all potential subjects is not envisioned under the rules”). Instead,
  Defendants seek to re-tread ground that has already been covered, or wade into subjects that are
  prohibited by law. This is not a permissible basis on which additional time beyond that afforded
  by Federal Rule 30(d) should be granted.
         To the extent Defendants reference Daubert as a justification for further questioning,
  Defendants’ argument is without merit. As discussed, before Dr. Moline’s deposition in this case
  even started, Defendants were familiar with Dr. Moline’s opinion, the methodology she applied to
  determined that Mr. Gref’s mesothelioma was caused by asbestos-contaminated cosmetic talcum
  powder, and the scientific literature she relies on. Defendants have previously deposed Dr. Moline
  on numerous occasions in other talc cases involving similar allegations of liability.
  Notwithstanding the benefit of this experience, Defendants deposed Dr. Moline in this case for
  over seven hours (exclusive of breaks), exploring the full scope of her opinion, confirming the
  sources on which she relies for various aspects of her opinion, and the methodologies she applies.
  Given the extensive testimony Dr. Moline has provided regarding the bases of her opinion,
  Defendants have all the discovery they need to raise a Daubert challenge, should they choose to
  do so.
          Without a legitimate basis to request further discovery to explore a potential Daubert
  challenge, Defendants attempt to invoke Daubert as grounds for questioning Dr. Moline further
  about her Study. Under the guise of exploring the Study’s methodology, Defendants seek to
  identify the human research subjects so as to match them to the plaintiffs in other cases that
  Defendants believe had alternative exposures that will undercut the Study’s representation that the
  subjects only asbestos exposure was through cosmetic talcum powder use. This convoluted use of




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  Daubert is improper and does not support any additional questioning of Dr. Moline. Obviously,
  the Daubert factors apply to determine the admissibility of expert testimony. They cannot be used
  against reliance materials or scholarship.
           Nor can Daubert be used to override the clear federal standards which protect the identity
  of the Study’s subjects. As discussed, despite Defendants’ claims to the contrary, the identities of
  all the subjects except for Ms. Bell remain protected, even under Chief Judge Osteen’s decision in
  Bell. Indeed, although Ms. Bell was not a “human subject” as defined by federal regulations, Judge
  Osteen recognized that Dr. Moline’s “article as a whole likely qualified as human subject research”
  as defined by 45 C.F.R. Part 46 and specific IRB approvals. Exhibit 2 at 32-33. Accordingly, all
  32 other study subjects were “likely” entitled to “greater confidentiality protections than Mrs.
  Bell.” Id. at 35. This view is consistent with that argued by Northwell Health in opposition to the
  subpoenas filed by AII and WCD to discover records concerning the Moline Study and its subjects.
  Ultimately, Bell does not support any further disclosure of information regarding the Moline Study
  in this case than was already provided by Dr. Moline in response to the small number of questions
  Defendants presented during the first day of her deposition. In general, under Bell and all other
  relevant case law, Defendants are entitled, as they were during both days of Dr. Moline’s
  deposition, to ask Dr. Moline about the Study, challenge the reliability of the Study through
  questions regarding the methodology and the types of information considered (or not considered).
  Defendants are not permitted to discover the identities of the Study’s subjects. Because this
  information is not discoverable, good cause does not exist to require Dr. Moline to sit for an
  additional deposition on this topic.
           Defendants likewise failed to establish good cause to require Dr. Moline to sit for a
  continued examination through their citation to a litany of complaints and non-existent “technical
  issues” which the record makes clear are entirely unfounded. As set forth above, Dr. Moline sat
  for seven-and-a-half hours and fairly answered each question posed by the Defendants. Far from
  “hiding the ball,” as Defendants put it, Dr. Moline fully explained her methodology for attributing
  causation, oriented the Defendants to the materials and literature upon which her opinions are
  based, and even sat for additional questioning beyond the federal limit to answer questions
  regarding a dose estimate that she created merely to assuage Defendant’s persistent questioning
  on the subject. Simply stated, Defendants have not identified a single area that Dr. Moline failed
  to testify to, nor did Defendants come close to establishing that their legal rights were infringed by
  the manner in which she testified. The closest Defendants come to identifying a legal objection to
  Dr. Moline's testimony is their argument that, at the deposition, she testified that she relied on new
  reports from Dr. Longo which required her to issue a supplemental report. However, Defendant’s
  argument is meritless, as there is no dispute that Dr. Moline was not required to supplement her
  initial report to indicate that she considered Dr. Longo’s reports, and as such, any further time to
  question her regarding her reliance on the same would be unwarranted.
           Indeed, as Federal Rule of Civil Procedure 26(e) makes clear, a party who has made an
  initial disclosure must only supplement or correct his or her disclosure or response (1) as ordered
  by the Court, or (2) if the party learns that in some material respect the disclosure or response is
  incomplete or incorrect and “[t]he additional or corrective information has not otherwise been




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  known to the other parties during the discovery process or in writing.” Here, Defendants cannot
  establish that supplementation was required by either prong, as this Court did not direct Dr. Moline
  to supplement her initial disclosure, nor was supplementation required, given that the additional
  information – Dr. Longo’s reports – were otherwise disclosed to the Defendants before Dr.
  Moline’s deposition took place. 13 For this reason alone, Defendants’ argument must be rejected.
  Although Defendants may argue that Dr. Moline should have alerted them to the fact that she
  would consider Dr. Longo’s reports as additional support for her opinion, any such contention
  would be meritless. Defendants cannot dispute that Dr. Moline’s initial report already references
  product testing which Dr. Longo’s laboratory has conducted throughout the years. As such, it
  should have been readily apparent to Defendants that Dr. Moline may consider additional materials
  prepared by Dr. Longo which were not in existence or made available to her when she prepared
  her initial report. To the extent Defendants disagree with the methodology or conclusions
  expressed in Dr. Longo’s reports, they had the opportunity to depose Dr. Longo regarding the same
  at his deposition in this case.
          Lastly, Defendants’ motion makes clear that, despite the unequivocal authority cited supra
  establishing that Dr. Moline is not permitted to reveal identifying information concerning her
  Study’s human research subjects, Defendants will continue their improper campaign to elicit such
  information at any continued deposition, arguing that “Dr. Moline should be compelled to answer
  questions on the names and backgrounds of the individuals in her 2019 article pursuant to Federal
  Rules 26, 30, and 37.” See Defs. Mot. At 15. In order to prevent Defendants from attempting to
  wade into these clearly protected areas of inquiry, should Dr. Moline’s deposition be extended, the
  Court should enter a protective order. Indeed, pursuant to Federal Rule of Civil Procedure 26(c),
  a District Court may, for good cause, issue an order to protect a party or person from annoyance,
  embarrassment, oppression, or undue burden or expense, including forbidding disclosure or
  discovery, or forbidding inquiry into certain matters. Plaintiff submits that good cause exists for
  the issuance of a protective order in this case, given that, as stated above, the personal information
  and medical data of the subjects involved in Dr. Moline’s Study is privileged and confidential,
  such that Dr. Moline is not permitted to divulge the identities of the subjects or provide other
  revealing details. For this reason, the Court should not merely deny Defendants’ motion; rather, it
  should also grant Plaintiff’s cross-motion for a protective order.


                                            CONCLUSION
         For the foregoing reasons, Defendants’ Motion to Compel the Continuation of the
  Deposition of Plaintiff’s Expert, Dr. Jacqueline Moline, should be denied in its entirety.




  13
    As of the filing of this opposition, Dr. Longo has already been deposed on these reports, among many
  other subjects.



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                                                   Respectfully submitted,




                                                   James M. Kramer




                                     JA730
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                             Exhibit 2




                                  JA731
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Direct: 646-598-8714
Email: asargente@hpylaw.com




                                                                                      December 2, 2022

         BY E-File
         The Honorable Valerie Figueredo
         Magistrate Judge
         U.S. District Court
         Southern District of New York
         500 Pearl Street
         New York, NY 1007


                  Re: Brian Joseph Gref v. American International Industries, et al.
                               Case No. 1:20-CV-05589-GBD

         Dear Judge Figueredo,

                On November 21, 2022, Plaintiff requested that this Court intervene in a subpoena
         dispute pending in the United States District for the Eastern District of Virginia (“EDVa”). (ECF
         283). A-I-I submits this letter in response. In essence, Plaintiff is seeking to quash A-I-I’s third-
         party subpoena to Peninsula Pathology Associates and to Theresa Swain Emory, MD. Such a
         request is improper. Not only does Plaintiff lack standing, but discovery has not concluded.

                                 Plaintiff Has No Standing to Quash A-I-I’s Subpoena

                 As a preliminary matter, Plaintiff has no standing to make his motion. “[T]he weight of
         authority in this Circuit dictates that a party must claim a personal right or privilege in the
         subpoenaed documents in order to have standing to challenge a subpoena served on a third
         party.” Somaxon Pharms., Inc. v. Actavis Elizabeth LLC, No. 22 MISC. 162 (KPF), 2022 WL
         3577904, at *2 (S.D.N.Y. Aug. 18, 2022); citing Est. of Ungar v. Palestinian Auth., 332 F. App'x
         643, 645 (2d Cir. 2009); Sali v. Zwanger & Pesiri Radiology Grp., LLP, No. 19 CV 275 (FB)
         (CLP), 2022 WL 1085508, at *17 (E.D.N.Y. Jan. 10, 2022), report and recommendation
         adopted, No. 2:19-CV-00275-FB-CLP, 2022 WL 819178 (E.D.N.Y. Mar. 18, 2022). Plaintiff
         does not have any personal right or privilege to the requested documents in A-I-I’s subpoena. He
         is not claiming to have been treated by Peninsula Pathology or Dr. Emory. He does not represent
         the facility or the individual. He has not even retained Dr. Emory as an expert witness in this
         case. As such, he has no standing to quash A-I-I’s third-party subpoena.

                                 Fact Discovery Continued After November 30, 2021




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        Similarly, A-I-I’s subpoena cannot be considered “untimely” when discovery in this
 matter has not concluded. Despite his reliance on the claimed fact discovery closure date of
 November 20, 2021, Plaintiff is well aware that the discovery deadline was continued multiple
 times and even acknowledges that the subpoenas were served within the discovery period.
 Additionally, Plaintiff ignores that he both engaged and participated in fact discovery well into
 2022.

        The depositions of Plaintiff’s treating physicians took place on January 11 and 12, 2022.
 (See Exhibit 1, Deposition Notice of Dr. Suprith Badarinath for January 11, 2022; Exhibit 2,
 Deposition Notice of Dr. Ehsan Shirazi for January 12, 2022).

         Likewise, A-I-I and Plaintiff were actively engaged in fact discovery into 2022. A-I-I
 informed the Court of ongoing fact discovery issues on January 3, 2022, and Plaintiff responded
 to A-I-I’s letter on January 6, 2022. (ECF 202, ECF 208). Continuing, Plaintiff served
 supplemental interrogatories to A-I-I on January 19, 2022, to which A-I-I responded on February
 18, 2022. (See Exhibit 3, Plaintiff’s Supplemental Interrogatory to A-I-I; Exhibit 4, Defendant
 A-I-I’s Response to Supplemental Interrogatory). A-I-I also served supplemental discovery to
 Plaintiff on 4/7/2022 and 5/6/2022, to which Plaintiff responded on 5/9/2022 and 6/6/2022,
 respectively. (See Exhibit 5, A-I-I’s Request for Admissions to Plaintiff; Exhibit 6, A-I-I’s
 Second Request for Production of Documents; Exhibit 7, Plaintiff’s Responses to A-I-I’s
 Supplemental Request for Admissions; Exhibit 8, Plaintiff’s Responses to A-I-I’s Second
 Request for Production of Documents). The November 30, 2021, “deadline” referenced by
 Plaintiff in his November 21, 2022, letter was not asserted in response to any of the fact
 discovery outlined above.

         Similarly, as Your Honor is aware, parties are still in the process of collecting military
 records from the National Personnel Records Center. A-I-I subpoenaed the NPRC on March 22,
 2022, to which the NPRC did not respond until October 20, 2022. A-I-I requested the subpoena
 be updated on October 27, 2022, and Your Honor signed this updated subpoena for military
 records on October 31, 2022. (ECF 258 and 259). Plaintiff did not object to either subpoena. Nor
 has the NPRC responded to date (the parties are still awaiting a production).

          Expert Discovery Is Ongoing, and Plaintiff’s Experts Rely on Dr. Emory’s Study

        Importantly, expert discovery is ongoing. Plaintiff and defendants jointly requested an
 extension to complete expert depositions on July 29,2022. (ECF 250). Following this request, the
 Court adjourned a scheduled pretrial conference “until discovery is completed in this case.”
 (ECF 252). The Court requested the parties notify the Court “[o]nce discovery is complete.”
 (ECF 252). As of the writing of this letter, several expert depositions are to be completed, and
 defendants have attempted to compel the continuation of several others. 1

 1
   The following depositions have not yet been completed: Dr. Mossman, R. Adams, Dr. Oury, Dr. Gunter, A. Segrave,
 Dr. Poye, Dr. Feingold (started on 11/17), Dr. Attanoos (started on 12/1), Dr. Carder (started on 12/2) and Dr. Diette.
 Further, the depositions of Drs. Longo and Moline were adjourned by Plaintiff prior to completion of examination by
 defense. The Court has scheduled a discovery conference for December 12, 2022, regarding A-I-I’s motion to compel
 the continuation of Dr. Moline’s deposition. Defendants will also be moving to compel the continuation of Dr. Longo’s
 deposition.




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 No party has notified the Court discovery is complete. Indeed, it is not.

        Likewise, several of Plaintiff’s experts have testified this year to relying on Dr. Emory’s
 2020 article in formulating their case-specific opinions. Dr. Moline relies on Dr. Emory’s 2020
 study as well, citing the study in her October 2021 report and offering testimony about the study
 during her deposition taken on July 6 and September 23, 2022.

        Specifically, Dr. Moline testified this year that she could not “speak to Emory” regarding
 whether the subjects of Emory’s study could be compared or contrasted to Plaintiff’s alleged
 exposure history. (See Exhibit 9, Deposition of Dr. Jacqueline Moline, July 6, 2022 at pp.
 143:12-145:3, pertinent pages).

        Dr. Finkelstein also offered testimony about Emory this year and relied on her study to
 formulate his case-specific opinions. (See Exhibit 10, Deposition of Dr. Murray Finkelstein,
 June 22, 2022, at pp. 67:22-68:16, pertinent pages attached hereto).

        As both Moline and Emory’s studies use litigation files, A-I-I needs to know if they
 overlap or if one rejected a plaintiff that the other included in their respective studies. Similarly,
 given Plaintiff’s experts’ reliance on Dr. Emory’s study, A-I-I also needs to determine if any of
 the subjects of her study are actually comparable to Plaintiff to fully explore this “theory upon
 which [Plaintiff’s] witness[es] rel[y].” 30(d), 2000 Advisory Committee Notes.

        If Your Honor requires any additional information, A-I-I will expeditiously provide it.



                                                       Respectfully submitted,


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                                                       Attorneys for Defendant
                                                       American International Industries, LLP




                                             JA734
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                             Exhibit 3




                                   JA735
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                                                                          Page 206

  1
  2      UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
  3      ----------------------------------------------------X
  4      BRIAN JOSEPH GREF
                                           Plaintiff,
  5
                                             ZOOM VIDEOCONFERENCE
  6                                         VIDEOTAPED DEPOSITION
                                                 UNDER ORAL
  7                                             EXAMINATION OF
                                            JACQUELINE MOLINE, M.D.
  8
                               against
  9
 10      AMERICAN INTERNATIONAL INDUSTRIES, individually and
         as successor-in-interest for the CLUBMAN BRAND, and
 11      to THE NESLEMUR COMPANY and PINAUD COMPANY, et al.,
 12                                        Defendants.
 13      Civil Action No: 1:20-cv-05589-GBD-DCF
         ----------------------------------------------------X
 14
 15      Volume II
 16
                      Transcript of the Zoom Videoconference
 17      Videotaped Deposition of the witness, called for Oral
         Examination in the above-captioned matter, said
 18      deposition taken by and before BRENDA FITZGERALD, a
         Notary Public and Shorthand Reporter, on Friday,
 19      September 23, 2022, commencing at 10:05 in the
         forenoon.
 20
 21
               PRIORITY-ONE COURT REPORTING SERVICES, INC.
 22                   290 West Mt. Pleasant Avenue
                      Livingston, New Jersey 07039
 23                           (718) 983-1234
 24
 25      Job No.: 5418333

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                                        718-983-1234
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 1
 2                               STIPULATIONS
 3
 4         IT IS HEREBY STIPULATED AND AGREED by and among
 5   the attorneys for the respective parties herein that
 6   the sealing, filing and certification of the within
 7   deposition be waived; that such deposition may be
 8   signed and sworn to before any officer authorized to
 9   administer an oath with the same force and effect as
10   if signed and sworn to before a judge.
11         IT IS FURTHER STIPULATED AND AGREED that all
12   objections, except as to form, are reserved to the
13   time of trial.
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 1
 2                                    I N D E X
 3
 4   WITNESS                                EXAMINATION BY                  PAGE
 5   Jacqueline Moline, M.D.                Mr. Thackston                211, 304
 6                                          Mr. Kramer                          293
 7                                          Mr. Kozak                           297
 8
 9                                     EXHIBITS
10   MOLINE                        DESCRIPTION                          FOR IDENT
11    18        2019 article by Michele Carbone                                  213
12    19        Morbidity and Mortality Weekly Report                            244
13    20        2022 CDC Morbidity and Mortality Weekly
                     Report                                                      267
14
       22       Photograph of MAS Project M71373,
15                Pinaud Clubman container                                       277
16    23        2018 article by Jiang                                            311
17
18   (There is no Exhibit 21.               Exhibits retained by
     counsel.)
19
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                                      718-983-1234
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 1
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 1
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 4                   Attorneys for Defendant(s)
                     Whittaker Clark & Daniels
 5                   One Gateway Center, 22nd Floor
                     Newark, New Jersey, 07102
 6         BY:       CHRISTOPHER S. KOZAK, ESQ.
 7
 8         Also Present:
 9                   Bob Jorissen, videographer
10
                                    - oOo -
11
12
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 1
 2                   VIDEOGRAPHER:          Good morning.          We are
 3   going on the record at 10:05 a.m. Eastern Daylight
 4   Time on Friday, September 23rd, 2022.
 5                   This is media unit one of the remote
 6   video recorded deposition of Dr. Jacqueline Moline in
 7   the matter of Brian Joseph Gref versus asbestos,
 8   filed in the United States District Court, Southern
 9   District of New York, docket number 120-cv-05589.
10                   The court reporter is Brenda Fitzgerald.
11   My name is Bob Jorissen, certified legal video
12   specialist.     We are both here today representing the
13   firm Priority-One, a Veritext company.
14                   Appearances will be noted on the
15   stenographic record.          As all parties to this
16   proceeding do stipulate as to their acceptance of
17   this remote video arrangement and the court reporter
18   swearing in the witness remotely, would the court
19   reporter please swear the witness.
20   J A C Q U E L I N E           M O L I N E, having been first
21   duly sworn by a Notary Public of the State of New
22   York, was examined and testified as follows:
23   EXAMINATION BY
24   MR. THACKSTON:
25                   VIDEOGRAPHER:          Go ahead, Counselor.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Good morning, Dr. Moline.                Can you hear
 3   me okay?
 4         A.        You got my name right, yes.                  Good
 5   morning.
 6         Q.        Dr. Moline, this is a continuation of
 7   your deposition in the Gref case.                 Have you received
 8   some additional materials in this case since the
 9   beginning of your deposition on July 6th?
10         A.        I don't believe so.
11         Q.        Some materials have been produced to us
12   in the last couple of days, one was an exposure
13   testimony summary for Brian Gref.
14                   Do you know when you first received the
15   exposure testimony summary?
16         A.        I don't know -- I'm sorry, there's so
17   much paper.     Yes, I received it, I honestly do not
18   recall, but it was before the first deposition.
19                   MR. KRAMER:         Yes, I'll just put on the
20   record, this is James Kramer, that that exposure
21   summary I believe was the subject of some questioning
22   on day one and was produced prior to the first
23   volume.
24         Q.        Doctor, do you have the opinion that
25   Mr. Gref suffers from peritoneal mesothelioma?

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                                                                        Page 213

 1                         Jacqueline Moline, M.D.
 2         A.           Based on the medical records, yes.
 3         Q.           And you have the opinion that his
 4   peritoneal mesothelioma was caused by exposure to
 5   asbestos?
 6         A.           Correct.
 7         Q.           Are you familiar with what we marked as
 8   number 18, the Carbone article in the journal of
 9   Cancer titled, quote, Mesothelioma:                     Scientific Clues
10   For Prevention, Diagnosis and Therapy?
11         A.           You know, Dr. Carbone is a prolific
12   author.      If you would like me to know if I'm familiar
13   with the article, you will have to show it to me.
14   Just off the top of my head I can't answer the
15   question.
16         Q.           We're about to show it to you and mark
17   it as Exhibit 18.
18                      (Whereupon, 2019 article by Michele
19   Carbone and others was received and marked Moline
20   Exhibit 18, for identification, as of this date.)
21                      MR. THACKSTON:           Please allow screen
22   share.
23                      VIDEOGRAPHER:          Yes, I will.
24         Q.           Doctor, we are displaying on the screen
25   an article that I believe you've been shown before

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                                                                     Page 214

 1                      Jacqueline Moline, M.D.
 2   titled Mesothelioma:          Scientific Clues for
 3   Prevention, Diagnosis and Therapy in the journal of
 4   Cancer, published in 2019.
 5                   Have you seen that before?
 6         A.        If I did it was three years ago.                    I have
 7   not read it recently and I can't comment on its
 8   content.
 9         Q.        You don't recall being shown that in a
10   deposition within the last several months and
11   portions of it being pointed out to you?
12         A.        With all respect, Mr. Thackston, I have
13   a lot of things going on and I don't remember what
14   happened several months ago in a particular day at a
15   particular time in a particular case in a particular
16   deposition, so, no, I do not recall.
17         Q.        Let me direct your attention to page 421
18   of that article.        On page 421 of the article it has a
19   heading on it --
20         A.        I apologize for interrupting you, but
21   the print is way too small for me to be able to read
22   anything on the page.          I can't even see the page
23   number.    There's the page number so thank you.
24         Q.        We're displaying a view that shows at
25   the bottom of the page that it is 421, volume 69,

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 1                      Jacqueline Moline, M.D.
 2   number five, September/October 2019.
 3                   You can see all of that, right?
 4         A.        Correct.
 5         Q.        If we move up on the page a little bit,
 6   there's a heading that's larger bold print that says
 7   Unique Characteristics of Peritoneal Mesothelioma.
 8                   Do you see that?
 9         A.        Yes.
10         Q.        This says -- I want to ask you if you
11   agree with this statement.             It says first, "diffuse
12   malignant peritoneal mesothelioma (MPeM) represents
13   approximately 15 to 20 percent of all mesothelioma
14   diagnoses."     Do you agree with that?
15                   MR. KRAMER:         Counsel, before the answer
16   comes, can I just have a running objection to an
17   article that she doesn't recall and is not relying on
18   or hasn't been asked about that?
19                   MR. THACKSTON:           Yes.
20                   MR. KRAMER:         Thanks.
21         A.        I think the numbers vary in terms of the
22   percentages of peritoneal mesotheliomas.                     Some places
23   it's quoted as less than that.               It's probably around
24   ten to 15 percent, but I think it varies depending on
25   the population that's being evaluated and the time

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 1                         Jacqueline Moline, M.D.
 2   frame and on a variety of other factors.
 3         Q.           Have you ever published anything on the
 4   percentages of mesotheliomas that are peritoneal
 5   versus pleural?
 6         A.           Not specifically.
 7         Q.           The article also states, quote, although
 8   it shares many similarities with the pleural form of
 9   mesothelioma, it has many unique features, end of
10   quote.     Do you agree with that statement?
11         A.           That's sort of a very generic statement.
12   I don't know -- I'm assuming that they're going to
13   expound on what they feel the unique features are,
14   but it rises in a different area, it's often more
15   diffuse, as they say in the next line, but I don't
16   know how I would consider it purely unique.
17         Q.           Would you agree, I'm not referring
18   specifically to the article now, but would you agree
19   that peritoneal mesothelioma occurs in the abdominal
20   cavity and pleural mesothelioma occurs in the chest
21   cavity?
22         A.           You're asking me for a factual answer.
23   It's not an opinion.             It is a fact, yes, that is by
24   definition where those occur.                  The pleura is the
25   chest, the peritoneum is the abdomen.

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 1                        Jacqueline Moline, M.D.
 2           Q.        Back to the article.              It states, quote,
 3   in contrast to pleural mesothelioma, MPeM is rarely
 4   associated with asbestos exposure; in a large series,
 5   only eight percent of patients reported exposure, and
 6   MPeM afflicts men and women equally, as anticipated
 7   when mesothelioma is not caused by occupational
 8   exposure (see above) 193, 194, end of quote.
 9                     That's what Dr. Carbone and a number of
10   other authors wrote in 2019, correct?
11                     MR. KRAMER:         Objection to form.
12           A.        They wrote in the referencing articles
13   193, 194, which I don't know what they are.                        It's
14   basing that opinion that they're stating on one
15   article.     There are certainly others that have
16   different percentages.
17           Q.        Let's look at 193 and 194.                 They are on
18   page 429.      Footnote 193 is Lee M, Alexander HR, Burke
19   AP.   Diffuse mesothelioma of the peritoneum:                        A
20   pathological study of 64 tumors treated with
21   cytoreductive therapy in Pathology 2013, volume 45,
22   pages 464 to 473.
23                     Are you familiar with that article?
24           A.        I have read some of Dr. Alexander's
25   work.    I don't know if I've read that specific

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 1                        Jacqueline Moline, M.D.
 2   article.     These were published about nine years ago,
 3   so I've certainly seen some of them.                    I couldn't
 4   quote what is in a particular article or reference
 5   what percentages.          So, I'm vaguely familiar with
 6   them.    I have read some of Dr. Alexander's work in
 7   the past.      I don't know if it's that specific
 8   article.     I would have to see the article and read
 9   through it again to refresh my recollection.
10           Q.        Article 194, footnote 194 is an article
11   by Liu, L-i-u, S; Staats, S-t-a-a-t-s, P; Lee M;
12   Alexander HR; Burke AP.             Diffuse mesothelioma of the
13   peritoneum: Correlation between histological and
14   clinical parameters and survival in 73 patients in
15   the journal Pathology 2014, volume 46, pages 604 to
16   609.    Are you familiar with that article?
17           A.        The same answer I gave you before, which
18   is I have read some of Dr. Alexander's work, and I'm
19   picking Dr. Alexander because that's the name that I
20   recognize as opposed to the first author of 193 is
21   Lee, of 194 is Liu.           I don't recall if I've read one
22   or both of them and if I did, it was several years
23   ago and I don't have a specific recollection of the
24   contents of these articles.
25           Q.        Can we go back to page 421 of the

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 1                       Jacqueline Moline, M.D.
 2   Carbone article.         It says, however, when MPeM -- I'm
 3   just going to say peritoneal mesothelioma.                       When
 4   peritoneal mesothelioma occurs in individuals exposed
 5   to asbestos, they usually have a higher lung fiber
 6   burden than those with pleural mesotheliomas,
 7   possibly because a higher burden is required for
 8   asbestos fibers to bypass the lung filter and reach
 9   the peritoneum in sufficient amounts to cause
10   mesothelioma, end of quote.
11                    First of all, do you agree that patients
12   with peritoneal mesothelioma usually have a higher
13   lung burden, lung fiber burden than those with
14   pleural mesothelioma?
15                    MR. KRAMER:         Objection to form,
16   overbroad.
17          A.        I think that when they looked
18   historically that might have been the case.                       I think
19   that there are ample articles that do not have that
20   distinction now.         I don't know, again, what they're
21   referencing.      We can look at those references and see
22   if they are related to what they found in the
23   insulators from the 1960s in reference 24 or 196 or
24   196.   I think they often don't have a fiber burden
25   analyses in folks with peritoneal mesothelioma now

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 1                      Jacqueline Moline, M.D.
 2   since they're not obtaining lung tissue just for the
 3   sake of obtaining tissue.
 4         Q.        Let's look at those footnote articles on
 5   page 423.    If you look at page 423, there's a heading
 6   that says References, reference number 24 is Dodson
 7   RF, O'Sullivan M, Corn CJ, McLarty, JW, Hammar, SP.
 8   Analysis of asbestos fiber burden in lung tissue from
 9   mesothelioma patients in the Journal Ultrastructural
10   Pathology, 1997, volume 21 at 321 - 336.
11                   Are you familiar with that article?
12         A.        I've read several of Dr. Dodson's
13   articles.    In all likelihood, I read this article
14   15 years ago, but, again, I need the article to
15   refresh my recollection.
16         Q.        Do you consider -- that's Dr. Ron
17   Dodson, you consider him to be an expert on issues
18   relating to lung pathology and asbestos, don't you?
19                   MR. KRAMER:         Objection to form.
20         A.        Dr. Dodson is -- with respect to fiber
21   burden, he's written a number of articles.                      I think
22   he's one of the researchers who's looked at the
23   migration of asbestos throughout the body more so
24   than anyone else, and I definitely think he's a
25   clinician who is well versed in what he does.

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 1                       Jacqueline Moline, M.D.
 2          Q.        When you say clinician, he's not a
 3   medical doctor, is he?
 4          A.        I think he's -- I don't believe he's an
 5   M.D., I think he's a Ph.D., and he's a microscopist.
 6          Q.        You're familiar with the last author
 7   there Hammar SP, is that Dr. Sam Hammar?
 8          A.        Familiar by name.            I've never met the
 9   man or if I did, it was 30 years ago, but I don't
10   have a specific recollection of meeting him.
11          Q.        Do you know if he was a co-author on a
12   textbook on pulmonary pathology?
13          A.        The name, I believe so, yes.
14          Q.        The other article cited or other
15   references were 195 and 196.               195, Reid A, Berry,
16   B-e-r-r-y, G, de Klerk, d-e K-l-e-r-k, N, et al.                             Age
17   and sex differences in malignant mesothelioma after
18   residential exposure to blue asbestos (crocidolite)
19   in the journal Chest 2007, volume 131, pages 376 to
20   382.   Are you familiar with that article?
21          A.        Again, I've read Dr. Reid's work.                       I
22   don't know if I probably saw this article many years
23   ago.   And, Mr. Thackston, if I could ask that you
24   speak off a little off, you're trailing off at the
25   end and it's difficult to hear you.

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 1                        Jacqueline Moline, M.D.
 2           Q.        Sure.      Reference 196, Reid A, de Klerk
 3   N, Ambrosini, A-m-b-r-o-s-i-n-i, G, Olsen N, Pang SC,
 4   Musk AW.     The additional risk of malignant
 5   mesothelioma in former workers and residents of
 6   Wittenoom, W-i-t-t-e-n-o-o-m, with benign pleural
 7   disease or asbestosis in the journal of Occupational
 8   and Environmental Medicine, 2005, volume 62, pages
 9   665 to 669.
10                     Are you familiar with that article?
11           A.        Again, I'm not sure.              I read Dr. Reid's
12   work.    They've written extensively about Australia
13   and particularly that region of Australia.
14                     In all likelihood, I've seen the
15   article, but, again, it was published 17 years ago,
16   so I don't have specific recollection of the contents
17   of that article as I sit here right now.
18           Q.        Back to 421, a few more questions about
19   this article.        Dr. Carbone's article, 421, says
20   proportionally --
21           A.        Sorry, where are you?
22           Q.        The middle of the page?
23           A.        Thank you.
24           Q.        "Proportionally, MPeM is observed in
25   carriers of germline mutations more often than

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                                                                        Page 223

 1                         Jacqueline Moline, M.D.
 2   pleural mesothelioma, especially among patients who
 3   do not report asbestos exposure."
 4                      Do you agree with that statement?
 5         A.           Again, it's a very general statement.                   I
 6   don't have an opinion specifically.                     I think it's a
 7   small number of folks that have had -- again, I
 8   don't -- you can show me the references -- I don't
 9   know if I've read them or recall them -- with respect
10   to where the proportions of germline mutations might
11   be and which germline mutations they're speaking
12   about.
13         Q.           This article also states, quote, a
14   history of previous abdominal surgeries is common in
15   these patients, supporting the theory that chronic
16   inflammation, caused by asbestos, by other fibers, or
17   after previous surgeries, promotes the malignant
18   growth of mesothelial cells.
19                      Do you agree with that statement?
20                      MR. KRAMER:         Objection, vague and
21   overbroad.
22         A.           Again, this is a review article.
23   They're referencing reference number two that's
24   talking about that.            There isn't a large body of
25   literature that I'm familiar with with respect to the

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 1                      Jacqueline Moline, M.D.
 2   idea of prior abdominal surgeries promoting
 3   mesothelial growth or promoting malignant
 4   mesothelioma.
 5                   I don't know what they're referencing in
 6   number two.     They're referencing the same articles
 7   they talked about before, but I don't know what
 8   reference number two is, and a review article is just
 9   basically summarizing other people's work.
10         Q.        Have you published anything on the
11   percentage of peritoneal mesotheliomas that you
12   believe to be related to asbestos exposure?
13         A.        I have not specifically published any
14   papers on peritoneal mesothelioma.
15         Q.        What literature do you rely upon for
16   your opinion that Mr. Gref's peritoneal mesothelioma
17   is related to or was caused by asbestos exposure?
18         A.        I think we can look at literature dating
19   back to some of the Selikoff where there's peritoneal
20   mesotheliomas related to asbestos exposure and
21   insulators.     There's Creighton, there's Welch,
22   there's Rodelsperger.          I think some of the Chinese
23   studies like Jiang where they talk about peritoneal
24   mesotheliomas in workers.            I think I've talked about
25   this several times in the past.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Do you in your report in this case, I
 3   believe we already marked it, in your report in this
 4   case, do you identify the authorities that you rely
 5   upon for your opinion that Mr. Gref's peritoneal
 6   mesothelioma was caused by asbestos exposure?
 7         A.        I don't understand what you're asking
 8   me.
 9         Q.        You were giving us some references and
10   it just occurred to me that I should cross-reference
11   the report, your report in this case marked as
12   Exhibit 3 to see where in your report we would look
13   to find what reference you rely upon for your opinion
14   that Mr. Gref's peritoneal mesothelioma was caused by
15   asbestos exposure.
16                   MR. KRAMER:         Objection to form.
17         A.        I don't believe in the report I
18   specifically have a section about peritoneal
19   mesothelioma.      I think it's -- there's no specific
20   section that I've written specifically about
21   peritoneal mesothelioma.
22         Q.        You said generally the literature that
23   you would rely upon for an opinion that Mr. Gref's
24   mesothelioma, peritoneal mesothelioma was caused by
25   asbestos, you mentioned Dr. Selikoff.

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 1                      Jacqueline Moline, M.D.
 2                   Dr. Selikoff studied professional
 3   insulators, right, who used thermal insulation as
 4   part of their job?
 5         A.        Right, I said that.
 6         Q.        So those were people that had heavy
 7   occupational exposures to asbestos, right?
 8         A.        Correct.
 9                   MR. KRAMER:         Objection to form.
10         Q.        You mentioned Dr. Creighton.                  Did
11   Dr. Creighton do original research of a particular
12   population relating to peritoneal mesothelioma?
13                   MR. KRAMER:         Objection to form.
14         A.        Did he do an original, what do you mean
15   by original?
16         Q.        Well, you mentioned earlier a review
17   article versus original research.                 Did Dr. Creighton
18   do original research that he reported on relating to
19   peritoneal mesothelioma and asbestos exposure?
20                   MR. KRAMER:         Form and mischaracterizes.
21         A.        My recollection is it was a -- I don't
22   recall if it was a case control or it was a paper,
23   but the topic of it was definitely related to
24   mesothelioma.
25         Q.        Was it related to peritoneal

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 1                      Jacqueline Moline, M.D.
 2   mesothelioma and the circumstances under which it can
 3   be linked to asbestos exposure?
 4         A.        It was specifically related to
 5   peritoneal mesothelioma and it was specifically
 6   related to individuals who had asbestos exposure.
 7         Q.        Do you cite Dr. Creighton's article in
 8   your report in this case?
 9         A.        I don't believe so.             I would have to go
10   through the report again to see.
11         Q.        Do you have your report there with you
12   on the computer or just a hard copy?                  How do you have
13   your report?
14         A.        I have a hard copy of it.
15         Q.        Is it searchable?            Do you have it
16   available in a searchable format?
17         A.        I'm on a screen with you now, so I
18   either go off the screen or --
19         Q.        That's okay.
20                   MR. KRAMER:         If it helps, Counsel, on
21   page 12 of the reference list, number 223 is an
22   article by Creighton, I believe it's the one we're
23   talking about if that's where you want to go to.
24                   MR. THACKSTON:           I appreciate that.             Let
25   me get the witness to answer the question first.

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 1                      Jacqueline Moline, M.D.
 2         A.        I'm sorry, I can't hear anything you're
 3   saying, Mr. Thackston.           You need to turn the volume
 4   up.
 5         Q.        I said to Mr. Kramer that I appreciated
 6   his offer, but I would prefer the witness answer the
 7   question.    I will check my microphone.
 8                   Dr. Moline, are you able to point me to
 9   anywhere in your report where you cite Dr. Creighton?
10         A.        No.
11         Q.        You also mentioned Welch, who is Welch?
12         A.        Dr. Laura Welch.
13         Q.        Has Dr. Laura Welch published any
14   original research on peritoneal mesothelioma and the
15   circumstances under which it can be attributed to
16   asbestos exposure?
17                   MR. KRAMER:         Objection to form.
18         A.        She's published a number of articles.
19   The article I was thinking about was looking at
20   individuals, college graduates with peritoneal
21   mesothelioma, looking at the characteristics of them.
22   I don't believe -- I think it would be considered
23   original research rather than a review article.
24         Q.        Do you cite that Welch article in your
25   report?

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 1                      Jacqueline Moline, M.D.
 2         A.        I don't believe so.
 3         Q.        Is there a section of your report that
 4   relates to your opinion that you believe Mr. Gref's
 5   peritoneal mesothelioma was caused by asbestos?
 6         A.        There's a section in general where I go
 7   through questions relating to whether Mr. Gref's
 8   mesothelioma was caused by his exposure.                     It's on
 9   page 21.   It does not specifically separate
10   peritoneal versus pleura.
11         Q.        You referred us to page 21.                  There is a
12   heading, we are displaying that in the deposition now
13   on the screen, there's a heading that says, quote,
14   Applying an Accepted Method for Evaluating Disease
15   Causation in an Individual, end of quote.
16                   Is that the right spot in your report
17   that we should look for your opinions on causation
18   between Mr. Gref's peritoneal mesothelioma and
19   asbestos exposure?
20         A.        That's part of it, yes.               There's also
21   other areas starting on more general comments on
22   asbestos contaminated talc and disease starting on
23   page 18 that continues through page 21, and then the
24   opinions related to Mr. Gref continue on page 22.
25         Q.        Let's go back to page 21.                Under page 21

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 1                      Jacqueline Moline, M.D.
 2   under the Applying an Accepted Method for Evaluating
 3   the Disease Causation in an Individual, you say that,
 4   quote, in deciding whether Mr. Gref's mesothelioma
 5   was caused by his exposure to asbestos, I applied the
 6   methodology that was described by Welch, et al. in
 7   her paper Asbestos Exposure Causes Mesothelioma, but
 8   Not This Asbestos Exposure: An Amicus Brief to the
 9   Michigan Supreme Court, published in 2007 in the
10   International Journal of Occupational and
11   Environmental Health, end of quote.
12                   Did I read that correctly?
13         A.        Yes.
14         Q.        So, you're relying on an article that
15   was originally a brief, a legal brief filed in a
16   case, right?
17         A.        No, it was converted into a journal
18   article.   It was not the actual Amicus Brief.
19   Excerpts from the Amicus Brief might have been
20   included in the article, but it was converted into a
21   medical journal article.            It was not a court document
22   Amicus Brief, it was a medical article.
23         Q.        I'm just reading what your report says.
24   It says --
25         A.        That's the title of the paper, but the

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 1                        Jacqueline Moline, M.D.
 2   article that I'm referencing came in the medical
 3   literature, it was not from the actual legal
 4   document.
 5           Q.        It looks like it was something that was
 6   submitted first as an Amicus Brief to the Michigan
 7   Supreme Court and then published in the International
 8   Journal of Occupational and Environmental Health,
 9   true?
10                     MR. KRAMER:         Objection to form.
11           A.        That's my understanding.
12                     MR. KRAMER:         Calls for speculation.
13           A.        You'll have to ask Dr. Welch this
14   question, she's the one who published it.
15           Q.        Was the International Journal of
16   Occupational and Environmental Health the journal
17   that was owned by Dr. David Egilman at that time?
18                     MR. KRAMER:         Objection to form, calls
19   for speculation.
20           A.        I'm sorry.        Did you ask if it was owned
21   by him?
22           Q.        Yes.
23                     MR. KRAMER:         Same objections.
24           A.        My understanding is it was owned by
25   Taylor & Francis, which is a publishing house.                            I

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 1                      Jacqueline Moline, M.D.
 2   don't think he had an ownership stake in it, but I
 3   don't know.
 4         Q.        Has he ever had an ownership stake?                     You
 5   know who Dr. David Egilman is, right?
 6                   MR. KRAMER:         Objection to the prior
 7   question.
 8         A.        I know who Dr. Egilman is, yes.
 9         Q.        Has he ever had an ownership interest in
10   the International Journal of Occupational and
11   Environmental Health?
12                   MR. KRAMER:         Form, lacks foundation,
13   calls for speculation.
14         A.        I have no idea.
15         Q.        Has he ever been an editor of that
16   journal?
17         A.        I believe at one point he was an editor
18   of that journal.
19         Q.        Has he ever been a peer reviewer for
20   that journal?
21         A.        I don't know.          The peer review process
22   is actually supposed to be anonymous so that you
23   don't know who the peers are, and I don't know, I
24   haven't looked at the journal to see the list of
25   reviewers over the years.            I couldn't tell you.

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 1                       Jacqueline Moline, M.D.
 2          Q.        Do you know whether the journal ever
 3   published a statement that says the editor has the
 4   right to be the sole peer reviewer of an article?
 5                    MR. KRAMER:         Objection, lacks
 6   foundation, calls for speculation.
 7          A.        I am not familiar with that particular
 8   statement.     I'm not familiar with it.
 9          Q.        You state that you're borrowing -- let
10   me just quote it.         Quote, this method mirrors the
11   Hill criteria, but is specific for asbestos (see also
12   Lemen).     Similar methodology for assessing causation
13   for individuals exposed to asbestos who developed
14   asbestos-related diseases was also outlined by
15   Freeman.     In this paper, Dr. Welch identifies four
16   questions that should be examined in the causation of
17   disease in an individual.
18                    Did I generally get that right?
19          A.        Generally.
20          Q.        Who is Freeman?           It says outlined by
21   Freeman, but it doesn't say anything about where or
22   who.
23          A.        Freeman is on my reference list.                    It's
24   an article by Freeman.            I think it's either 2012 or
25   something along those lines.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Who is Freeman?
 3         A.        Freeman is a physician who wrote an
 4   article about causation methodology.
 5         Q.        Do you know what's the full name?
 6         A.        I believe it's Michael Freeman.
 7         Q.        This says that Dr. Welch identifies four
 8   questions that should be examined:                 "One, was the
 9   individual exposed to a toxic agent?                  Two, does the
10   agent cause the disease present in the individual?
11   Three, was the individual exposed to this substance
12   at a level where the disease has occurred in other
13   settings?    Four, have other competing explanations
14   for the disease been excluded?", right?
15         A.        Correct.
16         Q.        For your analysis under this rubric, did
17   you separate peritoneal mesothelioma or did you
18   consider peritoneal and pleural mesothelioma
19   together?
20         A.        The rubric is used on each individual
21   case, so it's not a rubric, there's no separate
22   rubric for pericardial, tunica vaginalis, pleural or
23   peritoneal, which are the four areas in which
24   mesothelioma can arise.           It's a general methodology
25   that does not discriminate between source or location

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 1                      Jacqueline Moline, M.D.
 2   of tumor.
 3         Q.        For number two, quote, does the agent
 4   cause the disease present in the individual, end of
 5   quote, you did not apply that to the disease
 6   peritoneal mesothelioma, correct?
 7                   MR. KRAMER:         Objection,
 8   mischaracterizes.
 9         A.        In my opinion I can apply that disease.
10   Peritoneal mesothelioma has been associated with
11   asbestos exposure, so that's the opinion that I have
12   stated multiple, multiple times, and I continue to
13   have that opinion so, yes, I can say that.
14                   MR. THACKSTON:           Object to the
15   responsiveness.
16         A.        I don't know what's unresponsive of me
17   giving an answer to your question.
18                   MR. KRAMER:         It's okay, Dr. Moline.
19   Let's wait for the next question.
20                   THE WITNESS:         Okay.
21         Q.        Let me read a statement from page 421.
22   For question number two, there is ample literature
23   that asbestos causes mesothelioma and no dispute in
24   the medical literature, end of quote.
25                   That statement, first of all, did I read

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 1                      Jacqueline Moline, M.D.
 2   that correctly?
 3         A.        Yes.
 4         Q.        That statement is general as to all
 5   types of mesothelioma, it's not specific to
 6   peritoneal mesothelioma, correct?
 7                   MR. KRAMER:         Form, compound.
 8         A.        It's a general statement.
 9         Q.        With respect to question number two in
10   the protocol that you followed, the term, quote,
11   agent, in this case, did you use that term to mean
12   the particular products of the individual defendants
13   or did you mean asbestos generally?
14                   MR. KRAMER:         Objection to form.
15         A.        I didn't pick the word agent.                   I don't
16   think I would use that word if I were developing
17   these questions because I think agent is a very vague
18   phrase, but I was thinking about it in terms of the
19   overall exposure, it was not a particular product per
20   se, it was what is the overall exposure that the
21   individual has.
22         Q.        Well, by agent, the way you applied that
23   term in your report and for your opinions, you were
24   not considering the agent to be cosmetic talc, right?
25                   MR. KRAMER:         Form.

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 1                         Jacqueline Moline, M.D.
 2         A.           I don't know how you are getting to that
 3   conclusion from what I have just said.                      I was
 4   speaking in this to does the agent in this case, it
 5   was asbestos, the source of asbestos was cosmetic
 6   talc, so that's where I was going.
 7         Q.           So, you're answering the question in the
 8   first sentence following the numbered sentences, you
 9   say, quote, for question number two there's ample
10   literature that asbestos causes mesothelioma and no
11   dispute in the medical literature, right?
12                      MR. KRAMER:         Objection to form.
13         A.           I'm sorry, repeat your question, I
14   didn't hear it, or repeat your statement.                        I just
15   didn't hear what you said.
16         Q.           Let me just ask you generally.                   You got
17   the list of what you say are the four questions that
18   should be examined and the causation of the disease,
19   right?
20         A.           I'm using an accepted methodology that's
21   been published by Dr. Welch, yes.
22         Q.           You list four questions and then you
23   answer question number two, right, where you say,
24   this is the first full sentence after the list of
25   four begins with, quote, for question number two,

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 1                         Jacqueline Moline, M.D.
 2   right?
 3                      MR. KRAMER:         Objection form.
 4         A.           Yes.
 5         Q.           It says, "there is ample literature that
 6   asbestos causes mesothelioma and no dispute in the
 7   medical literature," right?
 8         A.           That's what it says, yes.
 9         Q.           Would you agree with me that you could
10   have in this case made question number two, does
11   cosmetic talc cause the disease peritoneal
12   mesothelioma, right?
13                      MR. KRAMER:         Objection to form.
14         A.           That's not how I view it, that's not how
15   I used it.       I'm not going to change my methodology
16   just to suit you.
17                      MR. THACKSTON:           Object to the
18   responsiveness.
19         Q.           Well, the individual in this case
20   suffers from peritoneal mesothelioma, right?
21         A.           The individual in this case suffers from
22   mesothelioma, yes.
23         Q.           Of the subtype peritoneal, right?
24         A.           It's not the subtype, it's the location.
25   A subtype would be epithelial.                  If you want to use

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 1                         Jacqueline Moline, M.D.
 2   the nomenclature, use the correct nomenclature.
 3   Peritoneal is location.              Subtype is inferring the
 4   pathological subtype.
 5         Q.           Let me do -- use layperson's term
 6   because I'm a layperson presumably and so will the
 7   jury be.
 8                      You would agree with me that -- you
 9   agreed with me earlier that the peritoneal area, the
10   stomach area is different than the lung area, right?
11                      MR. KRAMER:         Objection to form.
12         A.           I would not define it as stomach.
13   Stomach is in the upper part of the abdomen.                          I would
14   describe it as the abdominal cavity.                     Stomach is even
15   more vernacular and maybe someone might refer to it
16   as the stomach, but even a layperson understands
17   usually the term abdomen.
18         Q.           Abdominal cavity is further away from
19   the nose than the pleural cavity or the chest cavity,
20   right?
21                      MR. KRAMER:         Objection, relevance.
22         A.           Yes.
23         Q.           You have not evaluated specifically
24   whether there's literature that supports the idea
25   that cosmetic talc even if adulterated with trace

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 1                        Jacqueline Moline, M.D.
 2   levels of asbestos has been linked to peritoneal
 3   mesothelioma, have you?
 4                     MR. KRAMER:         Objection to form.
 5           A.        There is not a lot of literature related
 6   to that in general.           There are certainly cases where
 7   it has been described in individuals with exposure to
 8   cosmetic talc that have developed peritoneal
 9   mesotheliomas in the literature.
10           Q.        So, you're saying that the only
11   literature you're aware of relating to cosmetic talc
12   and peritoneal mesothelioma are case reports of
13   someone who had mesothelioma, peritoneal mesothelioma
14   and also used cosmetic talc, right?
15                     MR. KRAMER:         Objection, misstates.
16           A.        I'm sorry, I didn't hear the second
17   half.    You're fading out.
18           Q.        The only literature that you're aware of
19   relating to peritoneal mesothelioma and cosmetic talc
20   are case reports of people who have been diagnosed
21   with peritoneal mesothelioma who also used cosmetic
22   talc, right?
23           A.        I think that I'm referring to case
24   series as well as case reports.                  I'm also referring
25   to -- I believe in other cases where they've looked

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 1                      Jacqueline Moline, M.D.
 2   at tissue and found in cases where mesothelioma has
 3   been present, they've looked at lung fiber burden and
 4   found characteristic findings of -- well, they found
 5   asbestos fibers that are characteristically found in
 6   talcum powder, so they found the same type of fibers
 7   that are not seen typically in commercial talcum
 8   powder -- in commercial asbestos, but are seen in
 9   talcum powder.
10         Q.        In looking at your paragraph related to
11   question number two, the cite that I see, the last
12   sentence says -- it's also related to number three --
13   quote, as described above and recently referenced by
14   the Center for Disease Control -- there was no cite
15   for that, right, referenced by the Center for Disease
16   Control, you don't have a footnote and you don't have
17   an article, right?
18                   MR. KRAMER:         Objection to form.
19         A.        It's on my reference list, but I don't
20   have a specific citation.            It was from the MMWR
21   report.
22         Q.        Your reference list, how many items are
23   on your reference list?
24         A.        Currently there's about 505 or
25   something, but there aren't that many that are from

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 1                      Jacqueline Moline, M.D.
 2   the CDC.
 3         Q.        Somebody would have to go read it and
 4   try to find the Center for Disease Control in one of
 5   the 500 items?
 6                   MR. KRAMER:         Objection to form.
 7         A.        The list is not alphabetical, so, yes,
 8   they would have to go and find that because I do not
 9   give a specific reference.
10         Q.        Do you know whether that -- what's the
11   name of that article?
12         A.        It's Mazurek, I believe, from 2017.
13         Q.        What page is that on your reliance list?
14         A.        I don't have an up-to-date reliance list
15   that I'm looking at, so I don't know what page it's
16   on, but if you look under "M", the letter "M" as in
17   Mary, you can find it, the last name is
18   M-a-z-u-r-e-k.
19         Q.        What's the title of the article?
20         A.        The author should be easier to find than
21   the title.    Malignant mesothelioma mortality - United
22   States, 1999 to 2015, Centers for Disease Control and
23   Prevention:     Morbidity and Mortality Weekly Report,
24   66, volume 8, pages 214 to 218, March 3rd, 2017.
25         Q.        Is there a statement in that article

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 1                      Jacqueline Moline, M.D.
 2   about the percentage of peritoneal mesotheliomas that
 3   have been linked to asbestos exposure?
 4         A.        I don't recall.           That wasn't the purpose
 5   of that reference, but I don't recall.
 6         Q.        Criteria number three mentions what you
 7   call analogous exposure scenarios.
 8                   Does that article referenced by the CDC
 9   relate to exposure scenarios involving alleged trace
10   contamination of cosmetic talc?
11         A.        The article from the CDC is talking
12   about mesothelioma in individuals and they reference
13   that cosmetic talc may be a cause is my recollection.
14   I don't recall, I don't believe the reference
15   specifically separated it out, the location of the
16   mesothelioma.
17                   We've been going an hour, I would like a
18   stretch break, please.
19         Q.        Sure.
20                   VIDEOGRAPHER:          We'll be going off the
21   record at 11:01 a.m.
22                   (A recess was taken.)
23                   VIDEOGRAPHER:          We're back on the record
24   at 11:11 a.m.      Quick correction to the read in, this
25   is actually volume two of Dr. Moline.

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 1                       Jacqueline Moline, M.D.
 2                    Go ahead, Counselor.
 3          Q.        Dr. Moline, when we took a break we were
 4   talking about an article on your reliance list that
 5   that's not directly referenced in your report; is
 6   that on the screen now, Malignant Mesothelioma
 7   Mortality?
 8                    MR. KRAMER:         Objection to form.
 9          Q.        Do you see the article on your screen
10   now?
11          A.        No.
12          Q.        You don't see Malignant Mesothelioma
13   Mortality, United States 1999 to 2015?
14          A.        Now I do.        Before I did not.            There was
15   something else there.
16          Q.        It's coming from my computer.                   Is it now
17   zoomed, enlarged so you can read the title?
18          A.        Yes.
19          Q.        We'll make this number 19.
20                    (Whereupon, Morbidity and Mortality
21   Weekly Report was received and marked Moline
22   Exhibit 19, for identification, as of this date.)
23          Q.        This is called the Morbidity and
24   Mortality Weekly Report, correct?
25          A.        It's not called that, it is that.

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 1                        Jacqueline Moline, M.D.
 2           Q.        Is there any indication that this is a
 3   peer-reviewed article?
 4           A.        They are peer-reviewed.               I know that
 5   because I have published MMWRs and I know they're
 6   subject to peer review.
 7           Q.        So, this is the article that you were
 8   referring to on your report.                I believe it was page
 9   21 of your report where we were looking at your
10   discussion of item number two under the Welch test,
11   you said something was referenced by the CDC; is this
12   what you were talking about?
13           A.        I believe it was in response to number
14   three of the Welch criteria that I use, not number
15   two.    This was the article that I was referencing.
16           Q.        This article, did you say that you
17   thought that it specifically mentioned cosmetic talc?
18           A.        It references cosmetic talc.                  It
19   references cosmetic talc, it's references a paper
20   about cosmetic talc and talks about it, I believe,
21   later on with respect to -- that may be why it's been
22   -- I don't remember the exact terminology they used.
23           Q.        Down at the bottom here there is a
24   footnote that I'm going to attempt to highlight as I
25   go.    Do you see that?

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 1                       Jacqueline Moline, M.D.
 2          A.        Yes.
 3          Q.        In that footnote that I highlighted
 4   says, quote, asbestos is a term used for certain
 5   minerals that have crystalized in a particular
 6   macroscopic habit with certain commercially useful
 7   properties.      In quotations, quote, asbestiform, end
 8   of quote, term applied to minerals with a macroscopic
 9   habit similar to that of asbestos, right?
10          A.        That's what it says, yes.
11          Q.        Generally this article does not
12   distinguish between pleural and peritoneal
13   mesothelioma, does it?
14          A.        They differentiate in the table.
15          Q.        In what table?           Which table are you
16   talking about?
17          A.        Table one.
18          Q.        Table one, malignant mesothelioma death
19   and age adjusted rates among decedents aged greater
20   than or equal to 25 years by selected
21   characteristics, right?
22          A.        You didn't read the entire title, but
23   yes.
24          Q.        About halfway down it talks about the
25   anatomic site and it gives you the number of deaths

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 1                         Jacqueline Moline, M.D.
 2   per site and the death rate, right?
 3         A.           Correct.
 4         Q.           It says during this time frame there
 5   were 3,351 pleural mesos and 1,854 of the peritoneum,
 6   right?
 7         A.           Yes, as well as a huge number of
 8   unspecified or other, meaning that the death
 9   certificate just said malignant mesothelioma, it did
10   not specify the site.
11         Q.           Table two is titled, quote, industries
12   and occupations with significantly elevated
13   proportionate mortality ratios, 1,830 malignant
14   mesothelioma decendents aged 25 or greater, 23
15   states, 1999, 2003, 2004 and 2007, right?
16         A.           Yes.
17         Q.           The first industry listed is ship and
18   boat building?
19         A.           Correct.
20         Q.           With 24 deaths and then there's a PMR,
21   is that proportionate mortality ratio?
22         A.           I assume they define it at the bottom of
23   the table, but that's typically what PMR stands for.
24   We can verify it if you scroll down and look at the
25   bottom of the table where they have a little mark and

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 1                      Jacqueline Moline, M.D.
 2   they describe that's what Proportionate Mortality
 3   Ratio, yes.
 4         Q.        If you scroll down it says, PMR, quote,
 5   is defined as observed number of deaths with
 6   malignant mesothelioma in a specified
 7   industry/occupation, divided by the expected number
 8   of deaths with malignant mesothelioma.                   The expected
 9   number of deaths is the total number of deaths in
10   industry or occupation of interest multiplied by a
11   proportion defined as the number of malignant
12   mesothelioma deaths in all industries or occupations,
13   divided by the total number of deaths in all
14   industries/occupations.           The malignant mesothelioma
15   PMRs were internally adjusted by five-year age
16   groups, gender, and race.            CIs were calculated
17   assuming Poisson distribution of data, right?
18         A.        Right as in did you read that or right
19   is that what it says?          What's right?
20         Q.        Is that what it says?
21         A.        That's what the authors wrote.
22         Q.        This also has on the table two
23   industries and occupations with significantly
24   elevated Proportionate Mortality Ratios, it has both
25   ship and boat building and U.S. Navy, right?

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 1                        Jacqueline Moline, M.D.
 2           A.        Correct.
 3           Q.        You know Mr. Gref's parents were both in
 4   the United States Navy, right?
 5           A.        Yes.
 6           Q.        You know that when Mr. Gref first went
 7   to the doctor and was diagnosed with peritoneal
 8   mesothelioma, he told the doctor he felt he might
 9   have been exposed to asbestos brought home by his
10   parents who were in the United States Navy, didn't
11   he?
12                     MR. KRAMER:         Objection, mischaracterizes
13   facts not in evidence, calls for speculation.
14           A.        I don't specifically recall those
15   particular notations, but it wouldn't surprise me
16   since his parents were both Navy personnel, although
17   their job tasks as they described were not typically
18   associated with asbestos exposure.
19           Q.        Do you know whether they were stationed
20   at a shipyard?
21           A.        I know they were at one time away for a
22   number of years.          I believe they were at the naval
23   base.    I don't know if it was the shipyard.                      I don't
24   specifically recall.            His father was a drug and
25   alcohol counselor, he was not working in the engine

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 1                         Jacqueline Moline, M.D.
 2   rooms.
 3         Q.           Was he a drug and alcohol counselor at a
 4   base where they had a shipyard that manufactured or
 5   repaired ships?
 6                      MR. KRAMER:         Objection to form.
 7         A.           I don't know if they manufactured ships
 8   there.     It was a shipyard.             I don't know if they
 9   repaired ships.          I don't know if it was -- I don't
10   know the exact -- I don't know exactly what happened
11   at the shipyard with respect to manufacturing, if
12   ships are made there or not.
13         Q.           Did you do anything to try to rule in or
14   rule out Mr. Gref's possible exposure to asbestos
15   from his parents' work in the Navy at a base that
16   included a shipyard?
17                      MR. KRAMER:         Objection to form, assumes
18   facts.
19         A.           Apart from looking carefully at what the
20   depositions of his parents were and where their jobs
21   were located, no, I did not do individual research on
22   the shipyard in Virginia.
23         Q.           Back to the article that we marked as
24   19, I believe.          One of the statements it makes on
25   page 217, and I highlighted it, quote, moreover,

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 1                       Jacqueline Moline, M.D.
 2   family members of workers engaged in activities
 3   placing them at risk for asbestos exposures also have
 4   the potential for exposure to asbestos, end of quote.
 5                    Did I read that correctly?
 6          A.        Yes.
 7          Q.        Was that statement made in the article?
 8                    MR. KRAMER:         Asked and answered.
 9          A.        I'm sorry, was the statement that you
10   just read from the article in the article, yes, it
11   was.
12          Q.        Do you agree with that statement?
13                    MR. KRAMER:         Vague and overbroad.
14          A.        Do I agree with the statement that
15   family members of asbestos workers are at increased
16   risk for mesothelioma, yes.
17          Q.        Well, it says, quote, workers engaged in
18   activities placing them at risk for asbestos
19   exposure, end of quote, right?
20          A.        Yes, and it says they have a potential
21   for exposure to asbestos, that is correct, if they're
22   in activities that place them at risk for asbestos
23   exposure.
24          Q.        The next paragraph says that, quote,
25   among the 96.3 percent of deaths in 23 states for

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 1                         Jacqueline Moline, M.D.
 2   which industry and occupation were known,
 3   shipbuilding and construction industries were major
 4   contributors to malignant mesothelioma mortality,
 5   right?
 6           A.         That's what they state.
 7           Q.         Where do you believe there's a reference
 8   to a study involving cosmetic talc exposure?
 9           A.         I have to see the whole article.                    I
10   can't do it with you doing this scrolling up and
11   down, that's giving me a seizure.
12           Q.         Let me ask you a different question
13   then.     Looking at table two, the table above
14   occupation, about halfway down it begins, Occupation,
15   do you see the list of occupations in the article
16   from the CDC?
17           A.         Yes.
18           Q.         These are the occupations that they are
19   reporting the people that were diagnosed with
20   mesothelioma?
21           A.         No, that's not, that is not what the
22   table is showing.
23           Q.         Table two, industries and occupations
24   with significantly elevated Proportionate Mortality
25   Ratios, right?

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 1                      Jacqueline Moline, M.D.
 2         A.        Correct, it's telling you people who
 3   have died from mesothelioma for which they had
 4   occupational on the death certificate.                   It does not
 5   tell you anything beyond that.
 6         Q.        It begins with insulation workers as the
 7   first one, right?
 8         A.        Yes.
 9         Q.        Would you agree with me that an
10   occupation that used talcum powder occupationally was
11   barbers and hairdressers?
12                   MR. KRAMER:         Objection, calls for
13   speculation.
14         A.        I'm sorry, can you repeat the question?
15         Q.        Would you agree that the occupation
16   barber or hairdresser are occupations that routinely
17   used cosmetic talc as part of their job?
18         A.        Yes.
19         Q.        The occupation barbers and hairdressers
20   are not listed on this list in table two of
21   Exhibit 19, right?
22         A.        Not in this case table.
23         Q.        You're not aware of any epidemiological
24   study that ever concluded that the occupation of
25   barber or hairdresser are at an increased risk of

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 1                      Jacqueline Moline, M.D.
 2   developing mesothelioma, are you?
 3         A.        I believe barbers and hairdressers are
 4   cosmetologists are included in a category with
 5   mesotheliomas in the updated article that was by -- I
 6   believe it's the same author that came out I think it
 7   was this year where they showed a number of
 8   individuals who were barbers or hairdressers with
 9   mesotheliomas.       It's been mentioned in an article,
10   McDonald mentioned that he felt in an article that a
11   barber's exposure was the cause of their
12   mesothelioma.
13         Q.        Going back to your report.                 Show me
14   where these articles mentioning -- these articles
15   that have concluded -- is it your testimony that
16   these articles have concluded that the occupation of
17   barber, hairdresser or cosmetologist puts the worker
18   at an increased risk of mesothelioma based on --
19   let's just say first, is there any article where they
20   have found an increased incidence of mesothelioma
21   among barbers, hairdressers or cosmetologists?
22                   MR. KRAMER:         Objection to form.
23         A.        Again, the updated Mazurek has an
24   increase -- has a number of folks in the hairdresser,
25   cosmetologist category.           I don't remember the exact

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 1                      Jacqueline Moline, M.D.
 2   number of mesotheliomas.            It's not in this article,
 3   it's in an updated one, and as I have said before,
 4   McDonald talks about it as a cause of mesothelioma in
 5   one of the individuals in their cohort, but it is
 6   not -- that specific thing is not in this article.
 7         Q.        We'll talk about McDonald.                 What you
 8   just told us about this list of occupations was that
 9   in this article, the list of occupations just means
10   that's what the death certificate said that the
11   person was doing at the time of death, right?
12         A.        Correct.
13         Q.        They might have had other jobs?
14                   MR. KRAMER:         Objection, calls for
15   speculation.
16         A.        All I know is what was put on the death
17   certificate at the time of death.
18         Q.        You've specifically been retained in
19   cases where someone had a job of barber or
20   hairdresser but they had other occupational exposure
21   to asbestos other than that job, right?
22                   MR. KRAMER:         Objection to form.
23         A.        Yes.
24         Q.        You have one right now, you are retained
25   as an expert in another case by Mr. Kramer and his

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 1                        Jacqueline Moline, M.D.
 2   law firm, right?
 3                     MR. KRAMER:         Objection to form, vague.
 4           A.        I'm not going to comment on another
 5   case.
 6           Q.        Just yes or no, are you retained in
 7   another case by this plaintiff lawyer and this firm?
 8                     MR. KRAMER:         Just generally?
 9           A.        I have been retained by Mr. Kramer's
10   firm in other cases.
11           Q.        In another case in which you're retained
12   and for which you have written a report that you have
13   produced, the gentleman was a barber, but he had also
14   worked as an apprentice pipe fitter, right?
15                     MR. KRAMER:         Objection.        I'm not sure
16   what case you're referring to.
17                     MR. THACKSTON:           The Gref case.
18                     MR. KRAMER:         That is this case.
19           A.        We're talking about the Gref case today
20   and I don't believe it is --
21           Q.        I'm sorry.
22           A.        -- Mr. Kramer's firm.              So, Mr. Kramer
23   has no knowledge of this and I will not be discussing
24   another firm's case.
25           Q.        We're in the Gref case.

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 1                      Jacqueline Moline, M.D.
 2         A.        I don't think that's appropriate, but
 3   I'm not a lawyer here.           You tell me if that's
 4   appropriate or not or maybe Mr. Kramer will tell me
 5   if it's appropriate or not, but I'm not commenting on
 6   other cases.
 7                   MR. THACKSTON:           Object to
 8   responsiveness.
 9         Q.        I'm sorry, you're right.                I'm getting my
10   cases mixed up since I was in a deposition the other
11   day, I think it was yesterday, Daigle.                   You are
12   retained as an expert in the Daigle case,
13   D-a-i-g-l-e, pending in New Orleans, right?
14                   MR. KRAMER:         I'm going to object as
15   outside the scope of this deposition.                   That is not a
16   case for which Dr. Moline is retained by the Simmons
17   firm or with me, and I'm not sure that she can
18   comment on that.
19         Q.        Are you retained as an expert in the
20   Daigle case?
21         A.        Again, I don't feel comfortable
22   commenting on other cases.             I have been retained in
23   other cases by other firms, some of whom have had
24   multiple occupations, including being a barber.
25         Q.        You've been retained in other cases

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 1                      Jacqueline Moline, M.D.
 2   where someone has had an occupation, including being
 3   a barber, but also had worked in other industrial
 4   settings where they have claimed exposure to
 5   asbestos, right?
 6                   MR. KRAMER:         Objection, assumes facts,
 7   outside the scope, and asked and answered.
 8         A.        I have been retained in cases where
 9   individuals have worked in more than one occupation,
10   including being in industry and being in the
11   cosmetology industry.
12         Q.        If someone lists on their death
13   certificate that they were a cosmetologist at the
14   time of death, that does not mean that they didn't
15   have other jobs where they might have been exposed to
16   asbestos, right?
17                   MR. KRAMER:         Calls for speculation,
18   vague and ambiguous.
19         A.        That's correct.
20         Q.        The more recent report that you're
21   talking about, Morbidity and Mortality Weekly Report,
22   you're talking about the one from March or May of
23   this year, 2022?
24         A.        I believe it came out in 2022.                   I don't
25   recall the month.

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                                                                     Page 259

 1                      Jacqueline Moline, M.D.
 2         Q.        You've been asked about that in a
 3   deposition before, haven't you?
 4         A.        I believe so.
 5         Q.        You recall that that one makes a
 6   statement about peritoneal mesothelioma and asbestos,
 7   don't you?
 8         A.        I don't recall.
 9                   MR. KRAMER:         Objection, vague.
10         A.        I don't recall if I was asked.                   I don't
11   recall what I answered.           I don't recall the specific
12   line in the paper.         If you want to show it to me, I'm
13   more than happy to discuss.
14         Q.        Let's go back and look at your report
15   first because in your report you say -- let's go back
16   to the specific reference that you made to CDC,
17   Centers for Disease Control.              I stopped sharing, but
18   I ask that we put back up your report.
19                   The statement that we were talking about
20   in your report on page 23, quote, as described above,
21   and recently referenced by the Center for Disease
22   Control, as well as published in the peer-reviewed
23   literature, there are numerous other individuals with
24   exposure to asbestos-containing talc products who
25   have developed malignant mesothelioma, end of quote,

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 1                         Jacqueline Moline, M.D.
 2   right?
 3         A.           That's what the line says.                 I should
 4   take out the word "recent".
 5         Q.           Footnote for that, if the article is
 6   Andrion, A-n-d-r-i-o-n, article entitled Malignant
 7   Peritoneal Mesothelioma in a 17-Year-Old Boy with
 8   Evidence of Previous Exposure to Chrysotile and
 9   Tremolite Asbestos, Human Pathology, volume 25,
10   number six, June 1994, right?
11         A.           Yes.
12         Q.           That's a case report from 1994, that's
13   not recent; would you agree?
14                      MR. KRAMER:         Objection to form.
15         A.           1994 is not what I would consider
16   recent, correct.
17         Q.           The next article you cite is
18   B-u-l-b-u-l-y-a-n.
19         A.           Come on, I want you to pronounce it.
20   Amuse all of us.
21         Q.           Bulbulyan.        I'll be happy to give you
22   some comic relief.
23         A.           I think you did very well.
24         Q.           Cancer Mortality Among Women in the
25   Russian Printing Industry, right?

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 1                      Jacqueline Moline, M.D.
 2         A.        Correct.
 3         Q.        Is it your testimony that that involves
 4   people with alleged only exposure to cosmetic talc?
 5         A.        It was talc.         The statement says
 6   asbestos-containing talc products.                 Talc was used in
 7   the printing industry.           The statement does not, as I
 8   wrote it, does not have the word "cosmetic" in that
 9   line, it says talc products.
10         Q.        Would you agree with me that talc has
11   been used for industrial purposes for lot of things
12   like paper and tires industry?
13         A.        Yes.
14         Q.        You understand that the grades of talc
15   used for industrial applications might be different
16   than the grades used for cosmetic application?
17                   MR. KRAMER:         Objection to form.
18         A.        You would have to describe for me what
19   you mean by grade, but I think there is a demarcation
20   between what's used in industrial and what's used in
21   cosmetic.
22         Q.        Would you know, for example, for Clubman
23   talc, do you know what grade of talc was used to make
24   the Clubman talc?
25         A.        Do I know what grade was used to make

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 1                      Jacqueline Moline, M.D.
 2   the what?
 3         Q.        Clubman, Clubman talc.
 4         A.        I don't know what nomenclature is used.
 5   I'm not a talcum powder manufacturer, nor supplier,
 6   and I'm not intimately familiar with the nomenclature
 7   of the sourcing of these products.
 8         Q.        You're not giving the opinion that if a
 9   seller of a talc that used pharmaceutical grade
10   talcum powder is the same grade of talcum powder that
11   was used for industrial application like in the
12   Russian printing industry, are you?
13                   MR. KRAMER:         Form, assumes facts not in
14   evidence, mischaracterizes.
15         A.        I have no idea what happens in Russia,
16   so I can't comment on the Russian printing industry.
17   My understanding is that what is used in cosmetic
18   talc is a different grade than what it used in
19   industrial talc, but, again, this is not my area of
20   expertise and I'm not an expert on this, I will not
21   be getting into the nitty-gritty, so to speak, of the
22   demarcations between what constitutes industrial
23   versus cosmetic.
24         Q.        I'm referring to your criteria for
25   attributing causation and specifically to what agent

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 1                        Jacqueline Moline, M.D.
 2   is involved and what disease.
 3                     By agent, I'm looking for the specific
 4   type of cosmetic talc and the specific type of
 5   alleged contamination with asbestos, if you know,
 6   okay?    Do you understand that?
 7                     MR. KRAMER:         Objection to form.
 8           A.        I don't really understand because, as I
 9   said earlier, that's not how I define the term agent,
10   so I'm not going to use your definition of how you
11   define it when it's different from how I defined it.
12           Q.        Do you define the term agent as you have
13   used it in your report to mean asbestos?
14                     MR. KRAMER:         Asked and answered.
15           A.        Yes.
16           Q.        In your report on page 21 where you say,
17   quote, there is ample literature that asbestos causes
18   mesothelioma, end of quote.
19                     Is there any other place in your report
20   that you further define the term asbestos?
21           A.        Yes.
22           Q.        Where is that?
23           A.        Page nine.
24           Q.        In terms of what you're considering the
25   agent in this case, is this on page nine, your

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 1                      Jacqueline Moline, M.D.
 2   further definition of asbestos?
 3                   MR. KRAMER:         Objection to form.
 4         A.        You asked if I had a definition of
 5   asbestos in my report.           Under asbestos and disease I
 6   define where asbestos comes from and that it's been
 7   used commercially and I talk about the fiber types.
 8                   You asked if I had any reference in my
 9   report at all about the definition of asbestos and a
10   naturally occurring mineral is the definition of
11   asbestos.
12         Q.        When I was asking you about populations
13   that have been studied, that you believe have been
14   studied for peritoneal mesothelioma, you mentioned
15   Rodelsperger.
16                   What population did Rodelsperger study?
17         A.        I was referring to the paper where he's
18   talking about the general community paper.                      It's
19   Rodelsperger from -- oh goodness, I believe he's
20   talking about asbestos as risk factors for diffuse
21   malignant mesothelioma.           It's a case control study
22   from 2001.
23         Q.        Rodelsperger doesn't mention anything
24   about cosmetic talc, does he?
25         A.        I don't believe so.

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 1                       Jacqueline Moline, M.D.
 2          Q.        Did we agree -- I'm sorry.                 On
 3   Exhibit 19, the CDC article, we agreed that the CDC
 4   article in 2017 did not mention cosmetic talc for
 5   hairdressers or barbers or cosmetologists?
 6                    MR. KRAMER:         Form, asked and answered.
 7          A.        Did not have hairdressers and barbers as
 8   a job category, that's correct, we did agree,
 9   shockingly.
10          Q.        And that article did not mention
11   cosmetic talc as a potential source of asbestos
12   exposure, did it?
13          A.        Again, it references -- they reference
14   the cosmetic talc article in that.                  I don't know if
15   there's an actual phrase as well, but they talk about
16   a potential source of asbestos exposure, and I know
17   they reference the Gordon paper.
18          Q.        I see the reference to the Gordon paper.
19   I see the footnote.          I don't see where it's mentioned
20   in this tab.      Do you know where it's mentioned in the
21   tab?
22          A.        If you show it to me, maybe I'll be able
23   to find it.
24                    MR. THACKSTON:           Somebody has to quit
25   sharing the screen and then I can share again.

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 1                         Jacqueline Moline, M.D.
 2         Q.           Can you see back to the article,
 3   Exhibit 19, Morbidity and Mortality Weekly Report
 4   from 2017?
 5         A.           Okay.
 6         Q.           The Gordon article is reference number
 7   eight.     In the footnotes, the question was, where was
 8   that in the text?           I see on page 217 of that article,
 9   footnote eight is after this sentence, quote, in
10   addition, ongoing research is focusing on the
11   potential non-occupational and environmental
12   exposures to asbestos fibers and other EMPs, e.g.,
13   erionite, a naturally occurring fibrous mineral that
14   belongs to the group of minerals called zeolites, and
15   non-mineral elongate particles, e.g., carbon
16   nanotubes to assess exposures and potential health
17   risks (7, 8).
18                      That's the statement that refers to the
19   Gordon Fitzgerald paper?
20         A.           Correct.
21         Q.           It doesn't mention cosmetic talc?
22         A.           It doesn't have those words except in
23   the reference.
24         Q.           I'll stop sharing and see if we can go
25   to the 2022 CDC Morbidity and Mortality Weekly

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 1                         Jacqueline Moline, M.D.
 2   Report.
 3                      MR. THACKSTON:           Let's make that 20.
 4                      (Whereupon, 2022 CDC Morbidity and
 5   Mortality Weekly Report was received and marked
 6   Moline Exhibit 20, for identification, as of this
 7   date.)
 8         Q.           This is reference material that you have
 9   previously read and relied upon and testified about,
10   right?
11         A.           Can you break that down, please.                    You're
12   asking me like four questions.
13         Q.           Is this Exhibit 20 a reference material
14   that -- an article that you have previously
15   referenced?
16         A.           Correct.
17         Q.           You brought this to one of your
18   depositions, didn't you?
19         A.           I'm sorry, I didn't hear what you said.
20         Q.           You brought this to one of your
21   depositions, didn't you?
22                      MR. KRAMER:         Form.
23         A.           I might have.          Can you increase the
24   size, please, if you're going to ask me a question
25   from it.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Does this make a statement about the
 3   percentage of peritoneal mesotheliomas that can be
 4   linked to asbestos exposure?
 5                   MR. KRAMER:         Objection to form.
 6         A.        First of all, I'm not seeing the entire
 7   page, but it's an update of the numbers from the SEER
 8   database and it's giving percentages, if I recall
 9   correctly, of the number of deaths associated.                          This
10   is looking in women.
11         Q.        It also makes some statements about what
12   the most common exposures to asbestos were, doesn't
13   it?
14                   MR. KRAMER:         Objection to form, vague.
15         A.        Most common exposures and most common
16   occupations.     I don't know if -- I don't know -- they
17   don't have occupational histories or environmental
18   histories, they just have jobs, not exposures,
19   they're very different.
20         Q.        It makes a reference to exposure data
21   being available for some of the cases.
22         A.        Show me where it says that.                  I don't
23   recall that.
24         Q.        I will scroll back up.               It says on page
25   three, among men an estimated 85 percent of

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 1                      Jacqueline Moline, M.D.
 2   mesotheliomas were attributed to work-related
 3   asbestos exposure.         Among women, the overall
 4   attributable risk was estimated at approximately
 5   23 percent.     Although occupational asbestos exposure
 6   is most often recognized among men working in ship
 7   buildings, construction, manufacturing and other
 8   industrial settings where women are less likely to be
 9   employed, exposure can also occur in other work
10   settings as a consequence of disturbance of
11   previously installed friable asbestos-containing
12   materials during maintenance or renovation or the
13   resuspension of settled fibers in the air caused by
14   dusting, sweeping or cleaning, right?
15         A.        That's what the authors wrote, correct.
16         Q.        So, there were some discussion about the
17   manner by which people may be -- people who are
18   diagnosed with mesothelioma may be exposed to
19   asbestos, right?
20         A.        There was some discussion as they were
21   referencing this paper.           They did not collect
22   exposure data in this paper.
23         Q.        As of May 2022, the CDC article about
24   mesothelioma does not mention cosmetic talc as a
25   possible source of exposure to asbestos, does it?

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 1                        Jacqueline Moline, M.D.
 2                     MR. KRAMER:         Objection.        Objection to
 3   form.
 4           A.        Specifically I don't use that -- I don't
 5   believe they use that phrase within this paper.
 6           Q.        Scroll down, please.              This is the one
 7   you were talking about that in the list of
 8   occupations that someone held at the time of their
 9   death, it included the occupational category of
10   hairdressers, hairstylists and cosmetologists,
11   correct?
12           A.        Correct.
13           Q.        Also included, one of the largest was
14   homemaker, right?
15           A.        Correct.
16           Q.        It also notes that the geographic
17   distribution of the highest mesothelioma death rates
18   among women were in states with the shipyard
19   industry, right?
20           A.        Correct.
21                     MR. KRAMER:         Objection to form.
22           Q.        Now, you mentioned the McDonald article,
23   maybe we don't have to go look at it, the McDonald
24   article made -- did not conclude -- first of all, the
25   McDonald article was relating to disease among

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 1                      Jacqueline Moline, M.D.
 2   miners, chrysotile miners in Canada, wasn't it?
 3         A.        Correct.
 4         Q.        It was not a study about other
 5   occupations, it noted that one person had a
 6   possible -- had done work as a barber and had
 7   possible asbestos exposure in that role, right?
 8                   MR. KRAMER:         Form.
 9         A.        Correct.
10         Q.        And you're familiar with other articles
11   that have suggested that occupational exposure to
12   asbestos in the hairdresser or barber industry can
13   come from hairdryers, weren't you?
14                   MR. KRAMER:         Objection to form.
15         A.        Yes.
16         Q.        Doctor, let me ask you about your
17   scheduling preferences.
18         A.        Ask me about my what?
19         Q.        Scheduling preferences for the day.
20   Would you like, is there a point where you would like
21   to take a lunch break and is there a point in which
22   you need to stop for the day?
23                   MR. KRAMER:         Well, I'll comment on that
24   because under Rule 30 of the federal rules, just to
25   remind counsel, we are limited to or counsel is

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 1                      Jacqueline Moline, M.D.
 2   limited to seven hours.           We're now within -- we're
 3   less than one hour left of a lot of questioning.                        I'm
 4   going to have some follow-up, so please be aware of
 5   that, but as pertains to a lunch break or any other
 6   break, Dr. Moline, you can, of course, answer.
 7                   THE WITNESS:         Based on my understanding
 8   of how much time there's left, I would prefer that we
 9   maybe take three or four minutes now just so I can
10   have a comfort break, and then we can continue and
11   then we wrap this up within the allotted time under
12   whatever federal rule it is that gives an allotted
13   amount of time.
14                   MR. THACKSTON:           I'm not saying I agree
15   with that.    We can take a five-minute break.
16                   VIDEOGRAPHER:          We'll be going off the
17   record at 12:00 p.m.
18                   (A recess was taken.)
19                   VIDEOGRAPHER:          We are back on the record
20   at 12:08 p.m.      Go ahead, Counselor.
21         Q.        Let's go back to your report.                   Doctor, I
22   believe since your report something was produced to
23   us that was called something like an exposure
24   analysis where there was an attempt to assign a
25   number of occasions for which Mr. Gref used certain

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 1                      Jacqueline Moline, M.D.
 2   kinds of product.
 3                   Are you familiar with that document?
 4         A.        Are you referring to the exposure
 5   testimony summary that was provided to me by
 6   Mr. Kramer's firm that we talked about at the onset
 7   of today's deposition that I was asked about at ad
 8   nauseam in volume one in this deposition; is that
 9   what you're referring to?
10         Q.        No, I'm referring to a document where
11   there was some estimates about the number of products
12   that was used and for how long.
13                   Do you remember that document?
14         A.        I don't know what you're referencing.
15   If you show it to me, I can tell you.                   I don't know
16   what you're talking about.
17         Q.        If you attempted to -- have you
18   attempted to estimate the number of -- well, have you
19   done an exposure analysis for each of the defendant
20   products in this case?
21         A.        I have done a dose estimate, dose
22   calculation based on the number of applications, yes.
23   I had referenced that it was possibly mathematically
24   to do, so I went ahead and did it.
25         Q.        That's not something that's in your

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 1                      Jacqueline Moline, M.D.
 2   report?
 3         A.        No, it is not.
 4         Q.        When did you do these calculations?
 5         A.        I did these calculations when I saw that
 6   this deposition was on my calendar.
 7         Q.        When was that?           Was it in the last week?
 8         A.        Within the last week or so, yes.
 9         Q.        When did you provide them to plaintiff's
10   counsel?
11         A.        I didn't.        I did it in case I was asked
12   questions about it.         I have not provided it to him.
13         Q.        So the plaintiff's counsel don't know
14   what your opinions are about the dose estimates, your
15   math on the dose estimates?
16         A.        No, I was asked questions about it and
17   whether I done it, so I went ahead and did it.
18         Q.        Is there a document?              Did you create a
19   document?
20         A.        I have just some scribbled notes.                       It
21   was not a formal thing.           I did it just in case I was
22   asked questions.        It's not a typed document.                 It's
23   just some scribbled notes that won't make a lot of
24   sense to anyone but me.
25         Q.        Are you familiar with a document that

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 1                       Jacqueline Moline, M.D.
 2   purports to show the low, medium and high estimates
 3   for the number of containers Mr. Gref may have used
 4   of various products?
 5                    MR. KRAMER:         Form.
 6          A.        I don't know what document you're
 7   talking about, especially when you're talking about
 8   purports to show, that's confusing me.
 9          Q.        Did you create a document where you
10   estimated the number of containers that Mr. Gref may
11   have used for any particular product?
12          A.        I did not create a document related to
13   the number of containers.
14          Q.        Did someone else create a document that
15   they shared with you relating to the number of
16   containers that Mr. Gref may have used?
17          A.        There was a document, it was part of the
18   exposure testimony summary or the number of bottles,
19   yes.
20          Q.        In your report, do you reference a test
21   that Dr. Longo did on a Clubman container that
22   Mr. Gref claims to have owned?
23          A.        If I recall correctly, I'm not a time
24   traveler, I wrote this report in 2021 and if
25   Dr. Longo tested the container in 2022, I am not

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 1                      Jacqueline Moline, M.D.
 2   clairvoyant and did not know what Dr. Longo's report
 3   several months later would find.                It is not
 4   referenced in my report because it was done after my
 5   report was completed.
 6         Q.        When is the first time you saw
 7   Dr. Longo's report on the test that he did on the
 8   Gref container?
 9         A.        I don't know exactly.              At some point I
10   have it with me, it was provided to me with
11   additional documents.          It was provided to me, it
12   looks like it was provided to me on August 9th.                         I
13   might have seen it before that, but it was provided
14   to me by Mr. Kramer's firm.              I have a cover letter
15   stating, enclosed I find -- here's one folder
16   containing this, which included the Clubman talc,
17   testing by Dr. Longo for the compiled notebook.
18         Q.        Did you read and consider the Longo
19   report on the Gref container that you received in
20   August?
21         A.        I did and now I'm looking for that
22   report.
23         Q.        We can display the Longo report.                    So,
24   it's fair to say you didn't express any opinions in
25   your report about Dr. Longo's testing because it was

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 1                         Jacqueline Moline, M.D.
 2   done after your report, right?
 3           A.         Correct.
 4           Q.         And you've not done any type of
 5   supplemental report to reflect any impact on your
 6   opinions that the Longo tests may have had, right?
 7           A.         You're speaking like a New Yorker,
 8   Mr. Thackston, that was really fast.                     Can you repeat
 9   that?
10           Q.         Did you do any supplemental report
11   reflecting any impact that Dr. Longo's document may
12   have had on your opinions?
13           A.         I don't believe I did a supplemental
14   report in this case.
15           Q.         Do you know the vintage of the container
16   that Dr. Longo tested?
17                      MR. KRAMER:         Objection to form.
18                      MR. THACKSTON:           We'll make that
19   Exhibit 22.        Correct me if I've got the numbers
20   wrong.
21                      (Whereupon, photograph of MAS Project
22   M71373, Pinaud Clubman container was received and
23   marked Moline Exhibit 22, for identification, as of
24   this date.)
25           Q.         The photograph on the Longo test report

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 1                      Jacqueline Moline, M.D.
 2   MAS project M71373 Talcum Powder Analysis for the
 3   Brian Gref's Pinaud Clubman Talc Container.
 4                   Do you see that photograph on the
 5   screen?
 6         A.        I do.
 7         Q.        Do you know the vintage of that
 8   container?
 9                   MR. KRAMER:         Objection to form.
10         A.        No, I do not.
11         Q.        Have you reviewed the testimony of the
12   representative of American International Industries
13   taking in this case, Mr. Loveless?
14         A.        In this particular case, no.
15         Q.        If I told you that Mr. Loveless
16   testified that this particular container design was
17   used in 2019 -- 1999, do you have any reason to
18   disagree with that?
19         A.        I can't comment one way or the other.
20         Q.        Do you know how much talc remained in
21   this container when it was turned over to plaintiff's
22   counsel?
23         A.        I don't know how much was in there.                     I
24   know how much Dr. Longo used in his sample.                      Since I
25   was not part of the analysis, I don't have any other

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 1                        Jacqueline Moline, M.D.
 2   way of knowing apart from what is contained in his
 3   report.
 4           Q.        Dr. Longo concluded that there were
 5   no -- he could find no amphibole asbestos in this
 6   container, right?
 7                     MR. KRAMER:         Objection to form.
 8           A.        He did not detect any in this powder,
 9   correct.
10           Q.        What he found that he felt might be
11   asbestos was chrysotile asbestos, right?
12                     MR. KRAMER:         Form.
13           A.        I would disagree with your
14   characterization of what he thought he found.                         He
15   found chrysotile asbestos in his opinion and he
16   states the reasons why it is chrysotile.
17           Q.        But haven't you previously testified
18   that you're not a fiber identification expert, you
19   have to defer to their opinions about what they say
20   they found, you can't evaluate it one way or another,
21   fair?
22                     MR. KRAMER:         Objection to form.
23           A.        That is correct.            I was referring to
24   your phrasing of that I did not feel was my
25   recollection of reading this report.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Let's flip through Dr. Longo's report.
 3   He says that he relies on some work by Dr. Su, S-u;
 4   are you familiar with that?
 5         A.        What page?
 6         Q.        Are you familiar with Dr. Su?
 7         A.        What page?        I know a lot of Dr. Su's.
 8         Q.        Are you independently familiar with the
 9   methods that Dr. Longo says that he followed?
10         A.        No.
11         Q.        Have you reviewed the reports, the
12   report in this case of Dr. Gunter?
13         A.        I have not.
14         Q.        Let me ask you a hypothetical.                   If
15   Dr. Longo says that he relied upon the work of Dr. Su
16   and Dr. Su says Dr. Longo is dead wrong; would you
17   believe Dr. Su or Dr. Longo?
18                   MR. KRAMER:         Objection to form, calls
19   for hearsay, elicits an opinion by a witness not in
20   this case, characterization.
21         A.        I can't comment on a hypothetical of a
22   person I don't know compared to a person I do know.
23   I'm not comfortable answering that question just
24   because I don't know one of the people that you're
25   asking me whose opinion I believe more strongly.

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 1                      Jacqueline Moline, M.D.
 2         Q.        I've asked you previously if you knew in
 3   the context of microscopes what PLM is and you
 4   weren't familiar with that term, were you?
 5         A.        PLM, I'm not a microscopist, I'm
 6   familiar with the term, but I'm not familiar with the
 7   methodology behind it.
 8         Q.        You do know what it stands for?
 9         A.        I didn't realize this was a quiz on
10   acronyms.    The M is for microscope and I believe it's
11   light and it may be phase light microscope, but I'm
12   not exactly sure.        I'm not a microscopist.
13                   If you want to go down the acronym
14   route, I can give you all sorts of medical acronyms
15   you'll never figure out.            Every profession has its
16   acronyms.
17                   MR. THACKSTON:           Object to
18   responsiveness.
19         Q.        Is your testimony though that you read
20   and relied upon Dr. Longo's report?
21                   MR. KRAMER:         Asked and answered.
22         A.        I read Dr. Longo's report and I relied
23   on his findings, yes.
24         Q.        What color is chrysotile under the PLM?
25                   MR. KRAMER:         Objection, lacks foundation

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 1                      Jacqueline Moline, M.D.
 2   and outside the scope.
 3         A.        Unfortunately, my copy of the report is
 4   in black and white, so I couldn't tell you what color
 5   it is and I would not comment on the various colors
 6   because I am not an expert in microscopy or in the
 7   spectroscopy colors.
 8         Q.        Dr. Longo -- well, Dr. Longo did not do
 9   any air sampling tests with the container as far as
10   you know, did he?
11         A.        As far as I know, he did not, he did a
12   bulk sample.
13         Q.        You have not attempted to do an estimate
14   of what exposures Mr. Gref may have had from any
15   asbestos contamination of Clubman talc, have you, in
16   terms of a number?
17         A.        I have based on the number of -- based
18   on the number of minutes that it was used on him or
19   he used it, I have a -- and using the dose
20   calculations that I have used in other cases, I have
21   a fiber per cc year number.
22         Q.        What scientific information are you
23   using to opine about what an exposure level would
24   have been when Mr. Gref used -- if he used Clubman
25   talc in the way that he described?

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 1                      Jacqueline Moline, M.D.
 2         A.        I'm using the published literature with
 3   respect to the amount of asbestos that becomes
 4   airborne from various studies and the average of the
 5   various studies that have been published that have
 6   used -- that have looked at dosage, the number of
 7   minutes of application.
 8         Q.        Does your report describe that process?
 9   Let me withdraw the question.
10                   Does your report identify the air sample
11   study that you are relying upon for any opinion
12   regarding Mr. Gref's exposure to asbestos from using
13   Clubman talc?
14                   MR. KRAMER:         Form, mischaracterizes.
15         A.        My report identifies the studies that I
16   used, well, two out of three of them, yes.
17         Q.        What are the three?
18         A.        The Gordon paper, the Stefan paper and
19   the Andersson paper.
20         Q.        If we flip to the end of Dr. Longo's
21   report, would you agree that what he found was what
22   he thought was chrysotile at a level of something
23   like 0.006 percentage?
24                   MR. KRAMER:         Speaks for itself.
25         A.        If you're asking me for the number,

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 1                      Jacqueline Moline, M.D.
 2   either you show it or you give me time to find it;
 3   which do you want?         I'm not going to give you a
 4   specific number without confirming it.
 5         Q.        I'll rephrase without the specific
 6   number.    Would you agree that Dr. Longo's test of the
 7   Gref Clubman container concluded that there was trace
 8   contamination with chrysotile asbestos?
 9                   MR. KRAMER:         Objection to form.
10         A.        It depends.         If an 11-ounce bottle
11   containing 82 million chrysotile fibers is considered
12   trace in terms of human health, that's what
13   Dr. Longo's report says based on his findings.                          In
14   terms of percentage of fibers within the bottle, it
15   would be less than one percent, which some people
16   define as trace.
17                   MR. THACKSTON:           Object to
18   responsiveness.
19         Q.        On page 15 of Dr. Longo's report he
20   gives a percentage, he claims that he found an
21   average of 264,000 chrysotile bundles per gram of
22   talcum powder, right?
23         A.        I don't see the word "claim".                   He said
24   the average bundle results show an average of
25   264,000.

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 1                         Jacqueline Moline, M.D.
 2         Q.           Would you agree that he's not actually
 3   counting 264,000 bundles?
 4                      MR. KRAMER:         Objection, outside the
 5   scope.
 6         A.           You have to ask Dr. Longo that question.
 7         Q.           You don't know whether he counted one
 8   and extrapolated or whether he actually counted
 9   264,000?
10                      MR. KRAMER:         Assumes facts, outside the
11   scope.
12         A.           That's a question for Dr. Longo on how
13   he came up with that number.
14         Q.           What other -- what tests are you aware
15   of where someone took a product that was alleged to
16   contain less than one percent of chrysotile asbestos
17   in cosmetic talc and determine how much someone would
18   breathe when they used the talc?
19                      MR. KRAMER:         Form.
20         A.           The tests I'm aware of have had mixed
21   exposure to different fiber types.                    I don't know if
22   they've been chrysotile only.                  There's certainly --
23   I'm unaware of any that have looked specifically at
24   the question you have just posed.
25         Q.           You're not aware of any -- the three

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 1                         Jacqueline Moline, M.D.
 2   studies you talk about, none of them used Clubman
 3   talc, did they?
 4                      MR. KRAMER:         Form, calls for
 5   speculation.
 6         A.           They did not.
 7         Q.           None of them used, as far as you know
 8   none of them used talc from the same Montana mines of
 9   the same grade, MicroTalc 1745 that Clubman used,
10   right?
11                      MR. KRAMER:         Same objection.
12         A.           My understanding is that two of the
13   articles used blends that included talc from Montana.
14         Q.           Included talc from other locations too
15   like Italy, right?
16         A.           Correct.
17         Q.           And you believe Italian talc is
18   contaminated with asbestos, right?
19         A.           Yes.
20         Q.           Tell me what article you would rely upon
21   -- each time -- do you have any document where you
22   reflect what your analysis is of what you believe
23   Mr. Gref's exposure would have been to asbestos from
24   his use of Clubman talc?
25         A.           I'm sorry.        What was the question?

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 1                      Jacqueline Moline, M.D.
 2         Q.        Where would I find -- if you have an
 3   opinion on the level of asbestos that Mr. Gref would
 4   have inhaled when he used cosmetic talc, Clubman
 5   talc, where would I find that?
 6         A.        You would find it perhaps in other legal
 7   documents where I've included a dose estimate in
 8   other cases.
 9         Q.        But not for Mr. Gref, right?
10         A.        Not for Mr. Gref.
11         Q.        You would agree with me that before
12   someone can breathe the trace contamination, they
13   would have to inhale the talc, right?
14                   MR. KRAMER:         Objection to form.
15         A.        That's presupposing that the talc
16   doesn't just go in and they didn't breathe in the
17   talc, maybe they just breathed in the asbestos and
18   not the talc.      I mean I wasn't there at the time they
19   were using the talc and breathing it in.                     They would
20   have to be using a talc that has the asbestos in it
21   in order to breathe it in.
22         Q.        To inhale the asbestos, trace levels of
23   asbestos in the talc, they would first have to inhale
24   the talc, right?
25                   MR. KRAMER:         Objection to form.

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 1                         Jacqueline Moline, M.D.
 2          A.          They're separate entities within the --
 3   they would have to inhale the overall powder that
 4   contains both talc and asbestos, yes.
 5          Q.          When was the first time that that case
 6   report that you mentioned from -- the 1994 case
 7   report that you mentioned of the 17-year-old with
 8   peritoneal mesothelioma, when was the first time that
 9   you learned about that?
10          A.          I have no idea.           It was a long time ago.
11          Q.          Was it before 2003?
12          A.          I don't think I saw it until the late
13   2000s.
14          Q.          You testified about causation and
15   mesothelioma cases hundreds of times without ever
16   mentioning cosmetic talc as a possible cause, didn't
17   you?
18                      MR. KRAMER:         Objection to form, vague.
19          A.          I'm asked the questions, I answer the
20   questions that I'm asked in a case, so I testified in
21   many different types of asbestos exposure scenarios,
22   many of which did not have cosmetic talc.
23          Q.          But you testified in one where the
24   plaintiff was a professional barber for 50 years and
25   used cosmetic talc, and in that case you did not give

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 1                         Jacqueline Moline, M.D.
 2   the opinion that cosmetic talc had anything to do
 3   with his mesothelioma, right?
 4                      MR. KRAMER:         Objection, calls for
 5   speculation and mischaracterizes, vague, ambiguous.
 6         A.           I think you're referring to a case from
 7   2005 or somewhere along those that you've asked me
 8   questions about on several occasions and the answer
 9   is I did not -- I did not discuss the cosmetic talc
10   use in that instance.
11         Q.           Based on what you knew as a medical
12   doctor and an expert witness on mesothelioma
13   causation in, I believe it was in 2003 when you wrote
14   the report for a professional barber of 50 years, you
15   did not attribute his mesothelioma to cosmetic talc,
16   did you?
17                      MR. KRAMER:         Objection to form.
18         A.           In 2003 I did not.             I did not have
19   information that had subsequently been made available
20   to me.
21         Q.           Well, you had information like all of
22   the public cases, public articles about talc and
23   whether talc really causes disease, didn't you?
24                      MR. KRAMER:         Objection to form.
25         A.           I had the case reports that were

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 1                      Jacqueline Moline, M.D.
 2   published in the 1990s available to me, but I had --
 3   they were available, I don't know if I looked at them
 4   at that point.
 5         Q.        What article -- going back to your
 6   report.    What article would you or scientific
 7   literature would you rely upon for a opinion that
 8   chrysotile contamination of cosmetic talc has ever
 9   been linked to peritoneal mesothelioma?
10                   MR. KRAMER:         Form.
11         A.        I don't know if there is a specific
12   article that has that level of specificity.                      There
13   certainly are articles that talk about chrysotile
14   asbestos causing mesothelioma.
15                   As we stated earlier today, there aren't
16   a lot of articles about the role of cosmetic talc.
17   As the knowledge and information has evolved over the
18   past years in terms of what documents have become
19   available and what testing methodologies are now
20   used, there have been discussions of -- Kanarek talks
21   about chrysotile and peritoneal mesothelioma
22   specifically in an article, I don't remember what
23   year it was.     I don't know if it was 2013 or 2014.
24                   I know that chrysotile was discussed in
25   the Creighton article as a cause of peritoneal

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 1                         Jacqueline Moline, M.D.
 2   mesothelioma.
 3                      I don't know if in the Welch article
 4   that I was speaking about earlier with the
 5   college-educated individuals with peritoneal
 6   mesothelioma that there was a specification.
 7                      Certainly other articles talk about
 8   chrysotile.        It's been found in the Chinese cohorts
 9   of chrysotile only that peritoneal mesothelioma is
10   there.
11                      MR. THACKSTON:           Object to
12   responsiveness.
13         Q.           What article talks about chrysotile
14   asbestos causing peritoneal mesothelioma at the
15   levels that someone might be exposed to chrysotile if
16   it's a contaminate of cosmetic talc?
17                      MR. KRAMER:         Form, asked and answered.
18         A.           You're parsing down into a specific
19   hypothesis or a specific phrase when I'm not sure
20   there exists one in the medical literature.
21                      MR. KRAMER:         Counsel, we have now
22   exceeded the seven-hour mark by my clock.                        It's now
23   12:37.     Do you have a last question you want to ask
24   before I begin my follow-up?
25                      MR. THACKSTON:           I have a lot of

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 1                      Jacqueline Moline, M.D.
 2   questions I would like to ask.
 3                   MR. KRAMER:         I'm sure you do, but is
 4   there one last one you're going to be asking today?
 5                   MR. THACKSTON:           No, I'm not going to ask
 6   the last question today.            I'm going to ask the Court
 7   for more time.       I think any questions you ask,
 8   anything that I ask by way of follow-up is not part
 9   of the seven hours, and I plan to ask the Court to
10   continue my examination for a lot of reasons.
11                   MR. KRAMER:         Dr. Moline --
12                   MR. THACKSTON:           We can wait until you
13   get a ruling on that and then do yours or you can do
14   yours now and then I'll cross-examine based on what
15   you do, and then we can find out whether I'm going to
16   get additional time for discovery, or as you see fit.
17                   I don't think we're going to agree on
18   the record today about how we're going to resolve the
19   issue about whether we get more time.
20                   MR. KRAMER:         I agree with that.             I think
21   the Court will determine, if you chose to seek leave,
22   whether or not you are successful in that.                      I'm going
23   to follow up based on the two days of testimony in
24   the record so for however.
25

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 1                         Jacqueline Moline, M.D.
 2   EXAMINATION BY
 3   MR. KRAMER:
 4         Q.           Dr. Moline, are you okay to continue
 5   very briefly?
 6         A.           Yes.
 7         Q.           You were asked questions on day one
 8   regarding your capability of performing a dose
 9   estimate or dose calculation as you talked about
10   today.     Do you recall that?
11         A.           Yes.     I mean I recall in general I was
12   asked a number of questions about that, yes.
13         Q.           The methodology that you employed to
14   perform that dose estimate, can you describe it?
15         A.           It's basically looking at an average of
16   the published literature with respect to measurable
17   asbestos, averaging them out into one value for
18   application using a shaker method or a puff method,
19   whatever is applicable, and then looking at the
20   number of instances where a particular product is
21   used and the amount of time that is estimated for how
22   long it took to use that particular product, and then
23   doing simple arithmetic, then comparing it to the
24   published literature with respect to fiber per cc
25   years and using it as a standard and occupational

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 1                      Jacqueline Moline, M.D.
 2   year of 2,000 hours to come up with a fiber per cc
 3   year number based on the overall exposure, which then
 4   allows me to compare to existing literature where
 5   levels of exposure that have been associated with
 6   mesothelioma or increased risk of mesothelioma occur.
 7         Q.        Based on your education, knowledge,
 8   research, background and training, is it from a
 9   medical perspective necessary to perform this dose
10   estimate in order to conclude that one's exposure to
11   asbestos contributed to that person's
12   asbestos-related disease?
13                   MR. THACKSTON:           Object to form, leading.
14         A.        No, it's not necessary to do it, and, in
15   fact, it's an absolute estimate because it's an
16   underrepresentation of the exposure because we're not
17   including things like area measures, which have been
18   shown to have asbestos that is persistent in the air
19   after a particular usage, that isn't included, it
20   doesn't include additional exposure if there's
21   cleanup, whether it's sweeping or toweling or
22   vacuuming up the excess talcum powder in this case.
23                   So, it's not a full estimate of the full
24   exposure because no one is wearing a dosimeter when
25   they're applying or cleaning up the talc.

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 1                      Jacqueline Moline, M.D.
 2         Q.        The steps that you testified about a
 3   couple of moments ago, were you able to utilize those
 4   to calculate a conservative dose estimate based on
 5   the evidence in this case?
 6                   MR. THACKSTON:           Objection.
 7         A.        Yes.
 8         Q.        Can you please provide your results of
 9   that dose estimate?
10         A.        I calculated based on Mr. Gref's
11   exposure from 1982 to 2010, I stopped at 2010, that
12   his overall or his cumulative exposure was .22 fiber
13   per cc years.
14         Q.        His cumulative exposure you said was
15   .225 fiber per cc years?
16         A.        It was 0.22 fiber per cc years.
17         Q.        Thank you.        Did you perform any other
18   calculations aside from the cumulative conservative
19   dose estimate?
20         A.        Well, what went into it were the
21   different products that either were used on him or he
22   used over the years.
23         Q.        Are you able to further specify any
24   calculations you performed with regard to those
25   individual products?

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 1                      Jacqueline Moline, M.D.
 2         A.        Yes.
 3         Q.        Can you please do so.
 4         A.        The Clubman was 0.034 fiber per cc
 5   years, English Leather was 0.034 fiber per cc years,
 6   Mennen was 0.04 fiber per cc years, Old Spice was
 7   0.034 fiber per cc years, and Johnson & Johnson and
 8   Shower to Shower, which I included together since
 9   they use the same talcum powder or they use the same
10   sourcing, was 0.07 fiber per cc years.
11         Q.        Do you have an opinion as to
12   individually whether each of those products
13   substantially contributed to Mr. Gref's mesothelioma?
14         A.        Yes, they all contributed.
15                   MR. THACKSTON:           Form.
16         Q.        The numbers that you mentioned, are
17   those supported by numbers evaluating increased risk
18   for disease in the literature that you cited?
19         A.        Yes.
20                   MS. LAWLER:         Object to form.
21         Q.        Thanks, Dr. Moline.             I think that's all
22   I have.
23         A.        Okay.
24                   MR. KRAMER:         Understanding what
25   Mr. Thackston already stated on the record, I think

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 1                      Jacqueline Moline, M.D.
 2   we're done.
 3                   VIDEOGRAPHER:          Mr. Thackston, are you
 4   going to cross?
 5                   MR. THACKSTON:           Yes, my position will be
 6   that I'm entitled to cross not subject to any time
 7   limitation, which will basically going back through
 8   all the studies that she claims to rely on, et
 9   cetera.
10                   MR. KRAMER:         Okay.      I look forward to
11   reading that to your motion to lead.
12         A.        Mr. Kozak, you're muted.
13                   MS. KOZAK:        Does this work.
14                   MR. KRAMER:         Yes.
15         A.        It always did, you just had to unmute.
16   Now you're muted again.
17                   MR. KRAMER:         We can't hear you.
18                   MS. KOZAK:        Two devices I have.              I have
19   the telephone and I have the iPad.
20                   Jim, I have just a couple of questions
21   based on the questions you just asked.
22   EXAMINATION BY
23   MR. KOZAK:
24         Q.        Dr. Moline, can you hear me okay?
25         A.        Yes, but how much time is this going to

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                                 JA827
                                                                      Page 298

 1                       Jacqueline Moline, M.D.
 2   be, a couple of questions, a couple of legal
 3   questions, a couple of lawyer questions?                      Are they
 4   real questions or are you going to be here for half
 5   an hour because I'm not going to do that?
 6          Q.        It's just based on the questions that
 7   Mr. Kramer just asked.
 8                    Dr. Moline, Mr. Kramer just asked you a
 9   beginning question that was, would you please
10   describe your methodology.              Do you remember that?
11          A.        Yes.
12          Q.        You provided a list of items.                   Do you
13   recall that?
14          A.        Yes.
15                    MR. KRAMER:         Form.
16          Q.        Is there a name for that methodology?
17          A.        It's my dose calculation methodology.                    I
18   haven't coined it or trademarked it or patented it
19   yet.
20          Q.        Can we find that methodology with those
21   steps anywhere in the scientific literature?
22          A.        I have not submitted a paper with such
23   methodology.
24          Q.        Is there anything in the scientific
25   literature that's anywhere close to the steps that

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                                                                     Page 299

 1                      Jacqueline Moline, M.D.
 2   you just listed?
 3                   MR. KRAMER:         Objection to form.
 4         A.        I don't know.          I haven't looked at it
 5   from that standpoint.          I've been asked to perform
 6   these dose calculations for a number of cases in
 7   certain jurisdictions where it's required, and that's
 8   the methodology that I use consistently since I was
 9   asked to do those.
10         Q.        I thought your methodology was by
11   following the Welch steps.             Are you saying this
12   methodology that you just listed for Mr. Kramer is
13   different or the same?
14                   MR. KRAMER:         Objection,
15   mischaracterizes.
16         A.        They're two different issues, one is
17   talking about causality and one is a methodology to
18   calculate a number based on frequency, time and
19   exposure.
20         Q.        So, the one that you listed for
21   Mr. Kramer is the frequency, time and exposure,
22   that's what you're calling it?
23         A.        No, I'm calling it --
24                   MR. KRAMER:         Objection.
25         A.        -- dose estimate.

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 1                      Jacqueline Moline, M.D.
 2         Q.        Is that methodology that you just
 3   described, the steps that you described for
 4   Mr. Kramer, is that used by anyone that you can
 5   identify, either a federal agency, a doctor, a
 6   hospital, anybody that you can think of that you can
 7   name that also uses those steps to determine what you
 8   outlined in terms of the dose, conservative dose that
 9   you described?
10         A.        I haven't looked for that.
11                   MR. KRAMER:         Form.
12         A.        I'm sure that there are individuals in
13   cases in Texas where it's required, other doctors,
14   other individuals who have used a similar
15   methodology, but I haven't read other experts'
16   reports to be able to comment on it.
17         Q.        So, there is no one else that you can
18   think of that you can identify for us or for the
19   Court that uses that methodology or those steps that
20   you just outlined?
21                   MR. KRAMER:         Form, misstates,
22   mischaracterizes, asked and answered.
23         A.        I am not familiar with anyone else who
24   is using that methodology.
25         Q.        Is there an error rate for that

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                                                                       Page 301

 1                        Jacqueline Moline, M.D.
 2   methodology, like how many times it's wrong or how
 3   many times it's right using those steps?
 4                     MR. KRAMER:         Form, assumes facts.
 5           A.        I haven't done a statistical analysis on
 6   how many times I didn't put the numbers wrong.                            I
 7   usually confirm it.
 8                     You said you had a couple of questions
 9   and you've asked me about 15, so are we going to
10   continue this much longer?
11           Q.        Was there an answer to my question?
12                     MR. KOZAK:        Can I have the answer read
13   back.
14           A.        I said I have not done --
15                     MR. KRAMER:         Chris, she did answer the
16   question.      The record will speak for itself.
17           Q.        Doctor, if the Court is to question or
18   ask how do we know if the steps you just outlined are
19   reliable, how would you answer that?
20                     MR. KRAMER:         Objection, calls for a
21   legal conclusion and calls for speculation.                        I don't
22   think you have to answer that.                 That makes no sense
23   in terms of your opinion and goes beyond the scope.
24           Q.        Doctor, is it your contention that the
25   steps you just outlined have been approved or

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                                                                     Page 302

 1                      Jacqueline Moline, M.D.
 2   verified by any Court?
 3                   MR. KRAMER:         Objection, calls for
 4   speculation, and form.
 5         A.        My understanding is it's been used in --
 6   the methodology has been -- the same methodology has
 7   been used and accepted in courts in Texas.
 8         Q.        Can you tell us the name of any case in
 9   a court in Texas where this methodology has been
10   discussed or used?
11         A.        I don't often speak to the courts.                      I
12   have not, I have not testified in a courtroom in
13   Texas where I have been asked questions by the Court,
14   but I know I have submitted reports that have been in
15   the Texas jurisdiction where the same dose
16   calculation methodology has been used.
17         Q.        Thank you.
18         A.        It was also, actually, in New York State
19   it was used in a case that was before a judge
20   recently in a case, the same methodology.
21         Q.        Was it the Woods case?
22         A.        Yes.     It did not go to trial, but it was
23   used and presented to the judge.
24         Q.        The Court did not make a ruling,
25   correct?

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                                                                     Page 303

 1                      Jacqueline Moline, M.D.
 2         A.        I do not know.
 3                   MR. KRAMER:         Objection.
 4         A.        You're asking legal questions.
 5         Q.        I just want to know just to be clear.
 6   Is there any Court that you're aware of that has ever
 7   ruled on the methodology that you outline for
 8   Mr. Kramer?
 9                   MR. KRAMER:         Asked and answered.
10         A.        Again, my understanding is in Texas, but
11   I do not know.       These are legal questions that are
12   beyond my scope as a person who provides information
13   but does not do legal briefings.
14         Q.        Thank you.
15                   VIDEOGRAPHER:          This concludes today's
16   testimony given by Dr. Jacqueline Moline.
17                   MR. THACKSTON:           Hang on.
18                   VIDEOGRAPHER:          Sorry.      Go ahead.        My
19   apologies.
20                   MR. THACKSTON:           I obviously have
21   follow-up for questions that you asked.                    I thought
22   you were cutting off all questioning, but just like
23   Chris asked, I have follow-up on the opinions you
24   solicited.    I don't think those are subject to a
25   seven-hour limit.

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                                                                     Page 304

 1                      Jacqueline Moline, M.D.
 2                   MR. KRAMER:         I do considering that she
 3   put the parties on notice of the calculations during
 4   the course of the three hours we've gone today.
 5                   If you have five minutes worth of brief
 6   follow-up on that, I think that's reasonable; if
 7   you're going to go in, as you said before, to an
 8   extensive line on every single article that she's
 9   mentioned both here and in other cases, I think
10   that's not reasonable, but you can make the decision.
11                   MR. THACKSTON:           I'll proceed until you
12   stop me.
13   FURTHER EXAMINATION
14   BY MR. THACKSTON:
15         Q.        Dr. Moline --
16                   MR. THACKSTON:           There are others on the
17   phone who may have questions too.
18         Q.        Dr. Moline, you gave for the first time
19   in your direct testimony an opinion that you believe
20   that Mr. Gref's use of Clubman would have resulted in
21   an exposure of 0.034 fibers per cc; is that right?
22         A.        No.
23         Q.        I'm sorry.
24         A.        You didn't give the right units.
25         Q.        What's the number for Clubman?

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                                                                        Page 305

 1                         Jacqueline Moline, M.D.
 2         A.           It's 0.034 fiber per cc year.                   The year
 3   is important here because it's how it's calculated.
 4         Q.           Are you assuming that when Mr. Gref used
 5   Clubman that there was a particular level of fiber
 6   inhalation associated with that?
 7         A.           It's using an average of 1.49 fibers per
 8   cc.
 9         Q.           What was the number?
10         A.           1.49 fibers per cc.
11         Q.           That's based on the three studies that
12   you told us about for, Gordon, Fitzgerald, Egilman
13   and Andersson?
14                      MR. KRAMER:         Objection.
15         A.           Those aren't the articles -- those
16   aren't the authors that I used.                   It's Stefan is the
17   lead author of one of the papers, Gordon is the lead
18   author of the other paper, and Andersson is the
19   third.
20         Q.           And none of those were using a cosmetic
21   talc with trace levels of chrysotile that they allege
22   had chrysotile in the ranges that Dr. Longo says that
23   he found in the Gref sample, right?
24                      MR. KRAMER:         Objection to form.
25         A.           My recollection is in the Gordon paper

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                                                                     Page 306

 1                      Jacqueline Moline, M.D.
 2   there was -- I don't know if they commented on
 3   chrysotile.     I don't know if Andersson did.                   I think
 4   the -- I don't believe the Stefan paper talked about
 5   chrysotile.
 6         Q.        Using the protocol that they said that
 7   they followed in the Gordon, well, in all three of
 8   those papers, they would not have counted anything
 9   doctor -- would they have counted anything Dr. Longo
10   found in the Gref study as a countable fiber?
11                   MR. KRAMER:         Objection, outside the
12   scope, calls for speculation.
13         A.        I don't know how to answer that
14   question.    They were using different methodologies in
15   how they were assessing the asbestos.                   They weren't
16   looking for chrysotile specifically.
17         Q.        The Gordon study was done specifically
18   to replicate facts from a litigation case, wasn't it?
19                   MR. KRAMER:         Objection.
20         A.        I don't know if it was -- it was to
21   replicate the usage of the powder.                 I don't know if
22   it was specific to that case.               It was usage and they
23   did both shaker and puff applications and looked at
24   the differences or looked at the amount of exposure
25   from or the air levels, I'm sorry, related to each

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 1                      Jacqueline Moline, M.D.
 2   type of exposure.
 3         Q.        Was it with Colgate-Palmolive?                   Do you
 4   know what the product was that was used in the
 5   Gordon/Fitzgerald test?
 6         A.        Yes, it was a Colgate-Palmolive product.
 7         Q.        Do you know of any study that has
 8   concluded that someone that experienced an exposure
 9   level of 0.034 fibers per cc of chrysotile contracted
10   peritoneal mesothelioma?
11                   MR. KRAMER:         Objection to form.
12         A.        If we look at both Rodelsperger and
13   Jiang where they have levels that range from zero to
14   .15 and Rodelsperger, which was a mixed exposure and
15   Jiang, which was chrysotile only, which was zero
16   to .5 fiber per cc years, they have an increased risk
17   and included both pleural and peritoneal.
18         Q.        Your testimony is that if I were to look
19   at those two studies that I would find a level
20   commensurate with 0.034 fiber per cc years of
21   chrysotile only has been linked to peritoneal
22   mesothelioma?
23         A.        My recollection of the Jiang paper,
24   which is chrysotile only, they had an increased risk
25   of mesothelioma, and my understanding is that it

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                                 JA837
                                                                     Page 308

 1                      Jacqueline Moline, M.D.
 2   included both pleural and peritoneal.                   I don't have a
 3   recollection of the breakdown between the risk for
 4   pleural or peritoneal and don't know if they did that
 5   in that particular paper.
 6         Q.        Is that paper referenced in your report?
 7         A.        I don't know if that specific paper is,
 8   but it's on my reference list, which was attached to
 9   the report.
10         Q.        There were 500 -- didn't you say there
11   were over 500 articles on your reliance list?
12         A.        Well, I'm giving you the name of the
13   author so you can look at it, it's Jiang, J-i-a-n-g.
14         Q.        Do you know the title?
15         A.        I believe it's Hand-spinning chrysotile
16   exposure and risk of malignant mesothelioma:                       A
17   case-control study in Southeastern China.
18         Q.        That's a case involving people that
19   worked in a chrysotile manufacturing facility?
20                   MR. KRAMER:         Objection, article speaks
21   for itself.
22         A.        It's from individuals with chrysotile
23   exposure who were working in a factory or a facility
24   that used chrysotile and textiles.
25         Q.        You're talking about somebody using

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                                                                     Page 309

 1                      Jacqueline Moline, M.D.
 2   chrysotile as a raw material to manufacture products,
 3   not somebody who's alleging that it was a trace
 4   contaminate of cosmetic talc, right?
 5                   MR. KRAMER:         Objection to form.
 6         A.        I'm speaking about -- I'm using the
 7   article because it's chrysotile.                The exposure
 8   scenario doesn't matter, but one was using cosmetic
 9   talc and one was exposed in the workplace.
10         Q.        You certainly haven't made any
11   comparison between the kind of chrysotile they were
12   using in China to Clubman versus the kind of trace
13   contamination of Montana talc that Longo claims to
14   find, have you?
15                   MR. KRAMER:         Objection to form.
16         A.        I don't know what you're asking me.                     Are
17   you asking me have I compared the fibers themselves
18   to see if they're both chrysotile?
19         Q.        Have you compared what product was used
20   in the Jiang Chinese manufacturing facility versus
21   what Dr. Longo says he found in the Clubman
22   container?
23                   MR. KRAMER:         Assumes facts.
24         A.        If you're asking if I compared
25   microscopic appearance of chrysotile, I have not.

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                                 JA839
                                                                     Page 310

 1                      Jacqueline Moline, M.D.
 2   That's not my area of expertise.                I'm just relaying
 3   that it was both chrysotile.
 4         Q.        I'm asking you if you considered
 5   whether, to use your term from your report, that
 6   agent at issue in this case is the same as the agent
 7   at issue in the report that you cited, and you made
 8   no comparison between whatever kind of chrysotile
 9   they were using in China with whatever kind of
10   chrysotile Dr. Longo says he found in Clubman, right?
11                   MR. KRAMER:         Assumes facts, asked and
12   answered.
13         A.        I don't understand.
14                   MR. KRAMER:         Misstates,
15   mischaracterizes.
16         A.        I'm sorry, Mr. Kramer.               I don't
17   understand what difference you're trying to impune.
18   I'm saying that they're both chrysotile exposures and
19   that's the agent that's at issue.                 Whether there's
20   other findings in the ore of amphiboles as well in
21   the Montana ore or not that may also have been found,
22   but with respect to Dr. Longo's report, the agent is
23   chrysotile.
24                   MR. THACKSTON:           I'm going to attach as I
25   think it's number 23 the Jiang article.                    It's called

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                                                                        Page 311

 1                         Jacqueline Moline, M.D.
 2   2018 Hand-spinning chrysotile exposure and the risk
 3   of MM:     A case-control study.
 4                      (Whereupon, 2018 article by Jiang was
 5   received and marked Exhibit 23, for identification,
 6   as of this date.)
 7         Q.           It's your understanding that they make
 8   the statement that there's debate about whether
 9   chrysotile is even associated with the causation of
10   mesothelioma?
11                      MR. KRAMER:         Objection, the article
12   speaks for itself.
13         A.           I don't have the article in front of me,
14   and I think that the literature is -- among
15   scientific bodies there's not a dispute with respect
16   to chrysotile, among some authors there might be, but
17   among all governmental agencies and the consensus in
18   the larger scientific community, there is no dispute
19   about whether chrysotile causes mesothelioma.
20                      Are we done?
21                      MR. KRAMER:         The time is 1:04.            We're
22   going to be done.
23                      MR. THACKSTON:           I certainly have more
24   questions, but if you're going to terminate the
25   deposition, I can't question myself.

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                                    JA841
                                                                       Page 312

 1                        Jacqueline Moline, M.D.
 2                     MS. LAWLER:         This is Katherine Lawler
 3   for Mennen.       I will reserve my right to ask follow-up
 4   questions to Mr. Kramer's direct at the appropriate
 5   time.
 6                     MR. RUTKOWSKI:           This is David Rutkowski
 7   for Shulton.       I reserve our rights as well.                   Thank
 8   you.
 9                     MR. MCCAFFREY:           Also, Kevin McCaffrey.
10   I'll join reserving rights, thanks.
11                     MR. KOZAK:        Chris Kozak.          I join in
12   reserving rights.          We also didn't have an opportunity
13   to follow up after Mr. Thackston, we only followed up
14   after Mr. Kramer, so there's that as well.
15                     VIDEOGRAPHER:          Anything further?
16                     MR. KRAMER:         No, that's it.           This
17   concludes today's testimony given by Dr. Jacqueline
18   Moline.     The total number of media units used was
19   three and will be retained by Veritext.
20                     We are going off the record at 1:05 p.m.
21   Eastern Daylight Time.
22                     (Time Noted:         1:05 p.m.)
23
24
25

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 1
 2                        C E R T I F I C A T E
 3
 4   STATE OF NEW YORK          )
                                )      ss:
 5   COUNTY OF NEW YORK         )
 6
 7                   I, BRENDA FITZGERALD, a Shorthand
 8   Reporter and Notary Public within and for the State
 9   of New York, do hereby certify:
10                   That, Jacqueline Moline, M.D., the
11   expert witness whose DEPOSITION was held on September
12   23rd, 2022, as hereinbefore set forth, was duly sworn
13   by me, and that this transcript of such Examination
14   is a true and accurate record of the testimony given
15   by such witness.
16                   I further certify that I am not related
17   to any of the parties to this action by blood or by
18   marriage, and that I am in no way interested in the
19   outcome of this matter.
20                   IN WITNESS WHEREOF, I have hereunto set
21   my hand this 5th day of October 2022.
22
23                                     <%9485,Signature%>
                                       ___________________________
24
                                              BRENDA FITZGERALD
25

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 1                  WITNESS CERTIFICATION
 2
 3
 4      I have read the foregoing transcript of
 5   my testimony and find it to be true and
 6   accurate to the best of my knowledge and
 7   belief.
 8
 9
                    _______________________
10                  JACQUELINE MOLINE, M.D.
11
12
     Subscribed and sworn to
13
     before me on this _____
14
     day of ___________, 2022.
15
16
17   ________________________
          Notary Public
18
19
20                       *        *        *
21
22
23
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25

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                                  JA844
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 1                   ERRATA SHEET
          Priority-One Court Reporting/Veritext
 2                   718-983-1234
     ASSIGNMENT NO. P1-5418333
 3   CASE NAME: Gref, Brian v. Asbestos
     DATE OF DEPOSITION: 9/23/2022
 4   WITNESS' NAME: Dr. Jaqueline Moline Vol 2
 5
     PAGE/LINE(S)/     CHANGE           REASON
 6   ____/_______/_________________/__________
     ____/_______/_________________/__________
 7   ____/_______/_________________/__________
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18   ____/_______/_________________/__________
     ____/_______/_________________/__________
19   ____/_______/_________________/__________
20               ________________________
                   Dr. Jaqueline Moline Vol 2
21   (Notary not required in California)
     SUBSCRIBED AND SWORN TO
22   BEFORE ME THIS______DAY
     OF_______________, 2022.
23
     _______________________
24       NOTARY PUBLIC
25   MY COMMISSION EXPIRES__________________

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                             Exhibit 4




                                  JA878
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                                                                             Page 1

 1
 2                    UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK
 3                   CASE NO: 1:20-cv-05589-GBD-DCF
 4     ----------------------------------------------------x
       BRIAN JOSEPH GREF,                                    )
 5                              Plaintiff                    )
                                                             )
 6               -versus-                                    )
                                                             )
 7     AMERICAN INTERNATIONAL INDUSTRIES, individually and )
       as successor-in-interest for the CLUBMAN BRAND, and )
 8     To THE NESLEMUR COMPANY and PINAUD COMPANY, et al., )
                                Defendants.                  )
 9     ----------------------------------------------------x
10
11                    TRANSCRIPT of the Virtual Videotaped
12     Deposition of the witness, JACQUELINE MOLINE, MD,
13     taken by Defendant, called for Oral Examination in
14     the above-captioned matter, said deposition being
15     taken pursuant to Federal Rules of Civil Procedure
16     by and before, ELEANOR SEKULIC, a Notary Public on
17     Wednesday, July 6, 2022, commencing at 11:16 a.m.
18
19
20
21
                         PRIORITY-ONE COURT REPORTING, INC.
22                  290 West Mount Pleasant Avenue, Suite 2260
                          Livingston, New Jersey 07039
23                               (718) 983-1234
24
25     Job Number:      5276089

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                                      JA879
                                                                     Page 138

 1                          Jacqueline Moline, MD - Direct

 2   Q.          Okay.     The rest of it is the title of paper.

 3     Is that what I left out?

 4                                MR. DIMUZIO:        Objection to form.

 5   A.          And when it was published and where it was

 6     published, but, yes.

 7   Q.          Okay.

 8               So let's go through the steps real quick, if

 9     we can.       The first step is, was the person exposed

10     to a toxin?         And, for you, the toxin would be

11     whatever the carcinogenic agent would be, right?

12   A.          Correct.

13   Q.          And --

14   A.          Or -- no, it doesn't have to be -- it doesn't

15     have to be carcinogen.             It's a toxin.         Someone could

16     develop liver fibrosis if they're exposed to a toxic

17     agent.       So it doesn't say carcinogen anywhere there.

18   Q.          So it doesn't need to be a carcinogen to be

19     here?      Or no?      When we're talking about Mr. Gref and

20     your opinion in this case, does it have to be a

21     carcinogen?

22                                MR. DIMUZIO:        Objection.       Form.

23     Vague and ambiguous.

24   A.          Well, in this particular instance I'm talking

25     about asbestos, which is a carcinogen.                    But my point

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                                                                     Page 139

 1                          Jacqueline Moline, MD - Direct

 2     is, this is a methodology that can be used for

 3     non-carcinogenic toxins or toxicants as well.                        And

 4     it doesn't say was the individual exposed to a

 5     carcinogen?         It says were they exposed to a toxic

 6     agent?       Not all toxicities are cancers.                That was my

 7     point.

 8   Q.          Okay.

 9   A.          You were inferring something that is not

10     stated in the words on the page.

11   Q.          I just wanted to know if you believe that in

12     order to be a toxin, for purposes of this case, it

13     has to be carcinogenic?

14                                MR. DIMUZIO:        Objection.       Form.

15     Vague and ambiguous.             And asked and answered.

16   A.          For the purpose of this case, we're talking

17     about asbestos in mesothelioma.                 Mesothelioma is a

18     cancer.       So, in this particular instance, the toxin

19     has to be carcinogenic but it doesn't imply that

20     this methodology can only be used for a carcinogen.

21   Q.          All right.

22               Step 2, does the toxin cause the disease that

23     the person has?          And then the cancer that the person

24     has in this instance is peritoneal mesothelioma; is

25     that right?

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                                JA881
                                                                     Page 140

 1                          Jacqueline Moline, MD - Direct

 2   A.          Correct.

 3   Q.          You indicate that there's no dispute in the

 4     medical literature but you don't cite any particular

 5     medical literature.            Is there any particular medical

 6     literature that you would cite with respect to

 7     peritoneal mesothelioma?

 8   A.          I mean, I talked about Kradin, I talked about

 9     the Welch paper.           I can point you to occupational

10     medicine textbooks by Rohm and others.                    And it's

11     widely accepted in the occupational and

12     environmental literature that mesothelioma, both

13     peritoneal and pleura, as well as in CDC documents

14     and -- it's just widely accepted.

15   Q.          All right.

16               Number 3, was the person exposed to the toxin

17     at a level where the injury has occurred in other

18     settings?        And then you mention that there's

19     analogous exposure scenarios, your phrase.                      And then

20     you reference Footnote 2 on the bottom of 21.                        Let

21     me get to it.          That references a number of different

22     articles and studies.             Do you see that on the bottom

23     of Page 21?

24   A.          Yes.

25   Q.          And that's what you're talking about, those

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                                                                     Page 141

 1                          Jacqueline Moline, MD - Direct

 2     references in Footnote 2 that are "analogous

 3     exposure scenarios"?

 4   A.          With respect to talc, yes.

 5   Q.          All right.

 6               So, for any of those listed, and you have

 7     there -- first of all, "recently" -- you say in the

 8     body of Page 21, "As described above and recently

 9     referenced by the Centers For Disease Control, as

10     well as the published -- as well as published in

11     peer reviewed literature."               "Referenced by the

12     Centers for Disease Control," what's that reference

13     to?     Is that the 2017 Mazurek?

14   A.          Yes.

15   Q.          That is, okay.

16               So, and then, in Footnote 2 there you mention

17     '94 Andrion, A-N-D-R-I-O-N, a number of different --

18     the 1992 Bulbulyan, B-U-L-B-U-L-Y-A-N, 2012

19     Finkelstein, 2001 Ghio, G-H-I-O, the 2005 Fujiwara,

20     F-U-J-I-W-A-R-A, 2015 Ilgren, 1988 Lamb, 2017

21     Mirabelli, M-I-R-A-B-E-L-L-I, the 2009 Musti,

22     M-U-S-T-I, 2020 Dr. Moline, and 2020 Emory.                      Those

23     you're saying are analogous exposure scenarios,

24     right?

25                                MR. DIMUZIO:        Objection.       Form.

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                                JA883
                                                                     Page 142

 1                          Jacqueline Moline, MD - Direct

 2   A.          In the sense that they were mesotheliomas

 3     which arose after exposure to talc.

 4   Q.          Okay.

 5               Which one of those are, if we can just narrow

 6     it down, are peritoneal mesotheliomas?

 7   A.          Well, Andrion says it in the title.                 I don't

 8     remember whether Bulbulyan was pleural or

 9     peritoneal.         The pleurodesis was talking about

10     pleural effusions.            Fujiwara is talking about

11     pericardial.         I don't think Ilgren specified.                 Lamb,

12     I believe it was a pleural.                Mirabelli, I believe it

13     was a pleural.          Musti, I believe it was a

14     peritoneal, in the paper that I cited, it was both

15     pleural and peritoneal, as was Emory both pleural

16     and peritoneal.

17   Q.          All right.

18               The Andrion was a case report based on a

19     mother's description to the author, right, a single

20     case?

21   A.          Correct.

22   Q.          And we don't have any information as to the

23     type of product he says he used, or the mother says

24     he used?

25   A.          Correct.

          Priority-One Court Reporting Services Inc. – A Veritext Company
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                                JA884
                                                                     Page 143

 1                          Jacqueline Moline, MD - Direct

 2   Q.          And there's no specific cumulative dose or

 3     product specific dose as to the particular

 4     individual in the Andrion study?

 5   A.          Correct.

 6   Q.          And the same would go for Musti, there's no

 7     particular cumulative dose specified or product

 8     specific dose or information about a product that we

 9     could investigate or look into, right?

10                                MR. DIMUZIO:        Objection.       Form.

11   A.          Not that I'm aware.

12   Q.          And with respect to your case series and Dr.

13     Emory's case series, is there anything that you can

14     provide us with that would allow us to compare

15     either the cumulative doses of those individuals for

16     their lifetime for all sources or any product

17     specific dose for any of those individuals?

18                                MR. DIMUZIO:        Objection.       Form.

19   A.          In would be in the paper I wrote, it just has

20     the number of years of exposure and the different

21     products they used.            In terms of Emory, I don't

22     remember if they specified the products.

23   Q.          I'm sorry.       Were you finished?          I'm sorry.

24   A.          Yes.

25   Q.          But there's no specific data that we can look

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                                                                     Page 144

 1                          Jacqueline Moline, MD - Direct

 2     at to compare their lifetime cumulative asbestos

 3     exposure from all sources of any the individuals

 4     that you reported on in your article, right?

 5                                MR. DIMUZIO:        Objection.       Form.

 6     And asked and answered.

 7   A.          There's the number of years that they used

 8     talcum powders.          That's it.

 9   Q.          That's not what I'm asking.              I'm trying to

10     understand if we know if they are -- if we have

11     information that we can look at to show what else

12     they could have -- I'm sorry -- what actual asbestos

13     exposures they could have had during their lifetime

14     if they had asbestos-related cancers?

15   A.          There's nothing specified in my paper or in

16     Emory's that would allow you to do that.

17   Q.          And there's nothing in either of those two

18     papers that would allow us to compare and contrast

19     what Mr. Gref says or claims he used versus what any

20     of the individuals that are summarized in either of

21     your two articles or reports, right, there's nothing

22     that we can look at to compare exposure claims?

23                                MR. DIMUZIO:        Objection.       Form.

24   A.          You could look at the different -- the years

25     of use, and you could look at the latency, and you

          Priority-One Court Reporting Services Inc. – A Veritext Company
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                                JA886
                                                                     Page 145

 1                          Jacqueline Moline, MD - Direct

 2     could look at the location and the different brands

 3     in my paper.         I can't speak to Emory.

 4   Q.          Well, we can't look at anything that would

 5     estimate or attempt to estimate the alleged product

 6     contents or the dose of any particular individual

 7     and then compare it against Mr. Gref, right?

 8                                MR. DIMUZIO:        Objection.       Form.

 9   A.          That wasn't the purpose of the paper.                  I don't

10     know how you would do that.                I don't know how you do

11     that in any paper, actually.

12   Q.          Okay.

13               So step four is whether other explanations for

14     the condition have been excluded.                  Why is that step

15     important?

16   A.          Again, because this was a general causation,

17     you look to see if there could be other reasons that

18     someone has the disease.              And because -- they were

19     duplicative or super additive, or there could have

20     been another reason why they had a particular

21     disease in general.            And so, you look at that in the

22     same way that you look at someone with heart

23     disease.        You would say do they have diabetes and

24     hypertension?          They could both contribute.

25   Q.          So, when you asked yourself that question, if

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                                JA887
                                                                     Page 202

 1                          Jacqueline Moline, MD - Cross

 2   Q.          Well, you mainly read and rely upon Dr.

 3     Longo's testing and his reports, correct?

 4   A.          No, I wouldn't say that.             I rely on Dr.

 5     Compton's reports, as well as others.

 6   Q.          I understand.        But you rely on -- you rely on

 7     both Dr. Compton and Dr. Longo's reports as

 8     presented to you by Plaintiff's counsel, right?

 9                                MR. DIMUZIO:        Objection to form.

10     Asked and answered.

11   A.          I have relied on both of their reports, yes.

12   Q.          And if --

13                                MR. DIMUZIO:        Counsel, it's 4:59.

14     I think Dr. Moline has got to go.                  We can make some

15     statements about reserving rights and that sort of

16     thing.       But I think it's about time for the depo to

17     end, given her time commitment.

18                                MR. THACKSTON:         Well, let me just

19     ask one last question.

20   Q.          If you assume for me Dr. Compton said he found

21     anthophyllite in those six samples and Dr. Longo

22     says there are no amphiboles in those six samples,

23     who do you rely on?

24                                MR. DIMUZIO:        Objection.       Form.

25     Incomplete hypothetical.              Lack of foundation.

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                                JA888
                                                                     Page 203

 1                          Jacqueline Moline, MD - Cross

 2   A.          Again, I'm going to have to look at both of

 3     the reports and probably have a discussion with them

 4     to figure out why there's a discrepancy.

 5   Q.          Okay.

 6               Doctor, we certainly hold open the deposition

 7     to continue it at another time.                 Thank you very much

 8     for your time today.

 9                                THE VIDEOGRAPHER:          We are off the

10     record at 5 p.m., and this concludes today's

11     testimony given by Dr. Jacqueline Moline.                     The total

12     number of media units used is five and will be

13     retained by Priority-One, a Veritext company.

14     Thanks everybody.

15                                (Deposition Adjourned.

16                                 Time Noted:        5:00 p.m.)

17

18

19

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21

22

23

24

25

          Priority-One Court Reporting Services Inc. – A Veritext Company
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                                JA889
                                                                Page 204

 1

 2                        A C K N O W L E D G E M E N T

 3          STATE OF

 4          COUNTY OF

 5

 6                    I, the undersigned, hereby certify that

 7   I have read the transcript of my testimony taken

 8   under oath in my deposition; that the transcript is

 9   a true and complete and correct record of my

10   testimony, and that the answers on the record as

11   given by me are true and correct.

12

13   ______________________________

14          JACQUELINE MOLINE, MD

15

16                    Signed and subscribed to and before me

17                    This ________ day of __________, 2022

18

19   ________________________________

20             NOTARY PUBLIC

21

22

23

24

25

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                             718-983-1234
                           JA890
                                                                Page 205

 1

 2                            C E R T I F I C A T E

 3          STATE OF NEW YORK              )

 4          COUNTY OF NEW YORK             )

 5

 6             I, ELEANOR SEKULIC, a Notary Public of the

 7   State of New York, do hereby certify that the

 8   foregoing deposition of JACQUELINE MOLINE, MD was

 9   taken by and before me on July 6, 2022.

10             The said witness was duly sworn before the

11   commencement of her testimony, the said testimony

12   was taken stenographically by myself and then

13   transcribed.      The within transcript is a true record

14   of the said deposition.

15             I am not connected by blood or marriage with

16   any of the said parties, nor interested directly or

17   indirectly in the matter in controversy, nor am I in

18   the employ of any of the Counsel.

19

20   DATED:_______________

21

     <%9632,Signature%>

22   ______________________

23   ELEANOR SEKULIC

24

25

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                             Exhibit 5




                                  JA892
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                                                                             Page 1

 1                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
 2
                          Case No. 1:20-CV-05589-GBD-DCF
 3
 4     BRIAN JOSEPH GREF,
 5              Plaintiff,
       V.
 6
       AMERICAN INTERNATIONAL INDUSTRIES,
 7     Individually and as successor-in-interest
       for the CLUBMAN BRAND, and to THE
 8     NESLEMUR COMPANY and PINAUD COMPANY, et
       al.,
 9                      Defendants.
10     ________________________________________/
11
12
13                        REMOTE VIDEOTAPED DEPOSITION OF
14                         MURRAY M. FINKELSTEIN, MD PhD
15                                      Pages 1 - 199
16
                                Wednesday, June 22, 2022
17                                9:01 a.m. - 3:09 p.m.
18
19
20          REPORTED BY:       Beverly Bourlier James, RPR, CRR, FPR
21
22
23
24
25      Job Number: 5279955

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                                                                       Page 66

 1       A.           Yes.
 2       Q.           Introduction says that, "Pulmonary
 3   deposition, clearance, alteration (leaching and
 4   splitting) and translocation of mineral fibers play
 5   important roles in determining the sites and severity
 6   of disease caused by these fibers.                     In this report,
 7   we review some of our recent findings on the fate of
 8   inhaled chrysotile asbestos in the lungs of rats."
 9                    Do you recall ever reading that before,
10   Doctor?
11       A.           No.
12       Q.           Let me ask you whether you agree with this
13   conclusion.         It says that, "In our model, inhaled
14   asbestos fibers are deposited largely at first
15   alveolar duct bifurcations, many of which are within
16   a few hundred microns of visceral pleura.                         The
17   deposited fibers include many greater than 16 microns
18   in length and less than 1 micron in diameter within
19   the range considered most pathogenic."
20                    Do you have any reason to disagree with
21   those conclusions?
22       A.           No.
23       Q.           "These fibers are cleared -- " then it
24   continues, "These fibers are cleared slowly, if at
25   all.     Long chrysotile fibers undergo longitudinal

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 1   splitting in the lung so that their number actually
 2   increases over time, possibly increasing their
 3   potential for biologic effects.                 Even though
 4   extensive splitting of chrysotile fibers occurs, we
 5   have not observed substantial leaching of the
 6   magnesium from chrysotile fibers up to 30 days after
 7   deposition.      Translocation of chrysotile from deep
 8   parenchymal regions toward the subpleural regions of
 9   the lung does not occur in our model.                    Extensive
10   translocation, however, may not be necessary for the
11   development of asbestos-related pleural disease."
12                 Any reason to disagree with any of those
13   conclusions, Doctor?
14       A.        No.
15       Q.        Do you know the maximum length of a fiber
16   that a lung macrophage can engulf?
17       A.        I do not.
18       Q.        Do you know there are those that studied
19   and published on that?
20       A.        I imagine it's been investigated, yes.
21       Q.        Now, one of the articles you cite is from
22   Dr. Emory and others where they look at lung
23   pathology.     Do you recall that?
24       A.        Yes.
25       Q.        Are you familiar with an article by

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 1   Dr. Moline and Gordon from 2019-2020 purporting to
 2   report on 33 cases of people that they said were only
 3   exposed to asbestos potentially from cosmetic talc?
 4       A.           Yes.
 5       Q.           Is there any reason why you don't rely on
 6   that article?
 7       A.           I do; I rely on it for the results of the
 8   tissue analysis.
 9       Q.           Is the Moline article cited in your paper?
10       A.           I don't know.          Probably not.
11       Q.           In the -- so, for those two articles, were
12   they -- it's your understanding that -- first of all,
13   Drs. Moline and Emory both have served as experts for
14   Plaintiffs in asbestos and talc litigation?
15       A.           I know only about Dr. Moline and she has,
16   yes.
17       Q.           And she's their expert witness -- do you
18   know Dr. Holstein?
19       A.           I know of Dr. Holstein.
20       Q.           Dr. Moline has been an expert witness
21   basically since she started practicing medicine.                         Do
22   you know that?
23                    MR. DiMUZIO:         Object to the form.
24                    THE WITNESS:         No, I don't.
25

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 1   BY MR. THACKSTON:
 2       Q.        And, so, for these articles that you -- did
 3   you read Dr. Moline's article in the journal in which
 4   it was published?
 5       A.        Yes.
 6       Q.        Do you know what journal that was?
 7       A.        I can look it up.
 8                 Why don't you make a suggestion and I'll
 9   see --
10       Q.        I think it's the Journal of Occupational
11   and Environmental Medicine.
12       A.        Okay.      That sounds plausible.
13       Q.        Okay.      Close enough.
14                 You don't have any information about the
15   peer-reviewed process, if any, of that particular
16   article, do you?
17       A.        Of course not; it's confidential.
18       Q.        And would you agree that peer review can be
19   very thorough or it can be very shoddy?
20                 MR. DiMUZIO:         Objection, form.
21                 THE WITNESS:         That seems like a statement
22       which would be difficult to investigate.
23   BY MR. THACKSTON:
24       Q.        When you read Dr. Moline's article -- first
25   of all, she makes statements -- she makes

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 1       A.        Well, that's what you get when you use
 2   SAED.
 3       Q.        Okay.      Well, do you know what diffraction
 4   patterns are?
 5       A.        Yes.
 6       Q.        Diffraction patterns don't tell you peaks
 7   of elements, do they?
 8       A.        No, but the diffraction pattern is
 9   composed of peaks of elements.
10       Q.        Do you know what lookup chart they used to
11   see if the diffraction patterns matched the
12   diffraction patterns of certain minerals?
13       A.        I do not.
14       Q.        And do you know whether the lookup charts
15   include all minerals, diffraction patterns for all
16   minerals or just diffraction patterns for certain
17   amphiboles?
18       A.        I don't know.
19                 MR. DiMUZIO:         Objection to form.
20                 THE WITNESS:         You'd have to Dr. Compton.
21       I don't know.
22   BY MR. THACKSTON:
23       Q.        I think you have said before that you are
24   aware that when you look at the elemental peaks for
25   different substances, that you cannot distinguish

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 1   talc from anthophyllite by looking at their elemental
 2   peak; do you recall that?
 3       A.        No.
 4       Q.        Would you agree that the EDS profile would
 5   be the same for talc and anthophyllite?
 6       A.        No.
 7       Q.        Do you know how it would be different?
 8       A.        No.     I don't do that work.
 9       Q.        Okay.      So you don't know one way or the
10   other whether they would be the same or different?
11                 MR. DiMUZIO:         Objection to form.
12   BY MR. THACKSTON:
13       Q.        Is that a yes?
14       A.        That is correct; I don't do that work.
15                 MR. THACKSTON:           Okay.     Well, subject to
16       our exhibits making sense, I think that's all I
17       have, Doctor.         I just would like to be able to get
18       back on the record and make sure that we've got
19       the exhibits all numbered properly, if we don't.
20       So I wouldn't close the record just yet, but we
21       can go off the video record, if that's okay with
22       you.
23                 MR. DiMUZIO:         Yeah.      Just again, we're
24       going to reserve read and sign and I guess that's
25       it.

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 1                 MR. THACKSTON:           Doctor, nice to meet you.
 2       Thank you very much.             I'm glad you enjoyed Chapel
 3       Hill; always good to go back.
 4                 THE WITNESS:         Well, you know, the weather
 5       outside today here in Toronto is sort of Chapel
 6       Hill-like.
 7                 THE VIDEOGRAPHER:            The time is 3:09.
 8       We're going off the video record.
 9                 (The deposition was concluded at
10   approximately 3:09 p.m.)
11
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 1               I have read the foregoing transcript of my
 2   testimony and find it to be true and accurate to the
 3   best of my knowledge and belief.
 4
 5    ___________________________________
        MURRAY M. FINKELSTEIN, MD PhD
 6
 7
     Sworn to and Subscribed before me this _______ day of
 8
     ________________, 20____
 9
10
     _________________________
11       Notary Public
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                             Exhibit 6




                                  JA902
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               NEWPORT NEWS DIVISION


 IN RE SUBPOENA FOR DOCUMENTS
 ISSUED TO PENINSULA PATHOLOGY
 ASSOCIATES

                                                     Case No. 4:22-mc-00001-AWA-DEM

                                                     Related Case: S.D.N.Y.: 1:20-cv-
                                                     5589-GBD




          SUPPLEMENTAL DECLARATION OF DR. THERESA S. EMORY, MD

        Dr. Theresa S. Emory, MD hereby declares under penalty of perjury as follows:

        1.      I am over the age of eighteen and am competent to make this Declaration. I have

 personal knowledge of the matters set forth below.

        2.      I am an Officer at Peninsula Pathology Associates PC (“Peninsula”), and a board-

 certified physician in anatomic and clinical pathology. I submit this Supplemental Declaration in

 support of Peninsula’s Motion to Quash the subpoena issued by American International Industries

 (“AII”) in connection with Gref v. Am. Int’l Indus., et al., 1:20-cv-5589 (S.D.N.Y.).

        3.      As I previously attested, I co-authored a peer-reviewed article entitled “Malignant

 mesothelioma following repeated exposures to cosmetic talc: A case series of 75 patients,” which

 was subsequently published in March 2020 in the American Journal of Industrial Medicine (the

 “Article”). I subsequently authored a Letter to the Editor of the American Journal of Industrial

 Medicine which addressed comments on the Article, attached hereto as Attachment A.




                                                 1

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        4.      I maintain a full-time medical practice at Peninsula, where I serve upwards of 100

 patients per day by reviewing pathology material and rendering an opinion as to the causation of

 the patient’s disease. I typically spend approximately ten hours per day, five days per week on

 patient care. I also serve as the Medical Director of two acute care hospital laboratories at Riverside

 Walter Reed Hospital and Riverside Doctors Hospital Williamsburg.

        5.      In addition to my medical practice, I provide medical-legal consultation services in

 asbestos-related litigation and medical malpractice cases. These medical-legal consultation

 services account for less than 10% of my professional duties and comprise a small component of

 my overall income.

        6.      If Peninsula is ordered to search for and produce documents in response to the

 Subpoena, I would be forced to take significant time away from my medical practice to comply

 with it. Peninsula does not have any staff or administrative personnel that assist with collecting

 and reviewing litigation-related documents; I do all of that work on my litigation cases myself.

 Because Dr. Maddox is a retired Partner and part-time employee, I am the sole Peninsula staff

 member who would be tasked with responding to and complying with the Subpoena.

        7.      While it is difficult for me to even begin to anticipate how many hours would be

 required to respond to the Subpoena, my best estimate is that it would require me to divert hundreds

 if not thousands of hours away from patient care and my medical practice. For example, the

 Subpoena requests “all correspondence with plaintiffs’ counsel in any of the 75 cases referenced

 in” the Article. Subpoena Request No. 1(e). Because the Article studied anonymized human

 subjects, compliance with this request would require (i) undertaking the painstaking process of

 identifying the individuals in each of the 75 cases; (ii) working backwards to identify the counsel

 who represented plaintiff(s) in each of those cases; (iii) searching for any and all correspondence



                                                   2

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 with those counsel; and (iv) determining whether any of those materials are protected from

 disclosure under court rules, privilege doctrines, protective orders, or other confidentiality

 requirements.

        8.       If I am forced to take significant time away from my medical practice to respond to

 the Subpoena, Peninsula would likely need to hire a contract pathologist to assist with patient care.

        9.       My sole aim in conducting the study and writing and publishing the Article was to

 educate the public and the medical community. I have devoted my career to patient care. As just

 one example, I brought a clinic for underserved women to Appalachia to provide free cervical and

 breast cancer screenings with immediate test results and assistance accessing follow-up tests or

 treatment at no cost. I would never conduct a study or publish an article for personal gain or for

 any reason other than enhancing patient care and/or advancing scientific and medical research.

 And in fact, my co-authors and I chose not to include the names of the cosmetic talc products to

 which the subjects of the study had been exposed—which often is included in studies like the one

 we conducted—precisely because we did not want it to be focused on particular products, but

 rather patient care and treatment more generally.

        10.      Because mesothelioma is rare—there are only approximately 3,000 to 4,000 cases

 in the United States per year—it is difficult to identify a large sample set of mesothelioma cases

 to study. In my experience in my medical practice, because the vast majority of mesothelioma

 cases are caused by exposure to asbestos, most patients who are diagnosed with mesothelioma end

 up pursuing litigation in relation to that diagnosis. Mesothelioma litigation case files therefore are

 an important source for research into this rare and lethal disease, and typically provide a more

 robust clinical history—through deposition testimony and interrogatories—than seen in patient

 files. And it would be virtually impossible to perform scientific research on mesothelioma cases



                                                   3

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                                  JA906
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                       Attachment A




                                  JA907
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DOI: 10.1002/ajim.23114


LETTER TO THE EDITOR




Authors' response to “malignant mesothelioma following
exposure to cosmetic talc: Association, not causation”

To the Editor,                                                                 present study of 75 cases, together with Moline's 33 reported
    We appreciate the opportunity to reply to Dr. Geyer's letter.              cases,4 supports the generally accepted notion that amphibole
    Geyer has commented on possible “recall‐bias” in our paper. We             asbestos is a cause of malignant mesothelioma, due to asbestos
should note that we began with a series of 140 patients which was              contamination of cosmetic talc.
reduced to 75 when we excluded those where a history of other                       Geyer's comment regarding fiber size is misleading. The 3:1
asbestos exposures were present. In legal cases, experts supporting            aspect ratio with supporting microprobe analysis is generally
both the plaintiffs and the defense regularly search for all exposures         accepted as the morphological definition of an asbestiform fiber by
to asbestos. If, in our series, an odd case or two without such                OSHA, the EPA, and other international regulatory agencies.5‐7 The
recollection may have been included, then there would still be an              comments concerning the laboratory methods, and the implication
abundance of cases to support our findings.                                    that they were not controlled for contamination, has been leveled
    Geyer commented that the methods section “provides no                      against many laboratories without convincing evidence.
descriptions of analysis of any cosmetic talc products used by any                  Geyer also questions whether experts for the defense performed
individual included in the study and, thus, the methods give no                similar or equivalent testing. While we are unaware of other testing
analytical evidence or data demonstrating that any of their 75 study           performed for these cases, we are aware that certain methods,
patients used any cosmetic talcum powder that contained asbestos”.             including scanning electron microscopy, have a low sensitivity for
By implication, Geyer is suggesting that there is no evidence that             detecting low levels of asbestos contamination. Indeed, in our own
asbestos was present in talc or that it caused the mesotheliomas we            study we excluded such evidence in the final reporting of the data.
report. In this regard, Geyer and readers can refer to the recently                 Although Geyer states that he finds no evidence to support our
published article by Steffen et al1 which details methodology used to          suggestion “that cosmetic talc may cause malignant mesothelioma”,
determine the presence of asbestos in cosmetic talcum powder.                  this paper is only one piece of ever‐growing evidence, including the
Furthermore, according to Geyer one might surmise that talc alone              conclusion by IARC,8 that this is the case.
is capable of producing mesothelioma, although no regulatory agency                 Our series of 75 additional individuals with malignant
to our knowledge currently accepts that premise, and it begs                   mesothelioma whose only known exposure was cosmetic talc is
imagination to conclude that the 75 mesotheliomas in this series               further evidence that cosmetic talc should be considered a
were all “idiopathic,” in the face of compelling evidence of asbestos          probable cause of mesothelioma. Due to the lethality of malignant
contamination of talc.                                                         mesothelioma, regulation or removal of talc‐based products from
    We recognize that a case series does not in itself “prove” causation.      the market is warranted in the interest of public safety, as other
Indeed, causation is never proved except via the strength of association.      nontoxic alternatives are available.
The strength of association between the development of mesothelioma
and exposure to amphibole asbestos has been established. As no safe            CON FLI CTS OF I NTERE ST
threshold has been established for exposures to asbestos and the               Theresa S. Emory, John C. Maddox, and Richard L. Kradin have testified
development of mesothelioma,2 it is reasonable to suggest that                 in asbestos litigation, primarily for plaintiffs.
repeated exposures above background to low‐levels of asbestos are
causal of this disease without the need for a case‐controlled epide-           DISC LO SU RE B Y AJI M ED ITO R OF R ECO RD
miological study. The only role of the latter might be to determine risk       John D. Meyer declares that he has no conflict of interest in the
prospectively in a large exposed population.                                   review and publication decision regarding this article.
    Our study is a case series of patients who developed
mesothelioma, and whose only known exposure to asbestos was                    AU TH OR CO NTRIB UTION S
through cosmetic talc. Case reports and case series can be                     JCM and RLK developed the conception and the design of the work.
critical in advancing our knowledge of disease. Wagner's case                  JCM initiated the acquisition and developed the initial data analysis.
series of 33 cases of malignant mesothelioma from the mines                    TSE reviewed the materials, performed the statistical analysis and
of South Africa in 19603 was generally accepted as convincing                  was the primary author of the manuscript. RLK revised and gave final
evidence that asbestos was the cause of this rare disease. The                 approval of the version to be published.

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Am J Ind Med. 2020;1–2.                                    wileyonlinelibrary.com/journal/ajim                        © 2020 Wiley Periodicals, Inc.       1
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2     |                                                                                                                          LETTER TO THE EDITOR



E TH I C S A P P R O V A L A N D I N F O R M E D C O N S E N T                  REFERENCES
As these cases were selected from medical‐legal consultation                    1. Steffen JE, Tran T, Yimam M, et al. Serous ovarian cancer caused by
practice and no identifying information is included, there was no                  exposure to asbestos and fibrous talc in cosmetic talc powders‐ a case
                                                                                   series. JOEM. 2020;62:e65‐e73. https://doi.org/10.1097/JOM.000000000
formal institutional consent nor informed consent required.
                                                                                   0001800
                                                                                2. OSHA Safety and Health Topics – asbestos. https://www.osha.gov/
                                                  Theresa S. Emory MD1             SLTC/asbestos/. Accessed April 1, 2020.
                                                   John C. Maddox MD1           3. Wagner JC, Sleggs CA, Marchand P. Diffuse pleural mesothelioma and
                                                                                   asbestos exposure in the North Western Cape Province. Occup
                                                 Richard L. Kradin MD2,3
                                                                                   Environ Med. 1960;17:260‐271.
                                                                                4. Moline J, Bevilacqua K, Alexandri M, Gordon RE. Mesothelioma asso-
     1
      Peninsula Pathology Associates, Department of Pathology, Riverside           ciated with the use of cosmetic talc. J Occup Environ Med. JOEM. 2020;
                              Regional Medical Center, Newport News, Virginia      62(1):11‐17.
          2                                                                     5. U.S. Department of Labor, OSHA. Report of Evaluation of Cosmetics and
              Department of Medicine (Pulmonary/Critical Care), Massachusetts
                                                                                   Cosmetic Talc for FDA, Daniel T. Crane. February 23, 2019. https://
                                      General Hospital, Boston, Massachusetts      www.fda.gov/media/122413/download. Accessed April 1, 2020.
      3
          Department of Pathology, Massachusetts General Hospital, Boston,      6. U.S. Environmental Protection Agency – Region IX, Response to the
                                                               Massachusetts       November 2005 National Stone, Sand & Gravel Association Report
                                                                                   Prepared by the R.J. Lee Group, Inc. “Evaluation of EPA's Analytical
                                                                                   Data from the El Dorado Hills Asbestos Evaluation Project”. 2006.
                                                            Correspondence         https://archive.epa.gov/region9/toxic/web/pdf/rjlee‐response4‐20final.
                     Theresa S. Emory, MD, Peninsula Pathology Associates          pdf. Accessed April 1, 2020.
    Department of Pathology 500 J Clyde Morris Boulevard, Newport               7. NIOSH. “Asbestos Fibers and Other Elongate Mineral Particles: State of
                                                                                   the Science and Roadmap for Research” Current Intelligence Bulletin 62.
                                                           News, VA 23601.
                                                                                   Department of Health and Human Services. Centers for Disease Control
                                               Email: temorymd@gmail.com           and Prevention. National Institute for Occupational Safety and Health.
                                                                                   Publication No. 2011‐159. 2011. https://www.cdc.gov/niosh/docs/2011‐
OR CID                                                                             159/pdfs/2011‐159.pdf. Accessed April 1, 2020.
                                                                                8. IARC. Monograph Volume 100C. Asbestos (chrysotile, amosite,
Theresa S. Emory            http://orcid.org/0000-0002-8075-4480
                                                                                   crocidolite, tremolite, actinolite, and anthophyllite). 2012. https://
John C. Maddox             http://orcid.org/0000-0003-1417-0337                    monographs.iarc.fr/wp‐content/uploads/2018/06/mono100C‐11.pdf.
Richard L. Kradin           http://orcid.org/0000-0002-3953-8671                   Accessed April 1, 2020.




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                             Exhibit 7




                                  JA910
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                                                                December 7, 2022

 VIA ECF
 Hon. Valerie Figueredo
 Daniel Patrick Moynihan U.S. Courthouse
 500 Pearl Street
 New York, NY 10007-1312

        Re:     Gref v. Am. Int’l Indus., et al., 20-cv-05589

 Dear Judge Figueredo:
         Following the deadline for Plaintiff’s opposition to Defendants’ Motion to Compel the
 Continuation of the deposition of Plaintiff’s Expert Dr. Moline, two defense experts provided
 testimony that directly contradicts the Defendants’ argument that they are entitled to discover the
 identities of subjects of the peer-reviewed article Dr. Moline co-authored, entitled “Mesothelioma
 Associated With the Use of Cosmetic Talc.” Given that this article is the primary focus of
 Defendants’ Motion, Plaintiff respectfully requests the Court permit him to supplement his
 opposition with the pertinent testimony that undermines Defendants’ claim.
         On November 23, 2022, Dr. Kenneth A. Mundt, an epidemiologist retained by Defendants
 American International Industries (“AII”), Whittaker Clark & Daniels, Inc. (“WCD”), and
 Shulton, Inc. (“Shulton”), testified about the procedures he followed to maintain the confidentiality
 of human research subjects when working on an epidemiological study regarding occupational
 exposures to hexavalent chromium, a carcinogenic toxin. See Excerpts of Dr. Mundt Dep. Vol II,
 dated Nov. 23, 2022, attached as Exhibit 1 at 142:20-143:16 (identifying the draft of the study and
 confirming Dr. Mundt founded Applied Epidemiology, Inc.), 144:22-145:6 (confirming he was
 responsible for the draft and its contents), 179:3-181:24 (discussing procedures to maintain
 confidentiality of subjects); See Collaborative Cohort Mortality Study of Five Chromate
 Production Facilities, 1958-1998 (Draft Protocol, dated Apr. 23, 1999), attached as Exhibit 2 at 4.
 A draft of this study included an entire section on the “Protection of Human Subjects.” Exhibit 2
 at 4. As confirmed at his deposition, Dr. Mundt followed “standard epidemiological procedures”
 to protect the confidentiality of the human subjects and “no results [were] presented other than in
 aggregate form, and no individual identity can be discerned.” Exhibit 2 at 4. Specifically, like Dr.
 Moline’s study, Dr. Mundt completed his study with the permission of an Institutional Review
 Board that was registered with the federal government and responsible for “protecting human
 subjects.” Exhibit 1 at 180:12-181:6. Regarding specific rules and procedures, Dr. Mundt
 referenced “the human protections section of the Health and Human Services. There was extensive
 protocols, registrations, training that was involved.” Id. at 181:13-16.
        On December 2, 2022, Dr. Kerry Robin Carder, a pediatric dermatologist retained by
 Defendant American International Industries (“AII”), testified in connection with her personal
 experience researching and publishing peer-reviewed literature involving human research subjects




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 that the identities of such subjects is protected information under HIPAA, as well as other laws
 and ethical rules. 1
         QUESTION: Have you ever revealed the identities of any of the studies of
              human subjects reported such as in what we’re looking at here,
              Exhibit 5?
                 [Objection omitted]
         ANSWER:          I’m not sure what you mean by revealing identities. Patient
         identities or --
         QUESTION: Patient identities, that’s right.
         ANSWER:         No.
         QUESTION: Are there rules governing or protecting the identification of
         patient identities such as the infants in this article?
                 [Objection omitted]
         ANSWER:         Yes.
         […]
         QUESTION: Okay. And does HIPAA govern the protection of their
         identities?
         ANSWER:        HIPAA and there are certain laws in place for those who are
         doing studies, but these were not studies, these were case reports.
                So, yes, you either have to have the permission from the family if
         you do have, say, an identifiable photograph or – yes.
         QUESTION: Okay. And then going back to my former question, are there
         any ethical guidelines within the medical profession that would prevent or
         advise against the identification of any of the patients in those published
         studies on those case reports?
                 [Objection omitted]
         ANSWER:      There – just like HIPAA guidelines, yes, there are guidelines
         in place […]
                 [Objection Omitted]


 1
   Notably, Dr. Carder provided this testimony despite AII’s counsel raising baseless objections and
 instructing her not to answer Plaintiff’s questions. Dr. Carder clearly has personal knowledge and expertise
 that is relevant to understanding the privileged and confidential nature of human research subjects featured
 in peer-reviewed medical literature.



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        QUESTION: And just so I understand your answer, Dr. Carder, are you
        referring to something in addition to HIPAA or are you referring
        specifically to HIPAA?
        ANSWER:       HIPAA is part of it, but there are similar guidelines for those
        who are doing studies.
        QUESTION: And what are those guidelines?
        ANSWER:        Just that you protect the patient identity.
 See Excerpts of Dep. of Dr. Carder, dated Dec. 2, 2022, attached as Exhibit 3 at 54:22-61:19.
         The foregoing testimony, along with the testimony of other defense experts cited in
 Plaintiff’s opposition papers, confirm that, as maintained by Northwell Health and Dr. Moline, the
 identities of the human research subjects involved in Dr. Moline’s 2020 peer-reviewed article are
 confidential and protected information that is immune from discovery. For this reason and the
 many others set forth in Plaintiff’s opposition, Defendants’ Motion to Continue the Deposition of
 Dr. Moline must be denied in its entirety.


                                                       Respectfully submitted,




                                                       James M. Kramer




                                             JA913
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                             Exhibit 8




                                  JA914
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  1                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
  2
      LLOYD BELL, individually and       ) CASE NO. 1:17CV111
  3   As executor of the estate of       )
      BETTY WHITLEY BELL, deceased,      )
  4                                      )
                Plaintiffs,              )
  5                                      )
      V.                                 )
  6                                      )
      AMERICAN INTERNATIONAL             )
  7   INDUSTRIES, et al.,                )
                                         ) Winston-Salem, North Carolina
  8            Defendants.               ) September 25, 2020
      ______________________________
  9

10         CORRECTED TRANSCRIPT OF THE TELEPHONIC MOTIONS HEARING
                     BEFORE THE HONORABLE JOI E. PEAKE
11                     UNITED STATES MAGISTRATE JUDGE

12

13    APPEARANCES (By telephone):

14    For the Plaintiffs:        WILLIAM M. GRAHAM, ESQ.
                                 WALLACE & GRAHAM, P.A.
15                               525 North Main Street
                                 Salisbury, North Carolina 28144
16
                                 FRANK J. WATHEN, ESQ.
17                               LEAH C. KAGAN, ESQ.
                                 SIMON GREENSTONE PANATIER PC
18                               1201 Elm Street, Suite 3400
                                 Dallas, Texas 75270
19

20    For the Defendants:
      AII:                       ROBERT E. THACKSTON, ESQ.
21                               KURT W. GREVE, ESQ.
                                 SAMUEL GARCIA, ESQ.
22                               LATHROP GPM LLP
                                 2101 Cedar Springs Road, Suite 1400
23                               Dallas, Texas 75201

24

25




                                    JA915
Case 4:22-mc-00001-AWA-DEM Document 8-8 Filed 12/08/22 Page 3 of 8 PageID# 950
       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   discovery as to Dr. Moline.     It looks like Plaintiffs' counsel

  2   just referred defense counsel to Northwell to obtain that.

  3               I think there are very different issues here

  4   regarding the other individuals included in the study other

  5   than Ms. Bell; and as to Ms. Bell, she's placed all of this at

  6   issue by bringing the suit by or on her behalf.        She's

  7   presented Dr. Moline as her expert, and Dr. Moline then used

  8   her information in a study that then was specifically used and

  9   relied on in presenting her opinion as to Ms. Bell.

10                It does not look to me like a HIPAA authorization

11    would be required, but to the extent Northwell had the

12    information and believed it was required, it was not

13    inappropriate for defense counsel to use the authorization that

14    Ms. Bell had agreed to in this case.

15                Again, I think it would be very different if defense

16    counsel had used Ms. Bell's authorization from this case to

17    obtain the release of information in some other case.          There

18    are important confidentiality and privacy issues as to the

19    other individuals in the study, so it would only be appropriate

20    in this case to allow the release of the information as to

21    Ms. Bell.

22                It also seems to me that with respect to the rest of

23    the information requested from Northwell, that could be the

24    subject of party discovery regarding the designated experts;

25    and so it looks to me like we may not need further subpoena




                                    JA916
Case 4:22-mc-00001-AWA-DEM Document 8-8 Filed 12/08/22 Page 4 of 8 PageID# 951
       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   candor to the jury and the ability for AII to cross-examine

  2   Dr. Moline on these issues, and AII has had that opportunity.

  3   They have, in fact -- Mr. Thackston did, in fact, cross-examine

  4   Dr. Moline at length earlier this year in New Jersey in a

  5   different trial of two consolidated Clubman cases, and that

  6   judge did not allow him to identify or to question whether or

  7   not one of the patients was Mrs. Bell --

  8               THE COURT:   Well, of course.   I mean, again,

  9   Ms. Kagan, I completely agree with the judge in that case.         If

10    you were here with one of the other individuals on that report,

11    I would be in complete agreement with you that we are not going

12    to let that person be identified or subject to discussion or

13    side litigation here, but we're here in Ms. Bell's case now.

14    So I think it is different than that New Jersey case.

15                MS. KAGAN:   But the only purpose of disclosing

16    Ms. Bell against her consent would be because somehow AII has

17    been deprived of the ability to meaningfully cross-examine, and

18    that's just not true.     They have been able to meaningfully

19    cross-examine things like did Dr. Moline take into account that

20    somebody filed a workers' compensation.       That's an easy

21    cross-examination point without ever having to identify

22    Ms. Bell.

23                And in this actual case here, Mr. Thackston can

24    cross-examine Dr. Moline specifically:      Did you take into

25    account this specific fact, the idea that hairdryers, some




                                    JA917
Case 4:22-mc-00001-AWA-DEM Document 8-8 Filed 12/08/22 Page 5 of 8 PageID# 952
       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   Amendment protections; but documents produced in discovery are

  2   not subject to common law disclosure or information, and

  3   certainly where there's confidentiality orders or protections

  4   in place and a party can claim something is confidential, then

  5   we go through the process of sealing under 5.4 for information

  6   that's filed on the docket.

  7             Here, when it's related to discovery, we follow the

  8   more general balancing that applies when the First Amendment

  9   doesn't apply, and because we're at the discovery or the

10    preliminary stage, it makes sense to allow those things to be

11    filed for which confidentiality is still claimed.

12              And I do think there are concerns with regard to

13    disclosure of this outside this case.      While I am more

14    comfortable with the idea that Ms. Bell has put all of this at

15    issue in this case, and if she's electing to choose Dr. Moline

16    as her expert, then that potentially becomes at issue here.

17    That's a very different calculation as to other folks who may

18    be subject to this study or the use of Ms. Bell's identity in

19    some other lawsuit.

20              So, as I said, I think the determination will

21    ultimately be up to the district judge when we get to trial in

22    this case, but at this point we're just talking about discovery

23    materials.   There is no right to use discovery materials from

24    one case in another case, particularly where, here, there is

25    some claim of confidentiality that's only being produced




                                    JA918
Case 4:22-mc-00001-AWA-DEM Document 8-8 Filed 12/08/22 Page 6 of 8 PageID# 953
       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   subject to that claim and subject to a confidentiality

  2   protection in place.

  3              So I would caution against a notion of using this or

  4   being able to use this in some other case, because if that's

  5   where we're headed, then I would be more inclined to put a

  6   protective order over all of it and not allow it to be used at

  7   all.   If we're talking about using it here just in this case

  8   because it's important and relevant as to Ms. Bell and the fact

  9   that she's put all of this at issue here and selected

10    Dr. Moline as her expert, then I think a limited disclosure and

11    use of that is not outside the bounds of reasonableness and

12    actually is necessary to avoid potential misleading of the fact

13    finder here.

14               So that's where I am, but I interrupted you because I

15    don't want end up too far down a path where you make me

16    second-guess that determination.

17               MR. THACKSTON:   Your Honor, I don't have -- I'm not

18    trying to conduct discovery for any other case.        I'm only doing

19    what's relevant to the Bell case.

20               But if the materials we're talking about are -- if it

21    turns that it's Ms. Bell's answers to interrogatories or her

22    deposition transcripts, I just should think there should be

23    some onus on the Plaintiffs to have to -- maybe we agree that

24    everything is treated confidential for 14 days, and if they

25    want that to continue to be confidential, then they have to




                                    JA919
Case 4:22-mc-00001-AWA-DEM Document 8-8 Filed 12/08/22 Page 7 of 8 PageID# 954
       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   the other 32 are right.

  2             THE COURT:    Okay.    So I think I understand,

  3   Mr. Thackston.    Your argument is now related to the other

  4   individuals.    As to those, I would have a lot more concern

  5   about requiring the identification of those individuals, even

  6   if it is based on litigation study.      That's a whole lot broader

  7   of a request.    And the fact that those individuals may have

  8   consented in their own case does not mean that they've

  9   consented to some broader identification or disclosure.

10              And so I think, along the same lines as what happened

11    up in New Jersey when you tried to get Ms. Bell's

12    identification there, I would have the same sort of concerns if

13    you had to try to get the identification of the other

14    individuals here.    There are important confidentiality and even

15    larger structural concerns with regard to how these

16    publications are presented and constructed and protected, and

17    so I don't see a basis for requiring disclosure, and I don't

18    see any case law that would support that as far as other

19    individuals who may have been included in the study.

20              If we're still talking about Ms. Bell, then I am

21    inclined to limit it just in the sense that it's specific to

22    this case, and it's subject to a confidentiality claim and

23    protection to the extent that it's not disclosed outside of

24    this case, unless or until the district judge makes a

25    determination on that as part of dispositive motions or trial.




                                      JA920
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       17CV111 Bell v. AII - Motions - 9/25/20 CORRECTED

  1   UNITED STATES DISTRICT COURT

  2   MIDDLE DISTRICT OF NORTH CAROLINA

  3   CERTIFICATE OF REPORTER

  4

  5

  6             I,   Briana L. Bell, Official United States Court

  7   Reporter, certify that the foregoing transcript is a true and

  8   correct transcript of the proceedings produced to the best of

  9   my ability from an audio recording of the telephone conference

10    in the above-entitled matter.

11

12              Dated this 30th day of September 2020.

13

14

15                             _______________________
                               Briana L. Bell, RPR
16                             Official Court Reporter

17

18

19

20

21

22

23

24

25




                                    JA921
Case 4:22-mc-00001-AWA-DEM Document 8-9 Filed 12/08/22 Page 1 of 6 PageID# 956




                             Exhibit 9




                                  JA922
Case 4:22-mc-00001-AWA-DEM
      Case 1:20-cv-05589-GBD-VF
                              Document
                                Document
                                       8-9 265-4
                                            Filed 12/08/22
                                                  Filed 11/04/22
                                                            Page 2
                                                                 Page
                                                                   of 6 6PageID#
                                                                          of 16 957



                                                                            Page 201

  1                                  SUPERIOR COURT OF NEW JERSEY
                                     LAW DIVISION: MIDDLESEX COUNTY
  2                                  DOCKET NO. MID-L-006651-16ASL
                                                MID-L-007336-16AS
  3                                  APPELLATE DOCKET NO.__________
  4
  5         DWAYNE JOHNSON,                                     ) TRANSCRIPT OF
                               Plaintiff,                       ) TRIAL
  6            v.                                               )
            AMERICAN INTERNATIONAL,                             )
  7         INDUSTRIES, et al.,                                 )
                               Defendants.                      )
  8         _______________________________                     )
            MARGARET R. LANGLEY LASHLEY AND                     )
  9         EDWARD G. LASHLEY,                                  ) (VOLUME 2 of 2)
                               Plaintiffs,                      )
10             v.                                               )
            AMERICAN INTERNATIONAL INDUSTRIES,                  )
11          et al.,                                             )
                               Defendants.                      )
12          ______________________________                      )
13
14                            Place:         Middlesex Courthouse
                                             56 Paterson Street
15                                           New Brunswick, New Jersey             08903
16                            Date:          Wednesday, March 11, 2020
                                             9:14 a.m.
17                                           (Volume 2 of 2)
                                             (Pages 201 - 238)
18
19          BEFORE:
20             HON. ANA C. VISCOMI, J.S.C. and JURY
21
22          TRANSCRIPT ORDERED BY:
23             JOSEPH MANDIA, ESQ.
               (Simon Greenstone Panatier)
24             5 Penn Plaza
               Suite 2308
25             New York, New York 10001

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                                       JA923
                                                                   Page 218

 1   a very not so back-door attempt to get the identities

 2   of the person in the study.           Mr. Thackston tried to do

 3   that at deposition, was shut down.              She was directed to

 4   the legal staff of the hospital.             To my knowledge, he

 5   (inaudible).     So even in old reports in isolation, but

 6   to try to patch them up through the back door is in

 7   violation of the paper.          When she put together written

 8   background information of the paper, this is

 9   (inaudible).

10              THE COURT:       You had access to the unredacted?

11              MR. THACKSTON:         Yes.

12              THE COURT:       So you know the identity of this

13   person?

14              MR. THACKSTON:         Yes.     It's a case we're

15   involved in.     We're the defendant.

16              THE COURT:       So how, tell me the purpose of

17   what you're seeking to do now.

18              MR. THACKSTON:         The purpose, your Honor,

19   is that her testimony is that these are litigation

20   cases so everything she has, I have.               It's all public.

21   I don't want anything that's not public information and

22   I'm not trying to identify, why would I want to

23   identify the person?

24              THE COURT:       Didn't that question you just

25   asked seek to identify the person?

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                              JA924
                                                                   Page 219

 1              MR. THACKSTON:         Not the person, but the case.

 2   We can call it case B, right?            It's not a matter of --

 3              THE COURT:       You mean you want to know whether

 4   this is Miss D that she testified about?

 5              MR. THACKSTON:         Yes.

 6              THE COURT:       Well, then that would be

 7   identifying the person to you.

 8              MR. THACKSTON:         Exactly.      Well, she should

 9   identify the person to me.

10              THE COURT:       Why?

11              MR. THACKSTON:         Well, because she made a

12   representation in the public literature that there's no

13   other exposure to asbestos, right?              Well, I'm in the

14   case and I know that not to be true.               And I'm not

15   trying to malign her about it, but she's -- her

16   protocol didn't involve trying to get any other

17   information and whether there is information from

18   public sources that (inaudible).             I should be entitled

19   to cross-examine her on that.            But otherwise, it's

20   completely (inaudible).          I'm not saying she did

21   anything wrong.      I'm just saying based on your

22   methodology, you didn't know this woman has a sworn

23   complaint saying she was exposed to thermal insulation

24   at her workplace.

25              THE COURT:       Thank you.

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                              JA925
                                                                   Page 220

 1               I have no issue with you cross-examining

 2   individually with regard to all of the different

 3   reports that you have or that she may have referenced

 4   in that paper that she co-authored, but seeking to

 5   identify is inappropriate and so I'm not going to

 6   permit that.

 7               MR. THACKSTON:        I'm not going to identify the

 8   person at all.

 9               THE COURT:      No, but that question would seek

10   to identify to you, and that I'm not going to permit.

11   I don't have any issue with individual questions, but

12   that question I'm not going to allow.

13               MR. THACKSTON:        Well, I'm going to try -- I'm

14   not exactly sure what I'm allowed to do, but I'll try

15   my best to --

16               THE COURT:      Well, hold on.         What I'm saying

17   is I have no issue with you cross-examining with regard

18   to any report that you have, any person that's

19   mentioned by type or case of description in her study,

20   in her published paper or the testimony she gave to

21   congress.

22               But you're asking Dr. Moline to testify as to

23   whether this person is that person that you referred

24   to, that I will not permit because that is seeking the

25   identification of who that person may be to you, and

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                              JA926
                                                                    Page 221

 1   that I will not permit.           It's inappropriate.          It's

 2   improper.

 3               (Sidebar ends.)

 4               THE COURT:       So the objection to that question

 5   is sustained.

 6   BY MR. THACKSTON:

 7        Q      Dr. Moline, you gave the example, and I don't

 8   want anybody's name, I don't want you to identify

 9   anybody, when you wrote your testimony for congress,

10   did you take portions directly from a report for a case

11   you're involved in?

12   A    I don't believe I took anything verbatim.                    I may

13   have looked to see an illustrative case and I wouldn't

14   have remembered all the facts of the medical course

15   which I think was described, nor the exposure scenario,

16   so I would have had to refer to something.

17        Q      You would have -- you would have said where

18   the person worked, right, what their job was?

19   A    I would have said the category.                I wouldn't have

20   said what company.

21        Q      I mean, worked for a textile mill, tobacco

22   company; in fact, the example you give here in the

23   testimony, you say "she worked in a textile industry

24   working with polyester and cotton yarns, also worked

25   for tobacco company as a packer."               Right?

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                               JA927
                                                                    Page 222

 1   A    Correct.

 2        Q      And you would have written a report for

 3   someone in her case making those kinds of statements,

 4   in your report you would also say what her jobs were,

 5   right?

 6   A    If I had written a report on her, yes.

 7        Q      And you wouldn't know if -- in another

 8   context, outside of the particular lawsuit where they

 9   were discussing the claims and questions were asked,

10   you wouldn't know whether she filed another claim or

11   someone on her behalf filed another claim in another

12   context saying she was exposed to asbestos on her job?

13   You just wouldn't have that information, would you?

14   A    If she had made -- are you saying like a workers'

15   compensation claim?

16        Q      Yes.

17   A    I mean, typically I'm provided with all that kind

18   of information or an individual is asked about that

19   during their deposition, where they're asked if they've

20   ever filed any type of lawsuit or filed a workers'

21   compensation claim.         So I might not have had all the

22   documents, but I would have had some information.

23        Q      Would that be relevant if somebody had a

24   worker's comp claim where they were saying they were

25   exposed to asbestos on-the-job?

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                               JA928
                                                                    Page 223

 1   A    If they said that they were exposed and they had

 2   exposure, sure.

 3        Q      So I'd ask you to look at page -- this is

 4   from the North Carolina Industrial Commission, and down

 5   at the bottom left-hand corner you see NCIC, July 24,

 6   2019, 1 of 25 pages.         If you look at page 13 --

 7   A    This is not fully redacted.              The name is

 8   throughout this document.

 9        Q      The name what?

10   A    The name of the individual is on many pages here.

11   It's not fully redacted.

12        Q      Well, it's not going to be seen by anybody

13   other than --

14   A    Okay.

15        Q      -- counsel.

16   A    I see an individual's name here.                I just wanted to

17   bring that to your attention.

18        Q      I guess you can see through it.

19   A    No.    No.    I just turned and I saw someone's name

20   on page 12, so I just was making sure you knew that.                      I

21   didn't know who would see it.

22        Q      You're the retained expert in this case.

23   They're the law firm in this case.               The judge isn't

24   going to give it to anybody else --

25   A    Sir, I was just saying the name was there.                       I

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                               JA929
                                                                    Page 224

 1   wasn't saying anything else.             I just wanted to make

 2   sure if it went further, there was someone's name here.

 3        Q      I understand.         The fact that there is a

 4   lawsuit is public record, right?              I mean, this person's

 5   lawsuit is a public record.            And at some point you will

 6   give a deposition in that case, as far as you know,

 7   right?

 8   A    Depends on the state, and it could be, yes.

 9        Q      Okay.     And I just want you to look at this

10   and see, you recognize the type of document that it is,

11   North Carolina Industrial Commission, and I just want

12   you to read what the next line says?

13   A    Where am I looking?

14        Q      It says, "Claim by employee."

15   A    Okay.

16        Q      "Representative or dependent."

17   A    Okay.

18        Q      "For benefits for lung disease, including

19   asbestosis, silicosis and byssinosis."

20   A    Okay.

21        Q      "The use of this form is required under the

22   provisions of the Workers' Compensation Act."

23   A    Okay.

24        Q      Right?

25               Employer, and I won't say the name of the

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                               JA930
                                                                    Page 225

 1   employer out loud, and it has dates of employment?

 2               MR. PURDY:       Mr. Thackston, can I ask what

 3   page you're on?

 4               MR. THACKSTON:         Page 13.

 5   A    Okay.

 6        Q      And then on the next page it has employment

 7   history and dates, and it says, "If you were exposed to

 8   the listed substances while working for this employer.

 9   Describe in detail the exposures employee was exposed

10   to the hazards of asbestos-containing products while

11   employed by this employer."

12               That's on page 14 of 25 right in the middle

13   of the page.      You see that?

14   A    I don't know where you're pointing to.

15               MR. THACKSTON:         Your Honor, may I publish?

16   A    In the bottom half?

17        Q      Right in the middle.

18               THE COURT:       Yes.     Go right ahead.

19   BY MR. THACKSTON:

20        Q      Right?

21               "Employee was exposed to the hazards of

22   asbestos-containing product while employed by this

23   employer."     Right?

24   A    Yes.

25        Q      So if this is the same person who was your

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                               JA931
                                                                    Page 226

 1   example before congress, it appears that they, at

 2   least, have made a claim that they were exposed to

 3   asbestos in some form other than just in using cosmetic

 4   talc personally and as a hairdresser.

 5               Would you agree?

 6               MR. PURDY:       I'm going to object, your Honor.

 7               THE COURT:       Objection sustained.

 8   BY MR. THACKSTON:

 9        Q      Since you put the article out have you had

10   any conversations with any of the lawyers about whether

11   your conclusions were correct with respect to the

12   alleged exposures by the plaintiffs to cosmetic talc

13   only?

14   A    I haven't had any conversations with that specific

15   question raised to me.

16        Q      And no one has contacted you and said look,

17   if case 6 or case 3 is our case, there's something you

18   ought to know, there's some other allegations; nobody's

19   given you that kind of information?

20   A    No.

21        Q      Let me get straight, why is it that you

22   couldn't -- let me back up.

23               So yesterday when you were on direct

24   examination and you were being asked questions about

25   Italian talc studies, you had various criticisms of the

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                               JA932
                                                                    Page 227

 1   studies, right?

 2   A    Yes.

 3        Q      And one of the criticisms was that it wasn't

 4   transparent, that one of the authors had gotten money

 5   from Johnson & Johnson or somebody and it wasn't

 6   transparent that they had had a role in some input in

 7   the study, right?

 8   A    Right.      That there was no disclosure that the

 9   company had had a role in the development protocol and

10   writing of the paper.

11        Q      And you think that if someone's going to put

12   out an article where they're going to say there are

13   no -- we find no mesothelioma among this group of

14   people, that they ought to make the information

15   available that they're basing that on so other medical

16   professionals or others can critique that, right?

17   A    I said that they should let that information that

18   they were contacted by a company who approved the

19   protocol and was involved in the writing of the paper,

20   they should make the readers aware of that, yes.

21        Q      And so in your situation, this is all

22   information that's been available to all the people

23   involved in the cases, it would be possible for you to

24   have someone redact, even someone that worked for one

25   of the firms, redact any personal information and put

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                               JA933
                                                                    Page 228

 1   it out there and say here, here's what I'm basing my

 2   conclusion on, I'm going to be transparent, here's a

 3   website, here's all the documents, case 1, case 2, case

 4   3, I want everybody to know what I'm basing my

 5   conclusion on that these people have meso and their

 6   only known exposure was to cosmetic talc.

 7               You could do that, right?

 8   A    Theoretically, yes.

 9        Q      And in your deposition you were asked

10   specifically, hey, I think I recognize this case, case

11   whatever, case number 3, the case of so and so.                       And

12   you refused to answer that, right?

13   A    I am of the opinion that I am not identifying any

14   of the individuals in my paper by name as following

15   standard medical and research practice.

16        Q      But you would agree, you don't have any

17   contact with these people from the standpoint of a

18   medical practice.        You are not their physician.                 You

19   are only consulting in their litigation, right?

20   A    They still have a right to privacy with respect to

21   the medical community and the medical literature at

22   large, and I am respecting that privacy.

23        Q      I understand.

24               But you understand, you would agree that

25   people involved in their case because they represent

         Priority-One Court Reporting Services Inc. – A Veritext Company
                                 718-983-1234
                               JA934
                                                                    Page 229

 1   someone who's been sued already have access to the

 2   medical records, they have access to everything you

 3   have access to, right, the other people involved in the

 4   cases, correct?

 5   A    Yes.

 6        Q      And you would agree with me, wouldn't you,

 7   that either before or after you published the paper,

 8   other people who might have knowledge of those cases

 9   never had an opportunity for input in whether or not

10   those people had other alleged exposures to asbestos;

11   fair?

12   A    I did not consult with any attorneys in the

13   preparation of this paper.            I based it on the

14   information I had, which was clearly stated in the

15   methods of this paper in terms of how I obtained the

16   data.    I did not have conversations with any other

17   individuals apart from my co-authors who had access to

18   the same data I did.

19        Q      And if somebody writes a letter to the editor

20   and says well, I think I recognize, I can't say for

21   sure because they won't identify the person, but if

22   that's this case, I'll call it B, then there certainly

23   were other sworn allegations of exposure in that case,

24   so the premise that there was no other exposure to

25   asbestos might not be valid; you couldn't really take

         Priority-One Court Reporting Services Inc. – A Veritext Company
                                 718-983-1234
                               JA935
                                                                   Page 238

 1                          CERTIFICATION

 2

 3           I, ANDREA F. NOCKS, C.S.R., License Number

 4   30XI00157300, a Certified Court Reporter, in and for the

 5   State of New Jersey, do hereby certify the foregoing to

 6   be prepared in full compliance with the current

 7   Transcript Format for Judicial Proceedings and is a true

 8   and accurate non-compressed transcript to the best of my

 9   knowledge and ability.

10

      <%10613,Signature%>

11   ANDREA F. NOCKS                      MARCH 11, 2020

12   CERTIFIED COURT REPORTER

13   MIDDLESEX COUNTY COURTHOUSE

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                              JA936
Case 4:22-mc-00001-AWA-DEM Document 8-10 Filed 12/08/22 Page 1 of 5 PageID# 962




                            Exhibit 10




                                   JA937
                                                        1



 1   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
           FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
 2                   CIVIL TRIAL DIVISION
 3                            - - -

 4   HOLLY FISHER, EXECUTRIX OF THE:      JULY TERM, 2019
     ESTATE OF SANDRA REICHART,    :
 5                                 :
                Plaintiff,         :
 6                                 :
            vs.                    :
 7                                 :
     AMERICAN INTERNATIONAL        :
 8   INDUSTRIES, individually and :
     as successor-in-interest for :
 9   the CLUBMAN BRAND, and to THE :
     NESLEMUR COMPANY and PINAUD   :
10   COMPANY, et al.,              :
                                   :
11              Defendants.        :      NO.:   0877

12                            - - -

13                  Thursday, October 13, 2022
                     Courtroom 675, City Hall
14                  Philadelphia, Pennsylvania

15                            - - -

16   BEFORE:   THE HONORABLE SIERRA THOMAS STREET, J.
17                            - - -

18                          JURY TRIAL
                           P.M. SESSION
19
                              - - -
20
     REPORTED BY:    Kimberly Wilson, RMR, CRR
21
                              - - -
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                              JA938
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                            JA939
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            and Pinaud Company
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                                JA940
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 1

 2                        I N D E X
 3
          P L A I N T I F F ' S       E V I D E N C E
 4

 5   WITNESS                          DR   CR    RD         RC
 6   Dr. Jacqueline Moline, M.D.    --      5    88         99
     Holly Fisher                  106     --    --         --
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                            JA941
                                                         37
              Dr. Jacqueline Moline, M.D. - Cross


 1   BY MR. THACKSTON:

 2   Q.   And, in fact, the only denial was that the
 3   defendant that she made the claim against denied

 4   that they were liable, right?

 5   A.   I haven't memorized the entire file that
 6   you're speaking about.   I know that there was a

 7   dispute whether there was exposure.         And I'm not

 8   quite sure at how far it proceeded or if it was
 9   withdrawn at a certain point.

10   Q.   Well, no matter how it ended up, it started
11   out with someone saying under oath that they were

12   exposed to asbestos other than cosmetic talc,

13   right?
14                   MR. KRAMER:     Objection.     What are we

15        talking about?

16                   THE COURT:     Overruled.     Counsel, you
17        know exactly what we are talking about.         And

18        you objecting is not going to stop it.

19                   THE WITNESS:     I'm sorry.     Can you
20        repeat the question?

21   BY MR. THACKSTON:
22   Q.   No matter how it turned out, it started out,

23   the Workers' Compensation claim started out with

24   the plaintiff saying under oath that she was
25   exposed to asbestos on the job other than cosmetic




                              JA942
                                                           38
                   Dr. Jacqueline Moline, M.D. - Cross


 1   talc, right?

 2   A.      I don't know what -- how the process starts in
 3   the state that this individual lived in, if it was

 4   just the lawyer making an assertion or whether it

 5   was the individual.        I do not have a specific
 6   recollection of the rules and regulations since

 7   they're state by state.

 8   Q.      You have been shown the claim before with the
 9   signature by the husband, right?

10   A.      I'm sure you have shown it to me in the past.
11   I don't -- but it's been years.        And the husband is

12   not the individual.        And the individual would have

13   known the exposure more than a husband.
14   Q.      Have you ever done any work for the Graham and

15   Wallace law firm in Salisbury, North Carolina?

16   A.      No.
17   Q.      Weren't you a retained expert in the Bell

18   case?

19   A.      I was an expert in the Bell case, but I was
20   not retained -- I don't recall that I was -- I was

21   not retained by that firm.        I don't know that firm.
22   Q.      Okay.     So after you wrote this article based

23   on these litigation cases, and you testified about

24   these articles on direct examination, and you said
25   there's no epidemiology -- well, let me back up.




                                 JA943
                                                     39
              Dr. Jacqueline Moline, M.D. - Cross


 1   There's no epidemiology suggesting that barbers or

 2   hairdressers are at an increased risk for
 3   mesothelioma, right?

 4   A.   No such study has yet been conducted.     It

 5   doesn't mean that it isn't true.    But there has not
 6   been a specific study that I have seen that is

 7   specifically looking at barbers and hairdressers.

 8   Q.   Well, we'll get to that.    Okay.
 9        And so you said that my study is significant

10   because I got these 33 people who were only exposed
11   to cosmetic talc and they got meso, right?

12   A.   I said my study was significant because it was

13   pointing to cosmetic talc as a cause of
14   mesothelioma and alerting physicians that they

15   should take a history.   If you read the conclusion,

16   that's the point of this article.
17   Q.   After you testified about your article to

18   juries, if somebody who's cross-examining you wants

19   to make sure that that's right, that in those 33
20   cases there was no other exposure -- alleged

21   exposure to asbestos, you take the position that
22   you won't disclose the names of any of those cases,

23   right?

24   A.   I take that position regardless of what
25   situation I'm in.   I do not disclose the names of




                              JA944
                                                        40
              Dr. Jacqueline Moline, M.D. - Cross


 1   individuals.   That is standard medical practice.

 2   That is standard research practice.        I am not doing
 3   anything different from any colleague that I know

 4   at any institution.

 5                   MR. THACKSTON:    Object to
 6        responsiveness about what colleagues do.

 7                   THE COURT:    Overruled.

 8   BY MR. THACKSTON:
 9   Q.   Well, let's take that a step at a time.        So

10   you're not they're treating physician.        You have no
11   physician-patient relationship with any of the 33,

12   right?

13                   MR. KRAMER:    Objection, Judge.     This
14        is now going into questioning regarding

15        whether or not or how she may -- the reason

16        why she's not going to be revealing these
17        individuals.     And when we had this

18        conversation, counsel said he was not --

19                   THE COURT:    I agree, he did say
20        that.

21                   MR. THACKSTON:    I'm sorry, Your
22        Honor?

23                   THE COURT:    You did say that you

24        were limited to the issue that you have
25        already touched.     Sustained.




                              JA945
                                                        41
              Dr. Jacqueline Moline, M.D. - Cross


 1   BY MR. THACKSTON:

 2   Q.   The position -- well, Northwell, your
 3   employer, is the one that has the information,

 4   right?

 5                   MR. KRAMER:    Same objection, Judge.
 6                   THE COURT:    What's the purpose of

 7        the question?

 8                   MR. THACKSTON:    I'm sorry, Your
 9        Honor?

10                   THE COURT:    What's the purpose of
11        this question, Counsel?

12                   MR. THACKSTON:    I'm so sorry?

13                   THE COURT:    What is the purpose of
14        this question?

15                   MR. THACKSTON:    Oh.     The purpose of

16        the question is that the information has
17        already been released by Northwell.

18                   THE COURT:    Okay.     Well, why don't

19        you ask that.
20   BY MR. THACKSTON:

21   Q.   Northwell has already produced the records
22   that shows that Mrs. Bell was a member of your

23   study, right?

24   A.   I -- what my organization might have done, I
25   will not discuss.     I will not discuss names of the




                              JA946
                                                          42
             Dr. Jacqueline Moline, M.D. - Cross


 1   individuals in my paper.

 2   Q.   And you testified earlier about Workers'
 3   Compensation orders.     Have you read -- you're aware

 4   that there's a 40-page order from a federal court

 5   saying that your position that you can't talk about
 6   those people is wrong, right?

 7                     MR. KRAMER:    Objection, Judge.

 8                     THE COURT:    Sustained.
 9   BY MR. THACKSTON:

10   Q.   Have you read that opinion yet?
11                     MR. KRAMER:    Objection.

12                     THE COURT:    Sustained.

13   BY MR. THACKSTON:
14   Q.   All right.     In the denial --

15                     MR. THACKSTON:    May I approach, Your

16        Honor?   May I display the denial that she's
17        talking about?

18                     MR. KRAMER:    We object, Your Honor.

19                     THE COURT:    Denials of?
20                     MR. THACKSTON:    The last question.

21                     THE COURT:    Can you come over here?
22        I don't know what you're talking about.

23   BY MR. THACKSTON:

24   Q.   The only denial in that Workers' Compensation
25   claim -- I'm going to represent to you that my




                               JA947
                                                          43
             Dr. Jacqueline Moline, M.D. - Cross


 1   information is the only denial is the defendant

 2   saying, "We deny the claim."
 3        Are you aware of a judicial order finding that

 4   Mrs. Bell's Workers' Compensation claim was

 5   unfounded?
 6                  MR. KRAMER:     Same objection.

 7                  THE COURT:     Overruled.

 8                  THE WITNESS:     My understanding was
 9        that there was a dispute and then either the

10        case was withdrawn or there was a decision.          I
11        may be misremembering, but I know it did not

12        go any further than that.     That there was a

13        dispute that there was any exposure.        I
14        thought it went and either a judge made that

15        determination or the case was withdrawn at

16        that point.    And no further action was taken.
17        So that's my recollection.     I don't know.

18   BY MR. THACKSTON:

19   Q.   Would you want that shown to the jury, if
20   there is such a thing, would you want that shown to

21   the jury in this case to back you up on that?
22   A.   Which thing?

23   Q.   If there is any such thing as an order finding

24   that Mrs. Bell's Workers' Compensation claim was
25   unfounded, would you want to jury to see that in




                             JA948
                                                          44
             Dr. Jacqueline Moline, M.D. - Cross


 1   this case?

 2   A.   We're not here talking about Mrs. Bell.         We're
 3   here talking about Mrs. Reichart.       I would like the

 4   jury to hear about Ms. Reichart and not about

 5   another case.
 6                     THE COURT:    Well, since I'm going to

 7        decide what the jury hears, objection

 8        sustained on that question.       If you have
 9        something that you want to approach the

10        witness with, you may approach the witness
11        with.

12                     The reason why you're being asked

13        about Ms. Bell was because she's part of your
14        study.     So it's not totally irrelevant.

15                     Next question.

16   BY MR. THACKSTON:
17   Q.   And I happen to know something about the Bell

18   case because I was involved in it.       For the other

19   32 cases, you haven't released any identification
20   information on those 32 cases either?

21                     MR. KRAMER:    Objection, Your Honor.
22                     MR. THACKSTON:    It's the last

23        question.

24                     MR. KRAMER:    I still object to it.
25        It could be three questions from the end.




                               JA949
                                                       45
               Dr. Jacqueline Moline, M.D. - Cross


 1                     THE COURT:    It's asked and answered.

 2        I mean, she said she --
 3                     MR. THACKSTON:     Okay.

 4                     THE COURT:    Sustained, Counsel.

 5                     MR. THACKSTON:     Okay.
 6   BY MR. THACKSTON:

 7   Q.   Now, Doctor, one of the things that your

 8   article -- your article says that there were -- was
 9   it three hairdressers in your study?

10   A.   Yes.
11   Q.   Okay.    And is this your article that I have on

12   the screen now?

13   A.   I'm sorry, I didn't hear what you said.
14   Q.   Is this your article that I have up on the

15   screen?

16   A.   Yes.
17   Q.   And one of the things you say that's

18   highlighted over here on the right is that, "The

19   high prevalence of unexplained or idiopathic
20   mesothelioma among women necessitates further

21   inquiry into the potential non-occupational
22   exposures such as exposure to asbestos contaminated

23   talcum powder."     Right?

24   A.   Yes.
25   Q.   So you note the -- you note the occupations of




                                  JA950
                                                     46
              Dr. Jacqueline Moline, M.D. - Cross


 1   a few of these people.     One of the parts of the

 2   paper deals with what you call fiber burden
 3   studies, right?

 4   A.   There were six cases that had tissue

 5   evaluated.
 6   Q.   It says -- your article says, "While fiber

 7   burden studies are rarely undertaken in the course

 8   of clinical treatment, and they're used primarily
 9   for medico-legal purposes, the finding of various

10   fibers in the lung tissues can provide guidance on
11   potential prior asbestos exposure, et cetera"

12   Right?

13   A.   Yes.
14   Q.   Do you know whether there has been any fiber

15   burden analysis done of Mrs. Reichart's tissue?

16   A.   I haven't seen any.
17   Q.   Now, you reference in your papers something

18   called a mesothelioma registry?

19   A.   Can you point me to what you're talking about?
20   Q.   Do you remember mentioning the Italian

21   mesothelioma registry?
22   A.   Yes.

23   Q.   And you say that -- you say, quote, "Typically

24   patients with mesothelioma will be simply asked
25   whether they worked with or around asbestos, rather




                              JA951
                                                      47
              Dr. Jacqueline Moline, M.D. - Cross


 1   than being provided with a listing of potential

 2   sources of the types of exposure in which one might
 3   encounter asbestos.     Cases of mesothelioma among

 4   hairdressers characterized as idiopathic, also

 5   underscore the contribution of an incomplete
 6   exposure history.     The potential failure to

 7   identify use of talcum powder exposure in their

 8   work would prevent the linking of occupational
 9   exposures to asbestos in their mesothelioma.     In

10   our paper, there were three female hairdressers who
11   regularly used talcum powder in their work."

12   Right?

13   A.   Correct.
14   Q.   But then you say, "It was unclear from any of

15   the histories noted in the medical records that

16   these women were asked if they used talcum powder
17   as part of the haircutting process."     And you say,

18   "In a report from the national mesothelioma

19   registry of Italy" -- now, that's like a listing of
20   all the mesothelioma cases in Italy, right?

21   A.   Yes.
22   Q.   "Staff noted a cluster of mesothelioma due to

23   unknown exposure among a hairdressers, but they

24   examined hairdryer use as a potential exposure."
25   Right?




                              JA952
                                                         48
             Dr. Jacqueline Moline, M.D. - Cross


 1   A.   Correct.

 2   Q.   Because hairdryers at one time contained
 3   asbestos, right?

 4   A.   Some of them might have, not all of them.

 5   Q.   And they have a fan in them that blows air
 6   through them, right?

 7   A.   I'm not a hairdryer expert.

 8   Q.   You're not aware of whether a hairdryer has a
 9   fan in it?

10   A.   I'm not going to comment on the mechanics of a
11   hairdryer.

12   Q.   And so in your article you're saying there's

13   no other possible exposure to asbestos.         But then
14   you mention hairdressers.      And then you cite an

15   article that says, a source of asbestos exposure to

16   hairdressers could be hairdryers.      Right?
17                    THE COURT:    Can you put that back

18        up, please?    There's no objection, but you

19        didn't read the complete sentence in there.
20                    MR. THACKSTON:    Only examine

21        hairdryer use as a potential exposure.         No
22        discussion of the occupational use of talcum

23        powder.    Footnote 51.

24                    THE COURT:    If you're going to read
25        to the jury, read completely every word.




                              JA953
                     CERTIFICATE OF SERVICE

     This is to certify that I have this December 20, 2023, electronically

filed the foregoing with the Clerk of Court using the CM/ECF system,

which will notify all registered counsel.

                                        /S/ Benjamin L. Hatch
                                        Benjamin L. Hatch
                                        Counsel for Appellant American
                                        International Industries
